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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

                                              §
 BRIAN HUDDLESTON,                            §
                                              §
                       Plaintiff,             §
                                              §
               v.                             §         CIVIL ACTION No. 4:20CV00447
                                              §
 FEDERAL BUREAU OF                            §
 INVESTIGATION and UNITED                     §         JUDGE AMOS MAZZANT
 STATES DEPARTMENT OF JUSTICE,                §
                                              §
                       Defendants.            §


                    FOURTH DECLARATION OF MICHAEL G. SEIDEL

        I, Michael G. Seidel, declare as follows:

        (1)    I am the Section Chief of the Record/Information Dissemination Section

 (“RIDS”), Information Management Division (“IMD”), Federal Bureau of Investigation (“FBI”),

 Winchester, Virginia. I joined the FBI in September 2011, and prior to my current position, I was

 the Assistant Section Chief of RIDS from June 2016 to July 2020; Unit Chief, RIDS Litigation

 Support Unit from November 2012 to June 2016; and an Assistant General Counsel, FBI Office

 of the General Counsel, Freedom of Information Act (“FOIA”) Litigation Unit, from September

 2011 to November 2012. In those capacities, I had management oversight or agency counsel

 responsibility for FBI FOIA and Privacy Act (“FOIPA”) litigation cases nationwide. Prior to my

 joining the FBI, I served as a Senior Attorney, U.S. Drug Enforcement Administration (“DEA”)

 from September 2006 to September 2011, where among myriad legal responsibilities, I advised

 on FOIPA matters and served as agency counsel representing the DEA in FOIPA suits

 nationwide. I also served as a U.S. Army Judge Advocate General’s Corps Officer in various

 assignments from 1994 to September 2006 culminating in my assignment as Chief, General
                                                    1
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 Litigation Branch, U.S. Army Litigation Division where I oversaw FOIPA litigation for the U.S.

 Army. I am an attorney licensed in the State of Ohio and the District of Columbia.

        (2)     In my official capacity as Section Chief of RIDS, I supervise approximately 237

 FBI employees, supported by approximately 89 contractors, who staff a total of ten (10) Federal

 Bureau of Investigation Headquarters (“FBIHQ”) units and two (2) field operational service

 center units whose collective mission is to effectively plan, develop, direct, and manage

 responses to requests for access to FBI records and information pursuant to the FOIA as

 amended by the OPEN Government Act of 2007, the OPEN FOIA Act of 2009, and the FOIA

 Improvement Act of 2016; the Privacy Act of 1974; Executive Order 13526; Presidential,

 Attorney General, and FBI policies and procedures; judicial decisions; and Presidential and

 Congressional directives. My responsibilities also include the review of FBI information for

 classification purposes as mandated by Executive Order 13526, 75 Fed. Reg. 707 (Dec. 29,

 2009) and the preparation of declarations in support of Exemption 1 claims asserted under the

 FOIA. The Section Chief, RIDS has been designated by the Attorney General of the United

 States as an original classification authority and a declassification authority pursuant to

 Executive Order 13526, §§ 1.3 and 3.1. The statements contained in this declaration are based

 upon my personal knowledge, upon information provided to me in my official capacity, and

 upon conclusions and determinations reached and made in accordance therewith.

        (3)     Because of the nature of my official duties, I am familiar with the procedures

 followed by the FBI in responding to requests for information pursuant to the FOIA, 5 U.S.C. §

 552, and the Privacy Act of 1974 (“PA”), 5 U.S.C. § 552a. Specifically, I am aware of the FBI’s

 handling of Plaintiffs’ FOIA request that is subject of this litigation.

        (4)     In response to Plaintiff’s request, the FBI processed a total of 1,596 pages of



                                                    2
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 responsive records subject to the FOIA.1 Of the 1,596 pages processed, the FBI released 118

 pages in part, released nine (9) pages in full, and withheld 1,469 pages in full pursuant to

 applicable FOIA Exemptions or as duplicates to material reviewed and processed elsewhere in

 the productions provided to Plaintiff.2 In addition, the FBI reviewed and marked 196 pages of

 consulted records it received from OIP. The consulted material was returned to OIP for further

 handling and inclusion in its releases to be provided to Plaintiff.

        (5)     This is my fourth declaration in this case. It supplements and incorporates by

 reference the information previously provided by me in my prior declarations dated December 8,

 2020 (“First Seidel”), dated January 6, 2021 (“Second Seidel”) and dated April 20, 2021 (“Third

 Seidel”). (ECF Nos. 10-1, 12-1 and 23-1.)

        (6)     The FBI submits this declaration in support of Defendant’s motion for Summary

 Judgment and to provide the Court with a brief administrative history of Plaintiff’s requests, the

 FBI’s Glomar position with regard to third party information and techniques and procedures for

 law enforcement investigations, the procedures used to search for, review and process responsive

 records; and, in accordance with Vaughn v. Rosen, 424 F. 2d 820 (D.C. Cir. 1973), provide the

 FBI’s justification for withholding information in part or in full pursuant to FOIA Exemptions 1,

 3, 4, 5, 6, 7(A), 7(C), 7(D) and 7(E), 5 U.S.C. §552(b)(1), (b)(3), (b)(4), (b)(5), (b)(6), (b)(7)(A),

 (b)(7)(C), (b)(7)(D) and (b)(7)(E).




 1
  Of the 1,596 pages of records, 827 pages, Bates-numbered FBI(20-cv-447)-733 through -1559,
 were part of the records referred by OIP to the FBI for direct response to the Plaintiff herein. See
 infra. ¶ 14.
 2
  Upon further review of the processed records, it was determined that fifteen (15) pages of non-
 responsive material was inadvertently included in the records processed herein, withheld as
 duplicate and assigned Bates-numbers FBI(20-cv-447)-1540 through -1554.
                                                   3
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                ADMINISTRATIVE HISTORY OF PLAINTIFF’S REQUESTS

        (7)     Plaintiff’s counsel submitted two (2) FOIA request letters dated April 9, 2020 and

 June 1, 2020, requesting records concerning multiple subjects. The April 9, 2020 request letter

 was divided into four (4) separate FOIA requests. Part I addresses the administrative history for

 Plaintiff’s April 9, 2020 request, Part II addresses the administrative history for Plaintiff’s June

 1, 2020 request, and Part III addresses the FBI’s Glomar responses.

                            PART I: PLAINTIFF’S APRIL 9, 2020 REQUEST

              FBI FOIPA Request Numbers 1465531, 1468034, 1468039, and 1468042

        (8)     By three (3) separate facsimile transmissions dated April 9, 2020, Plaintiff’s

 counsel, Ty Clevenger, submitted a FOIA request, executed by Plaintiff, Brian Huddleston, to

 the FBI seeking records concerning Seth Rich. Specifically, Plaintiff requested:

                1.      All data, documents, records, or communications (electronic or otherwise)
                        created or obtained since January 1, 2016 that discuss or reference Seth
                        Rich or Aaron Rich. This would include, but is not limited to, all data
                        documents, records, or communications in the Washington Field Office,
                        Computer Analysis Response Team (“CART”), and any other “cyber” unit
                        within the FBI.

                2.      All data, documents, records, or communications regarding any person or
                        entity’s attempt to hack into Seth Rich’s electronic or internet accounts
                        (e.g., email) after his death.

                3.      All data downloaded from all electronic devices that belonged to Seth
                        Rich as well as all data, documents, records or communications indicating
                        how the devices were obtained and who was responsible for downloading
                        the information.

                4.      All data, documents, communications, records or other evidence
                        indicating whether Seth Rich, Aaron Rich, or any other person or persons
                        involved in transferring data from the Democratic National Committee to
                        Wikileaks in 2016, either directly or through intermediaries. This request
                        includes, but is not limited to, any reports from CrowdStrike, Inc. that
                        were obtained by the FBI while assisting Special Counsel Robert
                        Mueller’s investigation.



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               5.      All documents, communications, records or other evidence reflecting
                       orders or directions (whether formal or informal) for the handling of any
                       evidence pertaining to Seth Rich’s or Aaron Rich’s involvement in
                       transferring data from the Democratic National Committee to Wikileaks.

               6.      All documents, records, or communications exchanged with any other
                       government agencies (or representatives of such agencies) since January 1,
                       2016 regarding (1) Seth Rich’s murder or (2) Seth Rich’s or Aaron Rich’s
                       involvement in transferring data from the Democratic National Committee
                       to Wikileaks.

               7.      All recordings, transcripts, or notes (e.g., FD-302 forms) reflecting any
                       interviews of Aaron Rich, Deborah Sines or any other witness regarding
                       (1) the death of Seth Rich, (2) the transfer of data from the Democratic
                       National Committee to Wikileaks, or (3) any attempt to hack into
                       electronic or internet accounts (e.g., email) belonging to Seth Rich.

               8.      All data, documents, records or communication obtained or produced by
                       the FBI’s Computer Analysis and Response Team (“CART”) or any other
                       FBI cyber unit regarding Seth Rich and/or Aaron Rich.

               9.      All data, documents, records or communications (including texts or
                       emails) that reflect any meetings or communications from July 10, 2016
                       until July 10, 2017 between former FBI Deputy Director Andrew McCabe
                       and any and all of the following: (1) Seymour Myron “Sy” Hersh (born on
                       or about April 8, 1937); (2) Washington, D.C. Mayor Muriel Bowser;
                       and/or (3) former Democratic National Committee Interim Chairwoman
                       Donna Brazile.

               10.     If any of the items or things requested in this subpoena were discarded or
                       destroyed produce all data, documents, records or communication
                       reflecting that fact.

 (Ex. A.)

        (9)    At the time Plaintiff transmitted his April 9, 2020 FOIA request to the FBI, the

 FBI’s FOIA program had not resumed operation. Specifically, as set forth in my First Seidel

 Declaration, on March 17, 2020, RIDS temporarily halted its FOIA program in response to the

 COVID-19 pandemic.3 RIDS management continually monitored the situation and ultimately



 3
  A limited number of employees were permitted to rotate into the office during the temporary
 suspension of FOIA operations to handle any emergencies or critical issues arising during the
                                                5
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 begin bringing employees back to work safely in a limited fashion in order to resume FOIA

 operations starting on April 29, 2020. It wasn’t until June 8, 2020 that RIDS returned to a 100%

 staffing posture. (ECF No. 10-1, pages 4-6, ¶¶ 11-15.)

           (10)   On June 1, 2020, Plaintiff filed his Complaint in the instant action. (ECF No. 1).

           (11)   By letter dated June 19, 2020, the FBI acknowledged receipt of Plaintiff’s

 FOIA request, and notified Plaintiff it had assigned his request FBI FOIPA Request

 Number 1465531-000. The FBI advised Plaintiff for administrative tracking purposes, additional

 FOIA numbers may be assigned if it is determined his request seeks records about multiple

 subjects. The FBI also advised Plaintiff that for purposes of assessing any fees, the FBI

 determined as a general (all other) requester, Plaintiff would be charged applicable search and

 duplication fees. Additionally, the FBI informed Plaintiff he could check the status of his request

 and/or contact the FBI with any questions at www.fbi.gov/foia. Furthermore, Plaintiff could

 appeal the FBI’s response to the DOJ, Office of Information Policy (“OIP”) within ninety (90)

 days of its letter, contact the FBI’s public liaison, and or seek dispute resolution services by

 contacting the Office of Government Information Services (“OGIS”). (Ex. B.)

           (12)   By letter dated July 2, 2020, the FBI advised Plaintiff that for additional

 administrative tracking purposes, FOIPA numbers were assigned to his request as follows:

                  Original FOIPA Request Numbers: 1465531
                  Subject: Seth Rich (January 1, 2016 to present)4

                  Additional FOIPA Request Numbers: 1468034
                  Subject: Aaron Rich

                  Additional FOIPA Request Numbers: 1468039
                  Subject: Deborah Sines

 period, to operate the eFOIA portal, and to receive and route as appropriate mail and submissions
 to the eFOIA portal.
 4
     The handling of this request also included OIP Referrals/Consultations.
                                                    6
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                Additional FOIPA Request Numbers: 1468042
                Subject: Meetings and Communications between former FBI Director Andrew
                McCabe and Seymour Myron “Sy” Hersh, Washington, DC Mayor Muriel
                Bowser and/or DNC Interim Chairwoman Donna Brazile (July 10, 2016 – July
                10, 2017)

 The FBI further advised Plaintiff he could check the status of his request and/or contact the FBI

 with any questions at www.fbi.gov/foia. Furthermore, Plaintiff could appeal the FBI’s response

 to OIP within ninety (90) days of its letter, contact the FBI’s public liaison, and or seek

 dispute resolution services by contacting OGIS. (Ex. C.)

        (13)    On July 7, 2020, Plaintiff filed a “First Amended Complaint” in the instant action.

 (ECF No. 7.)

        FOIPA Request Number 1465531; Subject: Seth Rich (January 1, 2016 to present)
                             and OIP Referrals/Consultations

        (14)    By email dated February 8, 2021, OIP referred to the FBI approximately 1,296

 pages and a link to an excel spreadsheet which when converted totaled 75 pages. An FBI RIDS

 employee reviewed the material and determined that some of the material consisted of court

 documents, draft documents originating with the U.S. Department of Justice, Special Counsel’s

 Office (“SCO”), an Executive Session interview transcript, and SCO email communications.

 Following a review of the records, numerous discussions occurred between FBI counsel and

 OIP’s counsel. Through these discussions it was agreed that the FBI would handle approximately

 180 pages5 of the material as a consultation to the FBI with a response back to OIP; while the



 5
  The approximately 180 pages were numbered Document IDs: 0.7.5411.5788-000002,
 0.7.5411.6226-000002, 0.7.5411.6240-000001, 0.7.5411.6197-000001, 0.7.5411.6236-000001,
 0.7.5411.7068, 0.7.5411.7148-000039, 0.7.5411.6336, 0.7.5411.6183, 0.7.5411.7142-000001,
 0.7.5411.6511, 0.7.5411.6673, 0.7.5411.5975, 0.7.5411.5236, 0.7.5411.5237, 0.7.5411.6579,
 0.7.5411.5221, 0.7.5411.6890, 0.7.5411.6682, 0.7.5411.5609, 0.7.5411.5938, 0.7.5411.5935,
 0.7.5411.5605, 0.7.5411.5202, 0.7.5411.6578-000002, 0.7.5411.12962, 0.7.5411.18555,
 0.7.5411.18558, and 0.7.5411.18476.
                                                   7
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 remaining material would be handled as a referral for direct response to the Plaintiff herein.

        (15)    By letter dated April 21, 2021, the FBI responded to OIP’s consult request

 concerning the approximately 180 pages,6 advising that portions of information contained within

 the records should be withheld pursuant to FOIA Exemptions (b)(3), (b)(5), (b)(6), (b)(7)(C),

 (b)(7)(D) and (b)(7)(E).7

        (16)    By letter dated April 23, 2021, the FBI made a release of records to Plaintiff in

 response to FOIPA Request Number 1465531. The FBI advised Plaintiff it reviewed 576 pages

 and released 68 pages in full or in part, with certain information withheld pursuant to FOIA

 Exemptions (b)(1), (b)(3), (b)(5), (b)(6), (b)(7)(A), (b)(7)(C), (b)(7)(D), and (b)(7)(E). The FBI

 further advised Plaintiff he could appeal the FBI’s response to OIP within ninety (90) days of its

 letter. Alternatively, Plaintiff could contact the FBI’s public liaison or seek dispute resolution

 services from OGIS. In addition, the FBI advised Plaintiff that: (i) the records are Bates-

 numbered FBI(20-cv-447)-1 through FBI(20-cv-447)-576; (ii) no “main” investigative files

 pertaining to the subject of Plaintiff’s request were located; (iii) the records included in this

 release were cross-references8 which were identifiable with the subject of the request; (iv)


 6
  OIP later advised the FBI that one of the pages contained in the 180 pages was determined to be
 not responsive, thus that page would not be included in its release to Plaintiff.
 7
   By letter dated May 7, 2021, OIP provided its response to Plaintiff concerning these materials.
 In its letter, OIP advised Plaintiff, it processed an additional 179 pages responsive to his request,
 withheld in full 121 pages pursuant to Exemptions 3, 5, 6, 7(C), 7(D) and 7(E) of the FOIA, 5
 U.S.C. §§ 552(b)(3), (b)(5), (b)(6), (b)(7)(C), (b)(7)(D), and (b)(7)(E), and withheld in full 58
 pages pursuant to FOIA Exemptions 3, 5, 6, 7(C) and 7(E).
 8
  Cross-references, also commonly referred to as “reference serials” are records that merely
 mention or reference an individual, organization, or other subject matter that is contained in a
 main file record about a different subject matter. Information concerning the FBI’s processing of
 references serials is contained in the Third Seidel Declaration, ¶¶ 14(a)-(g) and Footnotes 8-10.
 Footnote 10, set forth the manner in which the reference serials responsive to Plaintiff’s FOIA
 requests were processed. Specifically, it stated that: “Ordinarily, the pages provided for context
 include the first page of the document (because it often includes the date and purpose relating to
                                                    8
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 FBI(20-cv-447)-422 represents a compact disc wherein all of the contents are being withheld in

 their entirety pursuant to FOIA Exemptions (b)(6), (b)(7)(C), (b)(7)(D), and (b)(7)(E); (v) sealed

 court records are not eligible for release under the FOIA; and (vi) duplicate copies of the same

 document were not processed. (Ex. D.)

         (17)    By letter dated May 24, 2021, the FBI made a second release of records to

 Plaintiff in response to FOIPA Request Number 1465531. The FBI advised Plaintiff it reviewed

 500 pages and released 52 pages in full or in part, with certain information withheld pursuant to

 FOIA Exemptions (b)(1), (b)(3), (b)(4), (b)(5), (b)(6), (b)(7)(A), (b)(7)(C), (b)(7)(D), and

 (b)(7)(E). The FBI further advised Plaintiff he could appeal the FBI’s response to OIP within

 ninety (90) days of its letter. Alternatively, Plaintiff could contact the FBI’s public liaison or

 seek dispute resolution services from OGIS. In addition, the FBI advised Plaintiff that: (i) the

 records are Bates-numbered FBI(20-cv-447)-577 through FBI(20-cv-447)-1076; (ii) no “main”

 investigative files pertaining to the subject of Plaintiff’s request were located; (iii) the records

 included in this release were cross-references which were identifiable with the subject of the

 request; (iv) sealed court records are not eligible for release under the FOIA; and (v) duplicate

 copies of the same document were not processed. (Ex. E.)

         (18)    By letter dated June 24, 2021, the FBI made a combined release of records to

 Plaintiff in response to FOIPA Request Number 1465531 and 1465971. The FBI advised

 Plaintiff it reviewed 489 pages and released 5 pages in full or in part, with certain information

 withheld pursuant to FOIA Exemptions (b)(3), (b)(6), (b)(7)(C), and (b)(7)(E). . The FBI further

 advised Plaintiff he could appeal the FBI’s response to OIP within ninety (90) days of its letter.



 responsive page), the page on which the subject of the FOIA request is mentioned, and any
 additional pages (often the page before and/or after the mention, if relevant) necessary to
 understand the context in which the mention of the subject appears.
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  Alternatively, Plaintiff could contact the FBI’s public liaison or seek dispute resolution services

  from OGIS. In addition, the FBI advised Plaintiff that: (i) the records are Bates-numbered

  FBI(20-cv-447)-1077 through FBI(20-cv-447)-1565; (ii) no “main” investigative files pertaining

  to the subject of Plaintiff’s request were located; (iii) the records included in this release were

  cross-references which were identifiable with the subject of the request; (iv) FBI(20-cv-447)-

  1565 represents one digital video disc wherein all of the contents are being withheld in their

  entirety pursuant to FOIA Exemptions (b)(6), (b)(7)(C) and (b)(7)(E); (v) FBI(20-cv-447)-1562

  through FBI(20-cv-447)-1564 are responsive to FOIPA Request Number 1465971; and (vi)

  duplicate copies of the same document were not processed. (Ex. F.)

         (19)    By letter dated July 23, 2021, the FBI made a fourth release of records to Plaintiff

  in response to FOIPA Request Number 1465531.9 The FBI advised Plaintiff it reviewed 31

  pages and released two (2) pages in full or in part, with certain information withheld pursuant to

  FOIA Exemptions (b)(5), (b)(6), (b)(7)(C), and (b)(7)(E). The FBI further advised Plaintiff he

  could appeal the FBI’s response to OIP within ninety (90) days of its letter. Alternatively,

  Plaintiff could contact the FBI’s public liaison or seek dispute resolution services from OGIS. In

  addition, the FBI advised Plaintiff that: (i) the records are Bates-numbered FBI(20-cv-447)-1566

  through FBI(20-cv-447)-1596; (ii) no “main” investigative files pertaining to the subject of

  Plaintiff’s request were located; (iii) the records included in this release were cross-references

  which were identifiable with the subject of the request; and (iv) sealed court records are not




  9
   The FBI included in the reference portion of this release letter information concerning FOIPA
  Number 1465971, Subject: Crossfire Hurricane Code names. This information was included in
  error as the records reviewed for this release only pertain to FOIPA Number 1465531-000,
  Subject: Seth Rich (January 1, 2016 to present).
                                                    10
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  eligible for release under the FOIA. (Ex. G.)

         (20)    By email dated November 8, 2021, OIP referred to the FBI sixteen (16) pages. An

  FBI RIDS employee reviewed the material and determined that the material consisted of email

  communications that did not originate with the FBI. Following a review of the records,

  communications were exchanged with OIP’s counsel and it was agreed that the FBI would

  handle these pages10 of the material as a consultation to the FBI with a response back to OIP.

         (21)    By letter dated November 19, 2021, the FBI responded to OIP’s consult request

  concerning the sixteen (16) pages, advising that portions of information contained within the

  records should be withheld pursuant to FOIA Exemptions (b)(6), (b)(7)(C), and (b)(7)(E).

                      FOIPA REQUEST NUMBER 1468034; SUBJECT: AARON RICH

         (22)    By letter dated July 2, 2020, the FBI acknowledged receipt of

  Plaintiff’s FOIA request, and notified Plaintiff it had assigned his request FBI FOIPA Request

  Number 1468034. The FBI informed Plaintiff he requested information on one or more third

  party individuals and the FBI would neither confirm nor deny the existence of such records

  pursuant to FOIA Exemptions 6 and 7(C), 5 U.S.C. 552(b)(6) and (b)(7)(C). The mere

  acknowledgement of the existence of FBI records on third party individuals could reasonably be

  expected to constitute an unwarranted invasion of personal privacy. This is the FBI’s standard

  response to such requests and should not be taken to mean that records did, or did not, exist.

  Additionally, the FBI advised it was closing Plaintiff’s request. The FBI instructed Plaintiff to

  visit www.fbi.gov, select “Services,” “Information Management,” and “Freedom of

  Information/Privacy Act” for more information about making requests for records on third party

  individuals (living or deceased). Finally, the FBI informed Plaintiff he could appeal the FBI’s


  10
    The sixteen (16) pages were bates-numbered 20-cv-0447-00009 through -00015, -00030
  through -00036, -00227 and -00794.
                                                   11
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  response to OIP within ninety (90) days of its letter, contact the FBI’s public liaison, and or seek

  dispute resolution services by contacting OGIS. (Ex. H.)

                      FOIPA Request Number 1468039; Subject: Deborah Sines

         (23)    By letter dated July 2, 2020, the FBI acknowledged receipt of Plaintiff’s FOIA

  request, and notified Plaintiff it had assigned his request FBI FOIPA Request Number 1468039.

  The FBI informed Plaintiff he requested information on one or more third party individuals and

  the FBI would neither confirm nor deny the existence of such records pursuant to FOIA

  Exemptions 6 and 7(C), 5 U.S.C. 552(b)(6) and (b)(7)(C). The mere acknowledgement of the

  existence of FBI records on third party individuals could reasonably be expected to constitute an

  unwarranted invasion of personal privacy. This is the FBI’s standard response to such requests

  and should not be taken to mean that records did, or did not, exist. Additionally, the FBI advised

  it was closing Plaintiff’s request. The FBI instructed Plaintiff to visit www.fbi.gov, select

  “Services,” “Information Management,” and “Freedom of Information/Privacy Act” for more

  information about making requests for records on third party individuals (living or deceased).

  Finally, the FBI informed Plaintiff he could appeal the FBI’s response to OIP within ninety (90)

  days of its letter, contact the FBI’s public liaison, and or seek dispute resolution services by

  contacting OGIS. (Ex. I.)

             FOIPA Request Number 1468042; Subject: Meetings and Communications
                      between former FBI Director Andrew McCabe and
                Seymour Myron “Sy” Hersh, et al., (July 10, 2016 – July 10, 2017)
         (24)    By letter dated August 6, 2020, the FBI acknowledged receipt of Plaintiff’s FOIA

  request, and notified Plaintiff it had assigned his request FBI FOIPA Request Number 1468042.

  The FBI advised Plaintiff it conducted a search of the places reasonably expected to have

  records; however, it was unable to identify records responsive to Plaintiff’s request.

  Additionally, the FBI advised it was closing Plaintiff’s request. The FBI also supplied an FBI

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  FOIPA Addendum with additional explanation as to its standard responses to FOIPA requests

  and informed Plaintiff he could seek additional information regarding the FBI’s determinations

  by visiting www.fbi.gov/foia. Lastly, the FBI advised Plaintiff he could appeal the FBI’s

  determinations by filing an administrative appeal with OIP within ninety (90) days of the date of

  the letter, seek dispute resolution services by contacting OGIS, or contact the FBI’s FOIA public

  liaison. (Ex. J.)

                          PART 2: PLAINTIFF’S JUNE 1, 2020 FOIA REQUEST

       FBI FOIPA Request Number 1465971-000; Subject: Crossfire Hurricane Code Names

          (25)    By letter dated June 1, 2020, Plaintiff submitted a FOIA request to the

  FBI seeking records concerning code names assigned to individuals as part of the Crossfire

  Hurricane investigation, including, Seth Conrad Rich and Aaron Nathan Rich. Specifically,

  Plaintiff requested:

                  1.     Documents, records or communications revealing the code names
                         assigned to any and all individuals as part of the Crossfire Hurricane
                         investigation.

                  2.     Documents, records, or communications revealing the code names
                         assigned to any and all sub-sections of the Crossfire Hurricane
                         investigation.

                  3.     Documents, records, or communications revealing the code names
                         assigned to Seth Conrad Rich.

                  4.     Documents, records, or communications revealing the code names
                         assigned to Aaron Nathan Rich.
  (Ex. K.)

          (26)    By letter dated July 7, 2020, the FBI acknowledged receipt of Plaintiff’s

  FOIA request, and notified Plaintiff it had assigned his request FBI FOIPA Request

  Number 1465971-000. The FBI also advised Plaintiff that for purposes of assessing any fees, the

  FBI determined as a general (all other) requester, Plaintiff would be charged applicable search


                                                  13
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  and duplication fees. Additionally, the FBI informed Plaintiff he could check the status of

  his request and/or contact the FBI with any questions at www.fbi.gov/foia. Furthermore,

  Plaintiff could appeal the FBI’s response to OIP within ninety (90) days of its letter, contact the

  FBI’s public liaison, and or seek dispute resolution services by contacting OGIS. (Ex. L.)

         (27)    By letter dated August 6, 2020, the FBI informed Plaintiff it could neither confirm

  nor deny the existence of records responsive to Plaintiff’s request pursuant to FOIA

  Exemptions (b)(6), (b)(7)(C), and (b)(7)(E). The FBI is an intelligence agency as well as a law

  enforcement agency. In its capacity as an intelligence agency, the FBI compiles records while

  carrying out its responsibilities to investigate threats to national security and gather foreign

  intelligence. Plaintiff requested information on one or more third party individuals and the FBI

  will neither confirm nor deny the existence of such records pursuant to FOIA Exemptions 6 and

  7(C), 5 U.S.C. 552(b)(6) and (b)(7)(C). The mere acknowledgement of the existence of FBI

  records on third party individuals could reasonably be expected to constitute an unwarranted

  invasion of personal privacy. This is the FBI’s standard response to such requests and should not

  be taken to mean that records did, or did not, exist. Additionally, the FBI advised FOIA

  Exemption (b)(7)(E) protects “records or information compiled for law enforcement purposes

  when disclosure would disclose techniques and procedures for law enforcement investigations or

  prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if

  such disclosure could reasonably be expected to risk circumvention of the law.” Further, the FBI

  advised it was closing Plaintiff’s request. The FBI also supplied an FBI FOIPA Addendum with

  additional explanation as to its standard responses to FOIPA requests and informed Plaintiff he

  could seek additional information regarding the FBI’s determinations by visiting

  www.fbi.gov/foia. Lastly, the FBI advised Plaintiff he could appeal the FBI’s determinations by



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  filing an administrative appeal with OIP within ninety (90) days of the date of the letter, seek

  dispute resolution services by contacting OGIS, or contact the FBI’s FOIA public liaison. (Ex.

  M.)

         (28)    The FBI determined that its initial (b)(6), (b)(7)(C) and (b)(7)(E) Glomar

  response provided to Plaintiff in response to his June 1, 2020 request had been partially pierced

  as it related to Items 1 and 2 of his request. The FBI reached out to Plaintiff’s counsel via the

  Assistant United States Attorney (“AUSA”) on or about April 13, 2021 to determine what

  specific documents the Plaintiff is looking for to satisfy his request, (i.e. a list of code names and

  the true names they correspond to for the Crossfire Hurricane investigation, etc.). Plaintiff

  advised that he would be willing to narrow the request to locating a single document for each

  individual/file that contains the code name, understanding that the records will be redacted

  pursuant to applicable FOIPA exemptions. (ECF No. 23-1, pages 3-4, ¶¶ 10-11.)

         (29)    By letter dated June 24, 2021, the FBI made a combined release of records to

  Plaintiff in response to FOIPA Request Numbers 1465531 and 1465971. This letter has been

  more fully described, supra ¶ 18.

                                      PART 3: GLOMAR RESPONSES

         (b)(6) and (b)(7)(C) Glomar - FOIPA Request Numbers 1468034 and 1468039 and
             (b)(6), (b)(7)(C) and (b)(7)(E) Glomar - FOIPA Request Numbers 1465971
         (30)    The FBI relies on a Glomar response in instances which, assuming that

  responsive records existed, even acknowledging their existence would result in harms protected

  against by one or more FOIA exemptions. 11 To be credible and effective, the FBI must use a


  11
    The phrase “Glomar response” stems from a case in which a FOIA requester sought
  information concerning a ship named the Hughes Glomar Explorer, and the CIA refused to
  confirm or deny its relationship with the Glomar vessel because to do so would compromise the
  national security or divulge intelligence sources and methods. Phillipi v. CIA, 655 F.2d 1325
  (D.C. Cir. 1981). Glomar responses are proper “if the fact of the existence or nonexistence of
                                                    15
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  Glomar response in all similar cases regardless of whether responsive records actually exist,

  including instances in which the FBI does not possess records responsive to a particular request.

  If the FBI were to issue a Glomar response only when it actually possessed responsive records,

  the Glomar response would be interpreted as an admission that responsive records exist.

         (31)    The FBI has determined that merely acknowledging the existence or non-

  existence of records responsive to Plaintiff’s requests would trigger harm under FOIA

  Exemptions (b)(6) and (b)(7)(C) with respect to Aaron Rich and Deborah Sines, and under FOIA

  Exemptions (b)(6), (b)(7)(C) and/or (b)(7)(E) with respect to code names assigned to individuals,

  as part of its Crossfire Hurricane investigation and code names assigned to Seth Conrad Rich and

  Aaron Nathan Rich.

         (32)    Pursuant to Exemptions (b)(6) and (b)(7)(C), the FBI does not release information

  associating particular individuals with its law enforcement or intelligence activities. Pursuant to

  Exemption (b)(7)(E) the FBI does not release information about records or information compiled

  for law enforcement purposes when disclosure would disclose techniques and procedures for law

  enforcement investigations or prosecutions or would disclose guidelines for law enforcement

  investigations or prosecutions if such disclosure could reasonably be expected to risk

  circumvention of the law The FBI also refuses to confirm or deny the existence of responsive

  records when doing so could provide these types of information.

                                     (b)(6) and (b)(7)(C) Glomar

         (33)    The FOIA exempts from disclosure records related to third parties if release of the

  information could be expected to constitute an unwarranted invasion of personal privacy.

         (34)    Specifically, the FOIA provides that Exemption (b)(6) exempts from disclosure


  agency records falls within a FOIA exemption.” Wolf v. C.I.A., 473 F.3d 370, 374 (D.C. Cir.
  2007).
                                                   16
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  “personnel and medical files and similar files the disclosure of which would constitute a clearly

  unwarranted invasion of personal privacy.” 5 U.S.C. § 552(b)(6).

         (35)    Exemption (b)(7)(C) exempts from disclosure “records or information compiled

  for law enforcement purposes [when disclosure] could reasonably be expected to constitute an

  unwarranted invasion of personal privacy.” 5 U.S.C. § 552(b)(7)(C).

         (36)    Pursuant to long standing policy, the FBI will not confirm or deny the existence

  of law enforcement records about a third party in the absence of a privacy waiver or proof of

  death, unless the requester establishes a public interest in disclosure that outweighs the third

  party’s privacy interests. The FBI instituted this policy in order to protect the privacy rights of

  individuals, particularly those who appear in FBI law enforcement files. It is well-recognized

  that individuals have substantial privacy interests in relation to being associated with law

  enforcement investigations because any such association can engender comment, speculation, or

  harassment; can be embarrassing and stigmatizing; and can, in some circumstances, result in

  physical harm or threats of harm or death. Statements by an individual alluding to or

  acknowledging an association with a law enforcement investigation do not extinguish his or her

  privacy interests or constitute a waiver of privacy interests.

         (37)    If a requester establishes a public interest, then the FBI will balance those

  interests against the third party’s privacy interests. This balancing is done on a case-by-case

  basis. The FBI will process a request for and release non-exempt law enforcement records about

  a third party only if it determines that the public interest outweighs the individual’s privacy

  interests after conducting a balancing analysis. The balancing analysis in each case is necessarily

  fact specific. Thus, each request must be treated individually, and the FBI must retain flexibility




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  in the way in which it handles each request.

         (38)    In response to Plaintiff’s requests assigned FOIPA Request Numbers 1468034

  (Subject: Aaron Rich), 1468039 (Subject: Deborah Sines), and 1465971 (Subject: Crossfire

  Hurricane Code Names), the FBI first determined that Plaintiff’s third-party requests for records

  concerning Aaron Rich, Deborah Sines, and individuals who were assigned code names as part

  of the Crossfire Hurricane investigation, were not accompanied by either privacy waivers or

  proofs of death. Second, the FBI determined Plaintiff’s request letters did not provide sufficient

  evidence of a significant public interest in disclosure of the materials sought concerning these

  third parties. See supra ¶¶ 8 and 25, describing Plaintiff’s request letters.

                                            (b)(7)(E) Glomar

         (39)    The FOIA exempts from disclosure “records or information compiled for law

  enforcement purposes [when disclosure] would disclose techniques and procedures for law

  enforcement investigations or prosecutions, or would disclose guidelines for law enforcement

  investigations or prosecutions if such disclosure could reasonably be expected to risk

  circumvention of the law.” 5 U.S.C. § 552(b)(7)(E). This exemption affords categorical

  protection to techniques and procedures used in law enforcement investigations; it provides

  techniques and procedures that are not well-known to the public as well as non-public details

  about the use of well-known techniques and procedures.

         (40)    How, to whom, and under what circumstances the FBI assigns code-names to

  individuals or operations -- is itself a law enforcement technique or procedure that the FBI

  protects pursuant to Exemption (b)(7)(E). Code names are unique and assigned solely to one

  particular subject or initiative of national security interest. Code names are used in lieu of the

  actual name, description, and information concerning a specific subject or initiative of national



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  security interest.

          (41)    Thus, merely acknowledging the existence or non-existence of records responsive

  to Plaintiff’s requests would trigger harm under FOIA Exemptions (b)(7)(E) with respect to code

  names assigned to individuals.

                         Partial Piercing of (b)(6), (b)(7)(C) and (b)(7)(E) Glomar

                                     FOIPA Request Number 1465971

          (42)    When the FBI initially received Plaintiff’s June 1, 2020 FOIA request wherein, in

  Items 1 and 2, he requested records pertaining to individuals assigned code names as part of the

  Crossfire Hurricane investigation, it neither confirmed nor denied the existence of third party

  records without consented authorization, proof of death, justification of public interest disclosure

  which would outweigh the third party individuals’ rights or the existence or non-existence of

  code names.

          (43)    The FBI later became aware of the official, public acknowledgment contained in

  the U.S. Department of Justice, Office of Inspector General’s, December 2019 (Revised) report

  entitled, “Review of Four FISA Applications and Other Aspects of the FBI’s Crossfire Hurricane

  Investigation” wherein on page 109 of the report, it identifies that codenames were used in a

  written summary to identify Page and Flynn.12 The specific language in the report reads as

  follows:

                  Case Agent 2 told the OIG that he informed Steele that the FBI was
                  interested in obtaining information in “3 buckets.” According to Case

  12
    See https://www.justice.gov/storage/120919-examination.pdf or
  https://www.oversight.gov/report/doj/review-fourfisa-applications-and-other-aspects-
  fbi%E2%80%99s-crossfire-hurricane-investigation.




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                  Agent 2’s written summary of the meeting, as well as the Supervisory
                  Intel Analyst’s notes, these 3 buckets were:
                  Additional intelligence/reporting on specific, named individuals (such as
                  [Page] or [Flynn]) involved in facilitating the Trump campaign-Russian
                  relationship;241 (2) Physical evidence of specific individuals involved in
                  facilitating the Trump campaign-Russian relationship (such as emails,
                  photos ledgers, memorandums etc.); [and] (3) Any individuals or sub
                  sources who [Steele] could identify who could serve as cooperating
                  witnesses to assist in identifying persons involved in the Trump campaign-
                  Russian relationship.
                  241
                     The written summary used codenames to identify Page and Flynn.
                  242
                     The FBI advised the OIG that the Crossfire Hurricane Investigation was
                  a national security investigation, and these activities therefore involved
                  national security [redacted] CHS operations [redacted].
           (44)   Taking into consideration this public acknowledgment, which partially pierced the

  FBI’s 6, 7(C) and 7(E) Glomar veil, the FBI through its counsel asked the AUSA to

  communicate with Plaintiff’s counsel to determine (1) if Plaintiff was asking for a list of code

  names and the true names they correspond to for the Crossfire Hurricane investigation; (2) would

  Plaintiff be willing to accept such a list to satisfy the request, understanding the list will likely be

  redacted; or (3) would Plaintiff be willing to narrow the request to locating a single document for

  each individual/file that shows the code name (rather than processing every single document that

  references the code name), again with the understanding that the records will be redacted

  pursuant to applicable FOIA exemptions.

           (45)   The AUSA advised that Plaintiff agreed to option 3 (narrowing the request to

  locating a single document for each individual/file that contains the code name), understanding

  that the records will be redacted pursuant to applicable FOIA exemptions.

           (46)   FBI-RIDS conducted a search for records responsive to the Plaintiff’s narrowed

  request and provided responsive records to Plaintiff in its June 24, 2021 combined release.13



  13
       The responsive records were Bates-numbered pages FBI(20-cv-447)-1562 thru -1564.
                                                     20
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  Details concerning the FBI’s search for records responsive to Items 1 and 2 of Plaintiff’s

  narrowed FOIPA Request Number 1465971 is more fully described infra ¶ 69 and details

  concerning the FBI’s June 24, 2021 combined release is more fully described supra ¶¶ 18 and

  29.

                           THE FBI’S CENTRAL RECORDS SYSTEM

         (47)    The Central Records System (“CRS”) is an extensive system of records consisting

  of applicant, investigative, intelligence, personnel, administrative, and general files compiled and

  maintained by the FBI in the course of fulfilling its mission and integrated functions as a law

  enforcement, counterterrorism, and intelligence agency to include performance of administrative

  and personnel functions. The CRS spans the entire FBI organization and encompasses the

  records of FBI Headquarters (“FBIHQ”), FBI Field Offices, and FBI legal attaché offices

  (“legats”) worldwide.

         (48)    The CRS consists of a numerical sequence of files, called FBI “classifications,”

  which are organized according to designated subject categories. The broad array of CRS file

  classification categories include types of criminal conduct and investigations conducted by the

  FBI, as well as categorical subjects pertaining to counterterrorism, intelligence,

  counterintelligence, personnel, and administrative matters. For identification and retrieval

  purposes across the FBI, when a case file is opened, it is assigned a Universal Case File Number

  (“UCFN”) consisting of three sequential components: (a) the CRS file classification number, (b)

  the abbreviation of the FBI Office of Origin (“OO”) initiating the file, and (c) the assigned

  individual case file number for that particular subject matter.14 Within each case file, pertinent



  14
    For example, in fictitious file number “11Z-HQ-56789,” “11Z” indicates the file classification,
  “HQ” indicates that FBI Headquarters is the FBI OO of the file, and “56789” indicates the
  assigned case specific file number.
                                                   21
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  documents of interest are “serialized,” or assigned a document number in the order which the

  document is added to the file, typically in chronological order.

                          THE CRS GENERAL INDICES AND INDEXING

         (49)    The general indices to the CRS are the index or “key” to locating records within

  the enormous amount of information contained in the CRS. The CRS is indexed in a manner

  which meets the FBI’s investigative needs and priorities, and allows FBI personnel to reasonably

  and adequately locate pertinent files in the performance of their law enforcement duties. The

  general indices are arranged in alphabetical order and comprise an index on a variety of subject

  matters to include individuals, organizations, events, and other subjects of investigative interest

  that are indexed for future retrieval. The entries in the general indices fall into two categories:

                 A. Main entry. A main index entry is created for each individual or non-

                     individual that is the subject or focus of an investigation. Main subject(s) are

                     identified in the case title of a file.

                 B. Reference entry. A reference index entry is created for each individual or non-

                     individual associated with an investigation, but who or which are not the main

                     subject or focus of the investigation. Reference subjects are typically not

                     identified in the case title of a file.

         (50)    FBI employees may index information in the CRS by individual (persons), by

  organization (organizational entities, places, and things), and by event (e.g., a terrorist attack or

  bank robbery). Indexing information in the CRS is done at the discretion of FBI investigators

  when information is deemed of sufficient significance to warrant indexing for future retrieval.

  Accordingly, the FBI does not index every individual name or other subject matter in the general




                                                     22
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  indices.

                                  AUTOMATED CASE SUPPORT

         (51)    Automated Case Support (“ACS”) was an electronic, integrated case management

  system that became effective for FBIHQ and all FBI Field Offices and legats on October 1, 1995.

  As part of the ACS implementation process, over 105 million CRS records were converted from

  automated systems previously utilized by the FBI into a single, consolidated case management

  system accessible by all FBI offices. ACS had an operational purpose and design to enable the

  FBI to locate, retrieve, and maintain information in its files in the performance of its mission and

  myriad functions.15

                                      THE UNIVERSAL INDEX

         (52)    The Universal Index (“UNI”) was the automated index of the CRS and searchable

  via ACS. It provided all offices of the FBI with a centralized, electronic means of indexing

  pertinent investigative information to FBI files for future retrieval via index searching. Individual

  names were recorded with applicable identifying information, such as date of birth, race, sex,

  locality, social security number, address, and/or date of an event. ACS implementation built

  upon and incorporated prior automated FBI indices; therefore, a search employing the UNI

  application of ACS encompassed data already indexed into the prior automated systems

  superseded by ACS. As such, a UNI index search in ACS could locate FBI records in both paper

  and electronic formats created before its 1995 FBI-wide implementation.16


  15
    ACS was, and the next generation Sentinel system is, relied upon by the FBI daily to fulfill
  essential functions such as conducting: criminal, counterterrorism, and national security
  investigations; background investigations; citizenship and employment queries, and security
  screening, including presidential protection.

  16
    Older CRS records that were not indexed into UNI as a result of the 1995 ACS consolidation
  remain searchable by manual review of index cards, known as the “manual indices.” A search of
  the manual indices is triggered for requests on individuals if the person was born on or before
                                                   23
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                                        ACS AND SENTINEL

         (53)    Sentinel is the FBI’s next generation case management system that became

  effective FBI-wide on July 1, 2012. Sentinel provides a web-based interface to FBI users, and it

  includes the same automated applications that were utilized in ACS. After July 1, 2012, all FBI

  generated records are created electronically in case files via Sentinel; however, Sentinel did not

  replace the relevance of ACS as an important FBI search mechanism. Just as pertinent

  information was indexed into UNI for records generated in ACS before July 1, 2012, when a

  record is generated in Sentinel, information is indexed for future retrieval.

         (54)    On August 1, 2018, ACS was decommissioned and ACS data was migrated into

  Sentinel, including the ACS indices data and digitized investigative records formerly available in

  ACS. Sentinel retains the index search methodology and function whereby the CRS is queried,

  now via Sentinel, for pertinent indexed main or reference entries in case files. All CRS index

  data from the UNI application previously searched via ACS is now searched through the “ACS

  Search” function within Sentinel.

         (55)    Upon receipt of a FOIPA request where the subject matter predates the

  implementation of Sentinel, the FBI’s RIDS generally begins its FOIPA searching efforts by

  conducting index searches via the “ACS Search” function in Sentinel. RIDS then builds on its

  ACS index search by conducting an index search of Sentinel records to ensure it captures all

  relevant data indexed after the implementation of Sentinel. A search of the CRS automated

  indices, available within Sentinel and the ACS search function in Sentinel, in most cases

  represent the most reasonable means for RIDS to locate records potentially responsive to FOIPA



  January 1, 1958; and for requests seeking information about organizations or events on or before
  January 1, 1973. Records created after these dates would be captured through an automated
  index search.
                                                   24
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  requests. This is because these automated indices provide access to a comprehensive, agency-

  wide set of indexed data on a wide variety of investigative and administrative subjects.

  Currently, these automated indices consist of millions of searchable records and are updated

  daily with material newly indexed in Sentinel.

         (56)    The identification of records indexed to the subject of a FOIPA request does not

  automatically mean the indexed records are responsive to the subject. Index searches are the

  means by which potentially responsive records are located, but ultimately, a FOIPA analyst must

  consider potentially responsive indexed records against the specific parameters of individual

  requests. Responsiveness determinations are made once indexed records are gathered, analyzed,

  and sorted by FOIPA analysts who then make informed scoping decisions to determine the total

  pool of records responsive to an individual request.

                          ELECTRONIC SURVEILLANCE INDICES

         (57)    The Electronic Surveillance (“ELSUR”) indices comprise records related to

  electronic surveillance sought, administered, and/or conducted by the FBI since January 1,

  1960.17 The ELSUR indices include records of (a) targeted individuals and entities of electronic

  surveillance pursuant to court order, consensual monitoring, or other authority; (b) owners,

  lessors, or licensors of the premises where the FBI conducted electronic surveillance; (c) and

  individuals identified as participants of monitored/recorded conversations.

         (58)    Since January 1, 1960, FBI Field Offices included in their ELSUR indices -- and

  reported to FBIHQ for inclusion in its ELSUR index -- the names of all persons whose

  communications have been monitored through an FBI microphone installation or a telephone



  17
    See Privacy Act Systems of Records Notice JUSTICE/FBI-006; 72 F.R. 3410 (Jan. 25, 2007)
  (last publication of complete notice).

                                                   25
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  surveillance. On or about October 9, 1991, the ELSUR indices were automated FBI-wide,18 and

  since that time, FBIHQ and all FBI field offices have electronically generated, maintained,

  modified, and accessed all ELSUR records.

         (59)    Similar to the consolidation of all indexed record data from prior automated CRS

  systems superseded by ACS, the prior automated ELSUR indices also interfaced with ACS upon

  its implementation in 1995. As a result, the names of monitored subjects by FBIHQ or FBI Field

  Offices since January 1, 1960 are indexed within, and searchable by, the same UNI application

  employed to locate CRS records. For clarity, while the ELSUR indices has a distinct legal

  identity from the CRS as a different Privacy Act System of Records, in terms of function,

  information from the ELSUR indices and the CRS is indexed and retrieved via index searches of

  the automated indices in Sentinel.

                                   ADEQUACY OF SEARCHES

                               FOIPA REQUEST NUMBER 1465531-000
                          SUBJECT: SETH RICH (JANUARY 1, 2016 TO PRESENT)

         (60)    Main and Reference Files. RIDS’ policy is to search for and identify only “main”

  files responsive to most FOIPA requests at the administrative stage. Often, after the filing of a

  complaint, RIDS conducts an additional search for cross-reference files to locate any reference

  material potentially responsive to a plaintiff’s request. RIDS conducted its initial search for

  records concerning Seth Rich, after the Plaintiff filed his Complaint. Thus, the searches

  described below were conducted to locate both main and cross-reference files.

         (61)    Initial Search for responsive records: RIDS, having knowledge of the processing




  18
    Prior to automation, the ELSUR indices consisted of index cards on targets of wire, oral, or
  electronic surveillance by the FBI from 1960 to 1991.
                                                   26
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  and release of an email chain19 in response to another FBI FOIA litigation concerning email

  communications between Peter Strzok and Lisa Page,20 initially conducted a term search on June

  15, 2020 of the material to be reviewed and processed in response to that Civil Action to locate

  any additional records responsive to Plaintiff’s request herein. The terms used when conducting

  the search were “Seth Rich” and “Seth Conrad Rich”. Since Plaintiff specified in this FOIPA

  request that he was requesting records created or obtained since January 1, 2016. The FBI

  established the search cut-off date of June 15, 2020, as that was the date of its first substantive

  search for records responsive to Plaintiff’s request.

         (62)    Index Searching. As stated above, to locate CRS information, RIDS employs an

  index search methodology. Index searches of the CRS are reasonably expected to locate

  responsive material within the vast CRS since the FBI indexes pertinent information into the

  CRS to facilitate retrieval to serve its primary law enforcement and intelligence gathering

  functions. Given the broad range of indexed material in terms of both time frame and subject

  matter that it can locate in FBI files, the FBI automated indices available through Sentinel is the

  mechanism RIDS employs.

         (63)    CRS Search and Results. In response to Plaintiff’s request for records concerning

  Seth Rich, RIDS conducted a CRS index search, on July 6, 2020, for potentially responsive

  records employing the Sentinel indices and the ACS indices available through Sentinel to search

  the following search terms: “Seth Rich” and “Seth Conrad Rich”. RIDS’ searches located no




  19
     The email chain, consisting of 2 pages, originated with an FBI employee in the FBI’s
  Washington Field Office Public Affair’s Office, and identified in the subject line, “Seth Rich”.
  20
     In Civil Action Number 1:18-cv-00154 Judicial Watch, Inc. v. U.S. Department of Justice the
  email chain was assigned Bates-numbered pages FBI(18-cv-154)-4714 and -4715.

                                                   27
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  indexed main or reference files.21

          (64)   Next, RIDS consulted with other RIDS’ personnel familiar to have first-hand

  knowledge of the files of the SCO maintained in the FBI’s CRS which were and continue to be

  reviewed and processed in response to another FBI FOIA litigation. Based on their knowledge of

  the contents of the records previously processed in response to the other litigation, it was

  determined that several of the records were found to contain mentions of Seth Rich. As a result,

  RIDS conducted a term search using the terms “Seth Rich” and “Seth Conrad Rich” within the

  files of the SCO that are maintained in the FBI’s CRS. This search resulted in the location of

  numerous reference records within the responsive timeframe of January 1, 2016 to June 15,

  2020.

          (65)   Targeted Search of Specific FBI Divisions/Units based upon Plaintiff’s request.

  As a result of the existence of the responsive email chain discussed in supra ¶ 60, which the FBI

  reprocessed and included in a production to Plaintiff herein Bates-numbered FBI(20-cv-447)-1

  and -2, RIDS circulated a search request to FBI Headquarters, Office of Public Affairs and its

  Washington Field Office requesting each office conduct a search of database systems, as well as

  paper and manual files, for any other records responsive to Plaintiff’s request. In addition, RIDS

  recommended that each recipient division/unit circulate the request among those in its

  Division/Office reasonably likely to possess responsive records pertaining to the subject of

  Plaintiff’s request within the responsive timeframe of January 1, 2016 to June 15, 2020. Each of

  these Divisions/Units reported that they completed the searches requested and no responsive




  21
   See 1:18-cv-01568-LB Clevenger v. U.S. Department of Justice, et al., ECF No. 16-1
  Declaration of David M. Hardy and ECF# 37 Second Declaration of David M. Hardy.
                                                   28
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  records were located.

         (66)    The FBI determined that based upon the content of the August 10, 2016 email

  chain, produced to the Plaintiff herein Bates-numbered FBI(20-cv-447)-1 and -2, in which FBI

  personnel asked and answered questions relevant to the subject matter, that an electronic search

  of emails was not reasonable. To the extent there were relevant emails they would have been

  serialized and indexed in the CRS for recordkeeping, future retrieval and located through the

  FBI’s CRS search. See FBI’s Record Management Policy Guide, 0769PG (Jun. 4, 2015) at 7-8

  (Section 2.8).22

         (67)    Additional Searches Based Upon Lead: During the FBI’s preliminary review of

  OIP referred material discussed, supra ¶ 14, RIDS located a lead potentially identifying the

  existence of additional responsive records. First, RIDS consulted with FBI personnel in a

  position to have first-hand knowledge of the files of the SCO that are maintained in the FBI’s

  CRS. The FBI determined, based on the review of the SCO files, that no responsive material

  existed; however, the FBI did identify a lead to potentially responsive material maintained in a

  non-SCO related file. On March 24, 2021, the FBI conducted a term search within the FBI San

  Francisco Field Office investigative file using the terms “Seth Rich” and “Seth Conrad Rich”.

  This search resulted in the location of additional responsive reference records within the

  responsive timeframe of January 1, 2016 to June 15, 2020.

         (68)    Scope of Search. RIDS conducted a search reasonably calculated to locate records

  responsive to Plaintiff’s request concerning Seth Rich. First, RIDS conducted a term search of




  22
    The guide is publicly available in the Vault on www.fbi.gov. See https://vault.fbi.gov/records-
  management-policy-guide-0769pg-part-01-of-
  01/Records%20Management%20Policy%20Guide%200769PG%20Part%2001%20of%2001/vie
  w.
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  additional records to be processed in response to another FOIA Civil Action, as a record

  previously processed therein had been found to be responsive to Plaintiff’s request. Second,

  given its comprehensive nature and scope, the CRS is the principal records system searched by

  RIDS, to locate information responsive to most FOIPA requests, because the CRS is where the

  FBI indexes information about individuals, organizations, events, and other subjects of

  investigative interest for future retrieval. Supra ¶ 49. Third, given Plaintiff’s request seeks

  information about Seth Rich, such information would reasonably be expected to be located in the

  CRS via the index search methodology. Fourth, RIDS tailored its search to include searches

  within the FBI’s Office of Public Affairs and the FBI’s Washington Field Office. Fifth, RIDS

  followed a lead contained in records referred to it by OIP and conducted additional searches for

  responsive records. In the end, the aforementioned searches accomplished the task of locating

  non-indexed responsive reference records concerning Seth Rich within the responsive timeframe

  of January 1, 2016 to June 15, 2020.

                              FOIPA REQUEST NUMBER 1468042
             SUBJECT: MEETINGS AND COMMUNICATIONS BETWEEN FORMER FBI DIRECTOR
       ANDREW MCCABE AND SEYMOUR MYRON “SY” HERSH, ET AL., (JULY 10, 2016 – JULY 10, 2017)
            (69)    RIDS requested a targeted search for emails through the FBI’s Discovery

  Management Section (“DMS”) of former Deputy Director Andrew McCabe’s UNET email

  account for the date range of July 10, 2016 through July 10, 2017, using the following search

  terms: “Meeting”, “Hersh”, “Bowser”, “Brazile”, “Communication”, “Appointment”.23 The

  search yielded numerous emails which RIDS scoped for responsiveness. RIDS located no

  responsive records from this search.




  23
       The search included variations and combinations of each of the identified terms.
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                                          Glomar Responses

                     FOIPA Request Numbers 1468034, 1468039 and 1465971
            Subjects: Aaron Rich, Deborah Sines and Crossfire Hurricane Code Names

         (70)    In cases such as this, where a Glomar response is warranted and appropriate in

  response to Plaintiff’s requests, the FBI does not conduct a search for the requested records.

  Conducting a search for records is unnecessary because the response to the requester is not

  dependent on the results of a search and regardless of the results, the existence or non-existence

  of the requested records will not be confirmed nor denied.

                                      Partial Piercing of Glomar

                                 FOIPA Request Number 1465971
                             Subject: Crossfire Hurricane Code Names

         (71)    Following the piercing of the Exemption 7(E) Glomar, RIDS consulted with FBI

  personnel knowledgeable of the Crossfire Hurricane and related investigations. Based upon

  information provided, RIDS conducted term searches within the aforementioned investigative

  records, using among other terms, the terms “Page” and “Flynn”. These searches identified

  reference records responsive to Plaintiff’s narrowed request.

           JUSTIFICATION FOR NONDISCLOSURE UNDER THE FOIA

         (72)    The FBI processed all documents responsive to Plaintiff’s requests to achieve

  maximum disclosure consistent with the access provisions of the FOIA. Every effort was made

  to provide Plaintiff with all material in the public domain and with all reasonably segregable,

  non-exempt information. The FBI did not withhold any reasonably segregable, nonexempt

  portions from Plaintiff. Further description of the information withheld, beyond what is provided

  in this declaration, could identify the actual exempt information protected by the FBI. The FBI

  numbered all pages of its production consecutively as “FBI(20-cv-447)-1 through FBI(20-cv-

                                                  31
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  447-1596”. On the pages released in full or in part, these numbers are typically located at the

  bottom of each page. Additionally, the FBI is including a Vaughn index at Exhibit N to explain

  where within its productions of responsive records it withheld pages in their entirety and its

  reasoning for doing so; and to explain on which pages it asserted various FOIA Exemptions.

         (73)    Additionally, on the Bates-numbered documents provided to Plaintiff and on

  pages withheld in full and accounted for in the FBI’s index, the FBI further categorized its

  application of Exemptions to better explain the nature of the information withheld pursuant to the

  provisions of the FOIA. Specifically, the FBI applied numerical codes that coincide with various

  categories of exempt information. These coded categories are provided to aid the Court’s and

  Plaintiff’s review of the FBI’s explanations of the FOIA Exemptions it has asserted to withhold

  the material. The coded, Bates-numbered pages together with this declaration demonstrate that

  all material withheld by the FBI is exempt from disclosure pursuant to the cited FOIA

  exemptions, or is so intertwined with protected material segregation is not possible without

  revealing the underlying protected material.

         (74)    Each instance of information withheld pursuant to a FOIA Exemption is

  accompanied by a coded designation that corresponds to the categories listed below. For

  example, if “(b)(7)(C)-1” appears on a document, the “(b)(7)(C)” designation refers to FOIA

  Exemption 7(C) protecting against unwarranted invasions of personal privacy. The numerical

  designation of “1” following the “(b)(7)(C)” narrows the main category into a more specific

  subcategory, such as “Names and Identifying Information of FBI Special Agents and

  Professional Staff.”

         (75)    Listed below are the categories used to explain the FOIA Exemptions the FBI




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  disclosure pursuant to Exemption (b)(1), the information must meet the requirements set forth in

  E.O. 13526 § 1.1 (a):

                 1. an original classification authority is classifying the information;

                 2. the information is owned by, produced by or for, or is under the control of the
                 United States Government;

                 3. the information falls within one or more of the categories of information listed
                 in § 1.4 of E.O. 13526; and

                 4. the original classification authority determines that the unauthorized disclosure
                 of the information reasonably could be expected to result in damage to the
                 national security, which includes defense against transnational terrorism, and the
                 original classification authority is able to identify or describe the damage

         (79)    As I will explain in further detail below, in my role as an original classification

  authority, I have determined that the information withheld pursuant to Exemption (b)(1) is under

  the control of the United States Government, is classified and requires a classification marking at

  the “Secret,” level(s) since the unauthorized disclosure of this information reasonably could be

  expected to cause damage, serious damage, or exceptionally grave damage to national security.

  See E.O. 13526 § 1.2(a)(2). In addition to these substantive requirements, certain procedural and

  administrative requirements of E.O. 13526 must be followed before information can be

  considered properly classified, such as, proper identification and marking of documents. In

  particular, I made certain that all procedural requirements of E.O. 13526 were followed:

                 1. each document was marked as required and stamped with the proper
                 classification designation;

                 2. each document was marked to indicate clearly which portions are classified,
                 which portions are exempt from declassification as set forth in E.O 13526 §
                 1.5(b);

                 3. the prohibitions and limitations on classification specified in E.O. 13526 § 1.7
                 were adhered to;




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                 4. the declassification policies set forth in E.O. 13526 §§ 3.1 and 3.3 were
                 followed; and

                 5. any reasonably segregable portions of these classified documents that did not
                 meet the standards for classification under E.O. 13526 were declassified and
                 marked for release, unless withholding was otherwise warranted under applicable
                 law.

                          Findings of the Declarant Regarding Exemption 1

         (80)    With the above requirements in mind, I personally and independently examined

  the FBI’s information withheld pursuant to Exemption (b)(1). I determined all of the substantive,

  procedural, and administrative requirements set forth above have been satisfied. As a result, I

  concluded that the information protected pursuant to Exemption (b)(1) was properly classified,

  continues to warrant classification at the “Secret” level, and is exempt from disclosure pursuant

  to E.O. 13526 § 1.4(c) - “intelligence activities (including covert action), intelligence sources or

  methods, or cryptology,” and E.O. 13526 § 1.4 (d) - “foreign relations or foreign activities of the

  United States, including confidential sources.”

                 E.O. 13526, § 1.4(c) – Intelligence Activities, Sources and Methods

         (81)    E.O. 13526, § 1.4(c), exempts intelligence activities (including covert action),

  intelligence sources and methods, and cryptology from disclosure. An intelligence activity or

  method includes any intelligence action or technique utilized by the FBI against a targeted

  individual or organization that has been determined to be of national security interest. An

  intelligence method is used to indicate any procedure (human or non-human) utilized to obtain

  information concerning such individual or organization. An intelligence activity or method has

  two characteristics. First, the intelligence activity or method -- and information generated by it --

  is needed by U. S. Intelligence/Counterintelligence agencies to carry out their missions. Second,

  confidentiality must be maintained with respect to the activity or method if the viability,



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  productivity and usefulness of the information are to be preserved.

         (82)    Here, classified material was withheld pursuant to Exemption 1 to protect

  intelligence methods utilized by the FBI for gathering intelligence data. This material is

  classified because its release would reveal actual intelligence activities and methods used by the

  FBI against specific targets of foreign counterintelligence investigations or operations; identify a

  target of a foreign counterintelligence investigation; and/or disclose the intelligence gathering

  capabilities of the activities or methods directed at specific targets. The information obtained

  from/concerning the intelligence activities or methods is very specific in nature, provided during

  a specific time period, and known to very few individuals.

         (83)    It is my determination that disclosure of specific information describing the

  intelligence activities within the records at issue, and which are still used by the FBI to gather

  intelligence information in other cases, could reasonably be expected to cause serious or

  exceptionally grave damage to the national security for the following reasons: (1) disclosure

  would allow hostile entities to discover the current intelligence gathering methods used by the

  FBI; (2) disclosure would reveal current specific targets of the FBI's national security

  investigations; and (3) disclosure would reveal the determination of the criteria used and

  priorities assigned to current intelligence or counterintelligence investigations. With the aid of

  this detailed information, hostile entities could develop countermeasures which would, in turn,

  severely disrupt the FBI's intelligence gathering capabilities. This severe disruption would also

  result in severe damage to the FBI's efforts to detect and apprehend violators of the United

  States' national security and criminal laws.

         (84)    The FBI protected the following categories of information specific to intelligence

  activities and methods because disclosure reasonably could be expected to cause serious damage



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  to the national security.

                                  DETAILED INTELLIGENCE ACTIVITIES

         (85)    The FBI withheld classified information concerning detailed intelligence activities

  gathered or compiled by the FBI on a specific individual or organization of national security

  interest. The identification of these intelligence activities, which continue to furnish positive

  intelligence information to this day, will severely limit their application. In addition, disclosure

  will inform adversaries of the United States of the possible range of the FBI’s intelligence

  capabilities, as well as the probable intelligence the FBI has gathered, or can collect, concerning

  them. This knowledge could provide violators of the national security laws of the United States a

  means of avoiding lawful regulations by potentially implementing countermeasures, making

  future operations more difficult and compromising other intelligence operations. In sum, the

  disclosure of this information could reasonably be expected to cause serious damage to the

  national security, as it would: (a) reveal the actual intelligence activity utilized by the FBI against

  a specific target and (b) disclose the intelligence-gathering capabilities of the activity. This

  information is properly classified at the "Secret," level pursuant to E.O. 13526, § 1.4(c); and is

  exempt from disclosure pursuant to Exemption 1.

                                             FILE NUMBERS

         (86)    The FBI withheld classified file numbers assigned to specific intelligence

  activities, including channelization and dissemination instructions. Their release would lead to

  exposure of particular intelligence activities and methods. Individual file numbers are assigned

  by FBIHQ and field offices and contain a geographical prefix or the originating office and case

  number, which includes the numerical characterization of the type of investigation, followed by a




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  chronological number assigned to a specific investigation or activity.

         (87)    The disclosure of an intelligence file number in the aggregate will enable

  adversaries to attribute any information released from the documents containing such a file

  number to that particular file. Through analysis of this information, in concert with other

  information, including publicly available information, adversaries could then identify the specific

  intelligence activity by supplying missing pieces. Hence, a partial mosaic of the activity could

  begin to appear as more information is identified as being associated with the particular file

  number, leading to the exposure of current activities or methods. In other words, disclosure of

  file numbers will allow adversaries of the United States, or anyone not privileged to this

  information, to patch bits and pieces of information together until the activity or method is

  determined. As stated above, the identification of intelligence activities or methods, which

  continue to furnish positive intelligence information to this day, will severely limit their

  application. In addition, disclosure will inform adversaries of the possible range of the FBI’s

  intelligence capabilities, as well as the probable intelligence the FBI has gathered, or can collect,

  concerning them. This knowledge could provide violators of the national security laws of the

  United States a means of avoiding lawful regulations by potentially implementing

  countermeasures, making future operations more difficult, and compromising other intelligence

  operations. Accordingly, the release of these file numbers can lead to the exposure of the actual

  intelligence activities or methods utilized in FBI investigations, and can reasonably be expected

  to cause damage, serious damage, or exceptionally grave damage to the national security.

  This/These file number(s) are properly classified at the “Secret" level pursuant to E.O. 13526, §

  1.4(c), and are exempt from disclosure pursuant to Exemption 1.




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                                   CHARACTER AND TITLES OF CASES

          (88)    The FBI withheld classified information concerning the character and titles of the

  cases for specific types of intelligence activities directed at specific targets of national security

  interest. Disclosure of the characterization and titles of these cases could reasonably be expected

  to cause serious damage to the national security, as it would (a) disclose particular intelligence or

  counterintelligence investigations; (b) disclose the nature, scope or thrust of these investigations;

  and (c) reveal the manner of acquisition of the intelligence or counterintelligence information.

  This information is properly classified at the "Secret" level pursuant to E.O. 13526, § 1.4(c), and

  is exempt from disclosure pursuant to Exemption 1.

          (89)    The FBI withheld classified information identifying targets of FBI foreign

  counterintelligence investigations. The disclosure of this information could reasonably be

  expected to cause serious damage to the national security, as it would: (a) reveal the actual

  intelligence activity or method utilized by the FBI against a specific target; (b) disclose the

  intelligence-gathering capabilities of the method; and (c) provide an assessment of the

  intelligence source penetration of a specific target during a specific period of time.

          (90)    It is my determination the release of this information could permit hostile

  individuals and foreign governments to appraise the scope, focus, location, target and capabilities

  of the FBI's intelligence-gathering methods and activities, and allow hostile agents to devise

  countermeasures to circumvent these intelligence activities or methods and render them useless

  in providing intelligence information. This would severely disrupt the FBI's intelligence-

  gathering capabilities. This information is properly classified at the "Secret" level pursuant to

  E.O. 13526, § 1.4(c), and is exempt from disclosure pursuant to Exemption 1.




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                                             CODE WORDS

         (91)    The FBI withheld classified code words that have never been publicly revealed

  and which, if disclosed, would reveal a specific intelligence source of continuing value to the

  FBI in its investigations. A code word is unique and assigned solely to one source. It is used in

  lieu of a source’s actual name to protect the source by shielding the description of and other

  information about the source from disclosure. The withheld code words are sensitive and

  synonymous with specific, non-public intelligence collection. Public disclosure of a code word

  could allow a hostile actor to patch bits and pieces of information together until the actual

  intelligence source can be determined. In addition, disclosure of a code word could inform

  hostile actors of the possible range of the FBI’s intelligence capabilities, as well as the probable

  intelligence that the FBI has gathered, or can collect, concerning them. As release of this

  information could reasonably be expected to cause damage, serious damage, or exceptionally

  grave damage to the national security, it is properly classified at the “Confidential,” "Secret," or

  “Top Secret” level(s) pursuant to E.O. 13526, § 1.4(c), and is exempt from disclosure pursuant to

  Exemption 1.

          E.O. 13526 § 1.4 (d): Foreign Relations or Foreign Activities of the United States

         (92)    E.O. 13526, § 1.4 (d) allows for the classification of information related to foreign

  relations or foreign activities of the United States, including confidential sources. The classified

  information withheld contains sensitive intelligence information gathered by the United States

  either about or from a foreign country. This information is sensitive due in part to the delicate

  nature of international diplomacy, and must be handled with care so as not to jeopardize the

  fragile relationships that exist between the United States and certain foreign governments.

         (93)    The unauthorized disclosure of information concerning foreign relations or



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  foreign activities of the United States can reasonably be expected to lead to diplomatic or

  economic retaliation against the United States; identify the target, scope, or time frame of

  intelligence activities of the United States in or about a foreign country, which may result in the

  curtailment or cessation of these activities; enable hostile entities to assess United States

  intelligence gathering activities in or about a foreign country and devise countermeasures against

  these activities; or compromise cooperative foreign sources, which may jeopardize their safety

  and curtail the flow of information from these sources. Release of this information could

  reasonably be expected to cause serious damage to the national security and is therefore properly

  classified at the "Secret" level pursuant to E.O. 13526, § 1.4(d), and is exempt from disclosure.

                                          EXEMPTION (b)(3)

                           INFORMATION PROTECTED BY STATUTE

         (94)    Exemption (b)(3) exempts from disclosure information which is “specifically

  exempted from disclosure by statute . . . if that statute (A)(i) requires that the matters be withheld

  from the public in such a manner as to leave no discretion on the issue; or (A)(ii) establishes

  particular criteria from withholding or refers to particular types of matters to be withheld.” 5

  U.S.C. § 552 (b)(3). The OPEN FOIA Act of 2009 established an additional requirement that any

  statute "enacted after the date of enactment of the OPEN FOIA Act of 2009, [must] specifically

  cite[] to this paragraph" in order to qualify under Exemption 3.

                 (b)(3)-1: NATIONAL SECURITY ACT OF 1947, 50 U.S.C. § 3024 (I)(1)

         (95)    The FBI asserted FOIA Exemption Category (b)(3)-1 to withhold information

  pursuant to Section 102A(i)(1) of the National Security Act of 1947 (“NSA”), as amended by the

  Intelligence Reform and Terrorism Prevention Act of 2004 (“IRTPA”). This statute (50 U.S.C. §

  3024(i)(1)) provides that the Director of National Intelligence (“DNI”) “shall protect from



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  unauthorized disclosure intelligence sources and methods.”24 As relevant to U.S.C. §

  552(b)(3)(B), the National Security Act of 1947 was enacted before the date of enactment of the

  OPEN FOIA Act of 2009. On its face, this federal statute leaves no discretion to agencies to

  withhold from the public information about intelligence sources and methods. Thus, the

  protection afforded to intelligence sources and methods by 50 U.S.C. § 3024(i)(1) is absolute.

  See CIA v. Sims, 471 U.S. 159 (1985).

            (96)   In order to fulfill its obligation of protecting intelligence sources and methods, the

  DNI is authorized to establish and implement guidelines for the Intelligence Community (“IC”)

  for the classification of information under applicable laws, Executive Orders, or other

  Presidential Directives, and for access to and dissemination of intelligence. 50 U.S.C. §

  3024(i)(1). In implementing this authority, the DNI promulgated Intelligence Community

  Directive 700, which provides that the heads of the IC elements shall protect “national

  intelligence and intelligence sources and methods and activities from unauthorized disclosure.”25

  The FBI is one of 18 member agencies comprising the IC, and as such must protect intelligence

  sources and methods.

            (97)   Given the plain congressional mandate to protect the IC’s sources and methods of

  gathering intelligence, the FBI has determined that intelligence sources and methods would be

  revealed if any of the withheld information is disclosed to the plaintiff. Therefore, the FBI is




  24
   Section 102A(i)(1) of the National Security Act was previously codified at 50 U.S.C. §
  403(i)(1). As a result of the reorganization of Title 50 of the U.S. Code, Section 102A(i)(1) is
  now codified at 50 U.S.C. § 3024(i)(1).
  25
       Intelligence Community Directive (ICD) 700, dated June 7, 2012, at ¶ E. 2.a.

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  prohibited from disclosing such information under 50 U.S.C. § 3024 (i)(1).26

         (98)    The FBI is asserting Exemption 3, at times in conjunction with Exemptions 1 and

  7(E), to withhold information that would reveal intelligence sources and methods. In some

  instances, information would reveal classified intelligence sources and methods protected by

  Exemption 1. In some instances, information was also withheld under Exemption 7(E) because

  unclassified intelligence sources and methods were employed as law enforcement techniques,

  procedures, or guidelines, and thus would qualify as both an intelligence source and method

  under Exemption 3 and a law enforcement technique under Exemption 7(E). Notably, 50 U.S.C.

  § 3024 (i)(1) protects sources and methods regardless of whether they are classified. See Sims,

  471 U.S. at 176.

   (b)(3)-2: FEDERAL GRAND JURY INFORMATION – FEDERAL RULES OF CRIMINAL PROCEDURE 6(E)

         (99)    The FBI asserted FOIA Exemption Category (b)(3)-2 to protect Federal Grand

  Jury information pursuant to Federal Rules of Criminal Procedure 6(e).27 As relevant to 5 U.S.C.

  § 552(b)(3)(B), Rule 6(e) is a statute enacted before the date of enactment of the OPEN FOIA




  26
    Although 50 U.S.C. § 3024 (i)(1) does not impose a requirement to articulate harm, disclosure
  of this information presents a bona fide opportunity for individuals to develop and implement
  countermeasures, resulting in the loss of significant intelligence information, sources, and
  methods relied upon by national policymakers and the IC to safeguard the national security.
  27
    As prescribed by 18 U.S.C. § 3771 (subsequently repealed by Pub.L. 100-702, Title IV, §
  404(a)(1) (Nov. 19, 1988) and replaced by 28 U.S.C. § 2074), proposed rules become effective
  ninety days after the Chief Justice reports them to Congress. By order of April 26, 1976, the
  Supreme Court adopted amendments to the Federal Rules of Criminal Procedure which included
  Rule 6(e) and reported the amendments to Congress. Congress voted to delay the effective date
  of several of the proposed rules, to include Rule 6(e), “until August 1, 1977, or until and to the
  extent approved by Act of Congress, whichever is earlier.” Pub.L. No. 94-349 § 1, 90 Stat. 822
  (1976). Subsequently, Congress, by statute, enacted a modified version of Rule 6(e). See Pub.L.
  No. 95-78, § 2(a), 91 Stat. 319 (1977), FED. R. CRIM. P. 6(e)

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  Act of 2009.28 It is well established Rule 6(e) embodies a broad, sweeping policy of preserving

  the secrecy of grand jury material regardless of the substance in which the material is contained.

  Records responsive to Plaintiff’s request details information about one or more federal grand

  juries empaneled in relation to the investigations at issue. Specifically, the investigative files

  contain information about the names of recipients of federal grand jury subpoenas; information

  that identifies specific records subpoenaed by a federal grand jury; and copies of specific records

  provided to a federal grand jury in response to federal grand jury subpoenas. Wherever the FBI

  protected this information, it found a clear nexus to federal grand jury proceedings on the face of

  the responsive documents, and any disclosure of this information would clearly violate the

  secrecy of the grand jury proceedings and could reveal the inner workings of a federal grand

  jury, which the FBI is precluded from disclosing. Thus, the FBI properly withheld this

  information pursuant to Exemption (b)(3), in conjunction with Rule 6(e).

       (b)(3)-3: INFORMATION SPECIFICALLY EXEMPTED BY 18 U.S.C. § 3123 (PEN REGISTERS)

         (100) The FBI asserted FOIA Exemption Category (b)(3)-3 to withhold pen register

  information specifically exempted pursuant to 18 U.S.C. § 3123(d), the Pen Register Act, which

  protects from disclosure information pertaining to certain court "order(s) authorizing or

  approving the installation and use of a pen register or a trap and trace device;" and information

  pertaining to "the existence of the pen register or trap and trace device or the existence of the

  investigation." A pen register is a device that records phone numbers dialed to or from a target

  telephone. The statute mandates that a court order be obtained prior to installing or using a pen

  register, unless the user of the telephone consents to the device. Orders for pen registers are




  28
   The OPEN FOIA Act of 2009 was enacted October 28, 2009. See Pub.L. 111-83, 123 Stat.
  2142, 2184.
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  sealed unless otherwise ordered by the court. Exemption (b)(3) protects the court order in its

  entirety; the identity of the individual on whom it is placed; the location of the device;

  information obtained from the device; and any other specifics regarding the pen register/trap and

  trace device. Where documents at issue contain information that if disclosed would reveal the

  existence or use of a pen register or trap and trace device, or reveal the existence of an

  investigation involving a pen register or trap and trace device, that information is protected from

  disclosure by Exemption 3. As relevant to 5 U.S.C. § 552 (b)(3)(B), the Pen Register Act is a

  statute29 enacted before the date of enactment of the OPEN FOIA Act of 2009.

         (101) Specifically, the information withheld from disclosure consists of the identities

  and phone numbers of the individuals targeted by the pen registers and individuals whose

  information was collected due to their contact with the targets of the pen registers, as well as the

  information gathered by the devices. Since such information is specifically exempted pursuant to

  18 U.S.C. § 3123, the FBI properly asserted FOIA Exemption 3 to withhold this information

  from disclosure. Accordingly, the FBI properly applied Exemption 3 to withhold information,

  because it is precluded from disclosing such information pursuant to 18 U.S.C. § 3123.30

                            (b)(4)-1: Confidential Commercial Information
         (102) Exemption 4 of the FOIA protects “trade secrets and commercial or financial



  29
    The Electronic Communications Privacy Act (“ECPA”) was passed in 1986 (Pub. L. No. 99-
  508, 100 Stat. 1848). There were three main provisions or Titles to the ECPA. Title III created
  the Pen Register Act, which included restrictions on private and law enforcement uses of pen
  registers. The United States statutes governing pen registers are codified under 18 U.S.C.,
  Chapter 206. Section 216 of the 2001 USA PATRIOT Act expanded the definition of a pen
  register to include devices or programs that provide an analogous function with internet
  communications.
  30
    On Bates page 93, the FBI inadvertently cited coded category (b)(3)-3. This has been corrected
  to (b)(3)-1.

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  information obtained from a person [that is] privileged or confidential.” 5 U.S.C. § 552(b)(4).

  This exemption is intended to protect the interests of both the government and submitters of

  information. Its very existence encourages submitters to voluntarily furnish useful confidential

  commercial or financial information to the government and provides the government with an

  assurance that required submissions will be reliable. The exemption also affords protection to

  those submitters who are required to furnish confidential commercial or financial information to

  the government by safeguarding them from the competitive disadvantages that could result from

  disclosure.

           (103) For purposes of Exemption 4, commercial and financial information is considered

  confidential when it is 1) both customarily and actually treated as private by its owner; and 2)

  provided to the government with an assurance of privacy. In reviewing the records at issue, the

  FBI located information that originated with a private commercial institution. Specifically the

  FBI located a ten (10) page report, clearly marked as “COPYRIGHT PROPRIERTARY AND

  CONFIDENTIAL – NOT TO BE SHARED WITH THIRD PARTIES” and each page of content

  contains a marking that reads “Proprietary and Confidential.”31 In order to determine whether or

  not this information qualified for protection pursuant to Exemption 4, on May 19, 2021, the FBI

  contacted the private commercial institution to establish if the information located by the FBI

  was customarily treated as private by the commercial institution; and whether or not they

  provided this information to the FBI with an assurance of privacy. The private commercial

  institution informed the FBI that the information located by the FBI is treated as private by the

  private commercial institution and it was shared with an expectation the FBI would not disclose

  this information publicly. Based on the proprietary nature of this information and the detriment



  31
       This record is Bates-numbered FBI(20-cv-447)-637 through -646.
                                                  47
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  to their commercial interests public release would entail, the private commercial institution

  informed the FBI it would not have supplied this information originally without a belief the FBI

  would hold this information in confidence. As such, the FBI determined this confidential

  commercial information was provided to the FBI under an assurance of confidentiality, and is

  exempt pursuant to Exemption 4.

                          EXEMPTION 5 – PRIVILEGED INFORMATION

         (104) FOIA Exemption 5 has been construed to exempt documents and information

  normally privileged in the civil discovery context. It incorporates the attorney work product,

  attorney-client, and deliberative process privileges. The attorney work product privilege protects

  documents and other memoranda prepared by an attorney or under the direction of an attorney as

  part of, or in reasonable anticipation of litigation. The attorney-client privilege protects

  confidential communications from a client to an attorney and from an attorney to a client for the

  purpose of seeking and providing legal advice. The privilege covers client-supplied information

  and opinions given by an attorney based on and reflecting that information. The deliberative

  process privilege protects predecisional, deliberative communications that are part of a process

  by which agency decisions are made. It protects opinions, advice, evaluations, deliberations,

  proposals, and recommendations that form part of an agency decision-making process, as well as

  the selection and sorting of factual information relied upon as part of that decision-making

  process.

         (105) In order to apply Exemption 5, agencies must first satisfy the threshold

  requirement – i.e., show that the information protected was “inter-agency or intra-agency.” Once

  the threshold is satisfied, agencies must satisfy the elements of the pertinent privilege. With

  respect to the attorney work product privilege, agencies must show that the withheld information



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  was created by, or for, an attorney in reasonable anticipation of litigation. With respect to the

  attorney-client privilege, agencies must show that the withheld information concerns confidential

  information shared between a client and his or her attorney for the purpose of obtaining or

  providing legal advice or assistance. With respect to the deliberative process privilege, agencies

  must show that the withheld information was both predecisional – i.e., antecedent to a final

  agency decision – and deliberative – i.e., part of the process in which the agency engaged in an

  effort to reach a final decision regarding of whether a final decision was reached.

                             (b)(5)-1: DELIBERATIVE PROCESS PRIVILEGE

         (106) Within FOIA Exemption Category (b)(5)-1, the FBI withheld privileged,

  deliberative materials. The deliberative process privilege protects the internal deliberations of the

  government by insulating recommendations, analyses, opinions, and other non-factual

  information comprising the decision-making process; Exemption 5 allows for the withholding of

  such privileged material – i.e., material that contains, or was prepared in connection with the

  formulation of, opinions, advice, evaluations, deliberations, policies, proposals, conclusions, or

  recommendations. The privilege also protects records and information that if disclosed, would

  reveal an agency’s sorting, evaluation, and analysis of facts to make recommendations or reach a

  final decision. Exemption 5, when asserted in conjunction with the deliberative process privilege,

  is predicated on the recognition that release of this privileged information would inhibit the

  government’s development of policy and stifle its decision-making process. Furthermore,

  exempting such material from disclosure protects against public confusion that might result from

  the disclosure of preliminary opinions and information that do not, in fact, reflect the final views

  or policies of the FBI. The exemption and privilege together protect not only documents but also

  the integrity of the deliberative process itself where exposure of the process would result in



                                                   49
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  harm. The FBI invokes Exemption 5 and the deliberative process privilege because FBI

  employees would hesitate to offer their candid and conscientious opinions to superiors or

  coworkers if they knew that their opinions of the moment might become a matter of public

  record in the future, and because such self-censorship would, in turn, degrade the quality of

  agency decisions by depriving the decision-makers of fully-explored options developed from

  robust debate.

         (107) The FBI relied on Exemption 5 and the deliberative process privilege to protect

  internal deliberative communications, handwritten investigative interview notes, a draft

  interview prompt and outline and draft prosecution memorandums. These materials reflect

  deliberations integral to reaching final agency decisions or were key to a decision making

  process aimed at developing and achieving the best agency decisions. The deliberative

  communications, handwritten investigative interview notes, draft interview prompt and outline

  and draft prosecution memorandums are deliberative and pre-decisional. Additionally, in

  compliance with the FOIA Improvement Act of 2016, all of this material was created less than

  25 years before the submission of Plaintiff’s request.

          EMAIL COMMUNICATION AND TWO (2) FD-1057 ELECTRONIC COMMUNICATIONS32

         (108) The FBI asserted Exemption 5 pursuant to the deliberative process privilege to

  withhold responsive portions of an email communication and responsive portions of two (2) FD-

  1057 Electronic Communications (“ECs”). The withheld information falls within the deliberative

  process privilege. Exempting such information from disclosure protects against public confusion

  that might result from the disclosure of preliminary opinions and information that do not, in fact,




  32
    The email communication is Bates-numbered FBI(20-cv-447) 1-2 and the two (2) FD-1057’s
  are Bates-numbered FBI(20-cv-447) 692-694 and 727-729.
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  reflect the final views or policies of the FBI. The exemption and privilege together protect not

  only the information, but also the integrity of the deliberative process itself where exposure of

  the process would result in harm. The FBI invokes Exemption 5 and the deliberative process

  privilege because FBI employees would hesitate to offer their candid and conscientious opinions

  to superiors or coworkers if they knew that their opinions of the moment might become a matter

  of public record in the future, and because such self-censorship would, in turn, degrade the

  quality of agency decisions by depriving the decision-makers of fully-explored options

  developed from robust debate.

                DRAFT HANDWRITTEN INTERVIEW NOTES AND DRAFT TYPED FD-302S

         (109) The FBI asserted Exemption 5 category (b)(5)-1, to withhold in its entirety intra-

  agency deliberate draft handwritten interview notes recorded during interviews conducted by the

  Special Counsel Office investigating Russia’s alleged interference in the 2016 election (“the

  Russia investigation”) and other related investigations, along with draft typed FD-302s. The SCO

  was responsible for directing the investigative efforts of a team of attorneys and FBI agents

  conducting the Russia investigation.33 As part of these efforts, the SCO conducted numerous

  witness interviews at the direction, and at times, in the presence of attorneys from the Special

  Counsel’s Office (SCO). The interview notes and draft typed FD-302s at issue herein34 are draft

  documents containing the special agent’s shorthand notes of thoughts, ideas, impressions and

  interpretations of the verbal interview of third-party individuals interviewed during the SCO

  investigation and other related investigations. They are inherently deliberate in nature as the


  33
    The SCO was staffed with attorneys, FBI investigative personnel including SAs, analysts, and
  other investigative personnel as well as FBI’s administrative staff.
  34
   The handwritten interview notes are Bates-numbered FBI(20-cv-447) 12-13, 17-20, 24-27, 31-
  32, 152-155, 307-308, 318-319, 400-401, 440-441, 442-443, 627, 651-652, 731-732, 767-768,
  772-773, 769-771 and 1595-1596.
                                                   51
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  informal documentation does not always appear verbatim in the final interview record. The

  thoughts, ideas, and impressions contained in the handwritten interview notes at issue here were

  edited and distilled during the editorial process for the creation of the final agency decision

  subsequently reflected in multiple FD-302s; hence its predecisional nature. The FBI processed

  and released to Plaintiff the responsive portions of the final FD-302s corresponding to the

  handwritten notes and draft typed FD-302s herein.

         (110) The deliberative process privilege protects records and other information that, if

  disclosed, would reveal the agency’s collection of multitudinous facts, and the sorting,

  evaluation, and analysis of those facts to make recommendations or reach a final agency

  decision. Exemption 5, when asserted in conjunction with the deliberative process privilege, is

  predicated on the recognition that release of the privileged information would stifle the decision-

  making process. Furthermore, exempting such records from disclosure protects against public

  confusion that might result from the preliminary disclosure of opinions and other information

  that do not reflect the final views of the FBI. The exemption and privilege together protect not

  only records, but also the integrity of the deliberative process itself when exposure of that

  process would result in harm.

         (111) Release of the handwritten notes and draft typed FD-302s at issue herein would

  result in the following foreseeable harm to the deliberate process privilege. First, release of the

  draft handwritten notes and draft typed FD-302s would have a chilling effect on special agents’

  willingness to document and share comprehensive interview notes drafts if they knew that

  unrefined investigative notes, strategies, reflected in the notes would be subject to disclosure.

  Second, release of the draft handwritten notes and draft typed FD-302s would reveal special

  agents’ internal deliberations and sorting of multitude of ideas and at times, investigative



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  strategies considered at time of the interview, but later determined not relevant or ineffective.

  Third, release of these handwritten notes and draft typed FD-302s would create public confusion

  as it will reveal information noted in the draft handwritten notes and in the draft typed FD-302s,

  later determined not necessary for inclusion in the final agency FD-302. Accordingly, the FBI

  properly withheld this information pursuant to Exemption 5. Additionally, in compliance with

  the FOIA Improvement Act of 2016, the records at issue were created less than 25 years before

  the submission of Plaintiff’s request.

                              DRAFT INTERVIEW PROMPT AND OUTLINE35

         (112) The FBI also asserted Exemption 5, deliberative process privilege to withhold in

  their entirety a draft interview prompt and draft outline used during the interviews of third party

  subjects of investigative interest in the records processed herein. The predecisional documents

  predate the interviews and are in integral part of the deliberations to develop a final investigative

  strategy. The release of this type of information would disrupt the FBI’s ability to prepare for

  interviews/questioning through the use of interview prompts and outlines. In addition, release of

  this information would discourage FBI employees from preparing such prompts and outlines,

  thus inhibiting the interview process. Revealing the specific questions contemplated by the FBI

  relating to the specific investigations contained in the responsive records herein would reveal the

  scope and types of questions used for these particular investigations, thus interfering with the

  investigative process. Furthermore, the information obtained during the interview and contained

  on the interview prompt and outline would also be withheld in accordance with the same




  35
   The draft interview prompts and outlines are Bates-numbered FBI(20-cv-447) 772-773 and
  1595-1596.
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  rationale described above for the draft handwritten interview notes.

                                DRAFT PROSECUTION MEMORANDUMS36

         (113) In addition, the FBI asserted Exemption 5, deliberative process privilege along

  with the attorney work product privilege, to withhold in its entirety, portions of five (5) draft

  prosecution memorandums, consisting of 18 pages, containing information gathered and

  compiled for purposes of determining whether or not to prosecute particular individuals. These

  memorandums contain markings and at times comments, to draw the reviewers attention to

  portions of material which has been edited and/or added to during the drafting process. These

  drafts predate the final agency decisions and reflect the give and take of deliberations through the

  editing process. Exemption 5, when asserted in conjunction with the deliberative process

  privilege, is predicated on the recognition that release of this privileged information would

  inhibit the government’s development of policy and stifle its decision-making process.

         (114) In the instances wherein the FBI withheld draft material pursuant to Exemption 5,

  the FBI found the draft material was inter-agency, was pre-decisional (predated the final

  product), was deliberative (the material was shared to solicit feedback/edits), and release could

  potentially harm agency deliberations. The harm here would be a chilling effect on agency

  employees' willingness to share such drafts if they knew their unrefined ideas would be subject

  to public disclosure. Furthermore, there would be a risk of public confusion in that these drafts

  do not reflect final agency decisions.

                                      Foreseeable Harm Analysis

         (115) The deliberative process privilege is intended to protect the decision-making



  36
    The draft prosecution memorandums were part of the records OIP sent to the FBI for
  consultation. The records are numbered as Document ID: 0.7.5411.6226-00002, 0.75411.6240-
  000001, 0.7.5411.6197-000001, 0.7.5411.6236-000001 and 0.7.5411.7068.
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  process of government agencies from public scrutiny in order to ensure the quality of agency

  decisions. The documents discussed above reflect successive versions of working drafts, and as

  such, show the internal development of the final positions taken by the FBI decision-makers with

  respect to third party subjects of investigative interest. The disclosure of any of the

  aforementioned drafts would reveal the evolving thought process of FBI employees when

  providing guidance, recommendations, and other types of feedback concerning third party

  subjects of investigative interest. Disclosure of documents that contain recommendations

  concerning third party subjects of investigative interest would hamper the ability of FBI

  employees to freely engage in the candid “give and take” in seeking and providing feedback to

  further refine agency actions. Releasing the documents would effectively communicate to FBI

  employees involved in preparing official statements and other types of communications that

  drafts of a statement could be released to the public despite drafts containing merely suggestions

  or possibly inaccurate information. The possibility that a rejected draft recommendation

  concerning third party subject of investigative interest would hinder employees from freely

  providing recommendations or other feedback to decision-makers. Curtailing such deliberations

  could harm the quality and accuracy of future recommendations.

         (116) For the reasons discussed above, the FBI properly protected the deliberative

  materials described under Exemption 5, based on the deliberative process privilege. The FBI

  endeavored to segregate non-deliberative facts, whenever possible, and only withheld such

  material when it found it was inextricably intertwined with agency deliberations. Accordingly,

  the FBI properly withheld these privilege materials pursuant to Exemption 5.




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                              (b)(5)-2: Attorney Work Product Privilege

         (117) Within FOIA Exemption Category (b)(5)-2, the FBI protected privileged attorney

  work products. The attorney work product privilege protects such tangible and intangible items

  as interviews, memoranda, correspondence, mental impressions, and personal beliefs prepared or

  developed by an attorney, or at the direction of an attorney, in reasonable anticipation of

  litigation. The privilege is predicated on the recognition proper preparation of a case depends on

  an attorney’s ability to assemble information, sort relevant from irrelevant facts, and prepare

  his/her legal theories and strategies without intrusive or needless scrutiny.

         (118) The FBI relied on the attorney work product privilege to protect inter-agency

  materials created by attorneys and at the direction of attorneys in reasonable anticipation of

  litigation. Specifically, the FBI protected draft prosecution memorandums. This information

  satisfies Exemption 5’s threshold because these records were drafted by and exchanged between

  FBI personnel and Department of Justice personnel. Furthermore, these records are

  quintessential attorney work products and readily satisfy the elements of the attorney work

  product privilege because they were created by attorneys and at the direction of attorneys

  involved in the handling of the Special Counsel’s Office investigations and/or related

  investigations. As described supra, release of this type of information would interfere with

  government attorneys’ ability to properly prepare their legal theories and strategies, and hinder

  them in proving the best possible representation of their clients [the government]. Finally,

  because the attorney work product privilege protects both factual and deliberative material,

  segregation is not required. Accordingly, the FBI properly withheld this information pursuant to

  Exemption 5.




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                                  EXEMPTION 7 THRESHHOLD

         (119) Before an agency can invoke any of the harms enumerated in Exemption (b)(7), it

  must first demonstrate that the records or information at issue were compiled for law

  enforcement purposes. Pursuant to 28 USC §§ 533 and 534, Executive Order 12333 as

  implemented by the Attorney General’s Guidelines for Domestic FBI Operations (AGG-DOM),

  and 28 C.F.R. § 0.85, the FBI is the primary investigative agency of the federal government with

  authority and responsibility to investigate all violations of federal law not exclusively assigned to

  another agency, to conduct investigations and activities to protect the United States and its

  people from terrorism and threats to the national security, and to further the foreign intelligence

  objectives of the United States. Under this investigative authority, the responsive records herein

  were compiled for the following law enforcement purposes.

         (120) The records at issue were created and compiled in furtherance of the FBI’s role in

  the Special Counsel’s Office (“SCO”) investigation and related investigations. These records

  were created and compiled to document the FBI’s investigation of potential crimes and threats to

  the national security, thus, the FBI determined they were created and compiled for a law

  enforcement purposes.37

                                          EXEMPTION 7(A)

                        PENDING LAW ENFORCEMENT PROCEEDINGS

         (121) FOIA Exemption 7(A) exempts from disclosure records or information compiled

  for law enforcement purposes, but only to the extent that the production of such law enforcement

  records or information…could reasonably be expected to interfere with enforcement




  37
   Both DOJ and the FBI are responsible for maintaining portions of the SCO record collection,
  with FBI retaining the investigative records.
                                                   57
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  proceedings. 5 U.S.C. § 552 (b)(7)(A)

         (122) Application of this exemption requires: the existence of law enforcement records;

  a pending or prospective law enforcement proceeding; and a determination that release of the

  information could reasonably be expected to interfere with the enforcement proceeding. Often,

  the FBI asserts Exemption 7(A) categorically to withhold a variety of different documents in an

  investigative file, which the FBI then groups into functional categories and describes in greater

  detail. In this case, however, the FBI asserted Exemption 7(A) in a limited fashion to protect

  information concerning a pending investigative FBI File number and the subject of an FBI

  pending investigation contained within the responsive records. The release of this information

  would reveal unknown information concerning pending enforcement procedures, to include the

  existence of unknown investigations. The FBI determined release of any of this material would

  provide criminals with information about the government’s investigation/enforcement strategies

  in ongoing matters, allow them to predict and potentially thwart these strategies, and/or allow

  them to discover/tamper with witnesses and/or destroy evidence. As such, revealing this

  information could reasonably be expected to interfere with pending enforcement proceedings.

  Thus, the FBI has applied Exemption 7(A) to protect this information.

                        FOIA EXEMPTIONS (b)(6) AND (b)(7)(C)
                    UNWARRANTED INVASION OF PERSONAL PRIVACY

         (123) Exemption 6 exempts from disclosure “personnel and medical files and similar

  files the disclosure of which would constitute a clearly unwarranted invasion of personal

  privacy.” 5 U.S.C. § 552(b)(6). All information that applies to a particular person falls within the

  scope of Exemption 6.

         (124) Exemption 7(C) similarly exempts from disclosure “records or information

  compiled for law enforcement purposes…[when disclosure] could reasonably be expected to

                                                   58
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  constitute an unwarranted invasion of personal privacy.” 5 U.S.C. § 552(b)(7)(C).38

         (125) When withholding information pursuant to these two exemptions, the FBI is

  required to balance the privacy interests of the individuals mentioned in these records against any

  public interest in disclosure. In asserting these exemptions, each piece of information was

  scrutinized to determine the nature and strength of the privacy interest of every individual whose

  name and/or identifying information39 appears in the records at issue. A public interest exists

  only when information about an individual, such as the individual’s name, or other identifying

  information, would shed light on the FBI’s performance of its mission to protect and defend the

  United States against terrorist and foreign intelligence threats, to uphold and enforce the criminal

  laws of the United States, and to provide criminal justice services to federal, state, municipal,

  tribal, and international agencies and partners. In each instance wherein information was

  withheld pursuant to Exemptions 6 and 7(C), the FBI determined that the individuals’ privacy

  interests outweighs any public interest in disclosure. It is also the FBI’s policy to release all

  names of high-ranking FBI officials in policy-making positions, as well as individuals in public

  positions, as they do not have privacy rights while acting in their official capacity. This policy is

  applied to the individual’s position at the time of the document, and not the present.



  38
    The practice of the FBI is to assert Exemption 6 in conjunction with Exemption 7(C). Although
  the balancing test for Exemption 6 uses a “would constitute a clearly unwarranted invasion of
  personal privacy” standard and the test for Exemption 7(C) uses the lower standard of “could
  reasonably be expected to constitute an unwarranted invasion of personal privacy,” the analysis
  and balancing required by both exemptions are sufficiently similar to warrant a consolidated
  discussion. The privacy interests are balanced against the public’s interest in disclosure under
  both exemptions.
  39
    Hereafter, identifying information includes the following, but is no limited to, dates and places
  of birth; aliases; social security numbers; aliases; mailing, residential, and business addresses;
  work, residential and cellular telephone numbers; email addresses; subscriber, user and screen
  names; education and employment history and/or information.

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               (b)(6)-1 and (b)(7)(E)-1: NAMES AND OTHER IDENTIFYING INFORMATION
                          OF FBI SPECIAL AGENTS AND PROFESSIONAL STAFF

         (126) Within FOIA Exemption Category (b)(6)-1 and (b)(7)(C)-1, the FBI withheld the

  names and other identifying information of FBI Special Agents (“SAs”) and professional staff.

  These FBI SA’s and professional staff were responsible for conducting, supervising, and

  maintaining investigations, investigative activities, and administrative activities reflected in the

  records responsive to Plaintiff’s requests. These responsibilities include, but are not limited to,

  the following: coordinating and completing tasks in support of the FBI’s investigative and

  administrative functions, compiling information, conducting interviews, and reporting on the

  status of the investigations.

         (127) Assignments of SAs to particular investigations are not by choice. Publicity,

  adverse or otherwise, arising from a particular investigation and use of specific FBI investigative

  techniques, may seriously prejudice their effectiveness in conducting other investigations and

  performing day-to-day work. The privacy consideration is also applied to protect FBI SAs, as

  individuals, from unnecessary, unofficial questioning as to the conduct of this or other

  investigations, whether or not they are currently employed by the FBI. When working on an

  investigation, FBI SAs look into potential criminal and national security violations. Publicity

  associated with the release of an SA’s identity in connection with a particular investigation could

  trigger hostility toward the SA. During an investigation, an SA may engage with all strata of

  society, conducting searches and making arrests, both of which result in reasonable but

  nonetheless serious disturbances to people and their lives. Persons targeted in investigations and

  those sympathetic to those targeted could seek to harass or even inflict violence on an SA based

  on her or her participation in an investigation. This is because individuals targeted by law



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  enforcement actions may carry a grudge against those involved with an investigation, which may

  last for years. These individuals may seek revenge on SAs (and other federal employees)

  involved in a particular investigation. Moreover, there is no public interest served by disclosing

  the SAs’ identities because their identities would not significantly increase the public’s

  understanding of the FBI’s operations and activities. Thus, disclosure of this information would

  constitute a clearly unwarranted invasion of personal privacy; and the FBI properly withheld the

  names and other identifying information of FBI SAs pursuant to Exemptions 6 and 7(C).

         (128) The FBI also withheld the names and other identifying information of FBI

  professional staff pursuant to Exemptions 6 and 7(C). Similar to the FBI SAs, these FBI

  employees could be targeted for reprisal based on their involvement in specific investigations.

  Furthermore, these FBI professional staff members were, and possibly are, in positions of access

  to information regarding official law enforcement investigations, and therefore could become

  targets of harassing inquiries for unauthorized access to FBI information if their identities were

  released. Thus, these individuals maintain substantial privacy interests in not having their

  identities disclosed. In contrast, the FBI concluded that no public interest would be served by

  disclosing the identities of these FBI professional staff members to the general public because

  their identities would not significantly increase the public’s understanding of the FBI’s

  operations and activities. Accordingly, after balancing the professional staff members substantial

  privacy interests against the non-existent public interest, the FBI determined that disclosure of

  their identities would constitute a clearly unwarranted invasion of their personal privacy.

  Therefore, the FBI properly withheld the names and other identifying information of FBI

  professional staff pursuant to Exemptions 6 and 7(C).

         (129) Additionally, the FBI withheld the Unique Employee Identification Numbers



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  (“UEID”) of FBI professional staff members involved in the classification and review of the

  records. UEIDs are singular numbers assigned to employees and serve as a means of

  identification within the government. This unique identifier could be used to identify the

  employees who reviewed the responsive documents. This, in turn, could subject the employee to

  targeted attempts to obtain sensitive or classified FBI information which they may have access to

  due to their FBI employment. Furthermore, adversaries could co-opt the information in an

  attempt to impersonate the employees’ identities in relation to agency business. As such, the FBI

  determined these employees maintain substantial privacy interests in not having their UEID

  disclosed. In contrast, there is no public interest in this singular piece of information because its

  disclosure would not significantly increase the public’s understanding of FBI operations and

  activities. The disclosure of this information would constitute a clearly unwarranted invasion of

  personal privacy; therefore, the FBI properly withheld the UEIDs pursuant to Exemptions 6 and

  7(C).

                      (b)(6)-2 and (b)(7)(C)-2: NAMES AND OTHER IDENTIFYING
                        INFORMATION OF THIRD PARTIES MERELY MENTIONED

          (130) Within FOIA Exemption Category (b)(6)-2 and (b)(7)(C)-2, the FBI withheld the

  names and other identifying information of third parties who were merely mentioned in the

  investigative records responsive to Plaintiff’s requests. The FBI has information about third

  parties in its files because such individuals were tangentially mentioned in conjunction with FBI

  investigative efforts. However, these individuals were not of investigative interest to the FBI. .

  These third parties maintain substantial and legitimate privacy interests in not having this

  information disclosed and thus, connected to FBI law enforcement matters. Considering the FBI

  is an investigative and intelligence agency, disclosure of these third parties’ names and other

  identifying information in connection with FBI records carries an extremely negative


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  connotation. Disclosure of their identities would subject these individuals to possible harassment

  or criticism and focus derogatory inferences and suspicion on them. With regard to public

  interest that would override privacy interests, the FBI concluded that disclosing information

  about individuals who were merely mentioned in an FBI file would not significantly increase the

  public’s understanding of the operations and activities of the FBI. Accordingly, the FBI properly

  protected these individuals’ privacy interests pursuant to FOIA Exemptions 6 and 7(C).40

                      (b)(6)-3 and (b)(7)(C)-3: NAMES AND OTHER IDENTIFYING
                       INFORMATION OF PERSONS OF INVESTIGATIVE INTEREST

         (131) Within FOIA Exemption Category (b)(6)-3 and (b)(7)(C)-3, the FBI withheld the

  names and other identifying information of third parties who were of investigative interest to the

  FBI. Being identified as a subject of FBI investigative interest carries a strong negative

  connotation and a stigma, regardless of whether the individuals ever committed a criminal act.

  Release of the identities of these individuals to the public could subject them to harassment or

  embarrassment, as well as undue public attention, resulting in potential professional and social

  repercussions. Accordingly, the FBI determined that these individuals maintain substantial

  privacy interests in not having their identities disclosed. In contrast, disclosing personal

  information about these individuals would not shed light on the FBI’s operations and activities.

  The FBI concluded that there was no public interest sufficient to override these individuals’

  substantial privacy interests. For these reasons, the FBI properly withheld this information

  pursuant to Exemptions 6 and 7(C).




  40
    Upon further review of the responsive portions of records, the FBI is asserting Exemption
  Coded Categories (b)(6)-2 and (b)(7)(C)-2 in addition to the other previously asserted Exemption
  Coded Categories to withhold in its entirety, Bates-numbered page FBI(20-cv-447)-279. The
  addition of these Exemption Coded Categories in relation to this Bates-numbered page is
  identified in the FBI’s Vaughn Index attached hereto as Exhibit N.
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               (b)(6)-4 and (b)(7)(C)-4: NAMES AND OTHER IDENTIFYING INFORMATION
                           OF THIRD PARTIES WHO PROVIDED INFORMATION

          (132) Within FOIA Exemption Category (b)(6)-4 and (b)(7)(C)-4 and at times in

  conjunction with FOIA Exemption (b)(7)(D), the FBI withheld the names and other identifying

  information of third-party individuals who were interviewed, or provided information by other

  means, to the FBI during its investigation of third parties. The identifying information of, and

  information provided by, these third-party individuals appears within the FBI’s files because

  these individuals willingly divulged information relevant to FBI investigative efforts. These

  individuals were not of investigative interest to the FBI. Plaintiff has not provided a privacy

  waiver from the third-parties authorizing release of their information, nor has Plaintiff supplied

  proof of death; therefore, these individuals maintain substantial and legitimate privacy interests

  in not having their cooperation or connection to FBI law enforcement matters disclosed.

  Considering the FBI is an investigative and intelligence agency, disclosure of these individuals’

  names and identifying information in connection with FBI records carries an extremely negative

  connotation.

          (133) Disclosure of the identities of individuals who willingly provide information to

  the FBI could subject these individuals to harassment or embarrassment, undue public attention,

  and unwanted inquiries for information related to their assistance. They could also be targeted

  for retaliation by investigative subjects or by those who simply disparage cooperation with law

  enforcement. Exposure of a third party’s cooperation with law enforcement could also lead to

  legal or economic detriment, negative professional and social repercussions, possible physical

  harm, or even death. Thus, the FBI has determined these individuals maintain substantial privacy

  interests in not having their identities disclosed.

          (134) In contrast, the FBI could identify no public interest in the disclosure of this

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  information because disclosure of these individuals’ names and identifying information would

  not shed light on or significantly increase the public’s understanding of the operations and

  activities of the FBI. The FBI concluded the non-existent public interest here was insufficient to

  override these individuals’ substantial privacy interests; therefore, the FBI properly protected

  these individuals’ privacy interests pursuant to Exemptions 6 and 7(C). The FBI is also relying

  on Exemption 7(D) to withhold this information in many instances.

               (b)(6)-5 and (b)(7)(C)-5: NAMES AND OTHER IDENTIFYING INFORMATION
                           OF NON-FBI FEDERAL GOVERNMENT PERSONNEL

          (135) Within FOIA Exemption Category (b)(6)-5 and (b)(7)(C)-5, the FBI withheld the

  names and identifying information of personnel from non-FBI, federal, government agencies

  who provided information to or otherwise assisted the FBI in its investigation of third-parties.

  The rationale for protecting the identities of other federal government employees is the same as

  the rationale for protecting the identities of FBI employees. See ¶¶ 127-128, supra. Publicity,

  adverse or otherwise, concerning the assistance of other agency employees in FBI investigations

  would seriously impair their effectiveness in assisting with or participating in future FBI

  investigations. The privacy consideration also protects these individuals from unnecessary,

  unofficial questioning as to the FBI investigation. It is possible for a person targeted by law

  enforcement action to carry a grudge which may last for years, and to seek revenge on the

  personnel involved in the investigations/investigative activities at issue in these FBI records. The

  publicity associated with the release of their names and/or identifying information in connection

  with these investigations/investigative activities could trigger hostility towards them by such

  persons. Therefore, these employees maintain substantial privacy interests in not having their

  identities disclosed in this context. In contrast, there is no public interest to be served by the

  disclosure of these employees’ names and other identifying information because their identities,

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  by themselves, would not demonstrate how the FBI performed its statutory mission and thus,

  would not significantly increase the public’s understanding of the FBI’s operations and activities.

  Accordingly, the FBI properly protected these employees’ privacy interests pursuant to FOIA

  Exemptions 6 and 7(C).

                           (b)(6)-6 and (b)(7)(C)-6: SURVIVOR PRIVACY41

         (136) Within FOIA Exemption Category (b)(6)-6 and (b)(7)(C)-6, the FBI withheld

  information derived from Seth Rich’s personal laptop as such information would violate the

  privacy rights of the survivors of Seth Rich. Seth Rich died in July 2016.42 At the time of his

  death, he was 27 years old and employed with the Democratic National Committee in

  Washington, D.C. He was survived by his parents and one brother. Seth Rich’s death was

  investigated by the Metropolitan Police Department (“MPD”). Soon after his death the FBI’s

  Washington Field Office Criminal Division contacted MPD and offered its assistance; however,

  MPD declined the offer. The FBI did not open an investigation into the murder of Seth Conrad

  Rich, nor did it provide investigative or technical assistance to MPD.43

         (137) Through its search efforts in response to Plaintiff’s FOIPA Request Number

  1465531, records were located within the Special Counsel Office’s records collection maintained

  by the FBI. Specifically, the FBI located an FD-302 documenting a meeting which took place on

  March 15, 2018. At the meeting, a source provided to an FBI Agent assigned to assist with the


  41
     Upon further review of the records processed herein, the FBI is also asserting FOIA
  Exemption Coded Category (b)(6)-6 and (b)(7)(C)-6 to withhold information assigned Bates-
  number FBI(20-cv-447)-422. The addition of this FOIA Exemption Coded Category is contained
  in the FBI’s Vaughn Index attached hereto as Exhibit N.
  42
    Seth Rich’s personal laptop contains among other things, photographs, various types of media
  and documents (i.e. .jpeg, .pdf, .docx, .html, .mp3, .gif, etc.)
  43
   See 1:18-cv-01568-LB Clevenger v. U.S. Department of Justice, et al., ECF No. 16-1
  Declaration of David M. Hardy and ECF# 37 Second Declaration of David M. Hardy.
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  Special Counsel’s Office investigation, information and material extracted from Seth Rich’s

  personal laptop. The FBI did not utilize the information received to aid in its DNC investigation

  or any other investigations. Further, since the FBI had no involvement in the extraction of the

  data from Seth Rich’s personal laptop, there is no way to know with certainty if the information

  provided by the source and maintained by the FBI in the Special Counsel’s Office record

  collection, accurately depicts the contents of the information contained on Seth Rich’s personal

  laptop at the time of his death.

         (138) Seth Rich’s death drew significant media attention and speculation as to the cause

  and reasons for his death. So much so, that the actions which transpired after his death caused his

  parents on March 14, 2018 to file a lawsuit in the United States District Court for the Southern

  District of New York, assigned Civil Action No. 1:18-cv-02223, styled, Joel Rich and Mary Rich

  v. Fox News Network, LLC, et al. The District Court dismissed the Rich’s state torts claims,

  however, on appeal the United States Court of Appeals for the Second Circuit concluded that the

  Richs’ allegations plausibly state claims for intentional infliction of emotional distress and

  tortious interference with contract, and that they are capable of supporting claims of negligent

  supervision. On September 13, 2019, the USCA’s vacated the district court’s judgment

  dismissing the complaint and remanded the case for further proceedings. Once remanded the

  Richs’ were engaged in another year of litigation prior to the civil action being resolved on

  December 2, 2020 by the filing of a Joint Stipulation of Dismissal.

         (139) Seth Rich has no privacy interests due to being deceased, however, the same

  cannot be said for those that survive him and are left to cherish his memory. Seth Rich’s

  survivors have a substantial privacy interest in not having the content of his personal laptop

  disclosed, as it may contain information of family (parents and siblings), friends or



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  acquaintances (professional or personal), his favorite music and other material that would reveal

  details concerning both personal and sensitive relationships. In today’s technical age, personal

  laptops are used for a myriad of day to day tasks, to include corresponding with friends and

  family via email, scheduling appointments, tele-health visits, face-time and/or video chats,

  downloading and storing music and photographs and for preparing and storing documents

  relative to one’s personal interests and/or groups and organizations an individual is affiliated

  with or for which an individual is a member.

         (140) In balancing the survivors’ privacy interest in non-disclosure against the public

  interest in disclosure the FBI determined that the survivors’ privacy interest outweighs the

  public’s interest in disclosure, as disclosure of the information on Seth Rich’s personal laptop

  would not shed light on the operations and activities of the FBI. Further, the information on Seth

  Rich’s personal laptop, in and of itself, would not demonstrate how the FBI performed its

  statutory mission and thus, would not significantly increase the public’s understanding of the

  FBI’s operations and activities. Accordingly, the FBI properly protected the privacy interests of

  the survivors of Seth Rich pursuant to FOIA Exemptions 6 and 7(C).

                EXEMPTION 7(D) – CONFIDENTIAL SOURCE INFORMATION

         (141) Exemption 7(D) protects “records or information compiled for law enforcement

  purposes” when disclosure:

         could reasonably be expected to disclose the identity of a confidential source, including a
         State, local or foreign agency or authority or any private institution which furnished
         information on a confidential basis, and, in the case of a record or information compiled
         by a criminal law enforcement authority or by an agency conducting a lawful national
         security intelligence investigation, information furnished by a confidential source.

  5 U.S.C. § 552(b)(7)(D).

         (142) Numerous confidential sources report to the FBI on a regular basis. They provide

  information under an express assurance of confidentiality and are “informants” within the
                                                   68
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  common meaning of the term. Others are interviewed and provide information under an implied

  assurance of confidentiality (i.e., under circumstances from which an assurance of confidentiality

  may be inferred). In either situation, these sources are considered to be confidential because they

  furnish information only with the understanding that their identities and the information they

  provide will not be divulged outside the FBI (outside of the investigative use of the information

  to, for example, set leads). Information provided by the sources is often singular in nature and, if

  released, could reveal their identities. The FBI has learned through experience that sources

  assisting, cooperating with, and providing information to the FBI must be free to do so without

  fear of reprisal. The FBI has also learned that sources must be free to furnish information to the

  FBI with complete candor and without the understandable tendency to hedge or withhold

  information because of fear that their cooperation with the FBI will later be made public. Sources

  providing information to the FBI should be secure in the knowledge that their assistance and

  their identities will be held in confidence.

         (143) The release of a source’s identity would forever eliminate that source as a future

  means of obtaining information. In addition, when the identity of one source is revealed, that

  revelation has a chilling effect on the activities and cooperation of other sources. Such a result

  undermines one of the FBI’s most important means of collecting information and could thereby

  severely hamper law enforcement efforts to detect and apprehend individuals engaged in the

  violation of federal criminal laws.

                        (b)(7)(D)-1: CONFIDENTIAL SOURCE SYMBOL NUMBER

         (144) Within FOIA Exemption Category (b)(7)(D)-1, the FBI withheld the permanent

  source symbol number given to an FBI confidential human source (“CHS”). The FBI assigns

  permanent source symbol numbers in sequential order to CHSs who report information to the



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  FBI on a regular basis under an express assurance of confidentiality. Because the FBI does not

  refer to the CHS by their true name, they are referred to by their individually assigned permanent

  source symbol numbers to protect their identity. The FBI obtained information from the

  confidential source relevant to the investigations discussed within the records at issue.

         (145) If the FBI disclosed the confidential source symbol number of its CHS, their

  identities could be ascertained by persons knowledgeable of the FBI’s investigations and the

  events and subjects involved. This is because, as stated above, these singular numbers are

  assigned to a specific individual. Repeated release of their numbers, specifically within the

  context of certain events or in association with certain singular information, could enable

  criminals or others familiar with the events or information to pinpoint who could possibly have

  been present at certain events or could possibly have known different pieces of information.

  Furthermore, once a source’s identity is discerned, the source, as well as their family, could be

  subjected to embarrassment, humiliation, and physical or mental harm. Moreover, the disclosure

  of a CHS’s identity would likely portray the FBI as unwilling to protect its CHSs from exposure

  and as negligent in honoring its promises to keep a CHSs’ identity confidential. This could

  dissuade current and future CHSs with access to critical information from cooperating with the

  FBI. The FBI has found that it is only with the understanding of confidentiality that the aid of

  such sources can be enlisted, and only through this understanding that sources can be persuaded

  to continue to provide valuable assistance. Accordingly, release of symbol source numbers could

  endanger current and past FBI CHSs and their families, and could harm the FBI’s ability to

  recruit and maintain CHSs, the FBI properly withheld this information pursuant to FOIA

  Exemption 7(D).




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                  (b)(7)(D)-2: IDENTIFYING INFORMATION OF AND INFORMATION
            PROVIDED BY SOURCES UNDER AN EXPRESS ASSURANCES OF CONFIDENTIALITY

          (146) Within FOIA Exemption Category (b)(7)(D)-2, the FBI withheld the identifying

  information of and information provided by a third party to the FBI under an express assurance

  of confidentiality. When processing the records at issue, the FBI found evidence that these

  individuals, who provided specific and detailed information that is singular in nature, either

  requested their identities not be revealed; and FBI investigators would have, by standard

  practice, expressly promised that their identifies and the information they provided (outside its

  investigative use) would remain confidential.

          (147) Providing an express assurance of confidentiality is essential to the FBI’s ability

  to obtain relevant and accurate information from confidential human sources (“CHS”). Without

  such an assurance, individuals with access to information critical to FBI investigations may be

  reluctant to provide information or may modify their statements to lessen the severity of any

  backlash. Therefore, the FBI must provide a credible assurance of confidentiality to these

  individuals in order to obtain factual, relevant, and timely information. Release of a source’s

  identity and any singular information they provided may lead to the revelation of the source’s

  identity and would display an unwillingness by the FBI to honor its assurances of confidentiality

  to current and future CHSs. Therefore, release of this information would have a lasting negative

  impact on the FBI’s information program as it would greatly hinder the FBI’s ability to recruit

  and maintain CHSs willing to provide accurate and relevant information pertaining to criminal

  activities.

          (148) Within the records at issue, the FBI determined that its investigators granted

  certain individuals an express assurance of confidentiality because it located positive indicators

  signaling that these individuals were official, established FBI sources. In some instances, sources


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  were described as being a CHS”) or a “cooperating witness” (“CW”). The designations of CW or

  CHS are positive indications that these individuals entered into an official, confidential

  relationship with the FBI in which they would have, by standard FBI practice, been provided

  with an express assurance of confidentiality. In other instances, the FBI located sources given

  source symbol numbers.44 Thus, the use of a symbol source number is also a positive indication

  sources were officially established and supplied with express grants of confidentiality.

            (149) In sum, the FBI located evidence indicating that these individuals supplied

  information to the FBI with an express assurance that their names and other identifying

  information, and the information they provided (outside of its investigative use) would be held in

  confidence. Release of such information would endanger these CHSs and cause great detriment

  to the FBI’s ability to recruit and maintain reliable CHSs; thus, the FBI properly protected this

  information pursuant to Exemption 7(D).

              (b)(7)(D)-3: NAME, OTHER IDENTIFYING INFORMATION OF, AND INFORMATION
           PROVIDED BY A LOCAL LAW ENFORCEMENT AGENCY UNDER IMPLIED ASSURANCES OF
                                         CONFIDENTIALITY

            (150) Within FOIA Exemption Category (b)(7)(D)-3, the FBI withheld the name,

  identifying information of, and information provided by local law enforcement personnel under

  an implied assurance of confidentiality. Certainly, the FBI does not infer that all state or local

  law enforcement authorities who cooperate in federal investigations do so with expectations of

  confidentiality. However, under some circumstances, such an expectation may be inferred. Here,

  law enforcement authorities provided specific detailed information of value to the FBI, which is

  singular in nature, concerning a subject thought to be of investigative interest. The FBI inferred

  these personnel provided this information to the FBI with an expectation their involvement in the



  44
       See ¶¶ 143-144 supra for further description of source symbol numbers.
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  investigation, and the information they provided, would remain confidential due to the following:

  1) the information and assistance provided would disclose their agency’s law enforcement

  techniques, or details about law enforcement techniques, that are not publicly known; and 2) the

  information provided in some instances concerns the law enforcement agency’s own confidential

  sources.

         (151) The FBI relies heavily on assistance from its state and local law enforcement

  partners in pursuing its law enforcement and intelligence gathering missions. The disclosure of

  this information could have disastrous consequences. If this information were released to the

  public under FOIA, these agencies would be less likely to freely share sensitive information with

  the FBI. It could also harm the FBI’s ability to seek support and or assistance from these

  agencies during joint investigations. Additionally, the FBI’s disclosure of such information could

  1) jeopardize these agencies’ investigative techniques and procedures as disclosure would allow

  criminals to predict and circumvent use of these techniques and procedures; 2) discredit these

  state and local law enforcement authorities with current and future confidential sources, and

  greatly hinder their ability to recruit their own valuable sources; and 3) subject the agencies’

  personnel to violent reprisal. Accordingly, it is reasonable for the FBI to infer these state and law

  enforcement authorities provided this information to the FBI under circumstances in which an

  assurance of confidentiality can be implied. Thus, this information is exempt from disclosure

  pursuant to FOIA Exemption 7(D).

             (b)(7)(D)-4: INFORMATION PROVIDED BY A FOREIGN GOVERNMENT AGENCY
                        UNDER AN IMPLIED ASSURANCE OF CONFIDENTIALITY

         (152) Within FOIA Exemption Category (b)(7)(D)-4, the FBI withheld information

  provided by foreign government agency authorities under an implied assurance of

  confidentiality. The FBI has many agreements with foreign governments under which national

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  security and criminal law enforcement information is exchanged The FBI’s conclusion is that the

  foreign government agency at issue here expected confidentiality in its dealing with the FBI and

  with regard to the information it provided to the FBI is based on the Foreign Government

  Information Classification Guide #1 (“G-1 Guide”). The G-1 Guide is issued in accordance with

  E.O. 13526, 75 Fed. Reg. 707 (2010) and 75 Fed. Reg. 1013 (2010); the National Archives and

  the Records Administration (“NARA”) Information Security Oversight Office (“ISOO”)

  Implementing Directive Number One; the FBI Security Policy Manual (rev. Apr. 3, 2006); and

  the designated Original Classification Authority (“OCA”) of the Executive Assistant Director,

  FBI National Security Branch. The G-1 Guide governs classification of foreign government

  information that foreign governments have asked the FBI to protect over the course of time. The

  FBI uses the G-1 Guide to determine the level and duration of derivative classification of foreign

  government information, including unmarked internal FBI documents which are being reviewed

  for possible classification.

          (153) While ostensibly a classification document, the G-1 Guide also provides for

  confidentiality in non-national security areas. Specifically, it provides that the relationship

  between certain foreign law enforcement entities and the FBI will not be disclosed and will

  remain confidential, at the request of those foreign entities. As relevant here, although according

  to the G-1 Guide, the foreign agency referenced in the records at issue here did not request its

  relationship with the FBI be classified it did request the relationship not be disclosed. Therefore,

  the fact that the foreign government agency here specifically requested its relationship with the

  FBI not be disclosed demonstrates that it expected and continues to expect implied

  confidentiality in its interactions with the FBI and with regard to the information it provides to

  the FBI for law enforcement and national security purposes under applicable information sharing



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  agreements.

         (154) The release of official United States Government documents revealing the

  existence of such confidential relationship with a long-term foreign government partner, in

  contravention of law enforcement and national security information sharing agreements,

  reasonably could be expected to strain relations between the United States and foreign

  governments and lead to negative diplomatic, political, or economic repercussions. Furthermore,

  a breach of this relationship can be expected to have a chilling effect on the free flow of vital law

  enforcement/national security information to the FBI, which would impede the FBI’s

  effectiveness in countering/solving crimes and protecting the national security.

         (155) For the reasons explained above, the FBI properly concluded that the foreign

  government agency whose identity and information were protected within FOIA Exemption

  Category (b)(7)(D)-4 expected confidentiality in its dealings with the FBI, and consequently, that

  there was an implied assurance of confidentiality.

                                        EXEMPTION (b)(7)(E)

                      INVESTIGATIVE TECHNIQUES AND PROCEDURES

         (156) Exemption 7(E) protects “records of information compiled for law enforcement

  purposes” that would disclose techniques and procedures for law enforcement investigations or

  prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if

  such disclosure could reasonably be expected to risk circumvention of the law. 5 U.S.C. §

  552(b)(7)(E)

         (157) Within the records responsive to Plaintiff’s requests, the FBI applied Exemption

  (b)(7)(E) to non-public investigative techniques and procedures utilized by the FBI to carry-out

  its law enforcement function, and to non-public details about techniques and procedures that are

  otherwise known to the public. Specifically, the FBI properly asserted Exemption 7(E) to protect

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  the following categories of information.

                  (b)(7)(E)-1: FBI INTERNAL E-MAIL ADDRESSES AND NON-PUBLIC
                                         WEB ADDRESSES

         (158) Within FOIA Exemption Category (b)(7)(E)-1, the FBI withheld internal e-mail

  addresses and non-public intranet web addresses. Releasing this information would provide

  criminals with specific targets for cyber-attacks or other attacks on FBI secure communications.

  Considering the current cyber-security environment where government data breaches and other

  hacking attempts on government systems are prevalent, it is likely that the release of this type of

  information could provide hackers with avenues to exploit the FBI’s information technology

  system. Criminals could use this information to gain unauthorized access to FBI systems and,

  view and manipulate sensitive investigative data, interfere with the FBI’s non-public intranet

  protocol, and/or hinder the FBI’s ability to enforce the law by disrupting the FBI’s internal

  communications. Releasing this information poses substantial risks to FBI information systems,

  could potentially decrease the FBI’s effectiveness, and could enable criminals to circumvent the

  law. Accordingly, the FBI properly asserted Exemption 7(E) to withhold this information.

            (b)(7)(E)-2: SENSITIVE INVESTIGATIVE FILE NUMBERS AND SUB-FILE NAMES

         (159) Within FOIA Exemption Category (b)(7)(E)-2, the FBI protected sensitive

  investigative file numbers and sub-file names. The FBI determined that this exemption is

  appropriate for protecting these file numbers and sub-file names because the release of these

  numbers and sub-file names which are not publicly known, could result in identification of the

  investigative interest or priority given to certain sensitive matters. Further, revealing the names

  of files or sub-files concerning sensitive techniques would obviously then reveal that the FBI

  used particular types of techniques in certain national security investigations. It would also show,

  globally, what types of investigative strategies the FBI uses in countering and/or investigating


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  certain type of criminal behavior. The file numbers and sub-file names the FBI protected are not

  known to the general public. These file numbers (or UCFNs) contain three separate components.

  The first component consists of the FBI file classification numbers which indicate the types of

  investigative or intelligence gathering programs to which these investigations pertain. Many of

  the FBI’s classification numbers are public, which makes disclosure of this non-public

  information even more telling. For example revealing a non-public file classification number,

  such as a money laundering file classification number, would reveal that the FBI has a money

  laundering investigative file on a subject who, for example, was only known to be investigated

  for crimes related to public corruption. Thus, revealing key non-public information about the

  FBI’s money laundering investigation. Additionally, releasing non-public FBI file classification

  numbers would provide criminals and foreign adversaries with the ability to discern the types of

  highly sensitive investigations the FBI is pursuing and reveal critical information about non-

  public investigative techniques and procedures used in such investigations.

          (160) The protected investigative file numbers also contain the two-letter office of

  origin code, indicating which FBI field office or overseas FBI legat initiated the investigations.

  Providing this information, in many instances, would provide critical information about where

  and how the FBI detected particular criminal behaviors or national security threats, and reveal

  key pieces about non-public FBI investigations and intelligence or evidence gathering sources

  and methods. Revealing this information could also risk disclosing non-public FBI investigations

  or intelligence gathering initiatives, by revealing interests in a field office’s or legat’s area of

  responsibility. Releasing this information could also provide significant information about the

  FBI’s failure to detect certain types of criminal behavior. For example, a criminal operating out

  of San Francisco, California with ties to a criminal organization under investigation in the FBI’s



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  Seattle Field Office, could request the FBI’s Seattle Field Office’s investigative file. If the FBI

  were to disclose all the originating office codes in that investigative file, and there was no

  indication the FBI ever pursued an investigation in San Francisco, the criminal could reasonably

  assume the FBI failed to locate evidence of their wrongdoing, emboldening them to continue

  illegal activities, undeterred.

          (161) The third component of the investigative file numbers is the assigned string of

  numbers for the particular subject matter under investigation. Releasing these singular file

  numbers would provide criminals and foreign adversaries with a tracking mechanism by which

  they can place particular files, and thus, investigations within the context of larger FBI

  investigative efforts. The release of all three components of sensitive investigative file numbers

  would provide criminal and foreign adversaries with an idea of how FBI investigations may be

  interrelated and, potentially, when, why, and how the FBI pursued different investigations. This

  would provide criminals and foreign adversaries with a means of judging where the FBI allocates

  its limited investigative resources, how the FBI responds to different investigative circumstances,

  what the FBI knows and when/how they obtained the knowledge, and if there are knowledge

  gaps in the FBI’s gathered evidence or intelligence.

          (162) In summary, releasing sensitive FBI investigative file numbers and sub-file names

  would allow criminals and foreign adversaries to obtain an exceptional understanding of where,

  who, what, and how the FBI investigates certain violations of federal law. Release of this

  information would enable these criminals and foreign adversaries to predict actions the FBI may

  take in certain types of investigations and they may structure their behavior in response to avoid

  detection and disruption by FBI, enabling them to circumvent the law. Accordingly, the FBI




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  properly asserted FOIA Exemption 7(E) to protect this type of information.

                                 (b)(7)(E)-3: DATABASE INFORMATION

         (163) Within FOIA Exemption Category (b)(7)(E)-3, the FBI withheld the identity of a

  sensitive investigative database used for official law enforcement purposes by the FBI. Releasing

  the identity of this database or any information located therein would give criminals insight into

  the tools and resources the FBI uses to conduct criminal and national security investigations (i.e.,

  the scope of information stored within the databases, how the FBI uses the databases to support

  its investigations, the types of information most valued by the FBI for particular investigations,

  and vulnerabilities of the databases).

         (164) Revealing the use of this database in the context of FBI investigative records,

  would reveal the nature of its utility to FBI investigators and the scope of information stored

  therein. Disclosing when and why the FBI queries this database would reveal key information

  about FBI investigative strategies. This is because different investigative databases contain

  varying datasets, and revealing the types of data sought by investigators in particular

  investigative circumstances would reveal the strategies employed in response to different

  investigative circumstances.

         (165) Revealing the types of information stored in this database would also reveal the

  types of information most useful to FBI investigators. This would provide criminals with an

  understanding of how they might structure their behavior and deploy countermeasures to deprive

  the FBI of useful intelligence and evidence, thus jeopardizing FBI investigations.

         (166) Finally, revealing the identity of this database could jeopardize FBI investigations

  by revealing exactly where the FBI stores and from where it obtains valuable investigative data.

  Knowing the database name makes the original source data an attractive target for compromise.



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  It would allow criminals who gain access to FBI systems an idea of where they can go to

  discover what the FBI knows, how it gathered the information, and possible information

  regarding the FBI’s investigative strategies. It would also provide criminals with the opportunity

  to corrupt or destroy information stored within this database.

         (167) In summary, release of the identity of a sensitive investigative database would

  impede the FBI’s effectiveness and potentially aid in circumvention of valuable investigative

  techniques. Therefore, the FBI properly withheld this information pursuant to Exemption 7(E).

                           (b)(7)(E)-4: CODE NAMES FOR INVESTIGATIONS

         (168) Within FOIA Exemption Category (b)(7)(E)-4, the FBI withheld information

  pertaining to sensitive code names associated with sensitive law enforcement and national

  security investigations, which have not been publicly disclosed. If disclosed this information will

  reveal a technique of continuing value to the FBI in its ongoing law enforcement investigations.

  Code names are unique and assigned solely to one particular law enforcement investigative

  technique. They are used in lieu of the actual name, description, and information concerning a

  specific law enforcement investigation of national security interest. Public disclosure of codes

  names will allow a criminal, hostile actor, or one not privy to this code name, to patch bits and

  pieces of information together until the actual use of this technique can be determined. In

  addition, the disclosure of code names will inform hostile actors of the possible breadth of or

  reveal intelligence capabilities, as well as the probable evidence or intelligence that the FBI has

  gathered, or can collect, concerning them. This information is properly withheld pursuant to

  FOIA Exemption 7(E).

                          (b)(7)(E)-5: TYPES AND DATES OF INVESTIGATIONS

         (169) Within FOIA Exemption Category (b)(7)(E)-5, the FBI withheld information

  pertaining to the types and dates of investigations referenced in the records responsive to
                                                   80
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  Plaintiff’s FOIA requests. Specifically, some of the information withheld, when referenced in

  connection with investigations and not in general discussion, pertains to the types of

  investigations, such as whether it is a “preliminary” or “full” investigation, and the dates the FBI

  initiated the investigations. Disclosure of the type of investigation would inform criminals of the

  specific techniques and procedures that investigators could use because designation of an

  investigation as a “full” investigation permits FBI investigators to use certain techniques and

  procedures, not permitted in a “preliminary” investigation, as well as when the techniques and

  procedures could have been used. Additionally, this information would give criminals valuable

  insight into how the FBI develops its investigations. Release of this information would allow

  investigative subjects to predict FBI investigative strategies and adjust their behavior

  accordingly. Moreover, revealing when a specific criminal activity in general warrants an

  investigation could cause criminals to adjust their conduct to avoid investigative scrutiny by the

  FBI.

         (170) In summary, disclosure of information related to the types and timing of

  investigations could enable criminals to time and structure their illegal activities to circumvent

  the FBI’s attempts to enforce federal laws; therefore, the FBI properly withheld this information

  pursuant to Exemption 7(E).

                      (b)(7)(E)-6: COLLECTION AND ANALYSIS OF INFORMATION

         (171) Within FOIA Exemption Category (b)(7)(E)-6, the FBI withheld methods it uses

  to collect and analyze information it obtains for investigative purposes. The release of this

  information would disclose the identity of methods used in the collection and analysis of

  information, including how and from where the FBI collects information and the methods

  employed to analyze it once collected. Such disclosures would enable subjects of FBI



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  investigations to circumvent these and similar techniques, thus diminishing their usefulness.

  This, in turn, would facilitate the ability of investigative subjects to accumulate information

  regarding the circumstances under which specific methods were used and the utility of the

  information obtained. Release of this type of information would enable criminals to educate

  themselves about the methods employed to collect and analyze information and therefore allow

  them to take countermeasures to circumvent the effectiveness of these methods and continue to

  engage in activities that violates the law. Accordingly, the FBI properly withheld this

  information pursuant to FOIA Exemption 7(E).

                       (b)(7)(E)-7: SPECIFIC LAW ENFORCEMENT TECHNIQUE
                    UTILIZED TO CONDUCT NATIONAL SECURITY INVESTIGATIONS

         (172) Within FOIA Exemption Category (b)(7)(E)-7, the FBI withheld sensitive law

  enforcement techniques used to conduct national security investigations, in conjunction with

  FOIA Exemptions 1, (E.O. 13526, § 1.4(c)) and (50 U.S.C. § 3024(i)(1)). Due to the nature of

  these techniques, they qualify for protection pursuant to FOIA Exemption 7(E) as they are non-

  public investigative techniques, the release of which would enable criminals to circumvent the

  law; but they also qualify for protection pursuant to Exemptions 1 and/or 3 as they are also

  intelligence gathering techniques used in the national security context. These investigative

  techniques are highly sensitive and releasing additional information about them or discussing

  them in greater detail here would reveal their very nature, and when and how they are utilized by

  the FBI in criminal and national security investigations. This would enable criminals and foreign

  adversaries targeted by these techniques to predict and circumvent their use. As such, the FBI

  asserted Exemption 7(E), in conjunction with both Exemptions 1 and 3, to properly withhold this

  information to protect sensitive national security investigative techniques.




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                   (b)(7)(E)-8: INVESTIGATIVE FOCUS OF SPECIFIC INVESTIGATIONS

         (173) Within FOIA Exemption Category (b)(7)(E)-8, the FBI withheld the focuses of

  specific FBI counterintelligence investigations. These focuses have not been publicly disclosed.

  Revealing this information to investigative targets would alert them to the FBI’s interest in their

  activities, allowing them to take active measures to conceal and destroy evidence or modify their

  behavior to avoid future investigative scrutiny. Additionally, revealing the broader investigative

  focuses of interconnected national security investigations would reveal the scope of the FBI’s

  gathered evidence and intelligence on third party subjects of investigative interest, connections it

  has discovered between different criminals or foreign adversaries, and the strategies it plans to

  pursue to prevent or disrupt further national security threats. This would allow these foreign

  adversaries to predict the FBI’s investigative strategies and modify their activities or operation

  security measures to thwart FBI investigative efforts. Additionally, release of this information in

  the context of the investigative records at issue would provide foreign adversaries a preview of

  how the FBI will respond to similar investigative situations, allowing them to preemptively

  deploy countermeasures to disrupt FBI investigative efforts of their own, unrelated activities.

         (174) Release of this type of information would also reveal key information about FBI

  intelligence gathering capabilities. Revealing when and why the FBI pursues or shifts

  investigative focuses would reveal key information about the types of investigative intelligence

  the FBI possessed at particular points in time, and possibly when and how such information was

  obtained. This could enable foreign adversaries to discover non-public details about FBI

  intelligence and evidence gathering methods, and help them determine how they might modify

  their operational security to deprive the FBI of such critical intelligence and evidence.

         (175) In summary, releasing the focus of specific FBI national security investigations



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  would allow targets of these investigations to thwart FBI efforts to investigate/disrupt their

  activities; stunt the FBI’s broader strategies for pursuing interrelated investigations; provide key

  information about FBI investigative strategies for pursuing national security investigations; and

  reveal key information about the FBI’s intelligence and evidence gathering capabilities.

  Therefore, as release of this information would enable criminals to circumvent the law, the FBI

  properly withheld this information pursuant to Exemption 7(E).

                    (b)(7)(E)-9: IDENTITIES OF AN FBI UNIT, SQUAD, AND DIVISION

         (176) Within FOIA Exemption Category (b)(7)(E)-9, the FBI withheld the identity of an

  FBI unit, squad, and division involved in the investigations of third parties maintained in the

  SCO records responsive to Plaintiff’s request. Such information is often found in the

  administrative headings of internal FBI documents. These headings identify the unit, squad, and

  division that originated or received the documents. Disclosing the location of the unit, squad, and

  division could reveal the investigative subject(s) and the physical area(s) of interest in the

  investigation, and, when taken together or combined with other location information, could

  establish a pattern or “mosaic” that identification of a single location would not. If the locations

  are clustered in a particular area, that information would allow criminals to avoid those locations,

  especially if one or more locations appeared with frequency or in a pattern. This would disrupt

  the investigative process and deprive the FBI of valuable information. Withholding the identity

  of a specific unit, squad and division is justified under a similar rationale. Once identified, the

  area(s) of expertise assigned to the unit, squad and division’s would become known and the

  targets of the investigations would be able to discern the investigative strategies used by the FBI.

  For example, knowing that a unit whose focus is on financial crimes is involved in an

  investigation is quite different than knowing that the unit involved has a focus on crimes of



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  violence. This knowledge could allow a subject to employ countermeasures targeted toward

  concealing particular types of behavior and allow them to make informed decisions to avoid

  certain activities in a certain location. Furthermore, certain FBI units and squads are highly

  specialized, and thus, deploy specialized techniques and procedures. Revealing their involvement

  in an investigation would reveal non-public details concerning the specific techniques and

  procedures used under certain investigative circumstances, and subsequently allow for criminals

  to predict when the FBI will use these techniques and procedures. This would allow such

  criminals to discover and circumvent the deployment of these techniques and procedures, greatly

  reducing their effectiveness.

         (177) In summary, the FBI withheld the identification and location of a particular unit,

  squad, and division to prevent criminals from adjusting their behavior and activities to

  circumvent FBI law enforcement efforts. Accordingly, the FBI properly asserted Exemption 7(E)

  to withhold this information.

                 CONSULTATIONS WITH OTHER GOVERNMENT AGENCIES

         (178) During the processing of Plaintiff’s request, the FBI consulted with other

  government agencies (“OGAs”) concerning their information located within documents

  responsive to Plaintiff’s requests. These agencies include the DOJ, OIP and the Executive Office

  for the United States Attorneys (“EOUSA”).

                                               DOJ/OIP

         (179) The FBI consulted with DOJ/OIP concerning Bates-numbered pages FBI(20-cv-

  447)-10-13, 14-21, 22-28, 29-32, 41-43, 67-72, 73-78, 148-156, 306-310, 316-323 and 437-

  443.45 DOJ, OIP requested the FBI assert Exemption (b)(5) to withhold portions of information


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    As a result of bates-numbering changes that occurred prior to the receipt of OIP’s response, the
  records provided to them bearing Bates-numbered pages FBI(20-cv-447)-37-40 were changed to
                                                   85
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  on their behalf on Bates-numbered pages FBI(20-cv-447)-14, 15, 16, 21-23 and 28. The

  Declaration filed by DOJ/OIP in support of Defendants’ Motion for Summary Judgment

  addresses these withholdings. The Bates-numbered pages wherein this information is withheld

  are included in the FBI’s Vaughn Index and identified as “Per DOJ/OIP.”

                                               EOUSA

         (180) The FBI consulted with EOUSA concerning Bates-numbered pages FBI(20-cv-

  447)-44-46 and 59-60. As a result of bates-numbering changes that occurred prior to the receipt

  of EOUSA’s response, the records were re-numbered and these records were assigned Bates-

  numbered pages FBI(20-cv-447)-405-407 and 420-421. EOUSA requested the FBI assert

  Exemptions (b)(6) and (b)(7)(C) to withhold information on Bates-numbered page 44 (now

  numbered 405) and Exemptions (b)(5), (b)(6) and (b)(7)(C) to withhold information in its

  entirety on bates-numbered pages 59-60 (now numbered 420-421) on their behalf. The

  Declaration of Theodore B. Smith filed simultaneously herewith addresses these withholdings.

  The Bates-numbered pages wherein this information is withheld are included in the FBI’s

  Vaughn Index and identified as “Per EOUSA.”

                                        SEGREGABILITY

         (181) As discussed in ¶ 4 supra, the FBI identified a total of 1,596 responsive pages: 9

  pages Released in Full (“RIF”), 118 pages Released in Part (“RIP”), and 1,469 pages Withheld in

  Full (“WIF”). Each of these categories is discussed below to further address segregability.

                 a)     Pages RIF. Following its segregability review, RIDS determined 9 pages

                        could be released in full without redaction as there was no foreseeable



  Bates-numbered pages FBI(20-cv-447)-398-400, Bates-numbered pages FBI(20-cv-447)-67-72
  were changed to Bates-numbered pages FBI(20-cv-447)-423-428, and Bates-numbered pages
  FBI(20-cv-447)-73-78 were changed to Bates-numbered pages FBI(20-cv-447)-430-435.
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                         harm to an interest protected by a FOIA exemption.

                 b)      Pages RIP. Following its segregability review, RIDS determined 118

                         pages could be released in part with redactions per the identified FOIA

                         exemptions herein. These pages comprise a mixture of material that could

                         be segregated for release and material that was withheld as release would

                         trigger foreseeable harm to one or more interests protected by the cited

                         FOIA exemptions on these pages.

                 c)      Pages WIF. Following its segregability review, RIDS determined 1,469

                         pages required withholding in their entirety.

         (182) RIDS determined that all information on these pages was either fully covered by

  one or more of the cited FOIA exemptions, or determined that any non-exempt information on

  these pages was so intertwined with exempt material, no information could be reasonably

  segregated for release. Any further segregation of this intertwined material would employ finite

  resources only to produce disjointed words, phrases, or sentences, which taken separately or

  together, would have minimal or no informational content.

                                           CONCLUSION

         (183) The FBI performed adequate and reasonable searches for responsive records,

  processed all such records, and released all reasonably segregable non-exempt information from

  documents responsive to Plaintiff’s FOIA requests that are subject to FOIA. The FBI processed

  the records under the access provisions of the FOIA to achieve maximum disclosure. Information

  was properly withheld pursuant to FOIA Exemptions 1, 3, 4, 5, 6, 7(A), 7(C), 7(D) and 7(E), 5

  U.S.C. §552(b)(1), (b)(3), (b)(4), (b)(5), (b)(6), (b)(7)(A), (b)(7)(C), (b)(7)(D) and (b)(7)(E). The

  FBI carefully examined the documents and determined the information withheld from Plaintiff in

  this case, if disclosed, would reveal classified information; would reveal statutorily protected
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  information; would reveal confidential trade secrets and commercial information; would reveal

  privileged information; could reasonably be expected to interfere with pending or prospective

  enforcement proceedings; would cause a clearly unwarranted invasion of the personal privacy, or

  could reasonably be expected to constitute an unwarranted invasion of personal privacy; could

  reasonably be expected to disclose the identities of confidential sources and the information they

  provided; and would disclose techniques and procedures for law enforcement investigations.

  After extensive review of the documents at issue, the FBI determined that there is no further non-

  exempt information that can be reasonably segregated and released without revealing exempt

  information.




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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

                                     §
  BRIAN HUDDLESTON,                  §
                                     §
                   Plaintiff,        §
                                     §
              v.                     §     CIVIL ACTION No. 4:20CV00447
                                     §
  FEDERAL BUREAU OF                  §
  INVESTIGATION and UNITED           §     JUDGE AMOS MAZZANT
  STATES DEPARTMENT OF JUSTICE,      §
                                     §
                   Defendants.       §




                                EXHIBIT A
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Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 100 of 243 PageID #: 1825
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 101 of 243 PageID #: 1826
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 102 of 243 PageID #: 1827
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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

                                      §
  BRIAN HUDDLESTON,                   §
                                      §
                    Plaintiff,        §
                                      §
              v.                      §    CIVIL ACTION No. 4:20CV00447
                                      §
  FEDERAL BUREAU OF                   §
  INVESTIGATION and UNITED            §    JUDGE AMOS MAZZANT
  STATES DEPARTMENT OF JUSTICE,       §
                                      §
                    Defendants.       §




                                 EXHIBIT B
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Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 105 of 243 PageID #: 1830


              If you are not satisfied with the Federal Bureau of Investigation’s determination in response to this
     request, you may administratively appeal by writing to the Director, Office of Information Policy (OIP), United
     States Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may submit an
     appeal through OIP's FOIA STAR portal by creating an account following the instructions on OIP’s website:
     https://www.justice.gov/oip/submit-and-track-request-or-appeal. Your appeal must be postmarked or
     electronically transmitted within ninety (90) days of the date of my response to your request. If you submit
     your appeal by mail, both the letter and the envelope should be clearly marked "Freedom of Information Act
     Appeal." Please cite the FOIPA Request Number assigned to your request so it may be easily identified.

              You may seek dispute resolution services by contacting the Office of Government Information
     Services (OGIS). The contact information for OGIS is as follows: Office of Government Information
     Services, National Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland
     20740-6001, e-mail at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile
     at 202-741-5769. Alternatively, you may contact the FBI’s FOIA Public Liaison by emailing
     foipaquestions@fbi.gov. If you submit your dispute resolution correspondence by email, the subject
     heading should clearly state “Dispute Resolution Services.” Please also cite the FOIPA Request Number
     assigned to your request so it may be easily identified.




                                                                      Sincerely,




                                                                      Michael G. Seidel
                                                                      Acting Section Chief
                                                                      Record/Information
                                                                         Dissemination Section
                                                                      Information Management Division
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 106 of 243 PageID #: 1831




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

                                      §
  BRIAN HUDDLESTON,                   §
                                      §
                    Plaintiff,        §
                                      §
              v.                      §    CIVIL ACTION No. 4:20CV00447
                                      §
  FEDERAL BUREAU OF                   §
  INVESTIGATION and UNITED            §    JUDGE AMOS MAZZANT
  STATES DEPARTMENT OF JUSTICE,       §
                                      §
                    Defendants.       §




                                 EXHIBIT C
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 107 of 243 PageID #: 1832
                                                                                  U.S. Department of Justice




                                                                                 Federal Bureau of Investigation
                                                                                 Washington, D.C. 20535

                                                                                 July 2, 2020


     MR. BRIAN HUDDLESTON
     704 NICKELVILLE LANE
     WYLIE, TX 75098

     Dear Mr. Huddleston:

              This is in response to your Freedom of Information Act (FOIA) request previously assigned FOIPA
     Request Number 1465531-000, dated April 9, 2020. We have determined that your request seeks records
     about multiple subjects. For administrative tracking purposes, FOIPA numbers were assigned to your
     request as follows:

              Original FOIPA Request No: 1465531
              Subject: Seth Rich (January 1, 2016 to present)

              Additional FOIPA Request No: 1468034
              Subject: Aaron Rich

              Additional FOIPA Request No: 1468039
              Subject: Deborah Sines

              Additional FOIPA Request No: 1468042
              Subject: Meetings and Communications between former FBI Director Andrew McCabe and
                       Seymour Myron “Sy” Hersh, Washington DC Mayor Muriel Bowser and/or DNC Interim
                       Chairwoman Donna Brazile (July 10, 2016 – July 10, 2017)

              Please check the status of your FOIPA requests at www.fbi.gov/foia by clicking on FOIPA Status
     and entering your FOIPA Request Number. Status updates are adjusted weekly. The status of newly
     assigned requests may not be available until the next weekly update. If the FOIPA has been closed, the
     notice will indicate correspondence has been mailed to the address on file.

             For questions regarding our determinations, visit the www.fbi.gov/foia website under “Contact Us.”
     The FOIPA Request number listed above has been assigned to your request. Please use this number in all
     correspondence concerning your request.

              If you are not satisfied with the Federal Bureau of Investigation’s determination in response to this
     request, you may administratively appeal by writing to the Director, Office of Information Policy (OIP), United
     States Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may submit an
     appeal through OIP's FOIA STAR portal by creating an account following the instructions on OIP’s website:
     https://www.justice.gov/oip/submit-and-track-request-or-appeal. Your appeal must be postmarked or
     electronically transmitted within ninety (90) days of the date of my response to your request. If you submit
     your appeal by mail, both the letter and the envelope should be clearly marked "Freedom of Information Act
     Appeal." Please cite the FOIPA Request Number assigned to your request so it may be easily identified.
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 108 of 243 PageID #: 1833


              You may seek dispute resolution services by contacting the Office of Government Information
     Services (OGIS). The contact information for OGIS is as follows: Office of Government Information
     Services, National Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland
     20740-6001, e-mail at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile
     at 202-741-5769. Alternatively, you may contact the FBI’s FOIA Public Liaison by emailing
     foipaquestions@fbi.gov. If you submit your dispute resolution correspondence by email, the subject
     heading should clearly state “Dispute Resolution Services.” Please also cite the FOIPA Request Number
     assigned to your request so it may be easily identified.




                                                                  Sincerely,




                                                                  Michael G. Seidel
                                                                  Acting Section Chief
                                                                  Record/Information
                                                                     Dissemination Section
                                                                  Information Management Division
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 109 of 243 PageID #: 1834




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

                                      §
  BRIAN HUDDLESTON,                   §
                                      §
                    Plaintiff,        §
                                      §
              v.                      §    CIVIL ACTION No. 4:20CV00447
                                      §
  FEDERAL BUREAU OF                   §
  INVESTIGATION and UNITED            §    JUDGE AMOS MAZZANT
  STATES DEPARTMENT OF JUSTICE,       §
                                      §
                    Defendants.       §




                                 EXHIBIT D
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                                                                                      U.S. Department of Justice




                                                                                     Federal Bureau of Investigation
                                                                                     Washington, D.C. 20535

                                                                                     April 23, 2021

   Mr. Brian Huddleston
   c/o Mr. Ty O. Clevenger
   Post Office Box 20753
   Brooklyn, NY 11202-0753


                                                                 FOIPA Request Nos.: 1465531-000
                                                                 Subject: Seth Rich (January 1, 2016 to present)

                                                                 Brian Huddleston v. Federal Bureau of
                                                                 Investigation, et al
                                                                 Civil Action No.: 20-cv-00447

   Dear Mr. Huddleston:

            The enclosed documents were reviewed under the Freedom of Information/Privacy Acts (FOIPA), Title 5,
   United States Code, Section 552/552a. Below you will find check boxes under the appropriate statute headings
   which indicate the types of exemptions asserted to protect information which is exempt from disclosure. The
   appropriate exemptions are noted on the enclosed pages next to redacted information. In addition, a deleted page
   information sheet was inserted to indicate where pages were withheld entirely and identify which exemptions were
   applied. The checked exemption boxes used to withhold information are further explained in the enclosed
   Explanation of Exemptions.


                               Section 552                                      Section 552a
               (b)(1)                                (b)(7)(A)                    (d)(5)
               (b)(2)                                (b)(7)(B)                     (j)(2)
               (b)(3)                                (b)(7)(C)                     (k)(1)
            50 USC § 3024(i)(1)                      (b)(7)(D)                     (k)(2)
            Federal Rules of Criminal                (b)(7)(E)                     (k)(3)
            Procedure 6 (e)
                                                     (b)(7)(F)                     (k)(4)
               (b)(4)                                (b)(8)                        (k)(5)

               (b)(5)                                (b)(9)                        (k)(6)
               (b)(6)                                                              (k)(7)

           576 pages were reviewed and 68 pages are being released.

           Please see the paragraphs below for relevant information specific to your request as well as the enclosed
   FBI FOIPA Addendum for standard responses applicable to all requests.

               Document(s) were located which originated with, or contained information concerning, other
               Government Agency (ies) [OGA].

                   This information has been referred to the OGA(s) for review and direct response to you.
                   We are consulting with another agency. The FBI will correspond with you regarding this information
                   when the consultation is completed.
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 111 of 243 PageID #: 1836
            Please refer to the enclosed FBI FOIPA Addendum for additional standard responses applicable to your
   request. “Part 1” of the Addendum includes standard responses that apply to all requests. “Part 2” includes
   additional standard responses that apply to all requests for records about yourself or any third party individuals.
   “Part 3” includes general information about FBI records that you may find useful. Also enclosed is our Explanation
   of Exemptions.

           For questions regarding our determinations, visit the www.fbi.gov/foia website under “Contact Us.”
   The FOIPA Request Number listed above has been assigned to your request. Please use this number in all
   correspondence concerning your request.

           Although your request is in litigation, we are required by law to provide you the following information:

             If you are not satisfied with the Federal Bureau of Investigation’s determination in response to this request,
   you may administratively appeal by writing to the Director, Office of Information Policy (OIP), United States
   Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may submit an appeal through
   OIP's FOIA STAR portal by creating an account following the instructions on OIP’s website:
   https://www.justice.gov/oip/submit-and-track-request-or-appeal. Your appeal must be postmarked or electronically
   transmitted within ninety (90) days of the date of my response to your request. If you submit your appeal by mail,
   both the letter and the envelope should be clearly marked "Freedom of Information Act Appeal." Please cite the
   FOIPA Request Number assigned to your request so it may be easily identified.

             You may seek dispute resolution services by contacting the Office of Government Information Services
   (OGIS). The contact information for OGIS is as follows: Office of Government Information Services, National
   Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001, e-mail at
   ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5769. Alternatively,
   you may contact the FBI’s FOIA Public Liaison by emailing foipaquestions@fbi.gov. If you submit your dispute
   resolution correspondence by email, the subject heading should clearly state “Dispute Resolution Services.” Please
   also cite the FOIPA Request Number assigned to your request so it may be easily identified.

           Please direct any further inquiries about this case to the Attorney representing the Government in this
   matter. Please use the FOIPA Request Number and/or Civil Action Number in all correspondence or inquiries
   concerning your request.


                  See additional information which follows.



                                                                    Sincerely,


                                                                    Michael G. Seidel
                                                                    Section Chief
                                                                    Record/Information
                                                                       Dissemination Section
                                                                    Information Management Division
   Enclosure(s)

                   In response to your Freedom of Information Act (FOIA) request and subsequent civil action case
   pending in the U.S. District Court for the Eastern District of Texas, enclosed is one (1) compact disc representing the
   FBI’s 1st Interim release of information concerning records Bates Stamped FBI (20-cv-00447)-1 through FBI (20-cv-
   00447)-576.
                   These pages were located in cross-reference files as described below. No “main” investigative files
   pertaining to the subject of your request were located.

                  Cross-references are defined as mentions of the subject of your request in files to other individuals,
   organizations, events, or activities. In processing the cross-references, the pages considered for possible release
   included only those pages which mention the subject of your request and any additional pages showing the context in
   which the subject of your request was mentioned. The cross-references were processed pursuant to the provisions
   of the FOIA and are being released to you in redacted form.

                    FBI (20-cv-00447)-422 represents a compact disc wherein all of the contents thereof is being withheld
   in its entirety pursuant to FOIA Exemptions (b)(6), (b)(7)(C), (b)(7)(D) and (b)(7)(E).
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 112 of 243 PageID #: 1837
                 For your information, sealed court records are not eligible for release under the Freedom of Information
   Act. Material responsive to your request has been withheld and marked "OTHER-Sealed" pursuant to appropriate
   orders issued by federal district courts.

                 Duplicate copies of the same document were not processed.
    Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 113 of 243 PageID #: 1838


                                                       FBI FOIPA Addendum

As referenced in our letter responding to your Freedom of Information/Privacy Acts (FOIPA) request, the FBI FOIPA Addendum
provides information applicable to your request. Part 1 of the Addendum includes standard responses that apply to all
requests. Part 2 includes standard responses that apply to requests for records about individuals to the extent your request
seeks the listed information. Part 3 includes general information about FBI records, searches, and programs.

Part 1: The standard responses below apply to all requests:

    (i)     5 U.S.C. § 552(c). Congress excluded three categories of law enforcement and national security records from the
            requirements of the FOIPA [5 U.S.C. § 552(c)]. FBI responses are limited to those records subject to the requirements
            of the FOIPA. Additional information about the FBI and the FOIPA can be found on the www.fbi.gov/foia website.

    (ii)    Intelligence Records. To the extent your request seeks records of intelligence sources, methods, or activities, the FBI
            can neither confirm nor deny the existence of records pursuant to FOIA exemptions (b)(1), (b)(3), and as applicable to
            requests for records about individuals, PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(1), (b)(3), and (j)(2)]. The mere
            acknowledgment of the existence or nonexistence of such records is itself a classified fact protected by FOIA exemption
            (b)(1) and/or would reveal intelligence sources, methods, or activities protected by exemption (b)(3) [50 USC §
            3024(i)(1)]. This is a standard response and should not be read to indicate that any such records do or do not exist.

Part 2: The standard responses below apply to all requests for records on individuals:

    (i)     Requests for Records about any Individual—Watch Lists. The FBI can neither confirm nor deny the existence of
            any individual’s name on a watch list pursuant to FOIA exemption (b)(7)(E) and PA exemption (j)(2) [5 U.S.C. §§
            552/552a (b)(7)(E), (j)(2)]. This is a standard response and should not be read to indicate that watch list records do or
            do not exist.

    (ii)    Requests for Records about any Individual—Witness Security Program Records. The FBI can neither confirm
            nor deny the existence of records which could identify any participant in the Witness Security Program pursuant to FOIA
            exemption (b)(3) and PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(3), 18 U.S.C. 3521, and (j)(2)]. This is a standard
            response and should not be read to indicate that such records do or do not exist.

    (iii)   Requests for Records for Incarcerated Individuals. The FBI can neither confirm nor deny the existence of records
            which could reasonably be expected to endanger the life or physical safety of any incarcerated individual pursuant to
            FOIA exemptions (b)(7)(E), (b)(7)(F), and PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(7)(E), (b)(7)(F), and (j)(2)].
            This is a standard response and should not be read to indicate that such records do or do not exist.

Part 3: General Information:

    (i)     Record Searches. The Record/Information Dissemination Section (RIDS) searches for reasonably described records by
            searching systems or locations where responsive records would reasonably be found. A standard search normally
            consists of a search for main files in the Central Records System (CRS), an extensive system of records consisting of
            applicant, investigative, intelligence, personnel, administrative, and general files compiled by the FBI per its law
            enforcement, intelligence, and administrative functions. The CRS spans the entire FBI organization, comprising records of
            FBI Headquarters, FBI Field Offices, and FBI Legal Attaché Offices (Legats) worldwide; Electronic Surveillance (ELSUR)
            records are included in the CRS. Unless specifically requested, a standard search does not include references,
            administrative records of previous FOIPA requests, or civil litigation files. For additional information about our record
            searches, visit www.fbi.gov/services/information-management/foipa/requesting-fbi-records.

    (ii)    FBI Records. Founded in 1908, the FBI carries out a dual law enforcement and national security mission. As part of this
            dual mission, the FBI creates and maintains records on various subjects; however, the FBI does not maintain records on
            every person, subject, or entity.

    (iii)   Requests for Criminal History Records or Rap Sheets. The Criminal Justice Information Services (CJIS) Division
            provides Identity History Summary Checks – often referred to as a criminal history record or rap sheet. These criminal
            history records are not the same as material in an investigative “FBI file.” An Identity History Summary Check is a
            listing of information taken from fingerprint cards and documents submitted to the FBI in connection with arrests, federal
            employment, naturalization, or military service. For a fee, individuals can request a copy of their Identity History
            Summary Check. Forms and directions can be accessed at www.fbi.gov/about-us/cjis/identity-history-summary-checks.
            Additionally, requests can be submitted electronically at www.edo.cjis.gov. For additional information, please contact
            CJIS directly at (304) 625-5590.

    (iv)    National Name Check Program (NNCP). The mission of NNCP is to analyze and report information in response to name
            check requests received from federal agencies, for the purpose of protecting the United States from foreign and domestic
            threats to national security. Please be advised that this is a service provided to other federal agencies. Private Citizens
            cannot request a name check.
     Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 114 of 243 PageID #: 1839

                                                        EXPLANATION OF EXEMPTIONS

         SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552

(b)(1)   (A) specifically authorized under criteria established by an Executive order to be kept secret in the interest of national defense or foreign
         policy and (B) are in fact properly classified to such Executive order;

(b)(2)   related solely to the internal personnel rules and practices of an agency;

(b)(3)   specifically exempted from disclosure by statute (other than section 552b of this title), provided that such statute (A) requires that the matters
         be withheld from the public in such a manner as to leave no discretion on issue, or (B) establishes particular criteria for withholding or refers
         to particular types of matters to be withheld;

(b)(4)   trade secrets and commercial or financial information obtained from a person and privileged or confidential;

(b)(5)   inter-agency or intra-agency memorandums or letters which would not be available by law to a party other than an agency in litigation with
         the agency;

(b)(6)   personnel and medical files and similar files the disclosure of which would constitute a clearly unwarranted invasion of personal privacy;

(b)(7)   records or information compiled for law enforcement purposes, but only to the extent that the production of such law enforcement records or
         information ( A ) could reasonably be expected to interfere with enforcement proceedings, ( B ) would deprive a person of a right to a fair
         trial or an impartial adjudication, ( C ) could reasonably be expected to constitute an unwarranted invasion of personal privacy, ( D ) could
         reasonably be expected to disclose the identity of confidential source, including a State, local, or foreign agency or authority or any private
         institution which furnished information on a confidential basis, and, in the case of record or information compiled by a criminal law
         enforcement authority in the course of a criminal investigation, or by an agency conducting a lawful national security intelligence
         investigation, information furnished by a confidential source, ( E ) would disclose techniques and procedures for law enforcement
         investigations or prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if such disclosure could
         reasonably be expected to risk circumvention of the law, or ( F ) could reasonably be expected to endanger the life or physical safety of any
         individual;

(b)(8)   contained in or related to examination, operating, or condition reports prepared by, on behalf of, or for the use of an agency responsible for
         the regulation or supervision of financial institutions; or

(b)(9)   geological and geophysical information and data, including maps, concerning wells.

         SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552a

(d)(5)   information compiled in reasonable anticipation of a civil action proceeding;

(j)(2)   material reporting investigative efforts pertaining to the enforcement of criminal law including efforts to prevent, control, or reduce crime
         or apprehend criminals;

(k)(1)   information which is currently and properly classified pursuant to an Executive order in the interest of the national defense or foreign policy,
         for example, information involving intelligence sources or methods;

(k)(2)   investigatory material compiled for law enforcement purposes, other than criminal, which did not result in loss of a right, benefit or privilege
         under Federal programs, or which would identify a source who furnished information pursuant to a promise that his/her identity would be
         held in confidence;

(k)(3)   material maintained in connection with providing protective services to the President of the United States or any other individual pursuant to
         the authority of Title 18, United States Code, Section 3056;

(k)(4)   required by statute to be maintained and used solely as statistical records;

(k)(5)   investigatory material compiled solely for the purpose of determining suitability, eligibility, or qualifications for Federal civilian
         employment or for access to classified information, the disclosure of which would reveal the identity of the person who furnished
         information pursuant to a promise that his/her identity would be held in confidence;

(k)(6)   testing or examination material used to determine individual qualifications for appointment or promotion in Federal Government service the
         release of which would compromise the testing or examination process;

(k)(7)   material used to determine potential for promotion in the armed services, the disclosure of which would reveal the identity of the person who
         furnished the material pursuant to a promise that his/her identity would be held in confidence.
                                                                                                                                              FBI/DOJ
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 115 of 243 PageID #: 1840




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

                                      §
  BRIAN HUDDLESTON,                   §
                                      §
                    Plaintiff,        §
                                      §
              v.                      §    CIVIL ACTION No. 4:20CV00447
                                      §
  FEDERAL BUREAU OF                   §
  INVESTIGATION and UNITED            §    JUDGE AMOS MAZZANT
  STATES DEPARTMENT OF JUSTICE,       §
                                      §
                    Defendants.       §




                                 EXHIBIT E
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 116 of 243 PageID #: 1841
                                                                                      U.S. Department of Justice




                                                                                     Federal Bureau of Investigation
                                                                                     Washington, D.C. 20535

                                                                                     May 24, 2021

   Mr. Brian Huddleston
   c/o Mr. Ty O. Clevenger
   Post Office Box 20753
   Brooklyn, NY 11202-0753

                                                                 FOIPA Request Nos.: 1465531-000
                                                                 Subject: Seth Rich (January 1, 2016 to present)

                                                                 Brian Huddleston v. Federal Bureau of
                                                                 Investigation, et al
                                                                 Civil Action No.: 20-cv-00447
   Dear Mr. Huddleston:

            The enclosed documents were reviewed under the Freedom of Information/Privacy Acts (FOIPA), Title 5,
   United States Code, Section 552/552a. Below you will find check boxes under the appropriate statute headings
   which indicate the types of exemptions asserted to protect information which is exempt from disclosure. The
   appropriate exemptions are noted on the enclosed pages next to redacted information. In addition, a deleted page
   information sheet was inserted to indicate where pages were withheld entirely and identify which exemptions were
   applied. The checked exemption boxes used to withhold information are further explained in the enclosed
   Explanation of Exemptions.


                               Section 552                                      Section 552a
               (b)(1)                                (b)(7)(A)                    (d)(5)
               (b)(2)                                (b)(7)(B)                     (j)(2)
               (b)(3)                                (b)(7)(C)                     (k)(1)
            50 USC § 3024(i)(1)                      (b)(7)(D)                     (k)(2)
            Federal Rules of Criminal                (b)(7)(E)                     (k)(3)
            Procedure 6 (e)
            18 USC § 3123(d)                         (b)(7)(F)                     (k)(4)
               (b)(4)                                (b)(8)                        (k)(5)

               (b)(5)                                (b)(9)                        (k)(6)
               (b)(6)                                                              (k)(7)

           500 pages were reviewed and 52 pages are being released.

           Please see the paragraphs below for relevant information specific to your request as well as the enclosed
   FBI FOIPA Addendum for standard responses applicable to all requests.

               Document(s) were located which originated with, or contained information concerning, other
               Government Agency (ies) [OGA].

                   This information has been referred to the OGA(s) for review and direct response to you.
                   We are consulting with another agency. The FBI will correspond with you regarding this information
                   when the consultation is completed.
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 117 of 243 PageID #: 1842
            Please refer to the enclosed FBI FOIPA Addendum for additional standard responses applicable to your
   request. “Part 1” of the Addendum includes standard responses that apply to all requests. “Part 2” includes
   additional standard responses that apply to all requests for records about yourself or any third party individuals.
   “Part 3” includes general information about FBI records that you may find useful. Also enclosed is our Explanation
   of Exemptions.

           For questions regarding our determinations, visit the www.fbi.gov/foia website under “Contact Us.”
   The FOIPA Request Number listed above has been assigned to your request. Please use this number in all
   correspondence concerning your request.

           Although your request is in litigation, we are required by law to provide you the following information:
             If you are not satisfied with the Federal Bureau of Investigation’s determination in response to this
   request, you may administratively appeal by writing to the Director, Office of Information Policy (OIP), United
   States Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may submit an
   appeal through OIP's FOIA STAR portal by creating an account following the instructions on OIP’s website:
   https://www.justice.gov/oip/submit-and-track-request-or-appeal. Your appeal must be postmarked or electronically
   transmitted within ninety (90) days of the date of my response to your request. If you submit your appeal by mail,
   both the letter and the envelope should be clearly marked "Freedom of Information Act Appeal." Please cite the
   FOIPA Request Number assigned to your request so it may be easily identified.

             You may seek dispute resolution services by contacting the Office of Government Information Services
   (OGIS). The contact information for OGIS is as follows: Office of Government Information Services, National
   Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001, e-mail at
   ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5769.
   Alternatively, you may contact the FBI’s FOIA Public Liaison by emailing foipaquestions@fbi.gov. If you submit your
   dispute resolution correspondence by email, the subject heading should clearly state “Dispute Resolution Services.”
   Please also cite the FOIPA Request Number assigned to your request so it may be easily identified.

            Please direct any further inquiries about this case to the Attorney representing the Government in this
   matter. Please use the FOIPA Request Number and/or Civil Action Number in all correspondence or inquiries
   concerning your request.



                  See additional information which follows.



                                                                   Sincerely,


                                                                   Michael G. Seidel
                                                                   Section Chief
                                                                   Record/Information
                                                                      Dissemination Section
                                                                   Information Management Division
   Enclosure(s)

                   In response to your Freedom of Information Act (FOIA) request and subsequent civil action case
   pending in the U.S. District Court for the Eastern District of Texas, enclosed is one (1) compact disc representing
   the FBI’s 2nd Interim release of information concerning records Bates Stamped FBI (20-cv-00447)-577 through FBI
   (20-cv- 00447)-1,076.

                   These pages were located in cross-reference files as described below. No “main” investigative files
   pertaining to the subject of your request were located.

                  Cross-references are defined as mentions of the subject of your request in files to other individuals,
   organizations, events, or activities. In processing the cross-references, the pages considered for possible release
   included only those pages which mention the subject of your request and any additional pages showing the context
   in which the subject of your request was mentioned. The cross-references were processed pursuant to the provisions
   of the FOIA and are being released to you in redacted form.
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 118 of 243 PageID #: 1843
                  For your information, sealed court records are not eligible for release under the Freedom of Information
   Act. Material responsive to your request has been withheld and marked "OTHER-Sealed" pursuant to appropriate
   orders issued by federal district courts.

                 Duplicate copies of the same document were not processed.
    Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 119 of 243 PageID #: 1844


                                                       FBI FOIPA Addendum

As referenced in our letter responding to your Freedom of Information/Privacy Acts (FOIPA) request, the FBI FOIPA Addendum
provides information applicable to your request. Part 1 of the Addendum includes standard responses that apply to all
requests. Part 2 includes standard responses that apply to requests for records about individuals to the extent your request
seeks the listed information. Part 3 includes general information about FBI records, searches, and programs.

Part 1: The standard responses below apply to all requests:

    (i)     5 U.S.C. § 552(c). Congress excluded three categories of law enforcement and national security records from the
            requirements of the FOIPA [5 U.S.C. § 552(c)]. FBI responses are limited to those records subject to the requirements
            of the FOIPA. Additional information about the FBI and the FOIPA can be found on the www.fbi.gov/foia website.

    (ii)    Intelligence Records. To the extent your request seeks records of intelligence sources, methods, or activities, the FBI
            can neither confirm nor deny the existence of records pursuant to FOIA exemptions (b)(1), (b)(3), and as applicable to
            requests for records about individuals, PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(1), (b)(3), and (j)(2)]. The mere
            acknowledgment of the existence or nonexistence of such records is itself a classified fact protected by FOIA exemption
            (b)(1) and/or would reveal intelligence sources, methods, or activities protected by exemption (b)(3) [50 USC §
            3024(i)(1)]. This is a standard response and should not be read to indicate that any such records do or do not exist.

Part 2: The standard responses below apply to all requests for records on individuals:

    (i)     Requests for Records about any Individual—Watch Lists. The FBI can neither confirm nor deny the existence of
            any individual’s name on a watch list pursuant to FOIA exemption (b)(7)(E) and PA exemption (j)(2) [5 U.S.C. §§
            552/552a (b)(7)(E), (j)(2)]. This is a standard response and should not be read to indicate that watch list records do or
            do not exist.

    (ii)    Requests for Records about any Individual—Witness Security Program Records. The FBI can neither confirm
            nor deny the existence of records which could identify any participant in the Witness Security Program pursuant to FOIA
            exemption (b)(3) and PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(3), 18 U.S.C. 3521, and (j)(2)]. This is a standard
            response and should not be read to indicate that such records do or do not exist.

    (iii)   Requests for Records for Incarcerated Individuals. The FBI can neither confirm nor deny the existence of records
            which could reasonably be expected to endanger the life or physical safety of any incarcerated individual pursuant to
            FOIA exemptions (b)(7)(E), (b)(7)(F), and PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(7)(E), (b)(7)(F), and (j)(2)].
            This is a standard response and should not be read to indicate that such records do or do not exist.

Part 3: General Information:

    (i)     Record Searches. The Record/Information Dissemination Section (RIDS) searches for reasonably described records by
            searching systems or locations where responsive records would reasonably be found. A standard search normally
            consists of a search for main files in the Central Records System (CRS), an extensive system of records consisting of
            applicant, investigative, intelligence, personnel, administrative, and general files compiled by the FBI per its law
            enforcement, intelligence, and administrative functions. The CRS spans the entire FBI organization, comprising records of
            FBI Headquarters, FBI Field Offices, and FBI Legal Attaché Offices (Legats) worldwide; Electronic Surveillance (ELSUR)
            records are included in the CRS. Unless specifically requested, a standard search does not include references,
            administrative records of previous FOIPA requests, or civil litigation files. For additional information about our record
            searches, visit www.fbi.gov/services/information-management/foipa/requesting-fbi-records.

    (ii)    FBI Records. Founded in 1908, the FBI carries out a dual law enforcement and national security mission. As part of this
            dual mission, the FBI creates and maintains records on various subjects; however, the FBI does not maintain records on
            every person, subject, or entity.

    (iii)   Requests for Criminal History Records or Rap Sheets. The Criminal Justice Information Services (CJIS) Division
            provides Identity History Summary Checks – often referred to as a criminal history record or rap sheet. These criminal
            history records are not the same as material in an investigative “FBI file.” An Identity History Summary Check is a
            listing of information taken from fingerprint cards and documents submitted to the FBI in connection with arrests, federal
            employment, naturalization, or military service. For a fee, individuals can request a copy of their Identity History
            Summary Check. Forms and directions can be accessed at www.fbi.gov/about-us/cjis/identity-history-summary-checks.
            Additionally, requests can be submitted electronically at www.edo.cjis.gov. For additional information, please contact
            CJIS directly at (304) 625-5590.

    (iv)    National Name Check Program (NNCP). The mission of NNCP is to analyze and report information in response to name
            check requests received from federal agencies, for the purpose of protecting the United States from foreign and domestic
            threats to national security. Please be advised that this is a service provided to other federal agencies. Private Citizens
            cannot request a name check.
     Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 120 of 243 PageID #: 1845

                                                        EXPLANATION OF EXEMPTIONS

         SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552

(b)(1)   (A) specifically authorized under criteria established by an Executive order to be kept secret in the interest of national defense or foreign
         policy and (B) are in fact properly classified to such Executive order;

(b)(2)   related solely to the internal personnel rules and practices of an agency;

(b)(3)   specifically exempted from disclosure by statute (other than section 552b of this title), provided that such statute (A) requires that the matters
         be withheld from the public in such a manner as to leave no discretion on issue, or (B) establishes particular criteria for withholding or refers
         to particular types of matters to be withheld;

(b)(4)   trade secrets and commercial or financial information obtained from a person and privileged or confidential;

(b)(5)   inter-agency or intra-agency memorandums or letters which would not be available by law to a party other than an agency in litigation with
         the agency;

(b)(6)   personnel and medical files and similar files the disclosure of which would constitute a clearly unwarranted invasion of personal privacy;

(b)(7)   records or information compiled for law enforcement purposes, but only to the extent that the production of such law enforcement records or
         information ( A ) could reasonably be expected to interfere with enforcement proceedings, ( B ) would deprive a person of a right to a fair
         trial or an impartial adjudication, ( C ) could reasonably be expected to constitute an unwarranted invasion of personal privacy, ( D ) could
         reasonably be expected to disclose the identity of confidential source, including a State, local, or foreign agency or authority or any private
         institution which furnished information on a confidential basis, and, in the case of record or information compiled by a criminal law
         enforcement authority in the course of a criminal investigation, or by an agency conducting a lawful national security intelligence
         investigation, information furnished by a confidential source, ( E ) would disclose techniques and procedures for law enforcement
         investigations or prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if such disclosure could
         reasonably be expected to risk circumvention of the law, or ( F ) could reasonably be expected to endanger the life or physical safety of any
         individual;

(b)(8)   contained in or related to examination, operating, or condition reports prepared by, on behalf of, or for the use of an agency responsible for
         the regulation or supervision of financial institutions; or

(b)(9)   geological and geophysical information and data, including maps, concerning wells.

         SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552a

(d)(5)   information compiled in reasonable anticipation of a civil action proceeding;

(j)(2)   material reporting investigative efforts pertaining to the enforcement of criminal law including efforts to prevent, control, or reduce crime
         or apprehend criminals;

(k)(1)   information which is currently and properly classified pursuant to an Executive order in the interest of the national defense or foreign policy,
         for example, information involving intelligence sources or methods;

(k)(2)   investigatory material compiled for law enforcement purposes, other than criminal, which did not result in loss of a right, benefit or privilege
         under Federal programs, or which would identify a source who furnished information pursuant to a promise that his/her identity would be
         held in confidence;

(k)(3)   material maintained in connection with providing protective services to the President of the United States or any other individual pursuant to
         the authority of Title 18, United States Code, Section 3056;

(k)(4)   required by statute to be maintained and used solely as statistical records;

(k)(5)   investigatory material compiled solely for the purpose of determining suitability, eligibility, or qualifications for Federal civilian
         employment or for access to classified information, the disclosure of which would reveal the identity of the person who furnished
         information pursuant to a promise that his/her identity would be held in confidence;

(k)(6)   testing or examination material used to determine individual qualifications for appointment or promotion in Federal Government service the
         release of which would compromise the testing or examination process;

(k)(7)   material used to determine potential for promotion in the armed services, the disclosure of which would reveal the identity of the person who
         furnished the material pursuant to a promise that his/her identity would be held in confidence.
                                                                                                                                              FBI/DOJ
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 121 of 243 PageID #: 1846




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

                                      §
  BRIAN HUDDLESTON,                   §
                                      §
                    Plaintiff,        §
                                      §
              v.                      §    CIVIL ACTION No. 4:20CV00447
                                      §
  FEDERAL BUREAU OF                   §
  INVESTIGATION and UNITED            §    JUDGE AMOS MAZZANT
  STATES DEPARTMENT OF JUSTICE,       §
                                      §
                    Defendants.       §




                                 EXHIBIT F
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 122 of 243 PageID #: 1847
                                                                                      U.S. Department of Justice




                                                                                     Federal Bureau of Investigation
                                                                                     Washington, D.C. 20535

                                                                                     June 24, 2021

   MR. BRIAN HUDDLESTON
   C/O MR. TY O. CLEVENGER
   212 S. OXFORD STREET #7D
   BROOKLYN, NY 11217
                                                                 FOIPA Request No.: 1465531-000
                                                                 Subject: Seth Rich (January 1, 2016 to present)

                                                                 FOIPA Request No. 1465971-000
                                                                 Subject: Crossfire Hurricane Code Names

                                                                 Brian Huddleston v. Federal Bureau of
                                                                 Investigation, et al
                                                                 Civil Action No.: 4:20-cv-00447

   Dear Mr. Huddleston:

             The enclosed documents were reviewed under the Freedom of Information Act (FOIA), Title 5, United States
   Code, Section 552. Below you will find check boxes under the appropriate statute headings which indicate the types
   of exemptions asserted to protect information which is exempt from disclosure. The appropriate exemptions are
   noted on the enclosed pages next to redacted information. In addition, a deleted page information sheet was
   inserted to indicate where pages were withheld entirely and identify which exemptions were applied. The checked
   exemption boxes used to withhold information are further explained in the enclosed Explanation of Exemptions.


                               Section 552                                      Section 552a
               (b)(1)                                (b)(7)(A)                    (d)(5)
               (b)(2)                                (b)(7)(B)                     (j)(2)
               (b)(3)                                (b)(7)(C)                     (k)(1)
            50 USC § 3024(i)(1)                      (b)(7)(D)                     (k)(2)
                                                     (b)(7)(E)                     (k)(3)
                                                     (b)(7)(F)                     (k)(4)
               (b)(4)                                (b)(8)                        (k)(5)

               (b)(5)                                (b)(9)                        (k)(6)
               (b)(6)                                                              (k)(7)

           489 pages were reviewed and 5 pages are being released.

           Please see the paragraphs below for relevant information specific to your request as well as the enclosed
   FBI FOIPA Addendum for standard responses applicable to all requests.

               Document(s) were located which originated with, or contained information concerning, other
               Government Agency (ies) [OGA].

                   This information has been referred to the OGA(s) for review and direct response to you.
                   We are consulting with another agency. The FBI will correspond with you regarding this information
                   when the consultation is completed.
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 123 of 243 PageID #: 1848


            Please refer to the enclosed FBI FOIPA Addendum for additional standard responses applicable to your
   request. “Part 1” of the Addendum includes standard responses that apply to all requests. “Part 2” includes
   additional standard responses that apply to all requests for records about yourself or any third party individuals.
   “Part 3” includes general information about FBI records that you may find useful. Also enclosed is our Explanation
   of Exemptions.

            Although your request is in litigation, we are required by law to provide you the following information:

             If you are not satisfied with the Federal Bureau of Investigation’s determination in response to this request,
   you may administratively appeal by writing to the Director, Office of Information Policy (OIP), United States
   Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may submit an appeal through
   OIP's FOIA STAR portal by creating an account following the instructions on OIP’s website:
   https://www.justice.gov/oip/submit-and-track-request-or-appeal. Your appeal must be postmarked or electronically
   transmitted within ninety (90) days of the date of my response to your request. If you submit your appeal by mail,
   both the letter and the envelope should be clearly marked "Freedom of Information Act Appeal." Please cite the
   FOIPA Request Number assigned to your request so it may be easily identified.

             You may seek dispute resolution services by contacting the Office of Government Information Services
   (OGIS). The contact information for OGIS is as follows: Office of Government Information Services, National
   Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001, e-mail at
   ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5769. Alternatively,
   you may contact the FBI’s FOIA Public Liaison by emailing foipaquestions@fbi.gov. If you submit your dispute
   resolution correspondence by email, the subject heading should clearly state “Dispute Resolution Services.” Please
   also cite the FOIPA Request Number assigned to your request so it may be easily identified.

            Please direct any further inquiries about this case to the Attorney representing the Government in this
   matter. Please use the FOIPA Request Number and/or Civil Action Number in all correspondence or inquiries
   concerning your request.


                  See additional information which follows.

                                                                    Sincerely,




                                                                    Michael G. Seidel
                                                                    Section Chief
                                                                    Record/Information
                                                                       Dissemination Section
                                                                    Information Management Division

   Enclosure(s)

             In response to your Freedom of Information Act (FOIA) request and subsequent civil action case pending in
   the U.S. District Court for the Eastern District of Texas, enclosed is one (1) compact disc representing the FBI’s third
   interim release of information concerning records Bates Stamped FBI (20-cv-00447)-1077 through FBI (20-cv-
   00447)-1565.

            FBI (20-cv-00447)-1565 represents one (1) digital video disc (DVD) wherein all of the contents thereof is
   being withheld in its entirety pursuant to FOIA Exemptions (b)(6), (b)(7)(C) and (b)(7)(E).

            These pages were located in cross-reference files as described below. No “main” investigative files
   pertaining to the subject of your request were located.

            Cross-references are defined as mentions of the subject of your request in files to other individuals,
   organizations, events, or activities. In processing the cross-references, the pages considered for possible release
   included only those pages which mention the subject of your request and any additional pages showing the context
   in which the subject of your request was mentioned. The cross-references were processed pursuant to the
   provisions of the FOIA and are being released to you in redacted form.
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 124 of 243 PageID #: 1849


           Of the aforementioned Bates-numbered pages, FBI (20-cv-00447)-1562 thru FBI (20-cv-00447)-1564 are
   responsive to litigated FOIPA Request No. 1465971-000, while the remaining material is responsive to litigated
   FOIPA Request No. 1465531-000.

           Duplicate copies of the same document were not processed.
    Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 125 of 243 PageID #: 1850


                                                       FBI FOIPA Addendum

As referenced in our letter responding to your Freedom of Information/Privacy Acts (FOIPA) request, the FBI FOIPA Addendum
provides information applicable to your request. Part 1 of the Addendum includes standard responses that apply to all
requests. Part 2 includes standard responses that apply to requests for records about individuals to the extent your request
seeks the listed information. Part 3 includes general information about FBI records, searches, and programs.

Part 1: The standard responses below apply to all requests:

    (i)     5 U.S.C. § 552(c). Congress excluded three categories of law enforcement and national security records from the
            requirements of the FOIPA [5 U.S.C. § 552(c)]. FBI responses are limited to those records subject to the requirements
            of the FOIPA. Additional information about the FBI and the FOIPA can be found on the www.fbi.gov/foia website.

    (ii)    Intelligence Records. To the extent your request seeks records of intelligence sources, methods, or activities, the FBI
            can neither confirm nor deny the existence of records pursuant to FOIA exemptions (b)(1), (b)(3), and as applicable to
            requests for records about individuals, PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(1), (b)(3), and (j)(2)]. The mere
            acknowledgment of the existence or nonexistence of such records is itself a classified fact protected by FOIA exemption
            (b)(1) and/or would reveal intelligence sources, methods, or activities protected by exemption (b)(3) [50 USC §
            3024(i)(1)]. This is a standard response and should not be read to indicate that any such records do or do not exist.

Part 2: The standard responses below apply to all requests for records on individuals:

    (i)     Requests for Records about any Individual—Watch Lists. The FBI can neither confirm nor deny the existence of
            any individual’s name on a watch list pursuant to FOIA exemption (b)(7)(E) and PA exemption (j)(2) [5 U.S.C. §§
            552/552a (b)(7)(E), (j)(2)]. This is a standard response and should not be read to indicate that watch list records do or
            do not exist.

    (ii)    Requests for Records about any Individual—Witness Security Program Records. The FBI can neither confirm
            nor deny the existence of records which could identify any participant in the Witness Security Program pursuant to FOIA
            exemption (b)(3) and PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(3), 18 U.S.C. 3521, and (j)(2)]. This is a standard
            response and should not be read to indicate that such records do or do not exist.

    (iii)   Requests for Records for Incarcerated Individuals. The FBI can neither confirm nor deny the existence of records
            which could reasonably be expected to endanger the life or physical safety of any incarcerated individual pursuant to
            FOIA exemptions (b)(7)(E), (b)(7)(F), and PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(7)(E), (b)(7)(F), and (j)(2)].
            This is a standard response and should not be read to indicate that such records do or do not exist.

Part 3: General Information:

    (i)     Record Searches. The Record/Information Dissemination Section (RIDS) searches for reasonably described records by
            searching systems or locations where responsive records would reasonably be found. A standard search normally
            consists of a search for main files in the Central Records System (CRS), an extensive system of records consisting of
            applicant, investigative, intelligence, personnel, administrative, and general files compiled by the FBI per its law
            enforcement, intelligence, and administrative functions. The CRS spans the entire FBI organization, comprising records of
            FBI Headquarters, FBI Field Offices, and FBI Legal Attaché Offices (Legats) worldwide; Electronic Surveillance (ELSUR)
            records are included in the CRS. Unless specifically requested, a standard search does not include references,
            administrative records of previous FOIPA requests, or civil litigation files. For additional information about our record
            searches, visit www.fbi.gov/services/information-management/foipa/requesting-fbi-records.

    (ii)    FBI Records. Founded in 1908, the FBI carries out a dual law enforcement and national security mission. As part of this
            dual mission, the FBI creates and maintains records on various subjects; however, the FBI does not maintain records on
            every person, subject, or entity.

    (iii)   Requests for Criminal History Records or Rap Sheets. The Criminal Justice Information Services (CJIS) Division
            provides Identity History Summary Checks – often referred to as a criminal history record or rap sheet. These criminal
            history records are not the same as material in an investigative “FBI file.” An Identity History Summary Check is a
            listing of information taken from fingerprint cards and documents submitted to the FBI in connection with arrests, federal
            employment, naturalization, or military service. For a fee, individuals can request a copy of their Identity History
            Summary Check. Forms and directions can be accessed at www.fbi.gov/about-us/cjis/identity-history-summary-checks.
            Additionally, requests can be submitted electronically at www.edo.cjis.gov. For additional information, please contact
            CJIS directly at (304) 625-5590.

    (iv)    National Name Check Program (NNCP). The mission of NNCP is to analyze and report information in response to name
            check requests received from federal agencies, for the purpose of protecting the United States from foreign and domestic
            threats to national security. Please be advised that this is a service provided to other federal agencies. Private Citizens
            cannot request a name check.
     Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 126 of 243 PageID #: 1851

                                                        EXPLANATION OF EXEMPTIONS

         SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552

(b)(1)   (A) specifically authorized under criteria established by an Executive order to be kept secret in the interest of national defense or foreign
         policy and (B) are in fact properly classified to such Executive order;

(b)(2)   related solely to the internal personnel rules and practices of an agency;

(b)(3)   specifically exempted from disclosure by statute (other than section 552b of this title), provided that such statute (A) requires that the matters
         be withheld from the public in such a manner as to leave no discretion on issue, or (B) establishes particular criteria for withholding or refers
         to particular types of matters to be withheld;

(b)(4)   trade secrets and commercial or financial information obtained from a person and privileged or confidential;

(b)(5)   inter-agency or intra-agency memorandums or letters which would not be available by law to a party other than an agency in litigation with
         the agency;

(b)(6)   personnel and medical files and similar files the disclosure of which would constitute a clearly unwarranted invasion of personal privacy;

(b)(7)   records or information compiled for law enforcement purposes, but only to the extent that the production of such law enforcement records or
         information ( A ) could reasonably be expected to interfere with enforcement proceedings, ( B ) would deprive a person of a right to a fair
         trial or an impartial adjudication, ( C ) could reasonably be expected to constitute an unwarranted invasion of personal privacy, ( D ) could
         reasonably be expected to disclose the identity of confidential source, including a State, local, or foreign agency or authority or any private
         institution which furnished information on a confidential basis, and, in the case of record or information compiled by a criminal law
         enforcement authority in the course of a criminal investigation, or by an agency conducting a lawful national security intelligence
         investigation, information furnished by a confidential source, ( E ) would disclose techniques and procedures for law enforcement
         investigations or prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if such disclosure could
         reasonably be expected to risk circumvention of the law, or ( F ) could reasonably be expected to endanger the life or physical safety of any
         individual;

(b)(8)   contained in or related to examination, operating, or condition reports prepared by, on behalf of, or for the use of an agency responsible for
         the regulation or supervision of financial institutions; or

(b)(9)   geological and geophysical information and data, including maps, concerning wells.

         SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552a

(d)(5)   information compiled in reasonable anticipation of a civil action proceeding;

(j)(2)   material reporting investigative efforts pertaining to the enforcement of criminal law including efforts to prevent, control, or reduce crime
         or apprehend criminals;

(k)(1)   information which is currently and properly classified pursuant to an Executive order in the interest of the national defense or foreign policy,
         for example, information involving intelligence sources or methods;

(k)(2)   investigatory material compiled for law enforcement purposes, other than criminal, which did not result in loss of a right, benefit or privilege
         under Federal programs, or which would identify a source who furnished information pursuant to a promise that his/her identity would be
         held in confidence;

(k)(3)   material maintained in connection with providing protective services to the President of the United States or any other individual pursuant to
         the authority of Title 18, United States Code, Section 3056;

(k)(4)   required by statute to be maintained and used solely as statistical records;

(k)(5)   investigatory material compiled solely for the purpose of determining suitability, eligibility, or qualifications for Federal civilian
         employment or for access to classified information, the disclosure of which would reveal the identity of the person who furnished
         information pursuant to a promise that his/her identity would be held in confidence;

(k)(6)   testing or examination material used to determine individual qualifications for appointment or promotion in Federal Government service the
         release of which would compromise the testing or examination process;

(k)(7)   material used to determine potential for promotion in the armed services, the disclosure of which would reveal the identity of the person who
         furnished the material pursuant to a promise that his/her identity would be held in confidence.
                                                                                                                                              FBI/DOJ
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 127 of 243 PageID #: 1852




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

                                      §
  BRIAN HUDDLESTON,                   §
                                      §
                    Plaintiff,        §
                                      §
              v.                      §    CIVIL ACTION No. 4:20CV00447
                                      §
  FEDERAL BUREAU OF                   §
  INVESTIGATION and UNITED            §    JUDGE AMOS MAZZANT
  STATES DEPARTMENT OF JUSTICE,       §
                                      §
                    Defendants.       §




                                 EXHIBIT G
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 128 of 243 PageID #: 1853
                                                                                      U.S. Department of Justice




                                                                                     Federal Bureau of Investigation
                                                                                     Washington, D.C. 20535

                                                                                     July 23, 2021

   MR. BRIAN HUDDLESTON
   C/O MR. TY O. CLEVENGER
   212 S. OXFORD STREET #7D
   BROOKLYN, NY 11217
                                                                 FOIPA Request No.: 1465531-000
                                                                 Subject: Seth Rich (January 1, 2016 to present)

                                                                 FOIPA Request No. 1465971-000
                                                                 Subject: Crossfire Hurricane Code Names

                                                                 Brian Huddleston v. Federal Bureau of
                                                                 Investigation, et al
                                                                 Civil Action No.: 4:20-cv-00447
   Dear Mr. Huddleston:

            The enclosed documents were reviewed under the Freedom of Information/Privacy Acts (FOIPA), Title 5,
   United States Code, Section 552/552a. Below you will find check boxes under the appropriate statute headings
   which indicate the types of exemptions asserted to protect information which is exempt from disclosure. The
   appropriate exemptions are noted on the enclosed pages next to redacted information. In addition, a deleted page
   information sheet was inserted to indicate where pages were withheld entirely and identify which exemptions were
   applied. The checked exemption boxes used to withhold information are further explained in the enclosed
   Explanation of Exemptions.


                               Section 552                                      Section 552a
               (b)(1)                                (b)(7)(A)                     (d)(5)
               (b)(2)                                (b)(7)(B)                     (j)(2)
               (b)(3)                                (b)(7)(C)                     (k)(1)
                                                     (b)(7)(D)                     (k)(2)
                                                     (b)(7)(E)                     (k)(3)
                                                     (b)(7)(F)                     (k)(4)
               (b)(4)                                (b)(8)                        (k)(5)

               (b)(5)                                (b)(9)                        (k)(6)
               (b)(6)                                                              (k)(7)

           31 pages were reviewed and 2 pages are being released.

           Please see the paragraphs below for relevant information specific to your request as well as the enclosed
   FBI FOIPA Addendum for standard responses applicable to all requests.

               Document(s) were located which originated with, or contained information concerning, other
               Government Agency (ies) [OGA].

                   This information has been referred to the OGA(s) for review and direct response to you.
                   We are consulting with another agency. The FBI will correspond with you regarding this information
                   when the consultation is completed.
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 129 of 243 PageID #: 1854
            Please refer to the enclosed FBI FOIPA Addendum for additional standard responses applicable to your
   request. “Part 1” of the Addendum includes standard responses that apply to all requests. “Part 2” includes
   additional standard responses that apply to all requests for records about yourself or any third party individuals.
   “Part 3” includes general information about FBI records that you may find useful. Also enclosed is our Explanation
   of Exemptions.

           For questions regarding our determinations, visit the www.fbi.gov/foia website under “Contact Us.”
   The FOIPA Request Number listed above has been assigned to your request. Please use this number in all
   correspondence concerning your request.

            If you are not satisfied with the Federal Bureau of Investigation’s determination in response to this request,
   you may administratively appeal by writing to the Director, Office of Information Policy (OIP), United States
   Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may submit an appeal through
   OIP's FOIA STAR portal by creating an account following the instructions on OIP’s website:
   https://www.justice.gov/oip/submit-and-track-request-or-appeal. Your appeal must be postmarked or electronically
   transmitted within ninety (90) days of the date of my response to your request. If you submit your appeal by mail,
   both the letter and the envelope should be clearly marked "Freedom of Information Act Appeal." Please cite the
   FOIPA Request Number assigned to your request so it may be easily identified.

             You may seek dispute resolution services by contacting the Office of Government Information Services
   (OGIS). The contact information for OGIS is as follows: Office of Government Information Services, National
   Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001, e-mail at
   ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5769. Alternatively,
   you may contact the FBI’s FOIA Public Liaison by emailing foipaquestions@fbi.gov. If you submit your dispute
   resolution correspondence by email, the subject heading should clearly state “Dispute Resolution Services.” Please
   also cite the FOIPA Request Number assigned to your request so it may be easily identified.


                  See additional information which follows.



                                                                    Sincerely,


                                                                    Michael G. Seidel
                                                                    Section Chief
                                                                    Record/Information
                                                                       Dissemination Section
                                                                    Information Management Division
   Enclosure(s)


                   In response to your Freedom of Information Act (FOIA) request and subsequent civil action case
   pending in the U.S. District Court for the Eastern District of Texas, enclosed is one (1) compact disc representing the
   FBI’s 4th and final release of information concerning records Bates Stamped FBI (20-cv-00447)-1566 through           FBI
   (20-cv-00447)-1596.

                   These pages were located in cross-reference files as described below. No “main” investigative files
   pertaining to the subject of your request were located.

                  Cross-references are defined as mentions of the subject of your request in files to other individuals,
   organizations, events, or activities. In processing the cross-references, the pages considered for possible release
   included only those pages which mention the subject of your request and any additional pages showing the context in
   which the subject of your request was mentioned. The cross-references were processed pursuant to the provisions
   of the FOIA and are being released to you in redacted form.

                  For your information, sealed court records are not eligible for release under the Freedom of Information
   Act. Material responsive to your request has been withheld and marked "OTHER-Sealed" pursuant to appropriate
   orders issued by federal district courts.
    Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 130 of 243 PageID #: 1855


                                                       FBI FOIPA Addendum

As referenced in our letter responding to your Freedom of Information/Privacy Acts (FOIPA) request, the FBI FOIPA Addendum
provides information applicable to your request. Part 1 of the Addendum includes standard responses that apply to all
requests. Part 2 includes standard responses that apply to requests for records about individuals to the extent your request
seeks the listed information. Part 3 includes general information about FBI records, searches, and programs.

Part 1: The standard responses below apply to all requests:

    (i)     5 U.S.C. § 552(c). Congress excluded three categories of law enforcement and national security records from the
            requirements of the FOIPA [5 U.S.C. § 552(c)]. FBI responses are limited to those records subject to the requirements
            of the FOIPA. Additional information about the FBI and the FOIPA can be found on the www.fbi.gov/foia website.

    (ii)    Intelligence Records. To the extent your request seeks records of intelligence sources, methods, or activities, the FBI
            can neither confirm nor deny the existence of records pursuant to FOIA exemptions (b)(1), (b)(3), and as applicable to
            requests for records about individuals, PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(1), (b)(3), and (j)(2)]. The mere
            acknowledgment of the existence or nonexistence of such records is itself a classified fact protected by FOIA exemption
            (b)(1) and/or would reveal intelligence sources, methods, or activities protected by exemption (b)(3) [50 USC §
            3024(i)(1)]. This is a standard response and should not be read to indicate that any such records do or do not exist.

Part 2: The standard responses below apply to all requests for records on individuals:

    (i)     Requests for Records about any Individual—Watch Lists. The FBI can neither confirm nor deny the existence of
            any individual’s name on a watch list pursuant to FOIA exemption (b)(7)(E) and PA exemption (j)(2) [5 U.S.C. §§
            552/552a (b)(7)(E), (j)(2)]. This is a standard response and should not be read to indicate that watch list records do or
            do not exist.

    (ii)    Requests for Records about any Individual—Witness Security Program Records. The FBI can neither confirm
            nor deny the existence of records which could identify any participant in the Witness Security Program pursuant to FOIA
            exemption (b)(3) and PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(3), 18 U.S.C. 3521, and (j)(2)]. This is a standard
            response and should not be read to indicate that such records do or do not exist.

    (iii)   Requests for Records for Incarcerated Individuals. The FBI can neither confirm nor deny the existence of records
            which could reasonably be expected to endanger the life or physical safety of any incarcerated individual pursuant to
            FOIA exemptions (b)(7)(E), (b)(7)(F), and PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(7)(E), (b)(7)(F), and (j)(2)].
            This is a standard response and should not be read to indicate that such records do or do not exist.

Part 3: General Information:

    (i)     Record Searches. The Record/Information Dissemination Section (RIDS) searches for reasonably described records by
            searching systems or locations where responsive records would reasonably be found. A standard search normally
            consists of a search for main files in the Central Records System (CRS), an extensive system of records consisting of
            applicant, investigative, intelligence, personnel, administrative, and general files compiled by the FBI per its law
            enforcement, intelligence, and administrative functions. The CRS spans the entire FBI organization, comprising records of
            FBI Headquarters, FBI Field Offices, and FBI Legal Attaché Offices (Legats) worldwide; Electronic Surveillance (ELSUR)
            records are included in the CRS. Unless specifically requested, a standard search does not include references,
            administrative records of previous FOIPA requests, or civil litigation files. For additional information about our record
            searches, visit www.fbi.gov/services/information-management/foipa/requesting-fbi-records.

    (ii)    FBI Records. Founded in 1908, the FBI carries out a dual law enforcement and national security mission. As part of this
            dual mission, the FBI creates and maintains records on various subjects; however, the FBI does not maintain records on
            every person, subject, or entity.

    (iii)   Requests for Criminal History Records or Rap Sheets. The Criminal Justice Information Services (CJIS) Division
            provides Identity History Summary Checks – often referred to as a criminal history record or rap sheet. These criminal
            history records are not the same as material in an investigative “FBI file.” An Identity History Summary Check is a
            listing of information taken from fingerprint cards and documents submitted to the FBI in connection with arrests, federal
            employment, naturalization, or military service. For a fee, individuals can request a copy of their Identity History
            Summary Check. Forms and directions can be accessed at www.fbi.gov/about-us/cjis/identity-history-summary-checks.
            Additionally, requests can be submitted electronically at www.edo.cjis.gov. For additional information, please contact
            CJIS directly at (304) 625-5590.

    (iv)    National Name Check Program (NNCP). The mission of NNCP is to analyze and report information in response to name
            check requests received from federal agencies, for the purpose of protecting the United States from foreign and domestic
            threats to national security. Please be advised that this is a service provided to other federal agencies. Private Citizens
            cannot request a name check.
     Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 131 of 243 PageID #: 1856

                                                        EXPLANATION OF EXEMPTIONS

         SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552

(b)(1)   (A) specifically authorized under criteria established by an Executive order to be kept secret in the interest of national defense or foreign
         policy and (B) are in fact properly classified to such Executive order;

(b)(2)   related solely to the internal personnel rules and practices of an agency;

(b)(3)   specifically exempted from disclosure by statute (other than section 552b of this title), provided that such statute (A) requires that the matters
         be withheld from the public in such a manner as to leave no discretion on issue, or (B) establishes particular criteria for withholding or refers
         to particular types of matters to be withheld;

(b)(4)   trade secrets and commercial or financial information obtained from a person and privileged or confidential;

(b)(5)   inter-agency or intra-agency memorandums or letters which would not be available by law to a party other than an agency in litigation with
         the agency;

(b)(6)   personnel and medical files and similar files the disclosure of which would constitute a clearly unwarranted invasion of personal privacy;

(b)(7)   records or information compiled for law enforcement purposes, but only to the extent that the production of such law enforcement records or
         information ( A ) could reasonably be expected to interfere with enforcement proceedings, ( B ) would deprive a person of a right to a fair
         trial or an impartial adjudication, ( C ) could reasonably be expected to constitute an unwarranted invasion of personal privacy, ( D ) could
         reasonably be expected to disclose the identity of confidential source, including a State, local, or foreign agency or authority or any private
         institution which furnished information on a confidential basis, and, in the case of record or information compiled by a criminal law
         enforcement authority in the course of a criminal investigation, or by an agency conducting a lawful national security intelligence
         investigation, information furnished by a confidential source, ( E ) would disclose techniques and procedures for law enforcement
         investigations or prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if such disclosure could
         reasonably be expected to risk circumvention of the law, or ( F ) could reasonably be expected to endanger the life or physical safety of any
         individual;

(b)(8)   contained in or related to examination, operating, or condition reports prepared by, on behalf of, or for the use of an agency responsible for
         the regulation or supervision of financial institutions; or

(b)(9)   geological and geophysical information and data, including maps, concerning wells.

         SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552a

(d)(5)   information compiled in reasonable anticipation of a civil action proceeding;

(j)(2)   material reporting investigative efforts pertaining to the enforcement of criminal law including efforts to prevent, control, or reduce crime
         or apprehend criminals;

(k)(1)   information which is currently and properly classified pursuant to an Executive order in the interest of the national defense or foreign policy,
         for example, information involving intelligence sources or methods;

(k)(2)   investigatory material compiled for law enforcement purposes, other than criminal, which did not result in loss of a right, benefit or privilege
         under Federal programs, or which would identify a source who furnished information pursuant to a promise that his/her identity would be
         held in confidence;

(k)(3)   material maintained in connection with providing protective services to the President of the United States or any other individual pursuant to
         the authority of Title 18, United States Code, Section 3056;

(k)(4)   required by statute to be maintained and used solely as statistical records;

(k)(5)   investigatory material compiled solely for the purpose of determining suitability, eligibility, or qualifications for Federal civilian
         employment or for access to classified information, the disclosure of which would reveal the identity of the person who furnished
         information pursuant to a promise that his/her identity would be held in confidence;

(k)(6)   testing or examination material used to determine individual qualifications for appointment or promotion in Federal Government service the
         release of which would compromise the testing or examination process;

(k)(7)   material used to determine potential for promotion in the armed services, the disclosure of which would reveal the identity of the person who
         furnished the material pursuant to a promise that his/her identity would be held in confidence.
                                                                                                                                              FBI/DOJ
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 132 of 243 PageID #: 1857




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

                                      §
  BRIAN HUDDLESTON,                   §
                                      §
                    Plaintiff,        §
                                      §
              v.                      §    CIVIL ACTION No. 4:20CV00447
                                      §
  FEDERAL BUREAU OF                   §
  INVESTIGATION and UNITED            §    JUDGE AMOS MAZZANT
  STATES DEPARTMENT OF JUSTICE,       §
                                      §
                    Defendants.       §




                                 EXHIBIT H
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page  133 of 243
                                                     U.S. Department of PageID
                                                                        Justice #: 1858




                                                                                  Federal Bureau of Investigation
                                                                                  Washington, D.C. 20535

                                                                                  July 2, 2020


      MR. BRIAN HUDDLESTON
      704 NICKELVILLE LANE
      WYLIE, TX 75098


                                                                       Request No.: 1468034-000
                                                                       Subject: RICH, AARON


      Dear Mr. Huddleston:

                This acknowledges receipt of your Freedom of Information Act (FOIA) request to the FBI. The
      FOIPA Request Number listed above has been assigned to your request. Below you will find information
      relevant to your request. Please read each paragraph carefully.

                You have requested records on one or more third party individuals. Please be advised the FBI
      will neither confirm nor deny the existence of such records pursuant to FOIA exemptions (b)(6) and
      (b)(7)(C), 5 U.S.C. §§ 552 (b)(6) and (b)(7)(C). The mere acknowledgement of the existence of FBI records
      on third party individuals could reasonably be expected to constitute an unwarranted invasion of personal
      privacy. This is our standard response to such requests and should not be taken to mean that records do,
      or do not, exist. As a result, your request has been closed. Please visit www.fbi.gov, select “Services,”
      “Information Management,” and “Freedom of Information/Privacy Act” for more information about making
      requests for records on third party individuals (living or deceased).

               If you submitted your request through the FBI’s eFOIPA portal and you are receiving
      correspondence through standard mail, it was determined your request did not meet the eFOIPA terms of
      service.

              For questions regarding our determinations, visit the www.fbi.gov/foia website under “Contact Us.”
      The FOIPA Request number listed above has been assigned to your request. Please use this number in all
      correspondence concerning your request.

               If you are not satisfied with the Federal Bureau of Investigation’s determination in response to this
      request, you may administratively appeal by writing to the Director, Office of Information Policy (OIP), United
      States Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may submit an
      appeal through OIP's FOIA STAR portal by creating an account following the instructions on OIP’s website:
      https://www.justice.gov/oip/submit-and-track-request-or-appeal. Your appeal must be postmarked or
      electronically transmitted within ninety (90) days of the date of my response to your request. If you submit
      your appeal by mail, both the letter and the envelope should be clearly marked "Freedom of Information Act
      Appeal." Please cite the FOIPA Request Number assigned to your request so it may be easily identified.
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 134 of 243 PageID #: 1859



              You may seek dispute resolution services by contacting the Office of Government Information
     Services (OGIS). The contact information for OGIS is as follows: Office of Government Information
     Services, National Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland
     20740-6001, e-mail at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile
     at 202-741-5769. Alternatively, you may contact the FBI’s FOIA Public Liaison by emailing
     foipaquestions@fbi.gov. If you submit your dispute resolution correspondence by email, the subject
     heading should clearly state “Dispute Resolution Services.” Please also cite the FOIPA Request Number
     assigned to your request so it may be easily identified.

             Enclosed for your information is a copy of the Explanation of Exemptions.

                                                                   Sincerely,


                                                                   Michael G. Seidel
                                                                   Acting Section Chief,
                                                                   Record/Information
                                                                     Dissemination Section
                                                                   Information Management Division

     Enclosure
     Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 135 of 243 PageID #: 1860
                                                       EXPLANATION OF EXEMPTIONS


         SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552

(b)(1)   (A) specifically authorized under criteria established by an Executive order to be kept secret in the interest of national defense or foreign
         policy and (B) are in fact properly classified to such Executive order;

(b)(2)   related solely to the internal personnel rules and practices of an agency;

(b)(3)   specifically exempted from disclosure by statute (other than section 552b of this title), provided that such statute (A) requires that the
         matters be withheld from the public in such a manner as to leave no discretion on issue, or (B) establishes particular criteria for withholding
         or refers to particular types of matters to be withheld;

(b)(4)   trade secrets and commercial or financial information obtained from a person and privileged or confidential;

(b)(5)   inter-agency or intra-agency memorandums or letters which would not be available by law to a party other than an agency in litigation with
         the agency;

(b)(6)   personnel and medical files and similar files the disclosure of which would constitute a clearly unwarranted invasion of personal privacy;

(b)(7)   records or information compiled for law enforcement purposes, but only to the extent that the production of such law enforcement records
         or information ( A ) could reasonably be expected to interfere with enforcement proceedings, ( B ) would deprive a person of a right to a
         fair trial or an impartial adjudication, ( C ) could reasonably be expected to constitute an unwarranted invasion of personal privacy, ( D )
         could reasonably be expected to disclose the identity of confidential source, including a State, local, or foreign agency or authority or any
         private institution which furnished information on a confidential basis, and, in the case of record or information compiled by a criminal law
         enforcement authority in the course of a criminal investigation, or by an agency conducting a lawful national security intelligence
         investigation, information furnished by a confidential source, ( E ) would disclose techniques and procedures for law enforcement
         investigations or prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if such disclosure could
         reasonably be expected to risk circumvention of the law, or ( F ) could reasonably be expected to endanger the life or physical safety of any
         individual;

(b)(8)   contained in or related to examination, operating, or condition reports prepared by, on behalf of, or for the use of an agency responsible for
         the regulation or supervision of financial institutions; or

(b)(9)   geological and geophysical information and data, including maps, concerning wells.

         SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552a

(d)(5)   information compiled in reasonable anticipation of a civil action proceeding;

(j)(2)   material reporting investigative efforts pertaining to the enforcement of criminal law including efforts to prevent, control, or reduce crime
         or apprehend criminals;

(k)(1)   information which is currently and properly classified pursuant to an Executive order in the interest of the national defense or foreign
         policy, for example, information involving intelligence sources or methods;

(k)(2)   investigatory material compiled for law enforcement purposes, other than criminal, which did not result in loss of a right, benefit or
         privilege under Federal programs, or which would identify a source who furnished information pursuant to a promise that his/her identity
         would be held in confidence;

(k)(3)   material maintained in connection with providing protective services to the President of the United States or any other individual pursuant
         to the authority of Title 18, United States Code, Section 3056;

(k)(4)   required by statute to be maintained and used solely as statistical records;

(k)(5)   investigatory material compiled solely for the purpose of determining suitability, eligibility, or qualifications for Federal civilian
         employment or for access to classified information, the disclosure of which would reveal the identity of the person who furnished
         information pursuant to a promise that his/her identity would be held in confidence;

(k)(6)   testing or examination material used to determine individual qualifications for appointment or promotion in Federal Government service
         the release of which would compromise the testing or examination process;

(k)(7)   material used to determine potential for promotion in the armed services, the disclosure of which would reveal the identity of the person
         who furnished the material pursuant to a promise that his/her identity would be held in confidence.

                                                                                                                                                  FBI/DOJ
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 136 of 243 PageID #: 1861




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

                                      §
  BRIAN HUDDLESTON,                   §
                                      §
                    Plaintiff,        §
                                      §
              v.                      §    CIVIL ACTION No. 4:20CV00447
                                      §
  FEDERAL BUREAU OF                   §
  INVESTIGATION and UNITED            §    JUDGE AMOS MAZZANT
  STATES DEPARTMENT OF JUSTICE,       §
                                      §
                    Defendants.       §




                                 EXHIBIT I
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page  137 of 243
                                                     U.S. Department of PageID
                                                                        Justice #: 1862




                                                                                  Federal Bureau of Investigation
                                                                                  Washington, D.C. 20535

                                                                                  July 2, 2020


      MR. BRIAN HUDDLESTON
      704 NICKELVILLE LANE
      WYLIE, TX 75098



                                                                       Request No.: 1468039-000
                                                                       Subject: SINES, DEBORAH



      Dear Mr. Huddleston:

                This acknowledges receipt of your Freedom of Information Act (FOIA) request to the FBI. The
      FOIPA Request Number listed above has been assigned to your request. Below you will find information
      relevant to your request. Please read each paragraph carefully.

                You have requested records on one or more third party individuals. Please be advised the FBI
      will neither confirm nor deny the existence of such records pursuant to FOIA exemptions (b)(6) and
      (b)(7)(C), 5 U.S.C. §§ 552 (b)(6) and (b)(7)(C). The mere acknowledgement of the existence of FBI records
      on third party individuals could reasonably be expected to constitute an unwarranted invasion of personal
      privacy. This is our standard response to such requests and should not be taken to mean that records do,
      or do not, exist. As a result, your request has been closed. Please visit www.fbi.gov, select “Services,”
      “Information Management,” and “Freedom of Information/Privacy Act” for more information about making
      requests for records on third party individuals (living or deceased).

               If you submitted your request through the FBI’s eFOIPA portal and you are receiving
      correspondence through standard mail, it was determined your request did not meet the eFOIPA terms of
      service.

              For questions regarding our determinations, visit the www.fbi.gov/foia website under “Contact Us.”
      The FOIPA Request number listed above has been assigned to your request. Please use this number in all
      correspondence concerning your request.

               If you are not satisfied with the Federal Bureau of Investigation’s determination in response to this
      request, you may administratively appeal by writing to the Director, Office of Information Policy (OIP), United
      States Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may submit an
      appeal through OIP's FOIA STAR portal by creating an account following the instructions on OIP’s website:
      https://www.justice.gov/oip/submit-and-track-request-or-appeal. Your appeal must be postmarked or
      electronically transmitted within ninety (90) days of the date of my response to your request. If you submit
      your appeal by mail, both the letter and the envelope should be clearly marked "Freedom of Information Act
      Appeal." Please cite the FOIPA Request Number assigned to your request so it may be easily identified.
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 138 of 243 PageID #: 1863



              You may seek dispute resolution services by contacting the Office of Government Information
     Services (OGIS). The contact information for OGIS is as follows: Office of Government Information
     Services, National Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland
     20740-6001, e-mail at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile
     at 202-741-5769. Alternatively, you may contact the FBI’s FOIA Public Liaison by emailing
     foipaquestions@fbi.gov. If you submit your dispute resolution correspondence by email, the subject
     heading should clearly state “Dispute Resolution Services.” Please also cite the FOIPA Request Number
     assigned to your request so it may be easily identified.

             Enclosed for your information is a copy of the Explanation of Exemptions.

                                                                   Sincerely,


                                                                   Michael G. Seidel
                                                                   Acting Section Chief,
                                                                   Record/Information
                                                                     Dissemination Section
                                                                   Information Management Division

     Enclosure
     Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 139 of 243 PageID #: 1864
                                                       EXPLANATION OF EXEMPTIONS


         SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552

(b)(1)   (A) specifically authorized under criteria established by an Executive order to be kept secret in the interest of national defense or foreign
         policy and (B) are in fact properly classified to such Executive order;

(b)(2)   related solely to the internal personnel rules and practices of an agency;

(b)(3)   specifically exempted from disclosure by statute (other than section 552b of this title), provided that such statute (A) requires that the
         matters be withheld from the public in such a manner as to leave no discretion on issue, or (B) establishes particular criteria for withholding
         or refers to particular types of matters to be withheld;

(b)(4)   trade secrets and commercial or financial information obtained from a person and privileged or confidential;

(b)(5)   inter-agency or intra-agency memorandums or letters which would not be available by law to a party other than an agency in litigation with
         the agency;

(b)(6)   personnel and medical files and similar files the disclosure of which would constitute a clearly unwarranted invasion of personal privacy;

(b)(7)   records or information compiled for law enforcement purposes, but only to the extent that the production of such law enforcement records
         or information ( A ) could reasonably be expected to interfere with enforcement proceedings, ( B ) would deprive a person of a right to a
         fair trial or an impartial adjudication, ( C ) could reasonably be expected to constitute an unwarranted invasion of personal privacy, ( D )
         could reasonably be expected to disclose the identity of confidential source, including a State, local, or foreign agency or authority or any
         private institution which furnished information on a confidential basis, and, in the case of record or information compiled by a criminal law
         enforcement authority in the course of a criminal investigation, or by an agency conducting a lawful national security intelligence
         investigation, information furnished by a confidential source, ( E ) would disclose techniques and procedures for law enforcement
         investigations or prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if such disclosure could
         reasonably be expected to risk circumvention of the law, or ( F ) could reasonably be expected to endanger the life or physical safety of any
         individual;

(b)(8)   contained in or related to examination, operating, or condition reports prepared by, on behalf of, or for the use of an agency responsible for
         the regulation or supervision of financial institutions; or

(b)(9)   geological and geophysical information and data, including maps, concerning wells.

         SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552a

(d)(5)   information compiled in reasonable anticipation of a civil action proceeding;

(j)(2)   material reporting investigative efforts pertaining to the enforcement of criminal law including efforts to prevent, control, or reduce crime
         or apprehend criminals;

(k)(1)   information which is currently and properly classified pursuant to an Executive order in the interest of the national defense or foreign
         policy, for example, information involving intelligence sources or methods;

(k)(2)   investigatory material compiled for law enforcement purposes, other than criminal, which did not result in loss of a right, benefit or
         privilege under Federal programs, or which would identify a source who furnished information pursuant to a promise that his/her identity
         would be held in confidence;

(k)(3)   material maintained in connection with providing protective services to the President of the United States or any other individual pursuant
         to the authority of Title 18, United States Code, Section 3056;

(k)(4)   required by statute to be maintained and used solely as statistical records;

(k)(5)   investigatory material compiled solely for the purpose of determining suitability, eligibility, or qualifications for Federal civilian
         employment or for access to classified information, the disclosure of which would reveal the identity of the person who furnished
         information pursuant to a promise that his/her identity would be held in confidence;

(k)(6)   testing or examination material used to determine individual qualifications for appointment or promotion in Federal Government service
         the release of which would compromise the testing or examination process;

(k)(7)   material used to determine potential for promotion in the armed services, the disclosure of which would reveal the identity of the person
         who furnished the material pursuant to a promise that his/her identity would be held in confidence.

                                                                                                                                                  FBI/DOJ
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 140 of 243 PageID #: 1865




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

                                      §
  BRIAN HUDDLESTON,                   §
                                      §
                    Plaintiff,        §
                                      §
              v.                      §    CIVIL ACTION No. 4:20CV00447
                                      §
  FEDERAL BUREAU OF                   §
  INVESTIGATION and UNITED            §    JUDGE AMOS MAZZANT
  STATES DEPARTMENT OF JUSTICE,       §
                                      §
                    Defendants.       §




                                 EXHIBIT J
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 141 of 243 PageID #: 1866
                                                                              U.S. Department of Justice




                                                                              Federal Bureau of Investigation
                                                                              Washington, D.C. 20535

                                                                              August 6, 2020

     MR. BRIAN HUDDLESTON
     C/O TY O. CLEVENGER, ESQUIRE
     POST OFFICE BOX 20753
     BROOKLYN, NY 11202-0753
                                                                   Request No.: 1468042-000
                                                                   Subject: Meetings or Communications
                                                                   between former FBI Deputy Director Andrew
                                                                   McCabe and Seymour Myron “Sy” Hersh,
                                                                   Washington DC Mayor Muriel Bowser and/or
                                                                   DNC Interim Chairwoman Donna Brazile
                                                                   (July 10, 2016 – July 10, 2017)

                                                                   Brian Huddleston v. Federal Bureau of
                                                                   Investigation, et al.
                                                                   Civil Action No. 4:20-cv-00447 (EDTX)

     Dear Mr. Huddleston:

              This is in response to your Freedom of Information/Privacy Acts (FOIPA) request. Based on the
     information you provided, we conducted a search of the places reasonably expected to have records.
     However, we were unable to identify records responsive to your request. Therefore, your request is being
     closed. If you have additional information pertaining to the subject of your request, please submit a new
     request providing the details, and we will conduct an additional search.

              Please see the paragraphs below for relevant information that may be specific to your request.
     Only checked boxes contain corresponding paragraphs relevant to your request. If no boxes are checked,
     the corresponding information does not apply.

             Please be advised that your request was reopened based on the additional information you
             provided. A new search was conducted, and we were unable to identify responsive records.

             Records potentially responsive to your request were destroyed. Since this material could not be
             reviewed, it is not known if it was responsive to your request. Record retention and disposal is
             carried out under supervision of the National Archives and Records Administration (NARA)
             according to Title 44 United States Code Section 3301, Title 36 Code of Federal Regulations (CFR)
             Chapter 12 Sub-chapter B Part 1228, and 36 CFR 1229.10. Please be advised that the General
             Records Schedule (GRS) disposition authority for FOIPA records is DAA-GRS-2016-0002-0001
             (GRS 4.2, Item 020).

             Records potentially responsive to your request were transferred to the National Archives and
             Records Administration (NARA). If you wish to review these records, file a FOIPA request with
             NARA at the following address:

                               National Archives and Records Administration
                               Special Access and FOIA
                               8601 Adelphi Road, Room 5500
                               College Park, MD 20740-6001


             Potentially responsive records were identified during the search. However, we were advised that
             they were not in their expected locations. An additional search for the missing records also met
             with unsuccessful results. Since we were unable to review the records, we were unable to
             determine if they were responsive to your request.

             The portion of your request concerning an FBI identification record – commonly referred to as a
             criminal history record or “rap sheet” – has been forwarded to the Criminal Justice Information
             Services (CJIS) Division for processing. For additional information, see the enclosed FBI FOIPA
             Addendum General Information Section.
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 142 of 243 PageID #: 1867
              Requests for expedited processing are not applicable when a final response is issued within ten
              calendar days.

              Police departments should be aware that the search conducted was limited to FBI records.
              Requests for criminal history records or rap sheets should be directed to Criminal Justice
              Information Services (CJIS). Information regarding CJIS is listed in the enclosed FBI FOIPA
              Addendum General Information Section.

              Records potentially responsive to your request were transferred to the National Personnel Records
              Center - Civilian Personnel Records (NPRC-CPR). In order to obtain information on a file located
              at the NPRC, your request must be mailed to the following address:

                                National Archives and Records Administration
                                ATTN: Archival Programs
                                P.O. Box 38757
                                St. Louis, MO 63138

              Please refer to the enclosed FBI FOIPA Addendum for additional standard responses applicable to
     your request. “Part 1” of the Addendum includes standard responses that apply to all requests. “Part 2”
     includes additional standard responses that apply to all requests for records about yourself or any third party
     individuals. “Part 3” includes general information about FBI records that you may find useful. Also
     enclosed is our Explanation of Exemptions.

                For questions regarding our determinations, visit the www.fbi.gov/foia website under “Contact
     Us.” The FOIPA Request Number listed above has been assigned to your request. Please use this number
     in all correspondence concerning your request.

              If you are not satisfied with the Federal Bureau of Investigation’s determination in response to this
     request, you may administratively appeal by writing to the Director, Office of Information Policy (OIP), United
     States Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may submit an
     appeal through OIP's FOIA STAR portal by creating an account following the instructions on OIP’s website:
     https://www.justice.gov/oip/submit-and-track-request-or-appeal. Your appeal must be postmarked or
     electronically transmitted within ninety (90) days of the date of my response to your request. If you submit
     your appeal by mail, both the letter and the envelope should be clearly marked "Freedom of Information Act
     Appeal." Please cite the FOIPA Request Number assigned to your request so it may be easily identified.

              You may seek dispute resolution services by contacting the Office of Government Information
     Services (OGIS). The contact information for OGIS is as follows: Office of Government Information
     Services, National Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland
     20740-6001, e-mail at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile
     at 202-741-5769. Alternatively, you may contact the FBI’s FOIA Public Liaison by emailing
     foipaquestions@fbi.gov. If you submit your dispute resolution correspondence by email, the subject
     heading should clearly state “Dispute Resolution Services.” Please also cite the FOIPA Request Number
     assigned to your request so it may be easily identified.



                                                                      Sincerely,




                                                                      Michael G. Seidel
                                                                      Section Chief
                                                                      Record/Information
                                                                        Dissemination Section
                                                                      Information Management Division

     Enclosures
    Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 143 of 243 PageID #: 1868
                                                       FBI FOIPA Addendum

As referenced in our letter responding to your Freedom of Information/Privacy Acts (FOIPA) request, the FBI FOIPA
Addendum provides information applicable to your request. Part 1 of the Addendum includes standard responses that apply
to all requests. Part 2 includes standard responses that apply to requests for records about individuals to the extent your
request seeks the listed information. Part 3 includes general information about FBI records, searches, and programs.

Part 1: The standard responses below apply to all requests:

    (i)     5 U.S.C. § 552(c). Congress excluded three categories of law enforcement and national security records from the
            requirements of the FOIPA [5 U.S.C. § 552(c)]. FBI responses are limited to those records subject to the
            requirements of the FOIPA. Additional information about the FBI and the FOIPA can be found on the www.fbi.gov/foia
            website.

    (ii)    Intelligence Records. To the extent your request seeks records of intelligence sources, methods, or activities, the
            FBI can neither confirm nor deny the existence of records pursuant to FOIA exemptions (b)(1), (b)(3), and as applicable to
            requests for records about individuals, PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(1), (b)(3), and (j)(2)]. The mere
            acknowledgment of the existence or nonexistence of such records is itself a classified fact protected by FOIA exemption
            (b)(1) and/or would reveal intelligence sources, methods, or activities protected by exemption (b)(3) [50 USC §
            3024(i)(1)]. This is a standard response and should not be read to indicate that any such records do or do not exist.

Part 2: The standard responses below apply to all requests for records on individuals:

    (i)     Requests for Records about any Individual—Watch Lists. The FBI can neither confirm nor deny the existence of
            any individual’s name on a watch list pursuant to FOIA exemption (b)(7)(E) and PA exemption (j)(2) [5 U.S.C. §§
            552/552a (b)(7)(E), (j)(2)]. This is a standard response and should not be read to indicate that watch list records do or
            do not exist.

    (ii)    Requests for Records about any Individual—Witness Security Program Records. The FBI can neither confirm
            nor deny the existence of records which could identify any participant in the Witness Security Program pursuant to
            FOIA exemption (b)(3) and PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(3), 18 U.S.C. 3521, and (j)(2)]. This is a
            standard response and should not be read to indicate that such records do or do not exist.

    (iii)   Requests for Records for Incarcerated Individuals. The FBI can neither confirm nor deny the existence of records
            which could reasonably be expected to endanger the life or physical safety of any incarcerated individual pursuant to
            FOIA exemptions (b)(7)(E), (b)(7)(F), and PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(7)(E), (b)(7)(F), and (j)(2)].
            This is a standard response and should not be read to indicate that such records do or do not exist.

Part 3: General Information:

    (i)     Record Searches. The Record/Information Dissemination Section (RIDS) searches for reasonably described records by
            searching systems or locations where responsive records would reasonably be found. A standard search normally
            consists of a search for main files in the Central Records System (CRS), an extensive system of records consisting of
            applicant, investigative, intelligence, personnel, administrative, and general files compiled by the FBI per its law
            enforcement, intelligence, and administrative functions. The CRS spans the entire FBI organization, comprising records
            of FBI Headquarters, FBI Field Offices, and FBI Legal Attaché Offices (Legats) worldwide; Electronic Surveillance
            (ELSUR) records are included in the CRS. Unless specifically requested, a standard search does not include references,
            administrative records of previous FOIPA requests, or civil litigation files. For additional information about our record
            searches, visit www.fbi.gov/services/information-management/foipa/requesting-fbi-records.

    (ii)    FBI Records. Founded in 1908, the FBI carries out a dual law enforcement and national security mission. As part of
            this dual mission, the FBI creates and maintains records on various subjects; however, the FBI does not maintain records
            on every person, subject, or entity.

    (iii)   Requests for Criminal History Records or Rap Sheets. The Criminal Justice Information Services (CJIS) Division
            provides Identity History Summary Checks – often referred to as a criminal history record or rap sheet. These criminal
            history records are not the same as material in an investigative “FBI file.” An Identity History Summary Check is a
            listing of information taken from fingerprint cards and documents submitted to the FBI in connection with arrests,
            federal employment, naturalization, or military service. For a fee, individuals can request a copy of their Identity
            History Summary Check. Forms and directions can be accessed at www.fbi.gov/about-us/cjis/identity-history-
            summary-checks. Additionally, requests can be submitted electronically at www.edo.cjis.gov. For additional
            information, please contact CJIS directly at (304) 625-5590.

    (iv)    National Name Check Program (NNCP). The mission of NNCP is to analyze and report information in response to
            name check requests received from federal agencies, for the purpose of protecting the United States from foreign and
            domestic threats to national security. Please be advised that this is a service provided to other federal agencies. Private
            Citizens cannot request a name check.
     Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 144 of 243 PageID #: 1869

                                                       EXPLANATION OF EXEMPTIONS

         SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552

(b)(1)   (A) specifically authorized under criteria established by an Executive order to be kept secret in the interest of national defense or foreign
         policy and (B) are in fact properly classified to such Executive order;

(b)(2)   related solely to the internal personnel rules and practices of an agency;

(b)(3)   specifically exempted from disclosure by statute (other than section 552b of this title), provided that such statute (A) requires that the
         matters be withheld from the public in such a manner as to leave no discretion on issue, or (B) establishes particular criteria for withholding
         or refers to particular types of matters to be withheld;

(b)(4)   trade secrets and commercial or financial information obtained from a person and privileged or confidential;

(b)(5)   inter-agency or intra-agency memorandums or letters which would not be available by law to a party other than an agency in litigation with
         the agency;

(b)(6)   personnel and medical files and similar files the disclosure of which would constitute a clearly unwarranted invasion of personal privacy;

(b)(7)   records or information compiled for law enforcement purposes, but only to the extent that the production of such law enforcement records
         or information ( A ) could reasonably be expected to interfere with enforcement proceedings, ( B ) would deprive a person of a right to a
         fair trial or an impartial adjudication, ( C ) could reasonably be expected to constitute an unwarranted invasion of personal privacy, ( D )
         could reasonably be expected to disclose the identity of confidential source, including a State, local, or foreign agency or authority or any
         private institution which furnished information on a confidential basis, and, in the case of record or information compiled by a criminal law
         enforcement authority in the course of a criminal investigation, or by an agency conducting a lawful national security intelligence
         investigation, information furnished by a confidential source, ( E ) would disclose techniques and procedures for law enforcement
         investigations or prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if such disclosure could
         reasonably be expected to risk circumvention of the law, or ( F ) could reasonably be expected to endanger the life or physical safety of any
         individual;

(b)(8)   contained in or related to examination, operating, or condition reports prepared by, on behalf of, or for the use of an agency responsible for
         the regulation or supervision of financial institutions; or

(b)(9)   geological and geophysical information and data, including maps, concerning wells.

         SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552a

(d)(5)   information compiled in reasonable anticipation of a civil action proceeding;

(j)(2)   material reporting investigative efforts pertaining to the enforcement of criminal law including efforts to prevent, control, or reduce crime
         or apprehend criminals;

(k)(1)   information which is currently and properly classified pursuant to an Executive order in the interest of the national defense or foreign
         policy, for example, information involving intelligence sources or methods;

(k)(2)   investigatory material compiled for law enforcement purposes, other than criminal, which did not result in loss of a right, benefit or
         privilege under Federal programs, or which would identify a source who furnished information pursuant to a promise that his/her identity
         would be held in confidence;

(k)(3)   material maintained in connection with providing protective services to the President of the United States or any other individual pursuant
         to the authority of Title 18, United States Code, Section 3056;

(k)(4)   required by statute to be maintained and used solely as statistical records;

(k)(5)   investigatory material compiled solely for the purpose of determining suitability, eligibility, or qualifications for Federal civilian
         employment or for access to classified information, the disclosure of which would reveal the identity of the person who furnished
         information pursuant to a promise that his/her identity would be held in confidence;

(k)(6)   testing or examination material used to determine individual qualifications for appointment or promotion in Federal Government service
         the release of which would compromise the testing or examination process;

(k)(7)   material used to determine potential for promotion in the armed services, the disclosure of which would reveal the identity of the person
         who furnished the material pursuant to a promise that his/her identity would be held in confidence.

                                                                                                                                                  FBI/DOJ
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 145 of 243 PageID #: 1870




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

                                      §
  BRIAN HUDDLESTON,                   §
                                      §
                    Plaintiff,        §
                                      §
              v.                      §    CIVIL ACTION No. 4:20CV00447
                                      §
  FEDERAL BUREAU OF                   §
  INVESTIGATION and UNITED            §    JUDGE AMOS MAZZANT
  STATES DEPARTMENT OF JUSTICE,       §
                                      §
                    Defendants.       §




                                 EXHIBIT K
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 146 of 243 PageID #: 1871
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 147 of 243 PageID #: 1872




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

                                      §
  BRIAN HUDDLESTON,                   §
                                      §
                    Plaintiff,        §
                                      §
              v.                      §    CIVIL ACTION No. 4:20CV00447
                                      §
  FEDERAL BUREAU OF                   §
  INVESTIGATION and UNITED            §    JUDGE AMOS MAZZANT
  STATES DEPARTMENT OF JUSTICE,       §
                                      §
                    Defendants.       §




                                 EXHIBIT L
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 148 of 243 PageID #: 1873
                                                                               U.S. Department of Justice




                                                                               Federal Bureau of Investigation
                                                                               Washington, D.C. 20535

                                                                                July 7, 2020

     MR. BRIAN HUDDLESTON
     704 NICKELVILLE LANE
     WYLIE, TX 75098

                                                                    FOIPA Request No.: 1465971-000
                                                                    Subject: Crossfire Hurricane Code Names

     Dear Mr. Huddleston:

             This acknowledges receipt of your Freedom of Information/Privacy Acts (FOIPA) request to the
     FBI. Below you will find check boxes and informational paragraphs about your request, as well as specific
     determinations required by these statutes. Please read each one carefully.

                      Your request has been received at FBI Headquarters for processing.

                      You submitted your request via the FBI’s eFOIPA system.

                               We have reviewed your request and determined it is consistent with the FBI
                               eFOIPA terms of service. Future correspondence about your FOIPA request will
                               be provided in an email link unless the record’s file type is not supported by the
                               eFOIPA system.

                               We have reviewed your request and determined it is not consistent with the FBI
                               eFOIPA terms of service. Future correspondence about your FOIPA request will
                               be sent through standard mail.

                      The subject of your request is currently being processed and documents will be released
                      to you upon completion.

                      Release of responsive records will be posted to the FBI’s electronic FOIA Library (The
                      Vault), http:/vault.fbi.gov, and you will be contacted when the release is posted.

                      Your request for a public interest fee waiver is under consideration and you will be advised
                      of the decision if fees are applicable. If your fee waiver is not granted, you will be
                      responsible for applicable fees per your designated requester fee category below.

                      For the purpose of assessing any fees, we have determined:

                               As a commercial use requester, you will be charged applicable search, review,
                               and duplication fees in accordance with 5 USC § 552 (a)(4)(A)(ii)(I).

                               As an educational institution, noncommercial scientific institution or
                               representative of the news media requester, you will be charged applicable
                               duplication fees in accordance with 5 USC § 552 (a)(4)(A)(ii)(II).

                               As a general (all others) requester, you will be charged applicable search and
                               duplication fees in accordance with 5 USC § 552 (a)(4)(A)(ii)(III).
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 149 of 243 PageID #: 1874
              Please check the status of your FOIPA request at www.fbi.gov/foia by clicking on FOIPA Status
     and entering your FOIPA Request Number. Status updates are adjusted weekly. The status of newly
     assigned requests may not be available until the next weekly update. If the FOIPA has been closed the
     notice will indicate that appropriate correspondence has been mailed to the address on file.

             For questions regarding our determinations, visit the www.fbi.gov/foia website under “Contact Us.”
     The FOIPA Request number listed above has been assigned to your request. Please use this number in all
     correspondence concerning your request.

              If you are not satisfied with the Federal Bureau of Investigation’s determination in response to this
     request, you may administratively appeal by writing to the Director, Office of Information Policy (OIP), United
     States Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may submit an
     appeal through OIP's FOIA STAR portal by creating an account following the instructions on OIP’s website:
     https://www.justice.gov/oip/submit-and-track-request-or-appeal. Your appeal must be postmarked or
     electronically transmitted within ninety (90) days of the date of my response to your request. If you submit
     your appeal by mail, both the letter and the envelope should be clearly marked "Freedom of Information Act
     Appeal." Please cite the FOIPA Request Number assigned to your request so it may be easily identified.

              You may seek dispute resolution services by contacting the Office of Government Information
     Services (OGIS). The contact information for OGIS is as follows: Office of Government Information
     Services, National Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland
     20740-6001, e-mail at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile
     at 202-741-5769. Alternatively, you may contact the FBI’s FOIA Public Liaison by emailing
     foipaquestions@fbi.gov. If you submit your dispute resolution correspondence by email, the subject
     heading should clearly state “Dispute Resolution Services.” Please also cite the FOIPA Request Number
     assigned to your request so it may be easily identified.



                                                                      Sincerely,




                                                                      Michael G. Seidel
                                                                      Acting Section Chief
                                                                      Record/Information
                                                                         Dissemination Section
                                                                      Information Management Division
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 150 of 243 PageID #: 1875




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

                                      §
  BRIAN HUDDLESTON,                   §
                                      §
                    Plaintiff,        §
                                      §
              v.                      §    CIVIL ACTION No. 4:20CV00447
                                      §
  FEDERAL BUREAU OF                   §
  INVESTIGATION and UNITED            §    JUDGE AMOS MAZZANT
  STATES DEPARTMENT OF JUSTICE,       §
                                      §
                    Defendants.       §




                                 EXHIBIT M
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 151 of 243 PageID #: 1876
                                                                                U.S. Department of Justice




                                                                                Federal Bureau of Investigation
                                                                                Washington, D.C. 20535

                                                                                 August 6, 2020

  MR. BRIAN HUDDLESTON
  C/O TY O. CLEVENGER, ESQUIRE
  POST OFFICE BOX 20753
  BROOKLYN, NY 11202-0753
                                                                    FOIPA Request No.: 1465971-000
                                                                    Subject: Crossfire Hurricane Code Names

                                                                    Brian Huddleston v. Federal Bureau
                                                                    of Investigation, et al.
                                                                    Civil Action No. 4:20-cv-00447 (EDTX)


  Dear Mr. Huddleston:

           This is in response to your Freedom of Information Act (FOIA) request.

           The FBI is an intelligence agency as well as a law enforcement agency. In its capacity as an intelligence
  agency, the FBI compiles records while carrying out its responsibilities to investigate threats to national security and
  gather foreign intelligence. The FBI can neither confirm nor deny the existence of records responsive to your request
  pursuant to FOIA Exemptions (b)(6), (b)(7)(C) and (b)(7)(E) of 5 U.S.C.§ 552.

           You have requested records on one or more third party individuals. Please be advised the FBI will neither
  confirm nor deny the existence of such records pursuant to FOIA exemptions (b)(6) and (b)(7)(C), 5 U.S.C. §§ 552
  (b)(6) and (b)(7)(C). The mere acknowledgement of the existence of FBI records on third party individuals could
  reasonably be expected to constitute an unwarranted invasion of personal privacy. This is our standard response to
  such requests and should not be taken to mean that records do, or do not, exist. As a result, your request has been
  administratively closed.

            Additionally, FOIA Exemption (b)(7)(E) protects “records or information compiled for law enforcement
  purposes when disclosure would disclose techniques and procedures for law enforcement investigations or
  prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if such disclosure could
  reasonably be expected to risk circumvention of the law.” How the FBI applies its investigative resources against a
  particular allegation, report of criminal activity, or perceived threat is, itself a law enforcement technique or procedure
  that the FBI protects pursuant to Exemption (b)(7)(E) of 5 U.S.C. § 552. Accordingly, a confirmation by the FBI that it
  has or does not have responsive records would be tantamount to acknowledging where the FBI is or is not applying
  investigative resources thus disclosing the scope of law enforcement techniques and procedures.

           For your information, Congress excluded three discrete categories of law enforcement and national security
  records from the requirements of the FOIA. See 5 U.S. C. § 552(c) (2006 & Supp. IV (2010). This response is limited
  to those records that are subject to the requirements of the FOIA. This is a standard notification that is given to all our
  requesters and should not be taken as an indication that excluded records do, or do not, exist.

           Please refer to the enclosed FBI FOIPA Addendum for additional standard responses applicable to your
  request. “Part 1” of the Addendum includes standard responses that apply to all requests. “Part 2” includes
  additional standard responses that apply to all requests for records about yourself or any third party individuals.
  “Part 3” includes general information about FBI records that you may find useful. Also enclosed is our Explanation
  of Exemptions.

          For questions regarding our determinations, visit the www.fbi.gov/foia website under “Contact Us.” The
  FOIPA Request Number listed above has been assigned to your request. Please use this number in all
  correspondence concerning your request.
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 152 of 243 PageID #: 1877


           If you are not satisfied with the Federal Bureau of Investigation’s determination in response to this request,
  you may administratively appeal by writing to the Director, Office of Information Policy (OIP), United States
  Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or you may submit an appeal through
  OIP's FOIA STAR portal by creating an account following the instructions on OIP’s website:
  https://www.justice.gov/oip/submit-and-track-request-or-appeal. Your appeal must be postmarked or electronically
  transmitted within ninety (90) days of the date of my response to your request. If you submit your appeal by mail,
  both the letter and the envelope should be clearly marked "Freedom of Information Act Appeal." Please cite the
  FOIPA Request Number assigned to your request so it may be easily identified.


            You may seek dispute resolution services by contacting the Office of Government Information Services
  (OGIS). The contact information for OGIS is as follows: Office of Government Information Services, National
  Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001, e-mail at
  ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5769. Alternatively,
  you may contact the FBI’s FOIA Public Liaison by emailing foipaquestions@fbi.gov. If you submit your dispute
  resolution correspondence by email, the subject heading should clearly state “Dispute Resolution Services.” Please
  also cite the FOIPA Request Number assigned to your request so it may be easily identified.



                                                                   Sincerely,




                                                                   Michael G. Seidel
                                                                   Section Chief
                                                                   Record/Information
                                                                     Dissemination Section
                                                                   Information Management Division
  Enclosure(s)
    Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 153 of 243 PageID #: 1878
                                                       FBI FOIPA Addendum

As referenced in our letter responding to your Freedom of Information/Privacy Acts (FOIPA) request, the FBI FOIPA
Addendum provides information applicable to your request. Part 1 of the Addendum includes standard responses that apply
to all requests. Part 2 includes standard responses that apply to requests for records about individuals to the extent your
request seeks the listed information. Part 3 includes general information about FBI records, searches, and programs.

Part 1: The standard responses below apply to all requests:

    (i)     5 U.S.C. § 552(c). Congress excluded three categories of law enforcement and national security records from the
            requirements of the FOIPA [5 U.S.C. § 552(c)]. FBI responses are limited to those records subject to the
            requirements of the FOIPA. Additional information about the FBI and the FOIPA can be found on the www.fbi.gov/foia
            website.

    (ii)    Intelligence Records. To the extent your request seeks records of intelligence sources, methods, or activities, the
            FBI can neither confirm nor deny the existence of records pursuant to FOIA exemptions (b)(1), (b)(3), and as applicable to
            requests for records about individuals, PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(1), (b)(3), and (j)(2)]. The mere
            acknowledgment of the existence or nonexistence of such records is itself a classified fact protected by FOIA exemption
            (b)(1) and/or would reveal intelligence sources, methods, or activities protected by exemption (b)(3) [50 USC §
            3024(i)(1)]. This is a standard response and should not be read to indicate that any such records do or do not exist.

Part 2: The standard responses below apply to all requests for records on individuals:

    (i)     Requests for Records about any Individual—Watch Lists. The FBI can neither confirm nor deny the existence of
            any individual’s name on a watch list pursuant to FOIA exemption (b)(7)(E) and PA exemption (j)(2) [5 U.S.C. §§
            552/552a (b)(7)(E), (j)(2)]. This is a standard response and should not be read to indicate that watch list records do or
            do not exist.

    (ii)    Requests for Records about any Individual—Witness Security Program Records. The FBI can neither confirm
            nor deny the existence of records which could identify any participant in the Witness Security Program pursuant to
            FOIA exemption (b)(3) and PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(3), 18 U.S.C. 3521, and (j)(2)]. This is a
            standard response and should not be read to indicate that such records do or do not exist.

    (iii)   Requests for Records for Incarcerated Individuals. The FBI can neither confirm nor deny the existence of records
            which could reasonably be expected to endanger the life or physical safety of any incarcerated individual pursuant to
            FOIA exemptions (b)(7)(E), (b)(7)(F), and PA exemption (j)(2) [5 U.S.C. §§ 552/552a (b)(7)(E), (b)(7)(F), and (j)(2)].
            This is a standard response and should not be read to indicate that such records do or do not exist.

Part 3: General Information:

    (i)     Record Searches. The Record/Information Dissemination Section (RIDS) searches for reasonably described records by
            searching systems or locations where responsive records would reasonably be found. A standard search normally
            consists of a search for main files in the Central Records System (CRS), an extensive system of records consisting of
            applicant, investigative, intelligence, personnel, administrative, and general files compiled by the FBI per its law
            enforcement, intelligence, and administrative functions. The CRS spans the entire FBI organization, comprising records
            of FBI Headquarters, FBI Field Offices, and FBI Legal Attaché Offices (Legats) worldwide; Electronic Surveillance
            (ELSUR) records are included in the CRS. Unless specifically requested, a standard search does not include references,
            administrative records of previous FOIPA requests, or civil litigation files. For additional information about our record
            searches, visit www.fbi.gov/services/information-management/foipa/requesting-fbi-records.

    (ii)    FBI Records. Founded in 1908, the FBI carries out a dual law enforcement and national security mission. As part of
            this dual mission, the FBI creates and maintains records on various subjects; however, the FBI does not maintain records
            on every person, subject, or entity.

    (iii)   Requests for Criminal History Records or Rap Sheets. The Criminal Justice Information Services (CJIS) Division
            provides Identity History Summary Checks – often referred to as a criminal history record or rap sheet. These criminal
            history records are not the same as material in an investigative “FBI file.” An Identity History Summary Check is a
            listing of information taken from fingerprint cards and documents submitted to the FBI in connection with arrests,
            federal employment, naturalization, or military service. For a fee, individuals can request a copy of their Identity
            History Summary Check. Forms and directions can be accessed at www.fbi.gov/about-us/cjis/identity-history-
            summary-checks. Additionally, requests can be submitted electronically at www.edo.cjis.gov. For additional
            information, please contact CJIS directly at (304) 625-5590.

    (iv)    National Name Check Program (NNCP). The mission of NNCP is to analyze and report information in response to
            name check requests received from federal agencies, for the purpose of protecting the United States from foreign and
            domestic threats to national security. Please be advised that this is a service provided to other federal agencies.
            Private Citizens cannot request a name check.
     Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 154 of 243 PageID #: 1879
                                                        EXPLANATION OF EXEMPTIONS

          SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552

(b)(1)    (A) specifically authorized under criteria established by an Executive order to be kept secret in the interest of national defense or foreign
          policy and (B) are in fact properly classified to such Executive order;

(b)(2)    related solely to the internal personnel rules and practices of an agency;

(b)(3)    specifically exempted from disclosure by statute (other than section 552b of this title), provided that such statute (A) requires that the
          matters be withheld from the public in such a manner as to leave no discretion on issue, or (B) establishes particular criteria for withholding
          or refers to particular types of matters to be withheld;

(b)(4)    trade secrets and commercial or financial information obtained from a person and privileged or confidential;

(b)(5)    inter-agency or intra-agency memorandums or letters which would not be available by law to a party other than an agency in litigation with
          the agency;

(b)(6)    personnel and medical files and similar files the disclosure of which would constitute a clearly unwarranted invasion of personal privacy;

(b)(7)    records or information compiled for law enforcement purposes, but only to the extent that the production of such law enforcement records
          or information ( A ) could reasonably be expected to interfere with enforcement proceedings, ( B ) would deprive a person of a right to a
          fair trial or an impartial adjudication, ( C ) could reasonably be expected to constitute an unwarranted invasion of personal privacy, ( D )
          could reasonably be expected to disclose the identity of confidential source, including a State, local, or foreign agency or authority or any
          private institution which furnished information on a confidential basis, and, in the case of record or information compiled by a criminal law
          enforcement authority in the course of a criminal investigation, or by an agency conducting a lawful national security intelligence
          investigation, information furnished by a confidential source, ( E ) would disclose techniques and procedures for law enforcement
          investigations or prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if such disclosure could
          reasonably be expected to risk circumvention of the law, or ( F ) could reasonably be expected to endanger the life or physical safety of any
          individual;

(b)(8)    contained in or related to examination, operating, or condition reports prepared by, on behalf of, or for the use of an agency responsible for
          the regulation or supervision of financial institutions; or

(b)(9)    geological and geophysical information and data, including maps, concerning wells.

          SUBSECTIONS OF TITLE 5, UNITED STATES CODE, SECTION 552a

(d)(5)    information compiled in reasonable anticipation of a civil action proceeding;

(j)(2)    material reporting investigative efforts pertaining to the enforcement of criminal law including efforts to prevent, control, or reduce crime
          or apprehend criminals;

(k)(1)    information which is currently and properly classified pursuant to an Executive order in the interest of the national defense or foreign
          policy, for example, information involving intelligence sources or methods;

(k)(2)    investigatory material compiled for law enforcement purposes, other than criminal, which did not result in loss of a right, benefit or
          privilege under Federal programs, or which would identify a source who furnished information pursuant to a promise that his/her identity
          would be held in confidence;

(k)(3)     material maintained in connection with providing protective services to the President of the United States or any other individual pursuant
to the authority of Title 18, United States Code, Section 3056;

(k)(4)    required by statute to be maintained and used solely as statistical records;

(k)(5)    investigatory material compiled solely for the purpose of determining suitability, eligibility, or qualifications for Federal civilian
          employment or for access to classified information, the disclosure of which would reveal the identity of the person who furnished
          information pursuant to a promise that his/her identity would be held in confidence;

(k)(6)    testing or examination material used to determine individual qualifications for appointment or promotion in Federal Government service
the release of which would compromise the testing or examination process;

(k)(7)   material used to determine potential for promotion in the armed services, the disclosure of which would reveal the identity of the person
who furnished the material pursuant to a promise that his/her identity would be held in confidence.

                                                                                                                                                   FBI/DOJ
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 155 of 243 PageID #: 1880




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

                                      §
  BRIAN HUDDLESTON,                   §
                                      §
                    Plaintiff,        §
                                      §
              v.                      §    CIVIL ACTION No. 4:20CV00447
                                      §
  FEDERAL BUREAU OF                   §
  INVESTIGATION and UNITED            §    JUDGE AMOS MAZZANT
  STATES DEPARTMENT OF JUSTICE,       §
                                      §
                    Defendants.       §




                                 EXHIBIT N
Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 156 of 243 PageID #: 1881
         Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 157 of 243 PageID #: 1882




         (b)(3)-3                                                 18 U.S.C. § 3123(d)

 EXEMPTION (b)(4)           CONFIDENTIAL TRADE SECRETS, COMMERCIAL OR FINANCIAL INFORMATION

         (b)(4)-1                                         Confidential Commercial Information

 EXEMPTION (b)(5)                                         PRIVILEGED INFORMATION
         (b)(5)-1                                           Deliberative Process Privilege

         (b)(5)-2                                              Attorney Work Product

EXEMPTION (b)(7)(A)                         PENDING LAW ENFORCEMENT PROCEEDINGS
                               Information the Disclosure of which Could Reasonably be Expected to Interfere with
       (b)(7)(A)-1
                                                       Pending Enforcement Proceedings

EXEMPTION (b)(6) and           UNWARRANTED/CLEARLY UNWARRANTED INVASION OF PERSONAL
EXEMPTION (b)(7)(C)                                  PRIVACY

 (b)(6)-1 and (b)(7)(C)-1     Names and Other Identifying Information of FBI Special Agents and Professional Staff

 (b)(6)-2 and (b)(7)(C)-2          Names and Other Identifying Information of Third Parties Merely Mentioned

 (b)(6)-3 and (b)(7)(C)-3          Names and Other Identifying Information of Persons of Investigative Interest
                            Names and Other Identifying Information of Third Parties who Provided Information [cited
 (b)(6)-4 and (b)(7)(C)-4
                                                       at times in conjunction with 7(D)]
 (b)(6)-5 and (b)(7)(C)-5      Names and Other Identifying Information of Non-FBI Federal Government Personnel

 (b)(6)-5 and (b)(7)(C)-5                                          Survivor Privacy

EXEMPTION (b)(7)(D)                             CONFIDENTIAL SOURCE INFORMATION
       (b)(7)(D)-1                                    Confidential Source Symbol Number


                                                    A-2
       Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 158 of 243 PageID #: 1883




                                   Identifying Information of and Information Provided by Sources Under an Express
     (b)(7)(D)-2
                                                              Assurance of Confidentiality
                                   Name, Other Identifying Information of, and Information Provided by a Local Law
     (b)(7)(D)-3
                                         Enforcement Agency Under Implied Assurances of Confidentiality
     (b)(7)(D)-4                 Information Provided by a Foreign Government Agency Under Implied Confidentiality

EXEMPTION (b)(7)(E)                        LAW ENFORCEMENT TECHNIQUES AND PROCEDURES
     (b)(7)(E)-1                             FBI Internal Email Addresses and Non-Public Web Addresses

     (b)(7)(E)-2                                Sensitive Investigative File Numbers and Sub-File Names

     (b)(7)(E)-3                                                   Database Information

     (b)(7)(E)-4                                               Code Names for Investigations

     (b)(7)(E)-5                                              Types and Dates of Investigations

     (b)(7)(E)-6                                         Collection and Analysis of Information
                               Specific Law Enforcement Technique Utilized to Conduct National Security Investigations
     (b)(7)(E)-7
                                              [cited at times in conjunction with Exemptions 1 and/or 3]
     (b)(7)(E)-8                                      Investigative Focus of Specific Investigations

     (b)(7)(E)-9                                      Identities of an FBI Unit, Squad and Division


                                 INDEX KEY

                   FOIA WIF: Withheld in full pursuant to FOIA Exemptions
                    Seal WIF: Withheld in full pursuant to a Federal Court sealing order
                         Dup: Duplicate page that was withheld in full


                                                        A-3
               Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 159 of 243 PageID #: 1884




                             Dup of: Location of original copy
                                      The page contains information derived from documents sealed pursuant to Federal Court
                           Seal Info:
                                      sealing order
                         Per [OGA]: Information was withheld by [OGA]

                                                      FBI DOCUMENT TYPES
• FD-302s: FD-302s are internal FBI forms in which evidence is often documented, usually the results of FBI interviews. Such
evidence and/or interview information may later be used as testimony or evidence in court proceedings/trials. Additionally, these
evidence/interview forms are often incorporated in other FBI documents which disseminate intelligence/investigative information,
and can be utilized to set leads in furtherance of the FBI’s investigative efforts.

• Handwritten Interview Notes: These are the original handwritten notes of FBI personnel who conducted interviews in the course
of FBI investigations. These notes are almost always transposed into FD-302s and are utilized by the FBI in the same manner.

• FD-340 - 1A Envelopes: These envelopes are used to organize and store documents that need to be stored separately from the
FBI file to which they are attached, due to their size. They usually contain handwritten notes of interviews, photographs, and other
various evidentiary documents.
• FD-1036 – Sentinel Import Forms: These are administrative forms attached to documents that are imported into the FBI’s case
administrative system, Sentinel.
• Electronic Communications (ECs)/ FD-1057s: ECs replaced the traditional FBI correspondence (i.e., Memoranda and Letters) as
the primary vehicle of correspondence within the FBI. The purpose of an EC is to communicate within the FBI in a consistent
format that can be uploaded by the originating Division or office, transmitted, and downloaded by recipient Divisions or offices
within the FBI’s internal computer network. These forms are often utilized to record and disseminate intelligence/investigative
information and for general investigation administration purposes.
• FD 1023s, FD-209s and other CHS Reporting Documents: These standard forms document reporting to the FBI by Confidential
Human Sources (“CHS”). This CHS provided information may later be used as testimony or evidence in court proceedings/trials.
Additionally, this information can be incorporated in other FBI documents which disseminate intelligence/investigative
information, and can be utilized to set leads in furtherance of the FBI’s investigative efforts.




                                                                A-4
                                                   Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 160 of 243 PageID #: 1885




                                           b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description           Bates                                                                                                        Per OGA   RIF RIP               Dup
                                            1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-




  Email communication dated
 August 10, 2016 between FBI
 personnel concerning Subject:
  Seth Rich. The initial email
  transmission is from an FBI       1                     X          X                                       X                                                X
    employee in the Office of
     Public Affairs providing
information on what was being
  reported that day by various
 news outlets and asking what
involvement the Bureau has in
 the investigation. A response
  was received. The email was
  forwarded to FBI employees
Jonathan C. Moffa and Peter P.
   Strzok and then forwarded
  again from Strzok to Lisa C.
    Page. This document was
    previously processed and
released by the FBI in response     2                     X          X                                       X                                                X
 to a litigated FOIA request in
Civil Action No. 1:18-cv-00154
  Judicial Watch, Inc. v. U.S.
 Department of Justice, et al .,
  Bates-numbered FBI(18-cv-
         154) 4714-4715.



   FD-1036 dated August 15,
     2018 documenting the
 interview of Richard Gates on
 April 10, 2018. This FD-1036
 does not contain any mentions
                                    3      X X                       X        X                                  X                                            X
    of Seth Rich. Responsive
 portions of attachments to this
FD-1036 mentioning Seth Rich
are Bates-numbered FBI(20-cv-
           00447) 4-5.

                                    4                                                                                                                                           X        309
     Duplicate Document
                                    5                                                                                                                                           X        310




                                                                                                5
                                                   Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 161 of 243 PageID #: 1886




                                           b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description           Bates                                                                                                        Per OGA   RIF RIP               Dup
                                            1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



  FD-1036 dated July 18, 2018
 documenting the importing of
 an FD-1023 which documents
   information provided by a
  Confidential Human Source
 ("CHS"). Responsive portions       6                                X                         X    X            X X X                                               X
of attachments to this FD-1036
are Bates-numbered FBI(20-cv-
  447) 7-9. This FD-1036 does
  not contain any mentions of
           Seth Rich.

     FD-1023 documenting
   information provided by a
 CHS. This FD-1023 does not         7                                X                         X    X            X X                                                 X
  contain any mentions of Seth
              Rich.
   Responsive portion of CHS
                                    8                                    X                          X                X                                               X
reported information. Seth Rich
     is mentioned on Bates-
numbered page FBI(20-cv-447)        9                                    X                          X                X                                               X
               9.

 Responsive portions of an FD-
                                    10                          X    X        X                                  X                                            X
  302 drafted August 16, 2018
  and entered August 27, 2018
 documenting the interview of
Jason Fishbein taken on August
     16, 2018. Seth Rich is
                                    11                          X             X                                  X                                            X
 mentioned on Bates-numbered
    page FBI(20-cv-447) 11.


                                    12                    X     X             X                                                                                      X
     Responsive portions of
 handwritten notes taken during
the interview of Jason Fishbein.
   Seth Rich is mentioned on
 Bates-numbered page FBI(20-        13                    X      X            X                                                                                      X
           cv-447) 13.




                                                                                                6
                                                   Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 162 of 243 PageID #: 1887




                                           b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description           Bates                                                                                                        Per OGA   RIF RIP               Dup
                                            1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


                                                                                                                                                 b5-per
Responsive portions of an FD-       14                               X   X    X                                                                               X
                                                                                                                                                DOJ/OIP
 302 drafted July 2, 2018 and
   entered October 21, 2018                                                                                                                      b5-per
documenting the interview of a      15                                        X                                  X                                            X
                                                                                                                                                DOJ/OIP
  third party taken on July 2,
 2018. Seth Rich is mentioned
   on Bates-numbered pages                                                                                                                       b5-per
                                    16                                        X                                  X                                            X
    FBI(20-cv-447) 15-16.                                                                                                                       DOJ/OIP


    Responsive portions of          17                    X                   X                                                                                      X
handwritten notes taken during      18                    X                   X                                                                                      X
 the interview of a third party.    19                    X                   X                                                                                      X
   Seth Rich is mentioned on
Bates-numbered pages FBI(20-
                                    20                    X                   X                                                                                      X
         cv-447) 18-20.


    Responsive portion of a
  document shown to the third
 party being interviewed in the                                                                                                                  b5-per
                                    21                                        X                                                                                      X
FD-302 Bates-numbered pages                                                                                                                     DOJ/OIP
  FBI(20-cv-447) 14-16. Seth
Rich is mentioned on this page.


Responsive portions of an FD-
                                                                                                                                                 b5-per
302 drafted September 6, 2018       22                               X   X    X                                  X                                            X
                                                                                                                                                DOJ/OIP
 and entered October 23, 2018
 documenting the interview of
  Jason Fishbein. Seth Rich is
mentioned on Bates-numbered                                                                                                                      b5-per
                                    23                                   X    X                                  X                                            X
    page FBI(20-cv-447) 23.                                                                                                                     DOJ/OIP


                                    24                    X              X    X                                                                                      X

     Responsive portions of
handwritten notes taken during      25                    X              X    X                                                                                      X
the interview of Jason Fishbein
  taken on September 5, 2018.
   Seth Rich is mentioned on        26                    X              X    X                                                                                      X
Bates-numbered pages FBI(20-
       cv-447) 25 and 27.
                                                                                                                                                 b5-per
                                    27                                        X                                                                                      X
                                                                                                                                                DOJ/OIP




                                                                                                7
                                                   Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 163 of 243 PageID #: 1888




                                           b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description           Bates                                                                                                        Per OGA   RIF RIP               Dup
                                            1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



    Responsive portion of
  documents shown to Jason
    Fishbein. Seth Rich is          28                    X                   X                                                                                      X
   mentioned on this Bates-
       numbered page.


 Responsive portions of an FD-
   302 drafted September 30,
                                    29                               X   X    X                                  X                                            X
  2018 and entered on October
   31, 2018 documenting the
 interview of Paul J. Manafort
taken September 27, 2018. Seth
  Rich is mentioned on Bates-
numbered page FBI(20-cv-447)        30                                                                           X                                            X
              30.


   Responsive portions of
handwritten notes taken during
                                    31                    X          X   X                                                                                           X
   the interview of Paul J.
    Manafort. Seth Rich is
mentioned on Bates-numbered
 pages FBI(20-cv-447) 31-32.
                                    32                    X                                                                                                          X
                                    33                                                                                                                                          X        309
     Duplicate Document
                                    34                                                                                                                                          X        310
                                    35                                                                                                                                          X        307
     Duplicate Document
                                    36                                                                                                                                          X        308
Responsive portions of an FD-
  1057 dated April 19, 2018
  documenting information
                                    37                               X                                       X X       X     X            X                                X
collected on a third party. This
FD-1057 does not contain any
    mentions of Seth Rich.
                                    38                                                                                                                                          X        115

                                    39                                                                                                                                          X        116

     Duplicate Document             40                                                                                                                                          X        117
                                    41                                                                                                                                          X        118
                                    42                                                                                                                                          X        119

                                    43                                                                                                                                          X        120




                                                                                                8
                                                   Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 164 of 243 PageID #: 1889




                                           b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description           Bates                                                                                                        Per OGA   RIF RIP               Dup
                                            1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


                                    44                                   X                                                   X                                       X
                                    45                                   X                                                   X                                       X
                                    46                                                                                       X                                       X
                                    47                                   X                                                   X                                       X
                                    48                                   X                                                   X                                       X
                                    49                                   X                                                   X                                       X
                                    50                                                                                       X                                       X
                                    51                                   X                                                   X                                       X
                                    52                                   X                                                   X                                       X
                                    53                                   X                                                   X                                       X
                                    54                                                                                       X                                       X
                                    55                                   X                                                   X                                       X
   Responsive portions of           56                                   X                                                   X                                       X
    information collected           57                                   X                                                   X                                       X
concerning a third party. Seth      58                                                                                       X                                       X
 Rich is mentioned on Bates-        59                                   X                                                   X                                       X
                                    60                                   X                                                   X                                       X
 numbered pages FBI(20-cv-
                                    61                                   X                                                   X                                       X
447) 47, 51, 55, 59, 63, 64, 67,    62                                                                                       X                                       X
          70 and 73.                63                                   X                                                   X                                       X
                                    64                                   X                                                   X                                       X
                                    65                                                                                       X                                       X
                                    66                                   X                                                   X                                       X
                                    67                                   X                                                   X                                       X
                                    68                                                                                       X                                       X
                                    69                                   X                                                   X                                       X
                                    70                                   X                                                   X                                       X
                                    71                                                                                       X                                       X
                                    72                                   X                                                   X                                       X
                                    73                                   X                                                   X                                       X
                                    74                                                                                       X                                       X
                                    75                                   X                                                   X                                       X


 Responsive portions of an FD-
                                 76        X X                       X            X                          X X       X X X                                  X
 1057 dated September 1, 2016
    documenting information
 received from a third party and
       research conducted.
                                 77                                               X                   X          X           X                                X
     Responsive portions of
attachments to this FD-1057 are
   Bates-numbered FBI(20-cv-
    447) 79-81. Seth Rich is
 mentioned on Bates-numbered
                                 78        X X                                    X                   X          X     X     X                                       X
  pages FBI(20-cv-447) 77 and
               78.




                                                                                                9
                                                   Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 165 of 243 PageID #: 1890




                                         b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
   Document Description          Bates                                                                                                        Per OGA   RIF RIP               Dup
                                          1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


                                  79                                   X                                                   X                                       X
   Responsive portions of
                                  80                                                                                       X                                       X
  documents resulting from
    research conducted.
Information concerning Seth
                                  81                                                                                       X                                       X
 Rich is on Bates-numbered
pages FBI(20-cv-447) 79-81.

Responsive portions of an FD-
302 documenting information
  contained in sealed court
                                  82           X                   X        X                                  X           X            X                                X
   document. Information
   concerning Seth Rich is
   contained on this page.

Responsive portions of sealed     83           X                                                                                        X                                X
court document. Information
 concerning Seth Rich is on
Bates-numbered page FBI(20-
                                  84           X                            X                                              X            X                                X
        cv-447) 84.


Responsive portion of an FD-
302 documenting information
  contained in sealed court
                                  85           X                   X        X                                  X           X            X                                X
   document. Information
  concerning Seth Rich is
   contained on this page.

Responsive portions of sealed
 attachment to FD-302 Bates-
numbered FBI(20-cv-447)-85.       86           X                   X        X                                              X            X                                X
Seth Rich is mentioned on this
             page.

Responsive portions of sealed
 attachment to FD-302 Bates-
numbered FBI(20-cv-447)-85.       87           X                   X        X                                              X            X                                X
Seth Rich is mentioned on this
             page.




                                                                                             10
                                                      Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 166 of 243 PageID #: 1891




                                           b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description           Bates                                                                                                        Per OGA   RIF RIP               Dup
                                            1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


Responsive portions of sealed
 attachment to FD-302 Bates-
numbered FBI(20-cv-447)-85.         88            X                           X                                              X            X                                X
 Information concerning Seth
      Rich is on this page.
                                    89                                                                                                                                          X        83
     Duplicate Document
                                    90                                                                                                                                          X        84


Responsive portions of sealed
attachment to FD-302 Bates-
numbered FBI(20-cv-447) 85.         91            X                                                                          X            X                                X
Information concerning Seth
     Rich is on this page.



 Responsive portion of an FD-
1057 dated November 18, 2016
                                    92     X X                       X                                       X X       X         X                                   X
    documenting the use of a
   classified law enforcement
   technique. Seth Rich is not
    mentioned in these bates-
  numbered pages. Responsive
 portions of attachments to this
                                    93     X X                                                                   X               X                                   X
 FD-1057 are Bates-numbered
     FBI(20-cv-447) 95-96.


                                    94        X                                                                                  X                                   X
    Responsive portions of
 attachments to the FD-1057
 Bates-numbered FBI(20-cv-          95        X                                                                                  X                                   X
   447) 92-93. Seth Rich is
mentioned in Bates-numbered
pages FBI(20-cv-447) 94-95.         96        X                                                                                  X                                   X




                                                                                               11
                                                    Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 167 of 243 PageID #: 1892




                                         b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description         Bates                                                                                                        Per OGA   RIF RIP               Dup
                                          1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-




FD-302 drafted June 29, 2018
   and entered June 29, 2018
  documenting the voluntary
 production of material to the
FBI on October 24, 2017. This
FD-302 does not mention Seth      97        X                      X                                           X           X                                X
 Rich. Responsive portions of
attachments to this FD-302 are
 Bates-numbered FBI(20-cv-
       447) 98 and 100.




                                  98                                                                                       X                                       X
Responsive portions of material
  documented as having been
                                99                                                                                         X                                       X
   received in FD-302 Bates-
 numbered FBI(20-cv-447) 97.
Seth Rich is mentioned in these
attachments on Bates-numbered
 pages FBI(20-cv-447) 99 and 100                                                                                           X                                       X
              100.



Responsive portions of an FD-
302 drafted May 25, 2018 and
   entered on May 29, 2018
documenting Assistant Special
   Counsel Aaron Zelinsky's
     service of a grand jury
   subpoena and the Special
  Counsel's Office receipt of     101           X                  X   X    X                                  X           X                                X
material in response to a federal
grand jury subpoena. The FD-
  302 does not mention Seth
 Rich. Responsive portions of
attachments to this FD-302 are
 Bates-numbered FBI(20-cv-
         447) 102-103.




                                                                                             12
                                                 Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 168 of 243 PageID #: 1893




                                       b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description       Bates                                                                                                        Per OGA   RIF RIP               Dup
                                        1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



Responsive portions of material
                                102          X                       X    X                                              X                                       X
  documented in the FD-302
 Bates-numbered FBI(20-cv-
   447) 101 as having been
    received by the Special
Counsel's Office. Seth Rich is
                                103          X                       X                                                   X                                       X
mentioned on Bates-numbered
  page FBI(20-cv-447) 103.


Responsive portions of material
                                104          X                       X                                                   X                                       X
  documented in the FD-302
  Bates-numbered FBI(20-cv-
    447) 101 as having been
     received by the Special
 Counsel's Office. Seth Rich is
                                105          X                       X                                                   X                                       X
mentioned on Bates-numbered
   page FBI(20-cv-447) 105.



 FD-302 drafted July 12, 2018
  and entered on July 13, 2018
  documenting service on July
 12, 2018 of material signed on 106                              X                                           X           X                                X
July 9, 2018 on various entities.
 This FD-302 does not contain
   any mentions of Seth Rich.



   Physical 1A Cover Sheet     107                               X                                           X           X                                       X



                               108                                        X                                              X                                       X
    Responsive portions of
materials documented in the FD-
302 Bates-numbered FBI(20-cv-
447) 106 as having been signed
 on July 9, 2018 and served on
  various entities. Information
    relating to Seth Rich is    109                                       X                                              X                                       X
 contained on Bates-numbered
   page FBI(20-cv-447) 109.




                                                                                           13
                                                   Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 169 of 243 PageID #: 1894




                                           b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description           Bates                                                                                                        Per OGA   RIF RIP               Dup
                                            1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


 Responsive portions of an FD-
    1057 dated July 11, 2018    110                                  X   X                                   X X       X     X                                       X
 documenting the collection of
documents. This FD-1057 does
     not mention Seth Rich.
     Responsive portions of
attachments to this FD-1057 are 111                                                                              X           X                                       X
  Bates-numbered FBI(20-cv-
         447) 112-113.

    Responsive portions of
                               112                                                                                           X                                       X
documents referenced as having
 been collected in the FD-1057
  Bates-numbered FBI(20-cv-
  447) 110-111. Seth Rich is
 mentioned on Bates-numbered 113                                                                                             X                                       X
   page FBI(20-cv-447) 113.


Responsive portions of an FD-
  1057 dated August 12, 2018
  documenting information in
 support of indictment U.S. v.
 Viktor Borisovich Netysksho,
   et al (Case 1:16-cr-00215,
                               114                                   X                                       X X       X     X                                X
  District of Columbia). Seth
 Rich is not mentioned in this
FD-1057. Responsive portions
of attachments to this FD-1057
are Bates-numbered FBI(20-cv-
          447) 115-120.

                                   115                                                                                       X                                       X
    Responsive portions of
    documents in support of        116                                                                                       X                                       X
   indictment U.S. v. Viktor
  Borisovich Netysksho, et al      117                                                                                       X                                       X
(Case 1:16-cr-00215, District of
                                   118                                                                                       X                                       X
 Columbia) documented in the
   FD-1057 Bates-numbered          119                                                                                       X                                       X
 FBI(20-cv-447) 114. Seth Rich
     is mentioned on Bates-
  numbered pages FBI(20-cv-        120                                                                                       X                                       X
         447) 116-121.




                                                                                               14
                                                Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 170 of 243 PageID #: 1895




                                        b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description        Bates                                                                                                        Per OGA   RIF RIP               Dup
                                         1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



Responsive portions of an FD-
   1057 dated April 11, 2019
 documenting the collection of
 information. Seth Rich is not
  mentioned in this FD-1057.    121                               X                                       X X       X     X                                       X
    Responsive portions of
information collected is Bates-
numbered FBI(20-cv-447) 122-
             143.

                                122                               X   X                                                   X            X                                X
                                123                               X                                                       X            X                                X
                                124                               X                                                       X            X                                X
                                125                               X                                                       X            X                                X
                                126                               X                                                       X            X                                X
                                127                               X                                                       X            X                                X

                                128                               X                                                       X            X                                X
                                129                                                                                       X                                       X
    Responsive portions of
                                130                                                                                       X                                       X
  information collected. Seth
                                131                                                                                       X                                       X
 Rich is mentioned on Bates-
 numbered pages FBI(20-cv-      132                                                                                       X                                       X
 447) 122-130, 133-139, 141,    133                                                                                       X                                       X
           and 143.             134                                                                                       X                                       X
                                135                                                                                       X                                       X
                                136                                                                                       X                                       X
                                137                                                                                       X                                       X
                                138                                                                                       X                                       X
                                139                                                                                       X                                       X
                                140                                                                                       X                                       X
                                141                                                                                       X                                       X
                                142                                                                                       X                                       X
                                143                                   X                                                   X                                       X

 FD-302 drafted December 14,
2018 and entered on January 7,
2019 documenting collection of
                               144                                X        X                                  X           X            X                                X
 information on June 27, 2018.
 Seth Rich is not mentioned in
         this FD-302.




                                                                                            15
                                                 Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 171 of 243 PageID #: 1896




                                         b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description         Bates                                                                                                        Per OGA   RIF RIP               Dup
                                          1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


                                 145                                   X    X                                              X            X                                X
     Responsive portions of
   information collected and
                                146                                         X                                              X            X                                X
referenced in the FD-302 Bates-
 numbered FBI(20-cv-447) 144.
   Seth Rich is mentioned on
 Bates-numbered pages FBI(20- 147                                      X    X                                              X            X                                X
        cv-447) 146-147.

                                 148                               X   X    X                                  X           X                                X
 Responsive portions of an FD-
302 drafted November 19, 2018
and entered on January 4, 2019 149                                     X    X                                  X                                            X
 documenting the interview of
Jerome Corsi taken on October 150                                           X                                  X                                            X
    31, 2018. Seth Rich is
  mentioned in this FD-302 on
Bates-numbered pages FBI(20- 151                                            X                                  X                                            X
       cv-447) 149-150.

    Responsive portions of       152                    X          X                                                       X                                       X
handwritten notes taken during
                                 153                    X              X                                                                                           X
 the interview of Jerome Corsi
on October 31, 2018. Seth Rich   154                    X                   X                                                                                      X
    is mentioned on Bates-
  numbered pages FBI(20-cv-
                                 155                    X                   X                                                                                      X
            447) 154.


Responsive portion of materials
 provided to the FBI during the
interview of Jerome Corsi. Seth 156                                         X                                                                                      X
Rich is mentioned on this Bates-
        numbered page.




                                                                                             16
                                               Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 172 of 243 PageID #: 1897




                                       b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description       Bates                                                                                                        Per OGA   RIF RIP               Dup
                                        1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-




  FD-1036 dated February 28,
     2020 documenting the
  importing of a Yahoo News
   Article titled "Rohrabacher
   confirms he offered Trump
  pardon to Assange for proof    157      X                      X                                           X     X                                      X
Russia didn't hack DNC email".
 Seth Rich is not mentioned in
   this FD-1036. Responsive
portions of attachment is Bates-
numbered FBI(20-cv-447) 158.



   Responsive portions of a
February 20, 2020 Yahoo News
  Article titled "Rohrabacher
  confirms he offered Trump
                                158                                                                                                                   X
  pardon to Assange for proof
Russia didn't hack DNC email".
 Seth Rich is mentioned in this
     Bates-numbered page.


Responsive portions of FD-302
 drafted October 17, 2019 and 159         X                 X    X        X                                  X                                            X
    entered March 5, 2020,
 documenting the interview of
  Dana Rohrabacher taken on
 October 2, 2019. Seth Rich is
                               160        X                 X             X                                  X                                            X
mentioned on Bates-numbered
   page FBI(20-cv-447) 160.


     Responsive portions of   161         X                      X                                           X                                            X
 Verbatim Transcript taken of
 Dana Rohrabacher referenced
in the FD-302 Bates-numbered
                              162         X                 X             X                                  X                                                   X
FBI(20-cv-447) 159-160. Seth
 Rich is mentioned on Bates-
  numbered pages FBI(20-cv-
         447) 162-163.        163         X                 X             X                                  X                                                   X




                                                                                           17
                                                 Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 173 of 243 PageID #: 1898




                                       b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description       Bates                                                                                                        Per OGA   RIF RIP               Dup
                                        1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



  FD-302 drafted September 6,
2018 and entered on September
 10, 2018 documenting service
     of a Federal Grand Jury
                                 164         X                   X   X                                       X                                            X
 subpoena by Assistant Special
  Counsel Aaron Zelinsky to a
   third party. Seth Rich is not
    mentioned on this FD-302.



   Subpoena issued to a third    165         X                                                                                                            X
 party to testify before a grand
 jury referenced in the FD-302
  Bates-numbered FBI(20-cv-
   447) 164. Seth Rich is not
 mentioned in Bates-numbered 166             X                                                                                                                   X
 pages FBI(20-cv-44) 165-167
   as these were provided for
 purposes of context. Seth Rich
is mentioned in the attachments
thereto Bates-numbered FBI(20- 167           X              X    X                                       X                                                X
        cv-447) 168-184.


                                 168         X              X        X    X                                                                                      X
                                 169         X              X        X    X                                                                                      X
                                 170         X              X        X    X                                                                                      X
                                 171         X              X                                                                                                    X
     Responsive portions of      172         X              X        X    X                                                                                      X
    information produced in      173         X              X        X    X                                                                                      X
response to a federal grand jury 174         X              X             X                                                                                      X
   subpoena Bates-numbered       175         X              X        X    X                                                                                      X
                                 176         X              X        X    X                                                                                      X
 FBI(20-cv-447) 165-167. Seth 177            X              X                                                                                                    X
  Rich is mentioned on Bates- 178            X              X        X    X                                                                                      X
  numbered pages FBI(20-cv-      179         X              X        X    X                                                                                      X
         447) 168-184.           180         X              X        X    X                                                                                      X
                                 181         X              X                                                                                                    X
                                 182         X              X        X    X                                                                                      X
                                 183         X              X             X                                                                                      X
                                 184         X              X             X                                                                                      X




                                                                                           18
                                                 Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 174 of 243 PageID #: 1899




                                       b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description       Bates                                                                                                        Per OGA   RIF RIP               Dup
                                        1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-




   FD-302 drafted October 17,
  2018 and entered October 31,
  2018 documenting the receipt
   of responses to a grand jury
 subpoena request. Seth Rich is
   not referenced on this page,  185         X              X    X   X                                       X                                            X
  however, he is referenced on
certain pages of the attachments
 thereto, being Bates-numbered
pages FBI(20-cv-447) 187-191,
          193 and 1560.




                                186          X              X             X                                                                                      X
Responsive portions of material
provided in response to a grand
jury subpoena request wherein
  Seth Rich is referenced on    187          X              X                                                                                                    X
 Bates-numbered page FBI(20-
 cv-447) 187. These pages are
  attachments to the FD-302
  Bates-numbered FBI(20-cv-
           447) 185.            188          X              X                                                                                                    X




                                189          X              X        X    X                                                                                      X
Responsive portions of material
provided in response to a grand
jury subpoena request wherein
  Seth Rich is referenced on    190          X              X        X    X                                                                                      X
 Bates-numbered page FBI(20-
 cv-447) 191. These pages are
  attachments to the FD-302
  Bates-numbered FBI(20-cv-
           447) 185.            191          X              X        X    X                                                                                      X




                                                                                           19
                                                   Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 175 of 243 PageID #: 1900




                                         b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description         Bates                                                                                                        Per OGA   RIF RIP               Dup
                                          1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



Responsive portions of material
provided in response to a grand 192            X              X        X    X                                                                                      X
jury subpoena request wherein
  Seth Rich is referenced on
 Bates-numbered page FBI(20-
 cv-447) 193. These pages are
  attachments to the FD-302     193            X              X        X    X                                                                                      X
  Bates-numbered FBI(20-cv-
           447) 185.


 FD-1036 dated December 12,
    2018 documenting the
   importing of information
                                 194           X              X    X                                           X     X     X                                X
    collected and analyzed
 pertaining to a Federal Grand
        Jury proceeding.


Document imported, collected
 and analyzed pertaining to a
Federal Grand Jury proceeding
  referenced in the FD-1036
                                 195           X              X    X        X                                              X                                       X
 Bates-numbered FBI(20-cv-
    447) 194. Seth Rich is
 mentioned Bates--numbered
  page FBI(20-cv-447) 195.

 FD-302 drafted June 17, 2018
   and entered June 18, 2018
 documenting the collection of
records from a third party. Seth
  Rich is not mentioned in this 196            X                   X   X                                       X           X                                X
 FD-302. Responsive portions
 of attachments to this FD-302
are Bates-numbered FBI(20-cv-
          447) 197-201.

  Physical 1A Cover Sheet
documenting the collection of    197           X                   X                                           X           X                                       X
        information.




                                                                                             20
                                                    Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 176 of 243 PageID #: 1901




                                          b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description          Bates                                                                                                        Per OGA   RIF RIP               Dup
                                           1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


  FD-340 envelope containing
 records collected from a third
party referenced in the FD-302    198           X                   X   X                                       X                                            X
  Bates-numbered FBI(20-cv-
           447) 196.

Responsive portions of records 199              X                       X                                       X           X                                       X
  collected from a third party,
being maintained in the FD-340 200              X                       X                                                   X                                       X
   envelope Bates-numbered
FBI(20-cv-447) 198. Seth Rich
    is mentioned on Bates-
  numbered pages FBI(20-cv-     201             X                       X                                                   X                                       X
       447) 200 and 201.


  FD-302 drafted and entered
 June 2, 2018 documenting the
   collection of information
pursuant to a sealed court order.
Attachments to this FD-302 are 202              X                   X        X                                  X           X            X                                X
Bates-numbered pages FBI(20-
 cv-447) 203-274. Information
concerning Seth Rich identified
         in this FD-302.


Responsive portions of a sealed 203             X                                                                                        X                                X
 court document referenced in
 the FD-302 Bates-numbered
     FBI(20-cv-447) 202.
 Information concerning Seth
  Rich is identified on Bates-  204             X                            X                                              X            X                                X
numbered page FBI(20-cv-447)
              204.

                                  205           X                   X   X    X                                              X            X                                X
                                  206           X                                                                           X            X                                X
    Responsive portions of
                                  207           X                                                                           X            X                                X
information collected pursuant    208           X                                                                           X            X                                X
  to a sealed court document.     209           X                                                                           X            X                                X
 Information concerning Seth      210           X                                                                           X            X                                X
  Rich is identified on Bates-    211           X                                                                           X            X                                X
  numbered pages FBI(20-cv-       212           X                                                                           X            X                                X
                                  213           X                                                                           X            X                                X
         447) 206-266.
                                  214           X                                                                           X            X                                X
                                  215           X                            X                                              X            X                                X




                                                                                              21
                                                 Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 177 of 243 PageID #: 1902




                                       b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description       Bates                                                                                                        Per OGA   RIF RIP               Dup
                                        1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-

                                216          X                            X                                              X            X                                X
                                217          X                            X                                              X            X                                X
                                218          X                            X                                              X            X                                X
                                219          X                            X                                              X            X                                X
                                220          X                            X                                              X            X                                X
                                221          X                                                                           X            X                                X
                                222          X                                                                           X            X                                X
                                223          X                                                                           X            X                                X
                                224          X                                                                           X            X                                X
                                225          X                                                                           X            X                                X
                                226          X                                                                           X            X                                X
                                227          X                                                                           X            X                                X
                                228          X                                                                           X            X                                X
                                229          X                                                                           X            X                                X
                                230          X                                                                           X            X                                X
                                231          X                                                                           X            X                                X
                                232          X                                                                           X            X                                X
                                233          X                                                                           X            X                                X
                                234          X                                                                           X            X                                X
                                235          X                                                                           X            X                                X
                                236          X                                                                           X            X                                X
                                237          X                                                                           X            X                                X
    Continued - Responsive      238          X                                                                           X            X                                X
    portions of information     239          X                                                                           X            X                                X
 collected pursuant to a sealed 240          X                                                                           X            X                                X
 court document. Information 241             X                                                                           X            X                                X
    concerning Seth Rich is     242          X                                                                           X            X                                X
 identified on Bates-numbered 243            X                                                                           X            X                                X
pages FBI(20-cv-447) 206-266. 244            X                                                                           X            X                                X
                                245          X                                                                           X            X                                X
                                246          X                                                                           X            X                                X
                                247          X                                                                           X            X                                X
                                248          X                                                                           X            X                                X
                                249          X                                                                           X            X                                X
                                250          X                                                                           X            X                                X
                                251          X                                                                           X            X                                X
                                252          X                                                                           X            X                                X
                                253          X                                                                           X            X                                X
                                254          X                                                                           X            X                                X
                                255          X                                                                           X            X                                X
                                256          X                                                                           X            X                                X
                                257          X                                                                           X            X                                X
                                258          X                                                                           X            X                                X
                                259          X                                                                           X            X                                X
                                260          X                                                                           X            X                                X
                                261          X                                                                           X            X                                X
                                262          X                                                                           X            X                                X
                                263          X                                                                           X            X                                X
                                264          X                                                                           X            X                                X
                                265          X                                                                           X            X                                X
                                266          X                            X                                              X            X                                X




                                                                                           22
                                                   Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 178 of 243 PageID #: 1903




                                         b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description         Bates                                                                                                        Per OGA   RIF RIP               Dup
                                          1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


    Responsive portions of       267           X                                                                           X            X                                X
                                 268           X                                                                           X            X                                X
information collected pursuant
                                 269           X                                                                           X            X                                X
  to a sealed court document.    270           X                                                                           X            X                                X
 Information concerning Seth     271           X                                                                           X            X                                X
  Rich is identified on Bates-   272           X                                                                           X            X                                X
  numbered pages FBI(20-cv-      273           X                                                                           X            X                                X
         447) 267-274.           274           X                       X                                                   X            X                                X


 FD-302 drafted and entered on
 July 2, 2018 documenting the
    collection of information
pursuant to a sealed court order.
  Information concerning Seth
                                  275          X                   X        X                                  X           X            X                                X
Rich is referenced on this page,
   and on certain pages of the
   attachments thereto, being
Bates-numbered pages FBI(20-
      cv-447) 277 and 279.


     Responsive portions of
information collected pursuant
   to a sealed court document.  276            X                                                                                        X                                X
  Information concerning Seth
   Rich is identified on Bates-
   numbered pages FBI(20-cv-
    447) 206-275. Responsive
   portions of the sealed court
document referenced in the FD-
302 Bates-numbered FBI(20-cv-
      447) 275. Information     277            X                            X                                              X            X                                X
     concerning Seth Rich is
 identified on Bates-numbered
    page FBI(20-cv-447) 277.


    Responsive portions of
                                 278           X                            X                              X               X            X                                X
information collected pursuant
  to a sealed court document.
 Information concerning Seth
                                 279           X                       X                                                   X            X                                X
  Rich is identified on Bates-
  numbered pages FBI(20-cv-
         447) 278-279.           280           X                                                                           X            X                                X




                                                                                             23
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                                          b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description          Bates                                                                                                        Per OGA   RIF RIP               Dup
                                           1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


  FD-302 drafted October 29,
 2018 and entered October 30,
 2018 documenting the receipt
of digital evidence provided by
     the Democratic National
Committee (DNC) and Hillary
      For America (HFA) in
                                281                                 X                                           X                                            X
        furtherance of this
    investigation. Portions of
 attachments hereto have been
  Bates-numbered FBI(20-cv-
447)-285 thru -305. Seth Rich
  is not mentioned in this FD-
               302.

     Responsive portions of
   attachments to the FD-302
 processed at Bates-numbered
page FBI(20-cv-447)-281 being
a confirmation letter from DNC
   and HFA providing to the     282                                                                                         X                                X
 Department of Justice Special
 Counsel's Office the DVD of
    digital evidence for this
investigation. Seth Rich is not
    mentioned in this letter.


   Physical 1A Cover Sheet
documenting the receipt of the
  DVD from Perkins Coie on
                                  283                               X                                           X                                            X
 behalf of the DNC and HFA.
Seth Rich is not mentioned on
         Cover Sheet.

                                  284                                   X                                                   X                                       X
                                  285                                   X                                                   X                                       X
  Responsive portions of the
                                  286                                   X                                                   X                                       X
digital evidence turned over by   287                                                                                       X                                       X
  the DNC and HFA for this        288                                                                                       X                                       X
  investigation. Information      289                                                                                       X                                       X
  concerning Seth Rich is on      290                                                                                       X                                       X
Bates-numbered pages FBI(20-      291                                   X                                                   X                                       X
                                  292                                                                                       X                                       X
        cv-447) 295-305.
                                  293                                                                                       X                                       X
                                  294                                                                                       X                                       X




                                                                                              24
                                                 Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 180 of 243 PageID #: 1905




                                         b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description         Bates                                                                                                        Per OGA   RIF RIP               Dup
                                          1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-

                                 295                                   X                                                   X                                       X
                                 296                                   X                                                   X                                       X
   Continued - Responsive        297                                   X                                                   X                                       X
portions of the digital evidence 298                                                                                       X                                       X
 turned over by the DNC and      299                                                                                       X                                       X
                                 300                                                                                       X                                       X
  HFA for this investigation.
                                 301                                                                                       X                                       X
 Information concerning Seth
                                 302                                   X                                                   X                                       X
  Rich is on Bates-numbered
pages FBI(20-cv-447) 295-305. 303                                                                                          X                                       X
                                 304                                                                                       X                                       X
                                 305                                                                                       X                                       X
 FD-302 cover sheet drafted
 October 4, 2018 and entered
October 5, 2018 documenting
an original FD-302 attached in   306        X                      X                                           X                                            X
    a 1A. Seth Rich is not
   mentioned on this Bates-
        numbered page.

   Responsive portions of        307                    X              X    X                                                                                      X
 handwritten interview notes
taken during the interview of
 Richard Gates on April 10,
2018. Seth Rich is mentioned     308                    X                   X                                                                                      X
  on Bates-numbered page
    FBI(20-cv-447) 308.

Responsive portions of FD-302
  drafted April 24, 2018 and   309                                 X   X    X                                  X                                            X
    entered May 10, 2018
 documenting the interview of
 Richard Gates taken April 10,
 2018. Information concerning
    Seth Rich is on Bates-     310                                          X                                  X                                            X
numbered page FBI(20-cv-447)
             310.

 FD-302 cover sheet drafted
 October 4, 2018 and entered
October 5, 2018 documenting      311        X                      X                                           X                                            X
an original FD-302 attached in
           a 1A file.
                                 312                                                                                                                                          X        307
    Duplicate Document
                                 313                                                                                                                                          X        308




                                                                                             25
                                               Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 181 of 243 PageID #: 1906




                                       b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description       Bates                                                                                                        Per OGA   RIF RIP               Dup
                                        1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


                                314                                                                                                                                         X        309
     Duplicate Document
                                315                                                                                                                                         X        310

Responsive portions of FD-302
  drafted October 6, 2018 and   316                              X   X    X                                  X                                            X
   entered October 30, 2018
documenting the interview of a
third party on October 3, 2018.
   Seth Rich is mentioned on
 Bates-numbered page FBI(20- 317                                          X                                  X                                            X
          cv-447) 317.



    Responsive portions of
                                318                   X                   X                                                                                      X
  handwritten interview notes
taken during the interview of a
third party on October 3, 2018.
   Seth Rich is mentioned on
 Bates-numbered page FBI(20-
          cv-447) 319.          319                   X                   X                                                                                      X




                                320                                       X                                                                                      X
Responsive portions of material
 reviewed during the interview
    of a third party taken on
 October 3, 2018. Seth Rich is
referenced on Bates-numbered 321                                          X                                                                                      X
   page FBI(20-cv-447) 321.




    Responsive portions of
  additional material reviewed 322                                        X                                                                                      X
 during the interview of a third
party taken on October 3, 2018.
   Seth Rich is mentioned on
 Bates-numbered page FBI(20-
          cv-447) 323.           323                                      X                                                                                      X




                                                                                           26
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                                       b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description       Bates                                                                                                        Per OGA   RIF RIP               Dup
                                        1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


                                324                              X   X    X                              X X             X                                X
Responsive portions of an FD-
     1057 dated April 9, 2019
  documenting the referring of 325                                   X    X                                  X           X                                X
     information to the FBI's
     Washington Field office
   concerning a potential fraud
 scheme collected in the course 326                                  X    X                                  X           X                                X
   of Special Counsel's Office
(SCO) investigation. Seth Rich
is not mentioned in the EC, but
 is referenced in the attachment
  thereto Bates-numbered page 327                                         X                                  X           X                                       X
    FBI(20-cv-447) 328-330.


                                328                                       X                                              X                                       X
   Responsive portions of an
attachment to the EC processed
 for release at Bates-numbered 329                                        X                                              X                                       X
pages FBI(20-cv-447) 324-327.
Seth Rich is mentioned on each
 of the Bates-numbered pages. 330                                         X                                              X                                       X



Responsive portions of an FD-
302 drafted November 2, 2018
and entered November 2, 2018
 documenting the collection of
                                 331                             X        X                                  X           X            X                                X
   information pursuant to a
sealed court order. Seth Rich is
 not mentioned on this Bates-
        numbered page.


      Responsive portions
information collected pursuant 332                                                                                                    X                                X
  to a sealed court document
    detailed in the FD-302
 processed at Bates-numbered
page FBI(20-cv-447) 331. Seth
                               333                                                                                                    X                                X
Rich is not mentioned in these
    Bates-numbered pages.




                                                                                           27
                                                 Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 183 of 243 PageID #: 1908




                                         b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description         Bates                                                                                                        Per OGA   RIF RIP               Dup
                                          1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


                                 334                                   X                                                   X            X                                X
    Responsive portions of
information collected pursuant   335                                   X                                                   X            X                                X
  to a sealed court document.
                                 336                                   X                                                   X            X                                X
 Information concerning Seth
  Rich is identified on Bates-
                                 337                                                                                       X            X                                X
  numbered pages FBI(20-cv-
         447) 335-338.           338                                   X                                                   X            X                                X

 Responsive portions of an FD-
 302 drafted May 28, 2018 and
     entered May 29, 2018
 documenting the collection of 339                                     X                                                   X            X                                X
   information pursuant to a
sealed court order. Seth Rich is
     not mentioned herein.
    Sealed court document
   referenced in the FD-302     340                                                                                                     X                                X
 processed at Bates-numbered
page FBI(20-cv-447) 339. Seth
Rich is not mentioned in Bates-
  numbered pages FBI(20-cv-     341                                                                                                     X                                X
         447) 340-341.
                                342                                    X                                                   X            X                                X
                                343                                    X                                                   X            X                                X
                                344                                    X                                                   X            X                                X
                                345                                    X                                                   X            X                                X
                                346                                    X                                                   X            X                                X
                                347                                    X                                                   X            X                                X
                                348                                    X                                                   X            X                                X
                                349                                    X                                                   X            X                                X
     Responsive portions of
                                350                                    X                                                   X            X                                X
 information collected pursuant 351                                    X                                                   X            X                                X
   to a sealed court document.  352                                    X                                                   X            X                                X
    Seth Rich is mentioned on   353                                    X                                                   X            X                                X
Bates-numbered pages FBI(20- 354                                       X                                                   X            X                                X
cv-447) 343-348, 350-353, 355- 355                                     X                                                   X            X                                X
  363, 365-368, 370-380, 382- 356                                      X                                                   X            X                                X
                                357                                    X                                                   X            X                                X
   383, 385-389, and 391-392.   358                                    X                                                   X            X                                X
                                359                                    X                                                   X            X                                X
                                360                                    X                                                   X            X                                X
                                361                                    X                                                   X            X                                X
                                362                                    X                                                   X            X                                X
                                363                                    X                                                   X            X                                X
                                364                                    X                                                   X            X                                X
                                365                                    X                                                   X            X                                X




                                                                                             28
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                                        b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description        Bates                                                                                                        Per OGA   RIF RIP               Dup
                                         1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-

                                366                                   X                                                   X            X                                X
                                367                                   X                                                   X            X                                X
                                368                                   X                                                   X            X                                X
                                369                                   X                                                   X            X                                X
                                370                                   X                                                   X            X                                X
                                371                                   X                                                   X            X                                X
                                372                                   X                                                   X            X                                X
                                373                                   X                                                   X            X                                X
                                374                                   X                                                   X            X                                X
    Continued - Responsive      375                                   X                                                   X            X                                X
    portions of information     376                                   X                                                   X            X                                X
 collected pursuant to a sealed 377                                   X                                                   X            X                                X
 court document. Seth Rich is 378                                     X                                                   X            X                                X
                                379                                   X                                                   X            X                                X
mentioned on Bates-numbered
                                380                                   X                                                   X            X                                X
pages FBI(20-cv-447) 343-348, 381                                     X                                                   X            X                                X
  350-353, 355-363, 365-368,    382                                   X                                                   X            X                                X
  370-380, 382-383, 385-389,    383                                   X                                                   X            X                                X
         and 391-392.           384                                   X                                                   X            X                                X
                                385                                   X                                                   X            X                                X
                                386                                   X                                                   X            X                                X
                                387                                   X                                                   X            X                                X
                                388                                   X                                                   X            X                                X
                                389                                   X                                                   X            X                                X
                                390                                   X                                                   X            X                                X
                                391                                   X                                                   X            X                                X
                                392                                   X                                                   X            X                                X
                                393                                   X                                                   X            X                                X

 FD-302 drafted June 28, 2018
  and entered June 28, 2018
 documenting the collection of
                                 394                              X                                           X                        X                                X
   information pursuant to a
sealed court order. Seth Rich is
not mentioned on this FD-302.


  Physical 1A Cover Sheet
documenting the collection of
information referenced in the   395                               X                                           X                        X                                X
  FD-302 Bates-numbered
    FBI(20-cv-447) 394.




                                                                                            29
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                                        b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description        Bates                                                                                                        Per OGA   RIF RIP               Dup
                                         1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-




    Responsive portions of
information collected pursuant
                               396                                    X                                                   X            X                                X
  to a sealed court document.
 Information concerning Seth
  Rich is identified on Bates-
numbered page FBI(20-cv-447)
              397.             397                                    X                                                   X            X                                X


 Responsive portions of a FD-
   302 drafted on October 24,    398          X                   X        X                                  X                                            X
2018 and entered on November
    9, 2018. Seth Rich is not
 mentioned on the first page of
 the interview statement, but is
mentioned on Bates-numbered 399                                            X                                  X                                            X
   page FBI(20-cv-447) 399.




Responsive portions of an FBI
  Special Agent's handwritten     400                  X          X        X                                                                                      X
  interview notes used for the
      creation of the FD-302
 processed at Bates-numbered
pages FBI(20-cv-447) 398-399.
Seth Rich is not mentioned on
 the first page of the notes, but
  is referenced in the FBI SAs
notes on Bates-numbered page 401                       X                   X                                                                                      X
       FBI(20-cv-447) 401.




    See next page for full
description of Bates-numbered 402                            X    X        X                       X      X            X X                                 X
pages FBI(20-cv-447) 402-403.




                                                                                            30
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                                       b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description       Bates                                                                                                        Per OGA   RIF RIP               Dup
                                        1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



Responsive portions of an FD-
1057 dated November 7, 2017
documenting case opening and
  summary. Seth Rich is not
mentioned on Bates-numbered
 page FBI(20-cv-447) 402, but 403                           X             X                                              X                                X
    is referenced on Bates-
numbered page FBI(20-cv-477)
403 and on a single page of an
   attachment hereto Bates-
numbered FBI(20-cv-447) 404.


  Responsive portions of an
 attachment to the FD-1057
                               404                                        X                                              X                                       X
 Bates-numbered FBI(20-cv-
       447) 402-403.


FD-302 drafted March 15, 2018 405                                X   X        X   X               X          X                                            X
and entered on March 26, 2018
documenting a meeting held on
   March 15, 2018 wherein     406                                X   X    X   X   X               X          X                                            X
 information concerning Seth
      Rich was provided.      407                                             X    X              X          X                                            X


                               408                                   X        X                   X                                                              X
Responsive portions of material
provided by a source during the
                                409                                  X        X                   X                                                              X
meeting documented in the FD-
302 Bates-numbered FBI(20-cv-
      447)-405 thru -407.       410                                  X        X                   X                                                              X
 Information concerning Seth
  Rich is contained in Bates-
  numbered pages FBI(20-cv-
                                411                                           X                   X                                                              X
      447)-408 thru -411.




                                                                                           31
                                               Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 187 of 243 PageID #: 1912




                                       b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                           FOIA   Seal     Dup of FBI(20-
    Document Description       Bates                                                                                                          Per OGA     RIF RIP               Dup
                                        1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                       WIF    WIF         cv-477)-



Additional responsive material
provided by a source during the
meeting documented in the FD-
302 Bates-numbered FBI(20-cv-
                                412                                           X                   X                                                                  X
  447) 405-407. Information
    concerning Seth Rich is
 contained in Bates-numbered
   page FBI(20-cv-447) 412.


Additional responsive portions 413                                            X                   X                                                                  X
   of material provided by a
   source during the meeting
  documented in the FD-302     414                                            X                   X                                                                  X
  Bates-numbered FBI(20-cv-
  447) 405-407. Information
    concerning Seth Rich is
 contained in Bates-numbered 415                                              X                   X                                                                  X
pages FBI(20-cv-447) 413-415.

   Physical 1A Cover sheet
  documenting the receipt of
material provided by a source.
                                416                              X            X                   X          X                                                       X
 Information concerning Seth
Rich is mentioned on this cover
             sheet.

                               417                               X                                X          X     X                                                 X
 FD-340 envelope dated March
 15, 2018 containing additional 418                                               X               X                                                                  X
responsive material provided by
           a source.            419                                           X                   X                                                                  X



     A Memorandum to File                                                                                                                    b5, b6/7C-
prepared by an Assistant United 420                                                                                                         per EOUSA
                                                                                                                                                                     X
 States Attorney (AUSA) in the
United States Attorney's Office
  for the District of Columbia.
  Both pages of this document
                                                                                                                                             b5, b6/7C-
      contains information      421                                                                                                                                  X
                                                                                                                                            per EOUSA
     concerning Seth Rich.




                                                                                           32
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                                       b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description       Bates                                                                                                        Per OGA   RIF RIP               Dup
                                        1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-




Responsive portions of material
provided by a source during the
meeting documented in the FD- 422                                    X                 X          X                      X                                       X
302 Bates-numbered FBI(20-cv-
        447) 405-407.




                                423       X                      X   X        X                              X                                            X
Responsive portions of an FD-
  302 drafted September 14,
2016 and entered on September 424                                    X        X                              X                                            X
   29, 2016 documenting an
interview of a third party taken 425                                 X    X   X                              X                                            X
    on September 14, 2016.
 Information concerning Seth
  Rich is on Bates-numbered
pages FBI(20-cv-447) 424-426. 426                                    X        X   X                          X                                            X




                                427                                  X        X                                          X                                       X
    Responsive portions of
 information provided during
the interview of the third party 428                             X   X        X                                          X                                X
taken on September 14, 2016.
  Seth Rich is mentioned on
Bates-numbered pages FBI(20- 429                                     X    X                                              X                                       X
       cv-447) 428-429.


                                430       X                      X   X        X                              X                                            X
Responsive portions of an FD-
   302 drafted September 14,
2016 and entered on September 431                                    X        X                              X                                            X
   29, 2016 documenting the
interview of a third party taken 432                                 X    X   X                              X                                            X
 on September 14, 2016. Seth
  Rich is mentioned on Bates-
  numbered pages FBI(20-cv-
                                 433                                 X        X   X                          X                                            X
         447) 431-433.




                                                                                           33
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                                         b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
   Document Description          Bates                                                                                                        Per OGA   RIF RIP               Dup
                                          1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-

                                 434                                                                                                                                          X        427
    Duplicate Document           435                                                                                                                                          X        428
                                 436                                                                                                                                          X        429
Responsive portions of an FD-
                               437                                 X        X                                  X                                            X
  302 drafted October 5, 2018
  and entered on November 2,
     2018 documenting the
                               438                                          X                                  X                                            X
 interview of Paul J. Manafort
taken on October 1, 2018. Seth
  Rich is mentioned on Bates-
  numbered pages FBI(20-cv-    439                                          X                                  X                                            X
         447) 438-439.

    Responsive portions of       440                    X          X        X                                                                                      X
  handwritten interview notes
 taken during the interview of
Paul J. Manafort on October 1,
2018. Seth Rich is mentioned
                                 441                    X                   X                                                                                      X
   on Bates-numbered page
     FBI(20-cv-447) 441.


    Responsive portions of
  handwritten interview notes  442                      X          X        X                                  X                                                   X
 taken during the interview of
Paul J. Manafort on October 1,
2018 with additional markings
on the pages, thus they cannot
  be withheld as duplicates to
Bates-numbered pages FBI(20-
cv-447) 440-441. Seth Rich is 443                       X                   X                                  X                                                   X
mentioned on Bates-numbered
   page FBI(20-cv-447) 443.




                                                                                             34
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                                      b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description      Bates                                                                                                        Per OGA   RIF RIP               Dup
                                       1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



Responsive portions of FD-302
 drafted October 11, 2018 and
 entered on November 2, 2018
   documenting 1) Assistant
     Special Counsel Aaron
   Zelinsky's sending of two
 Consent to Search Computer
Forms to counsel representing 444                               X   X    X                                  X           X                                X
    Jerome Corsi; 2) Corsi's
 signing of the consent forms;
  and 3) telephone calls which
  occurred on October 5, 2018
  and October 11, 2018. Seth
  Rich is not mentioned in the
             FD-302.


                              445                                   X    X                                              X                                X
Two FD-941 Consent to Search
Computer Forms dated October
   4, 2018 and executed by
Jerome Corsi. Seth Rich is not
                               446                                  X    X                                              X                                X
 mentioned on either FD-941.

                               447                                       X                                              X                                       X
                               448                                       X                                              X                                       X
                               449                                       X                                              X                                       X
                               450                                       X                                              X                                       X
                               451                                       X                                              X                                       X
                               452                                       X                                              X                                       X
                               453                                       X                                              X                                       X
    Responsive portions of     454                                       X                                              X                                       X
  information collected. Seth  455                                       X                                              X                                       X
 Rich is mentioned on Bates- 456                                         X                                              X                                       X
                               457                                       X                                              X                                       X
 numbered pages FBI(20-cv-
                               458                                       X                                              X                                       X
 447) 447-462, 464-472, 474- 459                                         X                                              X                                       X
 489, 491-499, 501-531, 533- 460                                         X                                              X                                       X
558, 560-566, 568-569 and 571- 461                                       X                                              X                                       X
             576.              462                                       X                                              X                                       X
                               463                                       X                                              X                                       X
                               464                                       X                                              X                                       X
                               465                                                                                      X                                       X
                               466                                                                                      X                                       X
                               467                                                                                      X                                       X
                               468                                       X                                              X                                       X
                               469                                       X                                              X                                       X




                                                                                          35
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                                     b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
   Document Description      Bates                                                                                                        Per OGA   RIF RIP               Dup
                                      1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-

                              470                                       X                                              X                                       X
                              471                                       X                                              X                                       X
                              472                                       X                                              X                                       X
                              473                                       X                                              X                                       X
                              474                                       X                                              X                                       X
                              475                                       X                                              X                                       X
                              476                                       X                                              X                                       X
                              477                                       X                                              X                                       X
                              478                                       X                                              X                                       X
                              479                                                                                      X                                       X
                              480                                       X                                              X                                       X
                              481                                                                                      X                                       X
                              482                                                                                      X                                       X
                              483                                                                                      X                                       X
                              484                                       X                                              X                                       X
                              485                                       X                                              X                                       X
                              486                                       X                                              X                                       X
                              487                                       X                                              X                                       X
                              488                                                                                      X                                       X
                              489                                                                                      X                                       X
                              490                                       X                                              X                                       X
                              491                                                                                      X                                       X
   Continued - Responsive
                              492                                                                                      X                                       X
   portions of information    493                                       X                                              X                                       X
    collected. Seth Rich is   494                                       X                                              X                                       X
mentioned on Bates-numbered 495                                         X                                              X                                       X
pages FBI(20-cv-447) 447-462, 496                                       X                                              X                                       X
 464-472, 474-489, 491-499,   497                                       X                                              X                                       X
 501-531, 533-558, 560-566,   498                                       X                                              X                                       X
                              499                                       X                                              X                                       X
    568-569 and 571-576.      500                                       X                                              X                                       X
                              501                                       X                                              X                                       X
                              502                                       X                                              X                                       X
                              503                                       X                                              X                                       X
                              504                                       X                                              X                                       X
                              505                                       X                                              X                                       X
                              506                                       X                                              X                                       X
                              507                                       X                                              X                                       X
                              508                                       X                                              X                                       X
                              509                                       X                                              X                                       X
                              510                                                                                      X                                       X
                              511                                                                                      X                                       X
                              512                                                                                      X                                       X
                              513                                                                                      X                                       X
                              514                                       X                                              X                                       X
                              515                                       X                                              X                                       X
                              516                                       X                                              X                                       X
                              517                                       X                                              X                                       X
                              518                                       X                                              X                                       X
                              519                                       X                                              X                                       X
                              520                                       X                                              X                                       X
                              521                                                                                      X                                       X




                                                                                         36
                                             Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 192 of 243 PageID #: 1917




                                     b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
   Document Description      Bates                                                                                                        Per OGA   RIF RIP               Dup
                                      1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-

                              522                                                                                      X                                       X
                              523                                                                                      X                                       X
                              524                                                                                      X                                       X
                              525                                                                                      X                                       X
                              526                                                                                      X                                       X
                              527                                                                                      X                                       X
                              528                                                                                      X                                       X
                              529                                                                                      X                                       X
                              530                                       X                                              X                                       X
                              531                                       X                                              X                                       X
                              532                                       X                                              X                                       X
                              533                                                                                      X                                       X
                              534                                       X                                              X                                       X
                              535                                                                                      X                                       X
                              536                                                                                      X                                       X
                              537                                                                                      X                                       X
                              538                                                                                      X                                       X
                              539                                                                                      X                                       X
                              540                                                                                      X                                       X
                              541                                                                                      X                                       X
                              542                                                                                      X                                       X
                              543                                                                                      X                                       X
   Continued - Responsive
                              544                                                                                      X                                       X
   portions of information    545                                                                                      X                                       X
    collected. Seth Rich is   546                                                                                      X                                       X
mentioned on Bates-numbered 547                                                                                        X                                       X
pages FBI(20-cv-447) 447-462, 548                                                                                      X                                       X
 464-472, 474-489, 491-499,   549                                                                                      X                                       X
 501-531, 533-558, 560-566,   550                                                                                      X                                       X
                              551                                                                                      X                                       X
    568-569 and 571-576.      552                                                                                      X                                       X
                              553                                                                                      X                                       X
                              554                                                                                      X                                       X
                              555                                                                                      X                                       X
                              556                                                                                      X                                       X
                              557                                                                                      X                                       X
                              558                                                                                      X                                       X
                              559                                                                                      X                                       X
                              560                                                                                      X                                       X
                              561                                                                                      X                                       X
                              562                                                                                      X                                       X
                              563                                                                                      X                                       X
                              564                                                                                      X                                       X
                              565                                                                                      X                                       X
                              566                                                                                      X                                       X
                              567                                                                                      X                                       X
                              568                                                                                      X                                       X
                              569                                                                                      X                                       X
                              570                                                                                      X                                       X
                              571                                                                                      X                                       X
                              572                                                                                      X                                       X
                              573                                                                                      X                                       X




                                                                                         37
                                               Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 193 of 243 PageID #: 1918




                                       b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description       Bates                                                                                                        Per OGA   RIF RIP               Dup
                                        1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-




   Continued - Responsive     574                                                                                        X                                       X
   portions of information
    collected. Seth Rich is
mentioned on Bates-numbered
pages FBI(20-cv-447) 447-462, 575                                                                                        X                                       X
 464-472, 474-489, 491-499,
 501-531, 533-558, 560-566,
    568-569 and 571-576       576                                                                                        X                                       X


 FD-302 drafted April 19, 2017
 and entered on April 20, 2017,
documenting information under
a Court sealing order. This FD-
   302 does not mention Seth    577                              X   X                                       X           X            X                                X
  Rich. Responsive portions of
 attachments to this FD-302 are
  Bates-numbered FBI(20-cv-
         447) 578-579.

     Responsive portions of
                              578                                X        X                              X               X            X                                X
 attachments to FD-302 Bates-
numbered FBI(20-cv-447)-577.
   Seth Rich is mentioned on
Bates-numbered pages FBI(20-
                              579                                X        X                              X               X            X                                X
        cv-447) 578-579


 FD-302 drafted September 21,
2016 and entered on September
     22, 2016 documenting
information under court sealing 580                              X                                           X           X            X                                X
     order. Seth Rich is not
   mentioned on this Bates-
        numbered page.

     Responsive portions of
 attachments to FD-302 Bates- 581                                X   X    X                              X               X            X                                X
numbered FBI(20-cv-447)-580.
   Seth Rich is mentioned on
Bates-numbered pages FBI(20- 582                                 X   X    X                              X               X            X                                X
       cv-447) 581-582.




                                                                                           38
                                                Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 194 of 243 PageID #: 1919




                                        b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description        Bates                                                                                                        Per OGA   RIF RIP               Dup
                                         1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



FD-302 drafted September 21,
2016 and entered on September
    23, 2016 documenting
information under sealed court
                               583                                X                                           X           X            X                                X
order. Attachments to this FD-
302 are Bates-numbered pages
 FBI(20-cv-447) 584-614 and
          1566-1593.

                                584                               X   X    X                              X               X            X                                X
                                585                               X   X    X                              X               X            X                                X
  Responsive portions of the
                                586                               X   X    X                              X               X            X                                X
  attachments to the FD-302
 Bates-numbered FBI(20-cv-      587                               X   X    X                              X               X            X                                X
    447) 583. Seth Rich is      588                               X   X    X                              X               X            X                                X
                                589                               X   X    X                              X               X            X                                X
mentioned on Bates-numbered
                                590                               X   X    X                              X               X            X                                X
pages FBI(20-cv-447) 584-592.
                                591                               X   X    X                              X               X            X                                X
                                592                               X   X    X                              X               X            X                                X
                                593                               X   X    X                              X               X            X                                X
  Responsive portion of the
                                594                               X   X    X                              X               X            X                                X
  attachments to FD-302 on
Bates-numbered page FBI(20-     595                               X   X    X                              X               X            X                                X
  cv-447)-583. Seth Rich is     596                               X   X    X                              X               X            X                                X
mentioned on Bates-numbered
                                597                               X   X    X                              X               X            X                                X
pages FBI(20-cv-447)-593-598
                                598                               X   X    X                              X               X            X                                X
                                599                                                                                                                                          X        584
                                600                                                                                                                                          X        585
                                601                                                                                                                                          X        586
    Duplicate Document          602                                                                                                                                          X        587
                                603                                                                                                                                          X        588
                                604                                                                                                                                          X        589
                                605                                                                                                                                          X        590

  Responsive portion of the
 attachments to FD-302 on
Bates-numbered page FBI(20-     606                               X   X    X                              X               X            X                                X
  cv-447) 583. Seth Rich is
 mentioned on this FD-302.

                                607                                                                                                                                          X        591
    Duplicate Document
                                608                                                                                                                                          X        592




                                                                                            39
                                               Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 195 of 243 PageID #: 1920




                                       b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description       Bates                                                                                                        Per OGA   RIF RIP               Dup
                                        1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



                                609                                                                                                                                         X        593

                                610                                                                                                                                         X        594

                                611                                                                                                                                         X        595
     Duplicate Document
                                612                                                                                                                                         X        596

                                613                                                                                                                                         X        597

                                614                                                                                                                                         X        598


FD-302 drafted and entered on
      September 28, 2016
   documenting information
 sealed under court order. Seth
  Rich is not identified on this 615                             X                                           X           X            X                                X
bates-page, but he is mentioned
in the attachment hereto Bates-
numbered FBI(20-cv-447) 616-
               618.


                                616                              X   X    X                              X               X            X                                X
Attachment to FD-302 on bates-
numbered page FBI(20-cv-447)
   615 wherein Seth Rich is    617                               X   X    X                              X               X            X                                X
 mentioned on bates-numbered
pages FBI(20-cv-447) 616-618.
                                618                              X   X    X                              X               X            X                                X



 FD-302 drafted March 7, 2017
 and entered on March 8, 2017
documenting the interview of a
      third party subject of
      investigative interest.
 Responsive records referenced
                               619                               X   X    X                                  X                                            X
    herein being an interview
   summary transcript and an
audio download of an interview
   have been Bates-numbered
  FBI(20-cv-447) 620-622 and
              1565




                                                                                           40
                                               Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 196 of 243 PageID #: 1921




                                       b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description       Bates                                                                                                        Per OGA   RIF RIP               Dup
                                        1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-




                               620                                   X    X                                              X                                       X
    Responsive portions of an
  interview summary transcript
wherein Seth Rich is mentioned
                                621                                  X    X                                              X                                       X
    on Bates-numbered pages
 FBI(20-cv-447) 621-622. This
interview summary transcript is
 referenced on Bates-numbered
                                622                                  X    X                                              X                                       X
    page FBI(20-cv-447) 619.



FD-302 drafted April 12, 2017
 and entered on April 13, 2017
    documenting 1) an email
   request for information to
 Perkins Coie, counsel for the
    victim; 2) a Perkins Coie
attorney's contact with an agent
 wherein he provided a verbal 623                                X            X                              X                                            X
  summary in response to the
   request; and 3) the agents
  follow-up email request for
 information. The attachments
  referenced herein have been
  Bates-numbered FBI(20-cv-
       447)-624 thru -627.


Responsive portion of an email
  communication dated March
    21, 2017 between an FBI
    Special Agent in the San
 Francisco Field Office and an 624                               X            X                          X               X      X                         X
 attorney at Perkins Coie. This
 document is referenced in the
information on Bates-numbered
   page FBI(20-cv-447)-623.




                                                                                           41
                                                Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 197 of 243 PageID #: 1922




                                        b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description        Bates                                                                                                        Per OGA   RIF RIP               Dup
                                         1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



Responsive portion of an email
  communication dated March
  21, 2017 thru April 10, 2017 625                                X            X                          X               X      X                         X
 between an FBI Special Agent
   in the San Francisco Field
    Office and an attorney at
   Perkins Coie. Seth Rich is
    mentioned on both Bates-
  numbered pages FBI(20-cv-
 447) 625-626. This document
                                 626                              X            X                          X               X      X                         X
is referenced in the information
    on Bates-numbered page
      FBI(20-cv-447) 623.


Handwritten note dated March
31, 2017 documenting verbal
conversation between an FBI
  Special Agent in the San
 Francisco Field Office and
                                627                    X                       X                                                 X                                X
Perkins Coie, counsel for the
  victim. This document is
referenced in the information
  on Bates-numbered page
    FBI(20-cv-447)-623.

FD-302 drafted April 13, 2017
 and entered on April 17, 2017 628                                X   X        X                              X                                            X
documenting an interview of a
     third party subject of
 investigative interest wherein
Seth Rich is mentioned on both
Bates-numbered pages FBI(20- 629                                      X        X                              X                                            X
       cv-447) 628-629.




                                                                                            42
                                               Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 198 of 243 PageID #: 1923




                                       b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description       Bates                                                                                                        Per OGA   RIF RIP               Dup
                                        1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-




FD-302 drafted April 25, 2017
 and entered on April 28, 2017
 documenting the receipt of an
email from another Agent who
     previously conducted an
   interview of a third party of
       investigative interest
     forwarding an email he
                                 630                             X   X        X                              X           X                                X
 received from the interviewee.
 The attachments referenced in
this record are Bates-numbered
 FBI(20-cv-447) 631 and 1561
  and both contain mentions of
  Seth Rich. This FD-302 does
     not contain the name or
    information of Seth Rich.



      1st page of an email
communication dated April 25,
 2017 with a subject line of Hi
     from [redacted] - Info
  Regarding Guccifer 2.0, and
Seth Rich. The 2nd page of this 631                              X   X        X                          X                                                X
 email is bates-numbered FBI
 (20-cv-447) 1561. This email
      communication is an
attachment to Bates-numbered
   page FBI(20-cv-447) 630.



 FD-302 drafted April 25, 2017
 and entered on April 28, 2017
 documenting the receipt of an
 email from counsel at Perkins
    Coie containing written
                                632                              X            X                              X                                            X
     responses to questions
previously posed and discussed.
 This FD-302 does not contain
the name or information of Seth
             Rich.




                                                                                           43
                                                Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 199 of 243 PageID #: 1924




                                        b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description        Bates                                                                                                        Per OGA   RIF RIP               Dup
                                         1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-




  Email communication dated
 April 23, 2017 from counsel at
                                633                               X   X        X                                          X      X                         X
Perkins Coie to an FBI Special
  Agent in the San Francisco
   Field Office documenting
 written responses to questions
previously posed and discussed.
 This email communication is
    an attachment to Bates-
numbered page FBI(20-cv-447) 634                                               X                                          X      X                         X
              632.




  FD-302 dated May 1, 2017
  documenting the receipt of
 proprietary information/trade
secrets. This FD-302 does not
      contain the name or
                               635                  X                          X                              X           X                                       X
   information of Seth Rich.
Attachments to this FD-302 are
 Bates-numbered FBI(20-cv-
  447) 637-646. Seth Rich is
  mentioned in this FD-302.


 Note mentioned in FD-302
 Bates-numbered FBI(20-cv-
                                 636                              X            X                                          X                                       X
   447) 635. Seth Rich is
   mentioned in this note.

                                 637                X                                                                     X                                       X
                                 638                X                                                                     X                                       X
     Proprietary information     639                X                                                                     X                                       X
   collected from a third party  640                X                                                                     X                                       X
 referenced in Bates-numbered    641                X                                                                     X                                       X
                                 642                X                                                                     X                                       X
    page FBI(20-cv-447) 635.
                                 643                X                                                                     X                                       X
  Information concerning Seth    644                X                                                                     X                                       X
Rich is contained in these Bates-
                                  645               X                                                                     X                                       X
        numbered pages.
                                 646                X                                                                     X                                       X




                                                                                            44
                                                Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 200 of 243 PageID #: 1925




                                        b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description        Bates                                                                                                        Per OGA   RIF RIP               Dup
                                         1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


  Email chain dated April 28,
 2017 between an FBI Special 647                                  X            X                          X               X                                X
 Agent and counsel at Perkins
Coie coordinating the sending
of information to the FBI. Seth
                                648                                                                                                                    X
 Rich is not mentioned in this
             email.

   FD-302 drafted August 24,
2017 and entered on August 25, 649                                X   X                                       X                                            X
2017 documenting an interview
of a third party taken on August
      24, 2017. Information
concerning Seth Rich is in both 650                                   X                                       X                                            X
     Bates-numbered pages.


                                651                    X              X                                                                                           X
Handwritten notes taken during
the interview of a third party on
 August 24, 2017. Information
concerning Seth Rich is in both 652                    X              X                                                                                           X
     Bates-numbered pages.



  FD-302 drafted January 20,
 2017 and entered on October    653                               X        X                                  X           X                                       X
     31, 2017 documenting
   information collected on
January 18, 2017 concerning a
    third party. Information
  concerning Seth Rich is on
Bates-numbered page FBI(20-     654                                        X                                  X           X                                       X
          cv-447) 654.



    Portions of information     655                                                                                       X                                       X
collected and referenced in FD-
302 Bates-numbered FBI(20-cv-
  447) 653-654. Seth Rich is
mentioned on Bates-numbered 656                                                                                           X                                       X
   page FBI(20-cv-447) 656.




                                                                                            45
                                               Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 201 of 243 PageID #: 1926




                                       b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description       Bates                                                                                                        Per OGA   RIF RIP               Dup
                                        1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



    Portions of information
collected and referenced in FD-
302 Bates-numbered FBI(20-cv-
                                657                                                                                      X                                       X
  447)-653-654. Seth Rich is
mentioned on Bates-numbered
   page FBI(20-cv-447)-657.



    Portions of information     658                                                                                      X                                       X
collected and referenced in FD-
302 Bates-numbered FBI(20-cv-
  447) 653-654. Seth Rich is
mentioned on Bates-numbered
                                659                                                                                      X                                       X
   page FBI(20-cv-447) 659.



                                660                                                                                      X                                       X
    Portions of information
collected and referenced in FD-
302 Bates-numbered FBI(20-cv-
  447)-653-654. Seth Rich is
mentioned on Bates-numbered 661                                                                                          X                                       X
   page FBI(20-cv-447)-659.


                               662                                                                                       X                                       X
    Portions of information
collected and referenced in FD-
302 Bates-numbered FBI(20-cv-
  447) 653-654. Seth Rich is
                                663                                                                                      X                                       X
mentioned on Bates-numbered
   page FBI(20-cv-447) 663.


                               664                                                                                                                                          X        655
     Duplicate Document
                               665                                                                                                                                          X        656


    Portions of information     666                                                                                      X                                       X
collected and referenced in FD-
302 Bates-numbered FBI(20-cv-
  447) 653-654. Seth Rich is
mentioned on Bates-numbered 667                                                                                          X                                       X
   page FBI(20-cv-447) 667.




                                                                                           46
                                               Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 202 of 243 PageID #: 1927




                                       b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description       Bates                                                                                                        Per OGA   RIF RIP               Dup
                                        1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



    Portions of information     668                                                                                      X                                       X
collected and referenced in FD-
302 Bates-numbered FBI(20-cv-
  447) 653-654. Seth Rich is
mentioned on Bates-numbered 669                                                                                          X                                       X
   page FBI(20-cv-447) 669.


    Portions of information     670                                                                                      X                                       X
collected and referenced in FD-
302 Bates-numbered FBI(20-cv-
  447) 653-654. Seth Rich is
mentioned on Bates-numbered
                                671                                                                                      X                                       X
   page FBI(20-cv-447) 671.


                               672                                                                                                                                          X        159
     Duplicate Document
                               673                                                                                                                                          X        160
                               674                                                                                                                                          X        161
     Duplicate Document        675                                                                                                                                          X        162
                               676                                                                                                                                          X        163
  FD-1036 dated August 25,
    2017 documenting the
  importing of an August 16,
  2017 FireEye Threat Media
Highlights article titled "A New 677 X X                         X                                           X     X                                      X
 Report Raises Big Questions
About Last Year's DNC Hack."
 Seth Rich is not mentioned in
        this FD-1036.


     FireEye Threat Media
Highlights article dated August 678                                                                                                                   X
 16, 2017 and titled "A New
 Report Raises Big Questions
About Last Year's DNC Hack"
  referenced in the FD-1036
Bates-numbered page FBI(20-
   cv-447) 677. Seth Rich is    679                                                                                                                   X
mentioned on Bates-numbered
  page FBI(20-cv-447) 679.




                                                                                           47
                                                 Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 203 of 243 PageID #: 1928




                                         b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description         Bates                                                                                                        Per OGA   RIF RIP               Dup
                                          1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



FD-1036 dated October 5, 2018
documenting the importing of a
  October 4, 2018 Buzzfeed
   article titled "This Ohio
Woman's Run-In With The FBI 680 X X                                X                                           X     X                                      X
Give Us A Window Into Robert
   Mueller's Trump-Russia
   Probe." Seth Riches not
  mentioned in this FD-1036.


Buzzfeed article dated October 681                                                                                                                      X
 4, 2018 and titled "This Ohio
Woman's Run-In With The FBI
Give Us A Window Into Robert
Mueller's Trump-Russia Probe 682                                                                                                                        X
  "referenced in the FD-1036
  Bates-numbered FBI(20-cv-
     447) 680. Seth Rich is
mentioned on Bates-numbered
                               683                                                                                                                      X
pages FBI(20-cv-447) 682-683.



FD-1036 dated January 3, 2017
 documenting the importing of
  material relative to the FBI's
 investigation. Seth Rich is not
                                 684 X X                           X                                           X     X     X X X                                   X
  mentioned in this FD-1036.
The imported attachment to this
  FD-1036 is Bates-numbered
   FBI(20-cv-447) 685-689.

                                 685     X X                                                                               X X X                                   X

 Portions of attachment to the   686     X X                                                                               X X X                                   X
   FD-1036 Bates-numbered        687     X X                                                                               X X X                                   X
FBI(20-cv-447) 684. Seth Rich
                                 688     X X                                                                               X X X                                   X
 is mentioned in the imported
attachment on Bates-numbered
pages FBI(20-cv-447) 687-689.    689     X X                                                                               X X X                                   X




                                                                                             48
                                                 Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 204 of 243 PageID #: 1929




                                         b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
   Document Description          Bates                                                                                                        Per OGA   RIF RIP               Dup
                                          1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-




  FD-1087 dated May 19, 2017 690 X X                               X            X                              X     X X X                                  X
documenting evidence acquired
 from Perkins Coie on May 19,
  2017. Information relating to
     Seth Rich is on Bates-
numbered page FBI(20-cv-447)
                                691                                X            X                              X                                            X
              691.




                                 692     X X                       X            X                          X X       X               X                      X

Responsive portions of an FD-
1057 dated October 12, 2016
from FBI's Cyber Division to     693                                            X                   X          X         X X                                X
 the FBI's Washington Field
Office requesting it conduct a
follow-up interview of a third
party. Seth Rich is mentioned
  on Bates-numbered pages
  FBI(20-cv-447) 693-694.        694                    X              X        X                              X                                            X




 Responsive portions of an FD-
1057 dated September 27, 2017
from FBI's San Francisco Field
    Office documenting open
 source research conducted and
  review of internal cases on a
third party. This FD-1057 does
                                695 X X                       X    X   X    X                              X X       X X X                                  X
     not mention Seth Rich.
           Responsive
  portions of the attachment to
    this FD-1057 are Bates-
numbered FBI(20-cv-447) 696-
               698.




                                                                                             49
                                                 Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 205 of 243 PageID #: 1930




                                         b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description         Bates                                                                                                        Per OGA   RIF RIP               Dup
                                          1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



  Responsive portions of an    696                                                                                         X                                       X
  attachment to the FD-1057
 Bates-numbered FBI(20-447) 697                                                                                            X                                       X
695. Seth Rich is mentioned in
 this open source material on
Bates-numbered pages FBI(20-
                               698                                                                                         X                                       X
         cv-447) 698.


   Responsive portions of a
Letterhead Memorandum dated 699 X X                                X                                    X   X X                X     X                      X
 January 2, 2018 from an FBI
Legal Attaché documenting the
   providing of information
concerning Guccifer 2.0. Seth
 Rich is mentioned on Bates- 700                                       X    X                           X      X                                                   X
numbered page FBI(20-cv-447)
             700.


Responsive portions of an FD-
  1057 dated August 15, 2016 701 X X                               X                                        X X      X X X                                  X
 from the FBI's San Francisco
 Field Office documenting the
   importing of research on
                                702                                                                            X           X                                       X
 Guccifer2 and DCLeaks. This
FD-1057 does not mention Seth
Rich. Seth Rich is mentioned in
the attachment to this FD-1057
   on Bates--numbered page      703                                                                            X           X                                       X
      FBI(20-cv-447) 706.

                                 704                                                                                       X                                       X
                                 705                                                                                       X                                       X
     Responsive portions of      706                                                                                       X                                       X
 attachment to FD-1057 Bates-    707                                   X                                                   X                                       X
numbered FBI(20-cv-447) 701-     708                                                                                       X                                       X
703. Seth Rich is mentioned in
                                 709                                                                                       X                                       X
    the attachment on Bates-
numbered page FBI(20-cv-447)     710                                                                                       X                                       X
              706.               711                                                                                       X                                       X
                                 712                                   X                                                   X                                       X
                                 713                                   X                                                   X                                       X




                                                                                             50
                                                   Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 206 of 243 PageID #: 1931




                                           b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description           Bates                                                                                                        Per OGA   RIF RIP               Dup
                                            1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-




  Responsive portions of FD-
1057 dated September 7, 2016 714 X X                                 X            X                          X X       X X X                                  X
from FBI's San Francisco Field
Office to the FBI's Washington
 Field Office requesting that it
conduct an interview of a third
 party. Seth Rich is mentioned
                                 715                                              X                   X          X                                            X
   on Bates-numbered page
      FBI(20-cv-447) 715.


                                   716                               X   X    X   X                              X                                            X
Responsive portions of an FD-
  302 drafted September 30,        717                                   X    X   X                              X                                            X
 2016 and entered September
   30, 2016 documenting an
interview of a third party. Seth
 Rich is mentioned on Bates-
                                   718                                   X    X   X   X                          X           X                                X
 numbered pages FBI(20-cv-
         447) 717-718.


                                   719                                                                                                                                          X        427


     Duplicate Document            720                                                                                                                                          X        428


                                   721                                                                                                                                          X        429



  Responsive portions of FD-
 1057 dated January 20, 2017
 from FBI's Washington Field
                                 722 X X                             X   X        X                          X X       X X X                                  X
    Office documenting the
covering of a lead from the San
  Francisco Field Office and
interview of a third party. This
FD-1057 does not mention Seth
Rich. Seth Rich is mentioned in
the attachment to this FD-1057
   on Bates-numbered page        723                                 X   X    X   X                              X           X                                X
      FBI(20-cv-447) 725.




                                                                                               51
                                                  Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 207 of 243 PageID #: 1932




                                          b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description          Bates                                                                                                        Per OGA   RIF RIP               Dup
                                           1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


                                  724                                   X        X                                          X                                       X
Attachment to FD-1057 Bates-
numbered FBI(20-cv-447) 722-
723. Seth Rich is mentioned in 725                                  X   X        X                                          X                                       X
  this attachment on Bates-
 numbered pages FBI(20-cv-
        447) 725-726.          726                                      X        X                                          X                                       X


 FD-1057 dated September 8, 727 X X                                 X                                       X X       X            X                         X
2017 from FBI's San Francisco
 Field Office documenting its
                                 728 X X                                                                        X     X X          X                         X
participation in a prosecutorial
   strategy meeting held in
  Philadelphia on August 29,
2017. Seth Rich is mentioned
                                 729 X X                 X          X   X            X                          X     X         X X X                        X
   on Bates-numbered page
     FBI(20-cv-447) 729.


Responsive portions of FD-302
drafted November 27, 2018 and
  entered November 30, 2021
                               730           X                      X   X    X                                  X                                            X
documenting the interview of a
    third party. Seth Rich is
   mentioned in this FD-302.


     Responsive portions of
  handwritten interview notes     731                    X              X    X                                                                                      X
taken during the interview of a
    third party. Seth Rich is
mentioned on Bates-numbered       732                    X                   X                                                                                      X
   page FBI(20-cv-447) 732.

                                  733                                        X                                              X                                       X
     Responsive portions of       734                                        X                                              X                                       X
 information collected relating   735                                   X    X                                              X                                       X
    to a third party subject of   736                                   X    X                                              X                                       X
  investigative interest. These   737                                   X    X                                              X                                       X
records were referred by OIP to   738                                   X    X                                              X                                       X
                                  739                                   X                                                   X                                       X
 the FBI. These records do not    740                          X        X    X   X                                          X                                       X
 contain an OIP Document ID.      741                          X        X    X   X                                          X                                       X
   Seth Rich is mentioned on      742                                   X    X                                              X                                       X
Bates-numbered pages FBI(20-      743                                   X    X                                              X                                       X
 cv-447) 734-741 and 743-745.     744                                   X    X                                              X                                       X
                                  745                                        X                                              X                                       X




                                                                                              52
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                                          b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description          Bates                                                                                                        Per OGA   RIF RIP               Dup
                                           1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-

                                  746                                                                                                                                          X        309
     Duplicate Document
                                  747                                                                                                                                          X        310
                                  748                                                                                                                                          X        309
     Duplicate Document
                                  749                                                                                                                                          X        310
                                  750                                                                                                                                          X        309
     Duplicate Document
                                  751                                                                                                                                          X        310
                                  752                                                                                                                                          X        309
     Duplicate Document
                                  753                                                                                                                                          X        310


    Responsive portions of
document entitled, The Tactics 754                                                                                                                       X
   & Tropes of the Internet
Research Agency These records
  were referred by OIP to the
   FBI. OIP Document ID:
 0.7.5411.5305. Seth Rich is
mentioned on Bates-numbered 755                                                                                                                          X
  pages FBI(20-cv-447) 755.



 Email communication dated
      November 6, 2018            756           X              X    X        X                                              X                                       X
documenting the collection of
information. This record was
 referred by OIP to the FBI.
      OIP Document ID:
 0.7.5411.6219. Seth Rich is      757           X                   X        X                                              X                                       X
mentioned on Bates-numbered
  page FBI(20-cv-447) 756.


                                  758           X              X             X                                              X                                       X
     Responsive portions of
 information collected relating
    to a third party subject of
  investigative intertest. This   759           X              X             X                                              X                                       X
 record was referred by OIP to
  the FBI. OIP Document ID:
  0.7.5411.6219-000001. Seth
  Rich is mentioned on Bates-
  numbered pages FBI(20-cv-       760           X              X             X                                              X                                       X
          447) 758-760.




                                                                                              53
                                                  Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 209 of 243 PageID #: 1934




                                          b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description          Bates                                                                                                        Per OGA   RIF RIP               Dup
                                           1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



     Responsive portions of       761                                        X                                              X                                       X
 information collected relating
                                  762                                        X                                              X                                       X
    to a third party subject of
  investigative interest. These
records were referred by OIP to   763                                   X    X                                              X                                       X
 the FBI. These records do not
 contain an OIP Document ID.
   Seth Rich is mentioned on
Bates-numbered pages FBI(20-      764                                   X    X                                              X                                       X
        cv-447) 762-764.


     Responsive portion of
information collected relating
   to a third party subject of
  investigative interest. This
record was referred by OIP to
                                  765                                   X    X                                              X                                       X
 the FBI. OIP Document ID:
 0.7.5411.6497-000001. Seth
 Rich is mentioned on Bates-
 numbered pages FBI(20-cv-
            447) 765.


      Responsive portion of
 information collected relating
    to a third party subject of
   investigative interest. This
 record was referred by OIP to
                                766                                     X    X                                              X                                       X
  the FBI. OIP Document ID:
  0.7.5411.6497-000003. Seth
  Rich is mentioned on Bates-
numbered page FBI(20-cv-447)
                766.


 Draft FD-302 interview of a
     third party subject of       767                    X          X   X    X                                  X                                                   X
  investigative interest. This
record was provided by OP to
 the FBI. OIP Document ID:
 0.7.5411.7004. Seth Rich is
mentioned on Bates-numbered       768                    X                                                      X                                                   X
  page FBI(20-cv-447) 768.




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                                          b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description          Bates                                                                                                        Per OGA   RIF RIP               Dup
                                           1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


                                  769                    X          X        X                                  X                                                   X
 Draft FD-302 interview of a
      third party subject of
                                770                      X                   X                                  X                                                   X
   investigative interest. This
 record was referred by OP to
  the FBI. OIP Document ID:
  0.7.5411.7004. Seth Rich is
                                771                      X                   X                                  X                                                   X
mentioned on Bates-numbered
pages FBI(20-cv-447) 770-771.



    Typed interview outline
                                 772                     X              X    X                                                                                      X
concerning a third party subject
 of investigation. This record
was referred by OIP to the FBI.
       OIP Document ID:
  0.7.5411.7183-00001. Seth
 Rich is mentioned on Bates- 773                         X              X    X                                                                                      X
numbered page FBI(20-cv-447)
              773.


                                  774              X                    X    X                                                  X                                   X

     Responsive portions of       775              X                    X    X                                                  X                                   X
 information collected relating   776              X                    X    X                                                  X                                   X
    to a third party subject of
  investigative interest. These   777                                   X    X                                                  X                                   X
records were referred by OIP to
                                  778                                   X    X                                                  X                                   X
 the FBI. These records do not
 contain an OIP Document ID.      779                                   X    X                                                  X                                   X
   Seth Rich is mentioned on
Bates-numbered pages FBI(20-
    cv-447) 775-778 and 780.      780                                   X    X                                                  X                                   X



     Duplicate Document           781                                                                                                                                          X        190
     Duplicate Document           782                                                                                                                                          X        191




                                                                                              55
                                                   Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 211 of 243 PageID #: 1936




                                         b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
   Document Description          Bates                                                                                                        Per OGA   RIF RIP               Dup
                                          1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



     Responsive portions of
 information collected relating
    to a third party subject of
   investigative interest. This
 record was referred by OIP to
  the FBI. OIP Document ID:
  0.7.5411.6019-000003. This 783               X              X        X    X                                                                                      X
    Bates-numbered page is a
  continuation of information
 contained on Bates-numbered
page FBI(20-cv-447) 782. Seth
 Rich is not mentioned on this
      Bates-numbered page.

                                 784                                                                                                                                          X        192
    Duplicate Document
                                 785                                                                                                                                          X        193

                                 786                                   X    X                                              X                                       X
    Responsive portions of       787                                        X                                              X                                       X
information collected relating
   to a third party subject of
                                 788                                        X                                              X                                       X
  investigative interest. This
record was referred by OIP to
 the FBI. OIP Document ID:       789                                        X                                              X                                       X
 0.7.5411.7243-000004. Seth
 Rich is mentioned on Bates-
 numbered pages FBI(20-cv-
                                 790                                        X                                              X                                       X
         447) 787-790.


    Responsive portions of
information collected relating
   to a third party subject of   791                                   X    X                                              X                                       X
  investigative interest. This
record was referred by OIP to
 the FBI. OIP Document ID:
 0.7.5411.7243-000004. Seth
 Rich is mentioned on Bates-     792                                        X                                              X                                       X
 numbered pages FBI(20-cv-
            447) 792.




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                                           b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description           Bates                                                                                                        Per OGA   RIF RIP               Dup
                                            1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


     Responsive portions of
 information collected relating    793                                   X    X                                              X                                       X
    to a third party subject of
   investigative interest. This
 record was referred by OIP to
  the FBI. OIP Document ID:
  0.7.5411.7243-000004. Seth
                                   794                                        X                                              X                                       X
  Rich is mentioned on Bates-
  numbered pages FBI(20-cv-
             447)-794.

     Responsive portions of
 information collected relating    795                                   X    X                                              X                                       X
    to a third party subject of
   investigative interest. This
 record was referred by OIP to
  the FBI. OIP Document ID:
  0.7.5411.7243-000004. Seth
  Rich is mentioned on Bates-      796                                        X                                              X                                       X
  numbered pages FBI(20-cv-
             447) 796.

                                   797                                        X                                              X                                       X
      Responsive portions of       798                                   X    X                                              X                                       X
 information collected relating    799                                        X                                              X                                       X
                                   800                                   X    X                                              X                                       X
    to a third party subject of
                                   801                                        X                                              X                                       X
  investigative interest. These    802                                        X                                              X                                       X
records were referred by OIP to    803                                        X                                              X                                       X
 the FBI. These records do not     804                                        X                                              X                                       X
 contain an OIP Document ID.       805                                        X                                              X                                       X
   Seth Rich is mentioned on       806                                        X                                              X                                       X
                                   807                                        X                                              X                                       X
Bates-numbered pages FBI(20-
                                   808                                        X                                              X                                       X
   cv-447) 798-808, 810-811.       809                                   X    X                                              X                                       X
Portions of these records Bates-   810                                   X    X                                              X                                       X
numbered FBI(20-cv-447) 809,       811                                   X    X                                              X                                       X
 812-821 are also responsive to    812                                   X    X                                              X                                       X
     Plaintiff's request to the    813                                   X    X                                              X                                       X
 Department of Justice, Office     814                                   X    X                                              X                                       X
                                   815                                   X    X                                              X                                       X
 of the Attorney General dated
                                   816                                   X    X                                              X                                       X
     June 5, 2020 wherein he       817                                   X    X                                              X                                       X
      requested information        818                                   X    X                                              X                                       X
 concerning Imran Awan, et al.     819                                   X    X                                              X                                       X
                                   820                                   X    X                                              X                                       X
                                   821                                   X    X                                              X                                       X




                                                                                               57
                                                    Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 213 of 243 PageID #: 1938




                                            b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description            Bates                                                                                                        Per OGA   RIF RIP               Dup
                                             1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


                                    822                                   X    X                                              X                                       X
                                    823                                   X    X                                              X                                       X
                                    824                                   X    X                                              X                                       X
                                    825                                   X    X                                              X                                       X
                                    826                                   X    X                                              X                                       X
                                    827                                   X    X                                              X                                       X
                                    828                                   X    X                                              X                                       X
                                    829                                   X    X                                              X                                       X
                                    830                                   X    X                                              X                                       X
                                    831                                   X    X                                              X                                       X
                                    832                                   X    X                                              X                                       X
      Responsive portions of        833                                   X    X                                              X                                       X
 information collected relating     834                                   X    X                                              X                                       X
     to a third party subject of    835                                   X    X                                              X                                       X
   investigative interest. These    836                                        X                                              X                                       X
records were referred by OIP to     837                                        X                                              X                                       X
                                    838                                        X                                              X                                       X
 the FBI. These records do not      839                                   X    X                                              X                                       X
 contain an OIP Document ID.        840                                        X                                              X                                       X
    Seth Rich is mentioned on       841                                   X    X                                              X                                       X
Bates-numbered pages FBI(20-        842                                   X    X                                              X                                       X
cv-447) 835-838, 840, 848-851,      843                                   X    X                                              X                                       X
  854, 857-869, 875-877, 890-       844                                   X    X                                              X                                       X
                                    845                                   X    X                                              X                                       X
  912, 919-923, 925-928, 934-
                                    846                                   X    X                                              X                                       X
    936, 944-947. In addition,      847                                   X    X                                              X                                       X
portions of these records Bates-    848                                        X                                              X                                       X
numbered FBI(20-cv-447) 823-        849                                        X                                              X                                       X
  834, 839, 841-847, 852-853,       850                                        X                                              X                                       X
  855-856, 870-874, 878, 880-       851                                   X    X                                              X                                       X
                                    852                                   X    X                                              X                                       X
   889, 910, 913-918, 929-933
                                    853                                   X    X                                              X                                       X
        and 937-943 are also        854                                        X                                              X                                       X
responsive to Plaintiff's request   855                                   X    X                                              X                                       X
  to the Department of Justice,     856                                   X    X                                              X                                       X
 Office of the Attorney General     857                                   X    X                                              X                                       X
 dated June 5, 2020 wherein he      858                                   X    X                                              X                                       X
       requested information        859                                   X    X                                              X                                       X
                                    860                                        X                                              X                                       X
 concerning Imran Awan, et al.
                                    861                                   X    X                                              X                                       X
                                    862                                   X    X                                              X                                       X
                                    863                                        X                                              X                                       X
                                    864                                   X    X                                              X                                       X
                                    865                                        X                                              X                                       X
                                    866                                   X    X                                              X                                       X
                                    867                                   X    X                                              X                                       X
                                    868                                   X    X                                              X                                       X
                                    869                                        X                                              X                                       X
                                    870                                   X    X                                              X                                       X
                                    871                                   X    X                                              X                                       X
                                    872                                   X    X                                              X                                       X




                                                                                                58
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                                        b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description        Bates                                                                                                        Per OGA   RIF RIP               Dup
                                         1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-

                                  873                                 X    X                                              X                                       X
                                  874                                 X    X                                              X                                       X
                                  875                                      X                                              X                                       X
                                  876                                      X                                              X                                       X
                                  877                                      X                                              X                                       X
                                  878                                 X    X                                              X                                       X
                                  879                                 X    X                                              X                                       X
                                  880                                 X    X                                              X                                       X
                                  881                                 X    X                                              X                                       X
                                  882                                 X    X                                              X                                       X
                                  883                                 X    X                                              X                                       X
                                  884                                 X    X                                              X                                       X
      Continued - Responsive      885                                 X    X                                              X                                       X
      portions of information     886                                 X    X                                              X                                       X
    collected relating to a third 887                                 X    X                                              X                                       X
  party subject of investigative 888                                  X    X                                              X                                       X
   interest. These records were   889                                 X    X                                              X                                       X
    referred by OIP to the FBI.   890                                      X                                              X                                       X
                                  891                                      X                                              X                                       X
These records do not contain an 892                                        X                                              X                                       X
OIP Document ID. Seth Rich is 893                                          X                                              X                                       X
 mentioned on Bates-numbered 894                                           X                                              X                                       X
pages FBI(20-cv-447) 835-838, 895                                          X                                              X                                       X
  840, 848-851, 854, 857-869, 896                                     X    X                                              X                                       X
   875-877, 890-912, 919-923,     897                                      X                                              X                                       X
                                  898                                      X                                              X                                       X
 925-928, 934-936, 944-947. In
                                  899                                      X                                              X                                       X
    addition, portions of these   900                                      X                                              X                                       X
records Bates-numbered FBI(20- 901                                         X                                              X                                       X
cv-447) 823-834, 839, 841-847, 902                                         X                                              X                                       X
   852-853, 855-856, 870-874,     903                                      X                                              X                                       X
  878, 880-889, 910, 913-918, 904                                     X    X                                              X                                       X
 929-933 and 937-943 are also 905                                          X                                              X                                       X
                                  906                                      X                                              X                                       X
responsive to Plaintiff's request 907                                      X                                              X                                       X
  to the Department of Justice, 908                                   X    X                                              X                                       X
 Office of the Attorney General 909                                   X    X                                              X                                       X
 dated June 5, 2020 wherein he 910                                    X    X                                              X                                       X
       requested information      911                                      X                                              X                                       X
 concerning Imran Awan, et al. 912                                         X                                              X                                       X
                                  913                                 X    X                                              X                                       X
                                  914                                 X    X                                              X                                       X
                                  915                                 X    X                                              X                                       X
                                  916                                 X    X                                              X                                       X
                                  917                                 X    X                                              X                                       X
                                  918                                 X    X                                              X                                       X
                                  919                                      X                                              X                                       X
                                  920                                 X    X                                              X                                       X
                                  921                                      X                                              X                                       X
                                  922                                      X                                              X                                       X
                                  923                                      X                                              X                                       X
                                  924                                      X                                              X                                       X




                                                                                            59
                                                  Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 215 of 243 PageID #: 1940




                                          b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description          Bates                                                                                                        Per OGA   RIF RIP               Dup
                                           1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


                                  925                                        X                                              X                                       X

      Continued - Responsive      926                                        X                                              X                                       X
      portions of information
                                  927                                        X                                              X                                       X
    collected relating to a third
  party subject of investigative
                                  928                                        X                                              X                                       X
   interest. These records were
    referred by OIP to the FBI.   929                                   X    X                                              X                                       X
These records do not contain an 930                                     X    X                                              X                                       X
OIP Document ID. Seth Rich is 931                                       X    X                                              X                                       X
 mentioned on Bates-numbered
                                  932                                   X    X                                              X                                       X
pages FBI(20-cv-447) 835-838, 933                                       X    X                                              X                                       X
  840, 848-851, 854, 857-869,
                                  934                                        X                                              X                                       X
   875-877, 890-912, 919-923,
 925-928, 934-936, 944-947. In 935                                           X                                              X                                       X
    addition, portions of these   936                                   X    X                                              X                                       X
records Bates-numbered FBI(20- 937                                      X    X                                              X                                       X
cv-447) 823-834, 839, 841-847, 938                                      X    X                                              X                                       X
   852-853, 855-856, 870-874,
                                  939                                   X    X                                              X                                       X
  878, 880-889, 910, 913-918, 940                                       X    X                                              X                                       X
 929-933 and 937-943 are also
                                  941                                   X    X                                              X                                       X
responsive to Plaintiff's request
                                  942                                   X    X                                              X                                       X
  to the Department of Justice, 943                                     X    X                                              X                                       X
 Office of the Attorney General
                                  944                                        X                                              X                                       X
 dated June 5, 2020 wherein he
                                  945                                        X                                              X                                       X
       requested information
 concerning Imran Awan, et al. 946                                      X    X                                              X                                       X

                                  947                                        X                                              X                                       X

                                  948                                                                                                                                          X        186
     Duplicate Document           949                                                                                                                                          X        187
                                  950                                                                                                                                          X        188

     Responsive portions of       951                                   X    X                                              X                                       X
 information collected relating
    to a third party subject of
   investigative interest. This
 record was referred by OIP to    952                                   X    X                                              X                                       X
  the FBI. OIP Document ID:
  0.7.5411.6519-000001. Seth
  Rich is mentioned on Bates-
  numbered pages FBI(20-cv-
                                  953                                   X    X                                              X                                       X
        447) 951 and 953.




                                                                                              60
                                                 Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 216 of 243 PageID #: 1941




                                         b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description         Bates                                                                                                        Per OGA   RIF RIP               Dup
                                          1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


    Responsive portions of
information collected relating
   to a third party subject of
  investigative interest. This
record was referred by OIP to    954                                   X    X                                              X                                       X
 the FBI. OIP Document ID:
 0.7.5411.6331-000001. Seth
   Rich is mentioned on this
     Bates-numbered page.

 Email communication dated
August 30, 2018 forwarding an
 email received by the Special
   Counsel's Office; Subject:
  Pedophile Bob Mueller sent
    Seth Rich hitman after      955                                X   X                                                                                    X
 Manafort lawyer. This record
was referred by OIP to the FBI.
      OIP Document ID:
 0.7.5411.6684. Seth Rich is
      mentioned herein.

 Email communication dated
 August 18, 2018 received by
   the Office of the Special
 Counsel, Subject: Muellers
crooked lawyers investigation
                                956                                    X                                                                                    X
 judge and jury. This record
was referred by OIP to the FBI.
      OIP Document ID:
 0.7.5411.6630. Seth Rich is
      mentioned therein.

     Responsive portions of
 information collected relating
    to a third party subject of 957                                         X                                              X                                       X
   investigative interest. This
 record was referred by OIP to
  the FBI. OIP Document ID:
  0.7.5411.5613-000001. Seth
  Rich is mentioned on Bates- 958                                                                                          X                                       X
numbered page FBI(20-cv-447)-
                958.




                                                                                             61
                                                  Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 217 of 243 PageID #: 1942




                                          b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description          Bates                                                                                                        Per OGA   RIF RIP               Dup
                                           1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


     Responsive portions of
 information collected relating
    to a third party subject of 959                                          X                                              X                                       X
   investigative interest. This
 record was referred by OIP to
  the FBI. OIP Document ID:
  0.7.5411.5613-000001. Seth
  Rich is mentioned on Bates- 960                                                                                           X                                       X
numbered page FBI(20-cv-447)-
                959.

     Responsive portions of       961                                                                                       X                                       X
 information collected relating
                                  962                                                                                       X                                       X
    to a third party subject of
   investigative interest. This   963                                                                                       X                                       X
 record was referred by OIP to    964                                                                                       X                                       X
  the FBI. OIP Document ID:
  0.7.5411.5613-000001. Seth      965                                                                                       X                                       X
  Rich is mentioned on Bates-     966                                                                                       X                                       X
numbered page FBI(20-cv-447)
             963-967.             967                                                                                       X                                       X

      Responsive portion of
 information collected relating 968                                                                                         X                                       X
    to a third party subject of
   investigative interest. This
 record was referred by OIP to
  the FBI. OIP Document ID:     969                                                                                         X                                       X
 0.7.5411.5613-000001. Seth
Rich is not mentioned on Bates-
numbered page FBI(20-cv-447) 970                                                                                            X                                       X
                970.


     Responsive portions of
 information collected relating 971                                                                                         X                                       X
    to a third party subject of
   investigative interest. This
 record was referred by OIP to
  the FBI. OIP Document ID:
  0.7.5411.5613-000001. Seth
  Rich is mentioned on Bates- 972                                       X    X                                              X                                       X
numbered page FBI(20-cv-447)
                972.




                                                                                              62
                                                 Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 218 of 243 PageID #: 1943




                                         b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description         Bates                                                                                                        Per OGA   RIF RIP               Dup
                                          1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


     Responsive portions of
 information collected relating
    to a third party subject of
                                973                                    X    X                                              X                                       X
   investigative interest. This
 record was referred by OIP to
  the FBI. OIP Document ID:
  0.7.5411.5613-000001. Seth
  Rich is mentioned on Bates-
numbered page FBI(20-cv-447) 974                                            X                                              X                                       X
             986-974.
     Responsive portions of
 information collected relating
    to a third party subject of
                                975                                    X    X                                              X                                       X
   investigative interest. This
 record was referred by OIP to
  the FBI. OIP Document ID:
  0.7.5411.5613-000001. Seth
  Rich is mentioned on Bates-
numbered page FBI(20-cv-447) 976                                       X    X                                              X                                       X
             986-976.


 Email communication dated
 July 25, 2018 forwarding an
 email with a subject line of:
    Mueller had Seth Rich
  murdered. This record was
                                 977                               X   X                                                                                    X
  referred by OIP to the FBI.
      OIP Document ID:
 0.7.5411.6683. Seth Rich is
   mentioned in this Bates-
        numbered page.


 Email communication dated
 July 23, 2018; Subject: We
  think mueller planned the
execution of. This record was
 referred by OIP to the FBI.     978                                   X            X                                                                       X
      OIP Document ID:
 0.7.5411.5135. Seth Rich is
   mentioned in this Bates-
       numbered page.




                                                                                             63
                                                Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 219 of 243 PageID #: 1944




                                        b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description        Bates                                                                                                        Per OGA   RIF RIP               Dup
                                         1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


 Email communication dated
 July 23, 2018 forwarding an
  email with a subject line of:
We think mueller arranged the
 hit on Seth Rich. This record
                                979                               X   X            X                                                                       X
was referred by OIP to the FBI.
      OIP Document ID:
 0.7.5411.6663. Seth Rich is
    mentioned in this Bates-
        numbered page.


  Email communication dated
  July 23, 2018 forwarding an
email with a subject line of: Ha
ha Mueller arranged the murder
 of Seth Rich? This record was 980                                X   X            X                                                                       X
referred by OIP to the FBI. OIP
 Document ID: 0.7.5411.6608.
 Seth Rich is mentioned in this
     Bates-numbered page.


 Email communication dated
    July 22, 2018; Subject:
 Crooked Mueller has name of
   hit man. This record was
  referred by OIP to the FBI.   981                                   X            X                                                                       X
       OIP Document ID:
  0.7.5411.5131. Seth Rich is
    mentioned in this Bates-
        numbered page.


     Responsive portions of
 information collected relating 982                       X           X    X                                              X                                       X
    to a third party subject of
   investigative interest. This
 record was referred by OIP to
  the FBI. OIP Document ID:
  0.7.5411.6493-000001. Seth
  Rich is mentioned on Bates- 983                         X           X    X                                              X                                       X
numbered page FBI(20-cv-447)
                983.




                                                                                            64
                                                  Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 220 of 243 PageID #: 1945




                                          b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description          Bates                                                                                                        Per OGA   RIF RIP               Dup
                                           1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



     Responsive portions of
 information collected relating
    to a third party subject of
   investigative interest. This
 record was referred by OIP to 984                                      X    X                                              X                                       X
  the FBI. OIP Document ID:
  0.7.5411.6493-000016. Seth
Rich is mentioned on this Bates-
         numbered page.


  Email communication dated
June 26, 2018 concerning Seth
    Rich's work laptop. This
 record was referred by OIP to
                                  985                               X            X                   X                      X                                X
  the FBI. OIP Document ID:
  0.7.5411.7528. Seth Rich is
    mentioned on this Bates-
        numbered page.




     Responsive portions of       986                                                                                       X                                       X
 information collected relating
    to a third party subject of
   investigative interest. This
 record was referred by OIP to
                                  987                                                                                       X                                       X
  the FBI. OIP Document ID:       988                                                                                       X                                       X
  0.7.5411.6907. Seth Rich is     989                                                                                       X                                       X
mentioned on Bates-numbered       990                                                                                       X                                       X
pages FBI(20-cv-447) 986-996.     991                                                                                       X                                       X
                                  992                                                                                       X                                       X
                                  993                                                                                       X                                       X
                                  994                                                                                       X                                       X
                                  995                                                                                       X                                       X
                                  996                                                                                       X                                       X
                                  997                                                                                                                                          X        408
     Duplicate Document            998                                                                                                                                         X        409
                                   999                                                                                                                                         X        410
                                  1000                                                                                                                                         X        411
     Duplicate Document           1001                                                                                                                                         X        412
                                  1002                                                                                                                                         X        413
     Duplicate Document
                                  1003                                                                                                                                         X        414




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                                               Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 221 of 243 PageID #: 1946




                                       b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description       Bates                                                                                                        Per OGA   RIF RIP               Dup
                                        1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


     Duplicate Document        1004                                                                                                                                         X        415
                               1005                                                                                                                                         X        279
     Duplicate Document
                               1006                                                                                                                                         X        280
     Responsive portions of
 information collected relating
    to a third party subject of 1007                                      X                                              X                                       X
   investigative interest. This
 record was referred by OIP to
  the FBI. OIP Document ID:
  0.7.5411.5770-000001. Seth
  Rich is mentioned on Bates-
                                1008                                      X                                              X                                       X
numbered page FBI(20-cv-447)
               1008.

     Responsive portions of
 information collected relating
    to a third party subject of 1009                                      X                                              X                                       X
   investigative interest. This
 record was referred by OIP to
  the FBI. OIP Document ID:
  0.7.5411.5770-000001. Seth
  Rich is mentioned on Bates-
                                1010                                                                                     X                                       X
numbered page FBI(20-cv-447)
               1010.
                                1011                                 X    X                                              X                                       X
                                1012                                 X    X                                              X                                       X
                                1013                                 X    X                                              X                                       X
     Responsive portions of     1014                                 X    X                                              X                                       X
 information collected relating 1015                                 X    X                                              X                                       X
    to a third party subject of 1016                                 X    X                                              X                                       X
  investigative interest. These 1017                                 X    X                                              X                                       X
records were referred by OIP to 1018                                 X    X                                              X                                       X
  the FBI. OIP Document ID: 1019                                     X    X                                              X                                       X
                                1020                                 X    X                                              X                                       X
  0.7.5411.5208-000001. Seth 1021                                    X    X                                              X                                       X
  Rich is mentioned on Bates- 1022                                   X    X                                              X                                       X
  numbered pages FBI(20-cv- 1023                                     X    X                                              X                                       X
   447) 1011, 1013-1022 and     1024                                 X    X                                              X                                       X
            1024-1028.          1025                                 X    X                                              X                                       X
                                1026                                 X    X                                              X                                       X
                                1027                                 X    X                                              X                                       X
                                1028                                 X    X                                              X                                       X




                                                                                           66
                                               Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 222 of 243 PageID #: 1947




                                       b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description       Bates                                                                                                        Per OGA   RIF RIP               Dup
                                        1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-




     Responsive portions of
 information collected relating
    to a third party subject of
  investigative interest. These
records were referred by OIP to 1029                                 X    X                                              X                                       X
  the FBI. OIP Document ID:
  0.7.5411.6223. Seth Rich is
    mentioned on this Bates-
         numbered page.


                               1030                                  X    X                                              X                                       X

     Responsive portions of     1031                                 X    X                                              X                                       X
                                1032                                 X    X                                              X                                       X
 information collected relating 1033                                 X    X                                              X                                       X
    to a third party subject of 1034                                 X    X                                              X                                       X
  investigative interest. These 1035                                 X    X                                              X                                       X
records were referred by OIP to 1036                                 X    X                                              X                                       X
  the FBI. OIP Document ID: 1037                                     X    X                                              X                                       X
  0.7.5411.5076-000001. Seth 1038                                    X    X                                              X                                       X
                                1039                                 X    X                                              X                                       X
  Rich is mentioned on Bates-
                                1040                                 X    X                                              X                                       X
  numbered pages FBI(20-cv- 1041                                     X    X                                              X                                       X
  447) 1030 1032, 1034-1035, 1042                                    X    X                                              X                                       X
  1037-1039 and -1041-1045. 1043                                     X    X                                              X                                       X
                                1044                                 X    X                                              X                                       X
                                1045                                 X    X                                              X                                       X
                                1046                                 X    X                                              X                                       X
                                1047                                 X    X                                              X                                       X
                                1048                                 X    X                                              X                                       X
                                1049                                 X    X                                              X                                       X
     Responsive portions of     1050                                 X    X                                              X                                       X
 information collected relating 1051                                 X    X                                              X                                       X
    to a third party subject of 1052                                 X    X                                              X                                       X
   investigative interest. The  1053                                 X    X                                              X                                       X
records were referred by OIP to 1054                                 X    X                                              X                                       X
  the FBI. OIP Document ID: 1055                                     X    X                                              X                                       X
                                1056                                 X    X                                              X                                       X
  0.7.5411.6227. Seth Rich is
                                1057                                 X    X                                              X                                       X
 mentioned on Bates-numbered 1058                                    X    X                                              X                                       X
  pages FBI(20-cv-447) 1046- 1059                                    X    X                                              X                                       X
1052, 1054-1055, 1057-1061, - 1060                                   X    X                                              X                                       X
 1064, -1066, and 1068-1075. 1061                                    X    X                                              X                                       X
                                1062                                 X    X                                              X                                       X
                                1063                                 X    X                                              X                                       X
                                1064                                 X    X                                              X                                       X
                                1065                                 X    X                                              X                                       X




                                                                                           67
                                               Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 223 of 243 PageID #: 1948




                                       b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description       Bates                                                                                                        Per OGA   RIF RIP               Dup
                                        1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


                               1066                                  X    X                                              X                                       X
     Responsive portions of
 information collected relating 1067                                 X    X                                              X                                       X
    to a third party subject of
   investigative interest. The  1068                                 X    X                                              X                                       X
records were referred by OIP to 1069                                 X    X                                              X                                       X
  the FBI. OIP Document ID:
                                1070                                 X    X                                              X                                       X
  0.7.5411.6227. Seth Rich is
 mentioned on Bates-numbered 1071                                    X    X                                              X                                       X
  pages FBI(20-cv-447) 1046- 1072                                    X    X                                              X                                       X
                                1073                                 X    X                                              X                                       X
1052, 1054-1055, 1057-1061, -
                                1074                                 X    X                                              X                                       X
 1064, -1066, and 1068-1075. 1075                                    X    X                                              X                                       X
                                1076                                 X    X                                              X                                       X
                                1077                                 X    X                                              X                                       X
                                1078                                 X    X                                              X                                       X
                                1079                                 X    X                                              X                                       X
                                1080                                 X    X                                              X                                       X
                                1081                                 X    X                                              X                                       X
                                1082                                 X    X                                              X                                       X
                                1083                                 X    X                                              X                                       X
                                1084                                 X    X                                              X                                       X
     Responsive portions of     1085                                 X    X                                              X                                       X
 information collected relating 1086                                 X    X                                              X                                       X
    to a third party subject of 1087                                 X    X                                              X                                       X
                                1088                                 X    X                                              X                                       X
   investigative interest. The
                                1089                                 X    X                                              X                                       X
records were referred by OIP to 1090                                 X    X                                              X                                       X
  the FBI. OIP Document ID: 1091                                     X    X                                              X                                       X
  0.7.5411.6227. Seth Rich is 1092                                   X    X                                              X                                       X
 mentioned on Bates-numbered 1093                                    X    X                                              X                                       X
  pages FBI(20-cv-447) 1077- 1094                                    X    X                                              X                                       X
 1079, 1081-1083, 1085, 1087, 1095                                   X    X                                              X                                       X
                                1096                                 X    X                                              X                                       X
 1089, 1091-1092, 1094-1100, 1097                                    X    X                                              X                                       X
          and 1103-1106.        1098                                 X    X                                              X                                       X
                                1099                                 X    X                                              X                                       X
                                1100                                 X    X                                              X                                       X
                                1101                                 X    X                                              X                                       X
                                1102                                 X    X                                              X                                       X
                                1103                                 X    X                                              X                                       X
                                1104                                 X    X                                              X                                       X
                                1105                                 X    X                                              X                                       X
                                1106                                 X    X                                              X                                       X




                                                                                           68
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                                          b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description          Bates                                                                                                        Per OGA   RIF RIP               Dup
                                           1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



     Responsive portions of
 information collected relating
    to a third party subject of 1107                                    X    X                                              X                                       X
   investigative interest. The
records were referred by OIP to
  the FBI. OIP Document ID:
  0.7.5411.6341. Seth Rich is
 mentioned on Bates-numbered
                                1108                                    X                                                   X                                       X
  pages FBI(20-cv-447) 1107-
               1108.

  Email communication dated
 May 17, 2017 - May 31, 2017 1109                                       X            X                                                                              X
relating to a hotline submission
  of a complaint concerning a
violation of civil rights or civil
    liberties. This record was
                                   1110                                 X                                                                                           X
   referred by OIP to the FBI.
        OIP Document ID:
  0.7.5411.5068-000002. Seth
  Rich is mentioned in Bates-
numbered page FBI(20-cv-447) 1111                                       X                                                                                           X
               1111.

     Responsive portions of
 information collected relating
    to a third party subject of
                                1112                                    X    X                                              X                                       X
  investigative interest. These
records were referred by OIP to
  the FBI. OIP Document ID:
  0.7.5411.6353. Seth Rich is
 mentioned on Bates-numbered
                                1113                                    X    X                                              X                                       X
  pages FBI(20-cv-447) 1113-
               1114.
                                  1114                                  X    X                                              X                                       X
                              1115                                      X    X                                              X                                       X
                              1116                                      X    X                                              X                                       X
                              1117                                      X    X                                              X                                       X
    See next page for full    1118                                      X    X                                              X                                       X
description of Bates-numbered 1119                                      X    X                                              X                                       X
 pages FBI(20-cv-447) 1115- 1120                                        X    X                                              X                                       X
             1202.            1121                                      X    X                                              X                                       X
                              1122                                      X    X                                              X                                       X
                              1123                                      X    X                                              X                                       X
                              1124                                      X    X                                              X                                       X




                                                                                              69
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                                        b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description        Bates                                                                                                        Per OGA   RIF RIP               Dup
                                         1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-

                                 1125                                 X    X                                              X                                       X
                                 1126                                 X    X                                              X                                       X
                                 1127                                 X    X                                              X                                       X
                                 1128                                 X    X                                              X                                       X
                                 1129                                 X    X                                              X                                       X
                                 1130                                 X    X                                              X                                       X
                                 1131                                 X    X                                              X                                       X
                                 1132                                 X    X                                              X                                       X
                                 1133                                 X    X                                              X                                       X
       Responsive portions of    1134                                 X    X                                              X                                       X
                                 1135                                 X    X                                              X                                       X
 information collected relating
                                 1136                                 X    X                                              X                                       X
     to a third party subject of 1137                                 X    X                                              X                                       X
    investigative interest. The  1138                                 X    X                                              X                                       X
records were referred by OIP to 1139                                  X    X                                              X                                       X
 the FBI. These records do not 1140                                   X    X                                              X                                       X
  contain an OIP Document ID 1141                                     X    X                                              X                                       X
       Number. Seth Rich is      1142                                 X    X                                              X                                       X
                                 1143                                 X    X                                              X                                       X
 mentioned on Bates-numbered 1144                                     X    X                                              X                                       X
  pages FBI(20-cv-447) 1116, 1145                                     X    X                                              X                                       X
 1117, 1119-1120, 1122, 1124, 1146                                    X    X                                              X                                       X
 1127-1128, 1130-1131, 1133- 1147                                     X    X                                              X                                       X
 1134, 1136-1137, 1139, 1141- 1148                                    X    X                                              X                                       X
 1142, 1144, 1146-1147, 1149- 1149                                    X    X                                              X                                       X
                                 1150                                 X    X                                              X                                       X
 1153, 1155-1156, 1158-1164,
                                 1151                                 X    X                                              X                                       X
 1166-1170, 1172, 1174, 1176, 1152                                    X    X                                              X                                       X
 1178-1180, 1182-1184, 1186, 1153                                     X    X                                              X                                       X
 1188-1190, 1192, 1195-1197, 1154                                     X    X                                              X                                       X
   and 1199-1202. In addition, 1155                                   X    X                                              X                                       X
portions of these records Bates- 1156                                 X    X                                              X                                       X
                                 1157                                 X    X                                              X                                       X
    numbered FBI(20-cv-447)
                                 1158                                 X    X                                              X                                       X
  1104, 1106, 1111, 1136, and 1159                                    X    X                                              X                                       X
   1149 are also responsive to   1160                                 X    X                                              X                                       X
      Plaintiff's request to the 1161                                 X    X                                              X                                       X
 Department of Justice, Office 1162                                   X    X                                              X                                       X
 of the Attorney General dated 1163                                   X    X                                              X                                       X
      June 5, 2020 wherein he    1164                                 X    X                                              X                                       X
                                 1165                                 X    X                                              X                                       X
       requested information     1166                                 X    X                                              X                                       X
 concerning Imran Awan, et al. 1167                                   X    X                                              X                                       X
                                 1168                                 X    X                                              X                                       X
                                 1169                                 X    X                                              X                                       X
                                 1170                                 X    X                                              X                                       X
                                 1171                                 X    X                                              X                                       X
                                 1172                                 X    X                                              X                                       X
                                 1173                                 X    X                                              X                                       X
                                 1174                                 X    X                                              X                                       X
                                 1175                                 X    X                                              X                                       X
                                 1176                                 X    X                                              X                                       X




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                                     b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
   Document Description      Bates                                                                                                        Per OGA   RIF RIP               Dup
                                      1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-

                              1177                                 X    X                                              X                                       X
                              1178                                 X    X                                              X                                       X
                              1179                                 X    X                                              X                                       X
                              1180                                 X    X                                              X                                       X
                              1181                                 X    X                                              X                                       X
                              1182                                 X    X                                              X                                       X
                              1183                                 X    X                                              X                                       X
                              1184                                 X    X                                              X                                       X
                              1185                                 X    X                                              X                                       X
                              1186                                 X    X                                              X                                       X
                              1187                                 X    X                                              X                                       X
    See prior page for full   1188                                 X    X                                              X                                       X
description of Bates-numbered 1189                                 X    X                                              X                                       X
 pages FBI(20-cv-447) 1115- 1190                                   X    X                                              X                                       X
             1202.            1191                                 X    X                                              X                                       X
                              1192                                 X    X                                              X                                       X
                              1193                                 X    X                                              X                                       X
                              1194                                 X    X                                              X                                       X
                              1195                                 X    X                                              X                                       X
                              1196                                 X    X                                              X                                       X
                              1197                                 X    X                                              X                                       X
                              1198                                 X    X                                              X                                       X
                              1199                                 X    X                                              X                                       X
                              1200                                 X    X                                              X                                       X
                              1201                                 X    X                                              X                                       X
                              1202                                 X    X                                              X                                       X
                              1203                                 X    X                                              X                                       X
                              1204                                 X    X                                              X                                       X
                              1205                                 X    X                                              X                                       X
                              1206                                 X    X                                              X                                       X
                              1207                                 X    X                                              X                                       X
                              1208                                 X    X                                              X                                       X
                              1209                                 X    X                                              X                                       X
                              1210                                 X    X                                              X                                       X
                              1211                                 X    X                                              X                                       X
                              1212                                 X    X                                              X                                       X
                              1213                                 X    X                                              X                                       X
    See next page for full    1214                                 X    X                                              X                                       X
description of Bates-numbered 1215                                 X    X                                              X                                       X
 pages FBI(20-cv-447) 1203- 1216                                   X    X                                              X                                       X
             1303.            1217                                 X    X                                              X                                       X
                              1218                                 X    X                                              X                                       X
                              1219                                 X    X                                              X                                       X
                              1220                                 X    X                                              X                                       X
                              1221                                 X    X                                              X                                       X
                              1222                                 X    X                                              X                                       X
                              1223                                 X    X                                              X                                       X
                              1224                                 X    X                                              X                                       X
                              1225                                 X    X                                              X                                       X
                              1226                                 X    X                                              X                                       X
                              1227                                 X    X                                              X                                       X
                              1228                                 X    X                                              X                                       X




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                                         b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description         Bates                                                                                                        Per OGA   RIF RIP               Dup
                                          1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-

                                  1229                                 X    X                                              X                                       X
                                  1230                                 X    X                                              X                                       X
                                  1231                                 X    X                                              X                                       X
                                  1232                                 X    X                                              X                                       X
                                  1233                                 X    X                                              X                                       X
                                  1234                                 X    X                                              X                                       X
                                  1235                                 X    X                                              X                                       X
                                  1236                                 X    X                                              X                                       X
                                  1237                                 X    X                                              X                                       X
                                  1238                                 X    X                                              X                                       X
      Responsive portions of      1239                                 X    X                                              X                                       X
 information collected relating 1240                                   X    X                                              X                                       X
     to a third party subject of  1241                                 X    X                                              X                                       X
    investigative interest. The   1242                                 X    X                                              X                                       X
                                  1243                                 X    X                                              X                                       X
records were referred by OIP to
                                  1244                                 X    X                                              X                                       X
 the FBI. These records do not 1245                                    X    X                                              X                                       X
  contain an OIP Document ID 1246                                      X    X                                              X                                       X
       Number. Seth Rich is       1247                                 X    X                                              X                                       X
 mentioned on Bates-numbered 1248                                      X    X                                              X                                       X
  pages FBI(20-cv-447) 1204- 1249                                      X    X                                              X                                       X
 1206, 1210-1212, 1214-1215, 1250                                      X    X                                              X                                       X
                                  1251                                 X    X                                              X                                       X
 1217-1222, 1224-1225, 1227, 1252                                      X    X                                              X                                       X
 1229-1230, 1232-1235, 1237- 1253                                      X    X                                              X                                       X
 1241, 1243-1248, 1250, 1253, 1254                                     X    X                                              X                                       X
 1255, 1257, 1259, 1260-1262, 1255                                     X    X                                              X                                       X
 1264, 1267, 1269-1271, 1274- 1256                                     X    X                                              X                                       X
 1278, 1280-1282, 1285, 1287- 1257                                     X    X                                              X                                       X
                                  1258                                 X    X                                              X                                       X
 1289, 1291-1293, 1295-1296, 1259                                      X    X                                              X                                       X
   and 1299-1303. In addition, 1260                                    X    X                                              X                                       X
portions of these records Bates- 1261                                  X    X                                              X                                       X
    numbered FBI(20-cv-447)       1262                                 X    X                                              X                                       X
 1208, 1231, and 1298 are also 1263                                    X    X                                              X                                       X
responsive to Plaintiff's request 1264                                 X    X                                              X                                       X
                                  1265                                 X    X                                              X                                       X
  to the Department of Justice,
                                  1266                                 X    X                                              X                                       X
 Office of the Attorney General 1267                                   X    X                                              X                                       X
 dated June 5, 2020 wherein he 1268                                    X    X                                              X                                       X
       requested information      1269                                 X    X                                              X                                       X
 concerning Imran Awan, et al. 1270                                    X    X                                              X                                       X
                                  1271                                 X    X                                              X                                       X
                                  1272                                 X    X                                              X                                       X
                                  1273                                 X    X                                              X                                       X
                                  1274                                 X    X                                              X                                       X
                                  1275                                 X    X                                              X                                       X
                                  1276                                 X    X                                              X                                       X
                                  1277                                 X    X                                              X                                       X
                                  1278                                 X    X                                              X                                       X
                                  1279                                 X    X                                              X                                       X
                                  1280                                 X    X                                              X                                       X




                                                                                             72
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                                         b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description         Bates                                                                                                        Per OGA   RIF RIP               Dup
                                          1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-

                                  1281                                 X    X                                              X                                       X
                                  1282                                 X    X                                              X                                       X
                                  1283                                 X    X                                              X                                       X
                                  1284                                 X    X                                              X                                       X
                                  1285                                 X    X                                              X                                       X
                                  1286                                 X    X                                              X                                       X
                                  1287                                 X    X                                              X                                       X
                                  1288                                 X    X                                              X                                       X
                                  1289                                 X    X                                              X                                       X
       See prior page for full    1290                                 X    X                                              X                                       X
description of Bates-numbered 1291                                     X    X                                              X                                       X
                                  1292                                 X    X                                              X                                       X
  pages FBI(20-cv-447) 1203- 1293                                      X    X                                              X                                       X
                1303.             1294                                 X    X                                              X                                       X
                                  1295                                 X    X                                              X                                       X
                                  1296                                 X    X                                              X                                       X
                                  1297                                 X    X                                              X                                       X
                                  1298                                 X    X                                              X                                       X
                                  1299                                 X    X                                              X                                       X
                                  1300                                 X    X                                              X                                       X
                                  1301                                 X    X                                              X                                       X
                                  1302                                 X    X                                              X                                       X
                                  1303                                 X    X                                              X                                       X
                                  1304                                 X    X                                              X                                       X
      Responsive portions of      1305                                 X    X                                              X                                       X
 information collected relating 1306                                   X    X                                              X                                       X
     to a third party subject of  1307                                 X    X                                              X                                       X
    investigative interest. The   1308                                 X    X                                              X                                       X
records were referred by OIP to 1309                                   X    X                                              X                                       X
                                  1310                                 X    X                                              X                                       X
 the FBI. These records do not
                                  1311                                 X    X                                              X                                       X
  contain an OIP Document ID 1312                                      X    X                                              X                                       X
       Number. Seth Rich is       1313                                 X    X                                              X                                       X
 mentioned on Bates-numbered 1314                                      X    X                                              X                                       X
  pages FBI(20-cv-447) 1305- 1315                                      X    X                                              X                                       X
 1314, 1317-1325, 1327-1336, 1316                                      X    X                                              X                                       X
   1338-1401, 1403-1429 and       1317                                 X    X                                              X                                       X
                                  1318                                 X    X                                              X                                       X
      1432-1439. In addition,     1319                                 X    X                                              X                                       X
portions of these records Bates- 1320                                  X    X                                              X                                       X
    numbered FBI(20-cv-447)       1321                                 X    X                                              X                                       X
 1341, 1430-1432 and 1434 are 1322                                     X    X                                              X                                       X
   also responsive to Plaintiff's 1323                                 X    X                                              X                                       X
  request to the Department of 1324                                    X    X                                              X                                       X
                                  1325                                 X    X                                              X                                       X
 Justice, Office of the Attorney
                                  1326                                 X    X                                              X                                       X
   General dated June 5, 2020 1327                                     X    X                                              X                                       X
       wherein he requested       1328                                 X    X                                              X                                       X
 information concerning Imran 1329                                     X    X                                              X                                       X
            Awan, et al.          1330                                 X    X                                              X                                       X
                                  1331                                 X    X                                              X                                       X




                                                                                             73
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                                        b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description        Bates                                                                                                        Per OGA   RIF RIP               Dup
                                         1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-

                                 1332                                 X    X                                              X                                       X
                                 1333                                 X    X                                              X                                       X
                                 1334                                 X    X                                              X                                       X
                                 1335                                 X    X                                              X                                       X
                                 1336                                 X    X                                              X                                       X
                                 1337                                 X    X                                              X                                       X
                                 1338                                 X    X                                              X                                       X
                                 1339                                 X    X                                              X                                       X
                                 1340                                 X    X                                              X                                       X
                                 1341                                 X    X                                              X                                       X
                                 1342                                 X    X                                              X                                       X
                                 1343                                 X    X                                              X                                       X
                                 1344                                 X    X                                              X                                       X
     Continued - Responsive      1345                                 X    X                                              X                                       X
      portions of information    1346                                 X    X                                              X                                       X
   collected relating to a third 1347                                 X    X                                              X                                       X
  party subject of investigative 1348                                 X    X                                              X                                       X
    interest. The records were   1349                                 X    X                                              X                                       X
                                 1350                                 X    X                                              X                                       X
   referred by OIP to the FBI.   1351                                 X    X                                              X                                       X
These records do not contain an 1352                                  X    X                                              X                                       X
  OIP Document ID Number. 1353                                        X    X                                              X                                       X
   Seth Rich is mentioned on     1354                                 X    X                                              X                                       X
 Bates-numbered pages FBI(20- 1355                                    X    X                                              X                                       X
cv-447) 1305-1314, 1317-1325, 1356                                    X    X                                              X                                       X
                                 1357                                 X    X                                              X                                       X
 1327-1336, 1338-1401, 1403-
                                 1358                                 X    X                                              X                                       X
     1429 and 1432-1439. In      1359                                 X    X                                              X                                       X
   addition, portions of these   1360                                 X    X                                              X                                       X
records Bates-numbered FBI(20- 1361                                   X    X                                              X                                       X
 cv-447) 1341, 1430-1432 and 1362                                     X    X                                              X                                       X
   1434 are also responsive to   1363                                 X    X                                              X                                       X
                                 1364                                 X    X                                              X                                       X
     Plaintiff's request to the
                                 1365                                 X    X                                              X                                       X
 Department of Justice, Office 1366                                   X    X                                              X                                       X
 of the Attorney General dated 1367                                   X    X                                              X                                       X
     June 5, 2020 wherein he     1368                                 X    X                                              X                                       X
       requested information     1369                                 X    X                                              X                                       X
 concerning Imran Awan, et al. 1370                                   X    X                                              X                                       X
                                 1371                                 X    X                                              X                                       X
                                 1372                                 X    X                                              X                                       X
                                 1373                                 X    X                                              X                                       X
                                 1374                                 X    X                                              X                                       X
                                 1375                                 X    X                                              X                                       X
                                 1376                                 X    X                                              X                                       X
                                 1377                                 X    X                                              X                                       X
                                 1378                                 X    X                                              X                                       X
                                 1379                                 X    X                                              X                                       X
                                 1380                                 X    X                                              X                                       X
                                 1381                                 X    X                                              X                                       X
                                 1382                                 X    X                                              X                                       X
                                 1383                                 X    X                                              X                                       X




                                                                                            74
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                                        b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description        Bates                                                                                                        Per OGA   RIF RIP               Dup
                                         1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-

                                 1384                                 X    X                                              X                                       X
                                 1385                                 X    X                                              X                                       X
                                 1386                                 X    X                                              X                                       X
                                 1387                                 X    X                                              X                                       X
                                 1388                                 X    X                                              X                                       X
                                 1389                                 X    X                                              X                                       X
                                 1390                                 X    X                                              X                                       X
                                 1391                                 X    X                                              X                                       X
                                 1392                                 X    X                                              X                                       X
                                 1393                                 X    X                                              X                                       X
                                 1394                                 X    X                                              X                                       X
                                 1395                                 X    X                                              X                                       X
                                 1396                                 X    X                                              X                                       X
     Continued - Responsive      1397                                 X    X                                              X                                       X
      portions of information    1398                                 X    X                                              X                                       X
   collected relating to a third 1399                                 X    X                                              X                                       X
  party subject of investigative 1400                                 X    X                                              X                                       X
    interest. The records were   1401                                 X    X                                              X                                       X
                                 1402                                 X    X                                              X                                       X
   referred by OIP to the FBI.   1403                                 X    X                                              X                                       X
These records do not contain an 1404                                  X    X                                              X                                       X
  OIP Document ID Number. 1405                                        X    X                                              X                                       X
   Seth Rich is mentioned on     1406                                 X    X                                              X                                       X
 Bates-numbered pages FBI(20- 1407                                    X    X                                              X                                       X
cv-447) 1305-1314, 1317-1325, 1408                                    X    X                                              X                                       X
                                 1409                                 X    X                                              X                                       X
 1327-1336, 1338-1401, 1403-
                                 1410                                 X    X                                              X                                       X
     1429 and 1432-1439. In      1411                                 X    X                                              X                                       X
   addition, portions of these   1412                                 X    X                                              X                                       X
records Bates-numbered FBI(20- 1413                                   X    X                                              X                                       X
 cv-447) 1341, 1430-1432 and 1414                                     X    X                                              X                                       X
   1434 are also responsive to   1415                                 X    X                                              X                                       X
                                 1416                                 X    X                                              X                                       X
     Plaintiff's request to the
                                 1417                                 X    X                                              X                                       X
 Department of Justice, Office 1418                                   X    X                                              X                                       X
 of the Attorney General dated 1419                                   X    X                                              X                                       X
     June 5, 2020 wherein he     1420                                 X    X                                              X                                       X
       requested information     1421                                 X    X                                              X                                       X
 concerning Imran Awan, et al. 1422                                   X    X                                              X                                       X
                                 1423                                 X    X                                              X                                       X
                                 1424                                 X    X                                              X                                       X
                                 1425                                 X    X                                              X                                       X
                                 1426                                 X    X                                              X                                       X
                                 1427                                 X    X                                              X                                       X
                                 1428                                 X    X                                              X                                       X
                                 1429                                 X    X                                              X                                       X
                                 1430                                 X    X                                              X                                       X
                                 1431                                 X    X                                              X                                       X
                                 1432                                 X    X                                              X                                       X
                                 1433                                 X    X                                              X                                       X
                                 1434                                 X    X                                              X                                       X
                                 1435                                 X    X                                              X                                       X




                                                                                            75
                                                Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 231 of 243 PageID #: 1956




                                        b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description        Bates                                                                                                        Per OGA   RIF RIP               Dup
                                         1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



    See prior pages for full  1436                                    X    X                                              X                                       X
description of Bates-numbered 1437                                    X    X                                              X                                       X
 pages FBI(20-cv-447) 1304- 1438                                      X    X                                              X                                       X
             1439
                                1439                                  X    X                                              X                                       X
                                 1440                                 X    X                                              X                                       X
                                 1441                                 X    X                                              X                                       X
                                 1442                                 X    X                                              X                                       X
                                 1443                                 X    X                                              X                                       X
                                 1444                                 X    X                                              X                                       X
                                 1445                                 X    X                                              X                                       X
                                 1446                                 X    X                                              X                                       X
                                 1447                                 X    X                                              X                                       X
                                 1448                                 X    X                                              X                                       X
                                 1449                                 X    X                                              X                                       X
                                 1450                                 X    X                                              X                                       X
      Responsive portions of     1451                                 X    X                                              X                                       X
 information collected relating 1452                                  X    X                                              X                                       X
    to a third party subject of  1453                                 X    X                                              X                                       X
   investigative interest. The   1454                                 X    X                                              X                                       X
records were referred by OIP to 1455                                  X    X                                              X                                       X
                                 1456                                 X    X                                              X                                       X
       the FBI. Seth Rich is
                                 1457                                 X    X                                              X                                       X
 mentioned on Bates-numbered 1458                                     X    X                                              X                                       X
  pages FBI(20-cv-447) 1440- 1459                                     X    X                                              X                                       X
 1444, 1446-1460, 1462-1467 1460                                      X    X                                              X                                       X
  and 1470-1484. In addition, 1461                                    X    X                                              X                                       X
portions of these records Bates- 1462                                 X    X                                              X                                       X
                                 1463                                 X    X                                              X                                       X
   numbered FBI(20-cv-447)
                                 1464                                 X    X                                              X                                       X
  1445, 1461, 1468, 1469 and 1465                                     X    X                                              X                                       X
  1475 are also responsive to    1466                                 X    X                                              X                                       X
     Plaintiff's request to the  1467                                 X    X                                              X                                       X
 Department of Justice, Office 1468                                   X    X                                              X                                       X
 of the Attorney General dated 1469                                   X    X                                              X                                       X
     June 5, 2020 wherein he     1470                                 X    X                                              X                                       X
                                 1471                                 X    X                                              X                                       X
      requested information      1472                                 X    X                                              X                                       X
 concerning Imran Awan, et al. 1473                                   X    X                                              X                                       X
                                 1474                                 X    X                                              X                                       X
                                 1475                                 X    X                                              X                                       X
                                 1476                                 X    X                                              X                                       X
                                 1477                                 X    X                                              X                                       X
                                 1478                                 X    X                                              X                                       X
                                 1479                                 X    X                                              X                                       X
                                 1480                                 X    X                                              X                                       X
                                 1481                                 X    X                                              X                                       X
                                 1482                                 X    X                                              X                                       X
                                 1483                                 X    X                                              X                                       X
                                 1484                                 X    X                                              X                                       X




                                                                                            76
                                                 Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 232 of 243 PageID #: 1957




                                         b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description         Bates                                                                                                        Per OGA   RIF RIP               Dup
                                          1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


                                  1485                                                                                                                                        X
                                  1486                                                                                                                                        X
                                  1487                                                                                                                                        X
                                  1488                                                                                                                                        X
                                  1489                                                                                                                                        X
                                  1490                                                                                                                                        X
                                  1491                                                                                                                                        X
                                  1492                                                                                                                                        X
                                  1493                                                                                                                                        X
                                  1494                                                                                                                                        X
                                  1495                                                                                                                                        X
                                  1496                                                                                                                                        X
                                  1497                                                                                                                                        X
                                  1498                                                                                                                                        X
                                  1499                                                                                                                                        X
                                  1500                                                                                                                                        X
                                  1501                                                                                                                                        X
                                  1502                                                                                                                                        X
                                  1503                                                                                                                                        X
                                  1504                                                                                                                                        X
                                  1505                                                                                                                                        X
   Duplicate Document (The        1506                                                                                                                                        X
   content is identical to that   1507                                                                                                                                        X
 within Bates-numbered pages 1508                                                                                                                                             X
FBI(20-cv-447) 206-266, but as 1509                                                                                                                                           X
a result of the import process of 1510                                                                                                                                        X      206-266
    this record into the FBI's    1511                                                                                                                                        X
                                  1512                                                                                                                                        X
  processing system, the page
                                  1513                                                                                                                                        X
   layout is landscape versus     1514                                                                                                                                        X
             portrait.)           1515                                                                                                                                        X
                                  1516                                                                                                                                        X
                                  1517                                                                                                                                        X
                                  1518                                                                                                                                        X
                                  1519                                                                                                                                        X
                                  1520                                                                                                                                        X
                                 1521                                                                                                                                         X
                                 1522                                                                                                                                         X
                                 1523                                                                                                                                         X
                                 1524                                                                                                                                         X
                                 1525                                                                                                                                         X
                                 1526                                                                                                                                         X
                                 1527                                                                                                                                         X
                                 1528                                                                                                                                         X
                                 1529                                                                                                                                         X
                                 1530                                                                                                                                         X
                                 1531                                                                                                                                         X
                                 1532                                                                                                                                         X
                                 1533                                                                                                                                         X
                                 1534                                                                                                                                         X




                                                                                             77
                                                Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 233 of 243 PageID #: 1958




                                        b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description        Bates                                                                                                        Per OGA   RIF RIP               Dup
                                         1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


                                1535                                                                                                                                         X
    See prior page for full                                                                                                                                                        See prior
                              1536                                                                                                                                           X
description of Bates-numbered                                                                                                                                                      duplicate
 pages FBI(20-cv-447) 1485- 1537                                                                                                                                             X       page
             1539                                                                                                                                                                  numbers.
                              1538                                                                                                                                           X
                                1539                                                                                                                                         X
                                 1540                                                                                                                                        X
                                 1541                                                                                                                                        X
                                 1542                                                                                                                                        X
                                 1543                                                                                                                                        X
                                 1544                                                                                                                                        X
   Not Responsive to FOIPA       1545                                                                                                                                        X
 Request. Inadvertently marked 1546                                                                                                                                          X
as Duplicate and assigned Bates- 1547                                                                                                                                        X
numbers FBI(20-cv-447) 1540- 1548                                                                                                                                            X
             1554.               1549                                                                                                                                        X
                                 1550                                                                                                                                        X
                                 1551                                                                                                                                        X
                                 1552                                                                                                                                        X
                                 1553                                                                                                                                        X
                                 1554                                                                                                                                        X
                                 1555                                                                                                                                        X   267 and 268
                                 1556                                                                                                                                        X   268 and 269
                                                                                                                                                                                 269, 270 and
                                1557                                                                                                                                         X
     Duplicate Document                                                                                                                                                              271
                                1558                                                                                                                                         X   271 and 272

                                1559                                                                                                                                         X        273

     Duplicate Document         1560                                                                                                                                         X        783


     2nd page of an email
communication dated April 25,
 2017 with a subject line of Hi
     from [redacted] - Info
  Regarding Guccifer 2.0, and
Seth Rich. The 1st page of this 1561                                  X        X                                                                           X
 email is Bates-numbered FBI
  (20-cv-447) 631. This email
chain is an attachment to Bates-
numbered page FBI(20-cv-447)
               630.




                                                                                            78
                                                  Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 234 of 243 PageID #: 1959




                                          b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description          Bates                                                                                                        Per OGA   RIF RIP               Dup
                                           1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



   FD-1057 dated October 14,
2016 documenting a request for
assistance and setting of a lead 1562        X                      X                                       X X       X            X X                       X
   to an FBI Chicago squad to
 identify travel for a third party
     of investigative interest
(Responsive to FOIPA Request
    No. 1465971-000 Subject:
                                   1563      X                               X                                  X     X            X X                              X
    Crossfire Hurricane Code
             Names)


Responsive portion of FD-1057
    dated February 15, 2019
 documenting a change in case
   status to pending inactive
                              1564                                  X                                       X X       X X                                    X
(Responsive to FOIPA Request
  No. 1465971-000 Subject:
   Crossfire Hurricane Code
             Names)



Responsive audio download of
     an interview that was
   mentioned in the FD-302
                                1565                                    X    X                                              X                                       X
  drafted March 7, 2017 and
entered on July 13, 2017 Bates-
numbered FBI(20-cv-447) 619


    FD-340 envelope dated
September 21, 2016 containing
  the records described below
  Bates-numbered FBI(20-cv-
447) 1567-1593. The material
 contained in this envelope is 1566                                 X                                           X           X            X                   X
 part of the attachments to the
    FD-302 Bates-numbered
FBI(20-cv-447) 583. Seth Rih
 is not mentioned on this FD-
               340.




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                                               Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 235 of 243 PageID #: 1960




                                       b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
    Document Description       Bates                                                                                                        Per OGA   RIF RIP               Dup
                                        1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-



                               1567                              X                                                       X            X                                X

Sealed Document contained in
   FD-340 envelope Bates-    1568                                                                                        X            X                                X
  numbered FBI(20-cv-447)
   1566. Seth Rich is not
                             1569                                                                                        X            X                                X
  mentioned in these pages.

                               1570                              X                                                       X            X                                X


   Sealed Court Document
contained in FD-340 envelope
 Bates-numbered FBI(20-cv- 1571                                                   X                                                   X                                X
 447) 1566. Seth Rich is not
   mentioned in this page.

   Sealed Court Document     1572                                                                                                     X                                X
contained in FD-340 envelope 1573                                                                                                     X                                X
                             1574                                                                                                     X                                X
 Bates-numbered FBI(20-cv-
                             1575                                                                                                     X                                X
 447) 1566. Seth Rich is not 1576                                X                                                                    X                                X
  mentioned in these pages.  1577                                                                                                     X                                X
                             1578                                    X    X                              X               X            X                                X
                             1579                                    X    X                              X               X            X                                X
                             1580                                    X    X                              X               X            X                                X
                             1581                                    X    X                              X               X            X                                X
                             1582                                    X    X                              X               X            X                                X
Sealed Document contained in 1583                                    X    X                              X               X            X                                X
   FD-340 envelope Bates-    1584                                    X    X                              X               X            X                                X
  numbered FBI(20-cv-447)    1585                                    X    X                              X               X            X                                X
1566. Seth Rich is mentioned 1586                                    X    X                              X               X            X                                X
   on Bates-numberd pages    1587                                    X    X                              X               X            X                                X
 FBI(20-cv-447) 1579-1593. 1588                                      X    X                              X               X            X                                X
                             1589                                    X    X                              X               X            X                                X
                             1590                                    X    X                              X               X            X                                X
                             1591                                    X    X                              X               X            X                                X
                             1592                                    X    X                              X               X            X                                X
                             1593                                    X    X                              X               X            X                                X

 FD-340 envelope dated April
12, 2017 containing the records
    described below Bates-
numbered FBI(20-cv-447) 1595- 1594                               X            X                              X                                            X
     1596. Seth Rich is not
  mentioned on this FD-340
           envelope.




                                                                                           80
                                              Case 4:20-cv-00447-ALM Document 39-1 Filed 12/16/21 Page 236 of 243 PageID #: 1961




                                      b1 b3 b3 b3 b4 b5 b5 b7A 6/7C 6/7C 6/7C 6/7C 6/7C 6/7C 7D 7D 7D 7D 7E 7E 7E 7E 7E 7E 7E 7E 7E Seal                       FOIA   Seal     Dup of FBI(20-
   Document Description       Bates                                                                                                        Per OGA   RIF RIP               Dup
                                       1 1 2 3 1 1 2 1           1    2    3    4    5    6   1 2 3 4 1 2 3 4 5 6 7 8 9 Info                                   WIF    WIF         cv-477)-


     Typed questions and
handwritten interview notes of 1595                  X              X        X                                                                           X
  a third party who provided
   information. Seth Rich is
 mentioned on both of these 1596                     X              X        X                                                                           X
    Bates-numbered pages.




                                                                                          81
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                            U.S. DEPARTMENT OF JUSTICE, OFFICE OF INFORMATION POLICY
                                                        CONSULTED RECORDS
      The information below relates to the records OIP provided to the FBI for consultation on February 8, 2021 and November 8, 2021 totaling 196
pages.

NUMBER OF          OIP DOCUMENT ID OR          # OF     EXEMPTIONS ASSERTED ON BEHALF                     RIP, RIF or DIF BY    DATES OF DOJ/OIP
DOCUMENTS            BATES-NUMBERS            PAGES         OF THE FBI TO WITHHOLD                             DOJ/OIP         RELEASES WHEREIN
                                                          INFORMATION IN THE DOJ/OIP                                             RECORDS WERE
                                                             CONSULTED RECORDS                                                    ADDRESSED

    1             0.7.5411.5788-000002           1
                                                 2
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                                                 5
                                                 6
                                                 7
                                                 8
                                                 9                           None                                RIF               May 7, 2021
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                                                17
    2             0.7.5411.6226-000002           1     (b)(5)-1, -2                                              WIF
                                                 2     (b)(5)-1, -2; (b)(6)-2, -3; and (b)(7)(C)-2, -3;          WIF
                                                                                                                                   May 7, 2021
                                                 3     (b)(5)-1, -2; (b)(6)-2, -3; and (b)(7)(C)-2, -3;          WIF

    3             0.7.5411.6240-000001           1     (b)(5)-1, -2                                              WIF
                                                 2     (b)(5)-1, -2                                              WIF
                                                 3     (b)(5)-1, -2; (b)(6)-3; and (b)(7)(C)-3;                  WIF               May 7, 2021
                                                 4     (b)(5)-1, -2; (b)(6)-3; and (b)(7)(C)-3;                  WIF



                                                                   Page 82
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4    0.7.5411.6197-000001    1    (b)(5)-1, -2                                             WIF
                             2    (b)(5)-1, -2                                             WIF
                             3    (b)(5)-1, -2; (b)(6)-2, -3; and (b)(7)(C)-2, -3;         WIF            May 7, 2021

                             4    (b)(5)-1, -2; (b)(6)-3; and (b)(7)(C)-3;                 WIF
5    0.7.5411.6236-000001    1    (b)(5)-1, -2                                             WIF
                             2    (b)(5)-1, -2                                             WIF
                             3    (b)(5)-1, -2; (b)(6)-2, -3; and (b)(7)(C)-2, -3;         WIF            May 7, 2021

                             4    (b)(5)-1, -2; (b)(6)-3; and (b)(7)(C)-3;                 WIF
6    0.7.5411.7068           1    (b)(5)-1, -2                                             WIF
                             2    (b)(3)-2; (b)(5)-1, -2; (b)(6)-2, -3, -4; and            WIF
                                                                                                          May 7, 2021
                                  (b)(7)(C)-2, -3, -4;
                             3    (b)(5)-1, -2                                             WIF
7    0.7.5411.7148.000039    1    None                                                     RIF
                             2    None                                                     RIF
                             3
                                                                                     Marked Portions as
                                  None                                                Not Responsive
                                                                                         Records          May 7, 2021
                             4
                                                                                     Marked Portions as
                                  None                                                Not Responsive
                                                                                         Records

8    0.7.5411.6336           1    (b)(6)-1; (b)(7)(C)-1; and (b)(7)(E)-1, -6;              WIF            May 7, 2021
9    0.7.5411.6183           1    (b)(6)-1, -3; (b)(7)(C)-1, -3; (b)(7)(E)-1, -6;          WIF

                             2    (b)(3)-2; (b)(6)-1, -3; (b)(7)(C)-1, -3; and             WIF
                                                                                                          May 7, 2021
                                  (b)(7)(E)-1, -6;
                             3    (b)(3)-2; (b)(6)-3; (b)(7)(C)-3; and (b)(7)(E)-          WIF
                                  6;
10   0.7.5411.7142-000001    1
                             2
                             3                          None                                RIF           May 7, 2021
                             4
                             5



                                              Page 83
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     Continued - 0.7.5411.7142-   6
     000001

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                                  20                            None                     RIF   May 7, 2021
                                  21
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11   0.7.5411.6511                 1   (b)(6)-1, -3; (b)(7)(C)-1. -3; and (b)(7)(E)-6;   WIF

                                  2    (b)(7)(E)-6;                                      WIF   May 7, 2021

                                  3    (b)(6)-3; (b)(7)(C)-3; and (b)(7)(E)-6;           WIF



                                                      Page 84
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     Continued - 0.7.5411.6511   4   (b)(6)-3; (b)(7)(C)-3; and (b)(7)(E)-6;                 WIF

                                 5   (b)(7)(E)-6;                                            WIF
                                 6   (b)(3)-2; (b)(6)-3; (b)(7)(C)-3; and (b)(7)(E)-         WIF                   May 7, 2021
                                     6;
                                 7   (b)(6)-1, -2, -3; (b)(7)(C)-1, -2, -3; and              WIF
                                     (b)(7)(E)-1, -6;
12   0.7.5411.6673               1   (b)(6)-1; and (b)(7)(C)-1;                              RIP
                                 2   None                                                    RIF
                                 3   None                                                    RIF
                                                                                                            May 7, 2021 and December
                                 4   None                                                    RIF
                                                                                                                    15, 2021
                                 5   None                                                    RIF
                                 6   None                                                    RIF
                                 7   None                                                    RIF
13   0.7.5411.5975               1   (b)(3)-2; (b)(6)-1, -3; (b)(7)(C)-1, -3; and            WIF
                                     (b)(7)(E)-6;
                                                                                                                   May 7, 2021
                                 2   (b)(3)-2; (b)(6)-1, -3; (b)(7)(C)-1, -3; and            WIF
                                     (b)(7)(E)-1, -6;
                                 3   (b)(3)-2; (b)(6)-1, -3; (b)(7)(C)-1, -3; and                               Not included in any
                                                                                       Page determined to
                                     (b)(7)(E)-1;                                                           production as this page was
                                                                                       be not Responsive
                                                                                                            deemed not responsive per
                                                                                            per OIP.
                                                                                                                       OIP.
14   0.7.5411.5236               1   (b)(3)-2; (b)(6)-1, -3; and (b)(7)(C)-1, -3;            WIF                   May 7, 2021
15   0.7.5411.5237               1   (b)(3)-2; (b)(6)-1; and (b)(7)(C)-1;                    WIF                   May 7, 2021
16   0.7.5411.6579               1   None                                                     RIP                  May 7, 2021
17   0.7.5411.5221               1   (b)(6)-1, -4; (b)(7)(C)-1, -4; (b)(7)(D)-3; and          RIP           May 7, 2021 and December
                                     (b)(7)(E)-1;                                                                   15, 2021
18   0.7.5411.6890               1   (b)(6)-1, -2, -4; (b)(7)(C)-1, -2, -4; and               RIP
                                     (b)(7)(E)-1;
                                                                                                            May 7, 2021 and December
                                 2   (b)(6)-2, -4; and (b)(7)(C)-2, -4;                       RIP
                                                                                                                    15, 2021
                                 3   (b)(6)-2, -4; and (b)(7)(C)-2, -4;                       RIP
                                 4   (b)(6)-4; and (b)(7)(C)-4;                               RIP
19   0.7.5411.6682               1                                                            RIP
                                 2                                                            RIF           May 7, 2021 and December
                                                           None
                                 3                                                            RIF                   15, 2021
                                 4                                                            RIF



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20   0.7.5411.5609           1    (b)(6)-1; (b)(7)(C)-1; and (b)(7)(E)-1, -6;         WIF

                             2    (b)(6)-1. -3; (b)(7)(C)-1, -3; and (b)(7)(E)-1, -   WIF
                                  6;                                                              May 7, 2021
                             3    (b)(7)(E)-6;                                        WIF
                             4    (b)(7)(E)-6;                                        WIF
21   0.7.5411.5938           1    (b)(3)-2; (b)(6)-1; (b)(7)(C)-1; and (b)(7)(E)-     WIF
                                                                                                  May 7, 2021
                                  1, -6;
22   0.7.5411.5935           1    (b)(3)-2; (b)(6)-1; (b)(7)(C)-1; and (b)(7)(E)-     RIP
                                  1, -6;                                                    May 7, 2021 and December
                             2    (b)(3)-2; and (b)(7)(E)-6;                          RIP           15, 2021

23   0.7.5411.5605           1    (b)(6)-1; and (b)(7)(C)-1;                          RIP   May 7, 2021 and December
                                                                                                    15, 2021
24   0.7.5411.5202           1    (b)(6)-1; (b)(7)(C)-1; and (b)(7)(E)-1;             WIF         May 7, 2021
25   0.7.5411.6578-000002     1
                              2
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                              5
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                              7
                              8
                              9
                             10
                             11                            None                       RIF         May 7, 2021
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     Continued - 0.7.5411.6578-   22
     000002                       23
                                  24
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                                  33                         None                        RIF         May 7, 2021
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                                  45
26   0.7.5411.12962                1   (b)(6)-2; (b)(7)(C)-2; and (b)(7)(E)-6;           WIF
                                                                                                     May 7, 2021
                                  2    (b)(6)-2; (b)(7)(C)-2; and (b)(7)(E)-6;           WIF
27   0.7.5411.18555               1    (b)(6)-1, -3; (b)(7)(C)-1, -3; and (b)(7)(E)-6;   WIF

                                  2    (b)(6)-3; (b)(7)(C)-3; and (b)(7)(E)-6;           WIF
                                  3    (b)(6)-1, -3; (b)(7)(C)-1, -3; and (b)(7)(E)-6;   WIF         May 7, 2021

                                  4    (b)(6)-3; (b)(7)(C)-3; and (b)(7)(E)-6;           WIF
                                  5    (b)(6)-3; (b)(7)(C)-3; and (b)(7)(E)-6;           WIF
28   0.7.5411.18558               1    (b)(6)-1, -4; (b)(7)(C)-1, -4; and (b)(7)(E)-6;   RIP
                                                                                               May 7, 2021 and December
                                                                                                       15, 2021
                                  2    (b)(6)-3; (b)(7)(C)-3; and (b)(7)(E)-6;           RIP



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     Continued - 0.7.5411.18558   3   (b)(6)-1, -2, -3, -4; (b)(7)(C)-1, -2, -3, -4; and   RIP
                                      (b)(7)(E)-1, -6;
                                  4   (b)(6)-1, -3, -4; (b)(7)(C)-1, -3, -4; and           RIP
                                      (b)(7)(E)-1, -6;
                                  5   (b)(6)-1, -3. -4; (b)(7)(C)-1, -3, -4; and           RIP
                                      (b)(7)(E)-1, -6;                                           May 7, 2021 and December
                                  6   (b)(6)-1, -4; (b)(7)(C)-1, -4; and (b)(7)(E)-1, -    RIP           15, 2021
                                      6;
                                  7   (b)(6)-1, -4; (b)(7)(C)-1, -4; and (b)(7)(E)-1, -    RIP
                                      6;
                                  8   (b)(6)-4; (b)(7)(C)-4; and (b)(7)(E)-6;              RIP
                                  9   (b)(6)-4; (b)(7)(C)-4; and (b)(7)(E)-6;              RIP
29   0.7.5411.18476               1   (b)(6)-1, -3; (b)(7)(C)-1, -3; and (b)(7)(E)-1, -    WIF
                                      6;
                                  2   (b)(6)-1, -3; (b)(7)(C)-1, -3; and (b)(7)(E)-1, -    WIF         May 7, 2021
                                      6;
                                  3   (b)(6)-3; (b)(7)(C)-3; and (b)(7)(E)-6;              WIF
30   20-cv-0447-00009             1   (b)(6)-2; (b)(7)(C)-2;                               RIP      December 15, 2021
31   20-cv-0447-00010             1   (b)(6)-2; (b)(7)(C)-2;                               RIP      December 15, 2021
32   20-cv-0447-00011             1   (b)(6)-2; (b)(7)(C)-2;                               RIP      December 15, 2021
33   20-cv-0447-00012             1   (b)(6)-2; (b)(7)(C)-2;                               RIP      December 15, 2021
34   20-cv-0447-00013             1   (b)(6)-2; (b)(7)(C)-2;                               RIP      December 15, 2021
35   20-cv-0447-00014             1   (b)(6)-2; (b)(7)(C)-2;                               RIP      December 15, 2021
36   20-cv-0447-00015             1   (b)(6)-2; (b)(7)(C)-2;                               RIP      December 15, 2021
37   20-cv-0447-00030             1   (b)(6)-2; (b)(7)(C)-2;                               RIP      December 15, 2021
38   20-cv-0447-00031             1   (b)(6)-2; (b)(7)(C)-2;                               RIP      December 15, 2021
39   20-cv-0447-00032             1   (b)(6)-2; (b)(7)(C)-2;                               RIP      December 15, 2021
40   20-cv-0447-00033             1   (b)(6)-2; (b)(7)(C)-2;                               RIP      December 15, 2021
41   20-cv-0447-00034             1   (b)(6)-2; (b)(7)(C)-2;                               RIP      December 15, 2021
42   20-cv-0447-00035             1   (b)(6)-2; (b)(7)(C)-2;                               RIP      December 15, 2021
43   20-cv-0447-00036             1   (b)(6)-2; (b)(7)(C)-2;                               RIP      December 15, 2021
44   20-cv-0447-00227             1   (b)(6)-2; (b)(7)(C)-2; (b)(7)(E)-1;                  RIP      December 15, 2021
45   20-cv-0447-00794             1   (b)(6)-2; (b)(7)(C)-2; (b)(7)(E)-1;                  RIP      December 15, 2021




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